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          EXHIBIT A
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13     '

14                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

15                                   COUNTY OF SAN MATEO

16 IN RE RIPPLE LABS INC. LITIGATION               ) Lead Case No. 18-CIV-02845
                                                   )
17                                                 ) (Consolidated with Case No. 18-CIV-03332)

18                                                 ,) CLASS ACTION
     This Document Relates To:                     )
19                                                 ) CONSOLIDATED COMPLAINT FOR
        ALL ACTIONS.                               ) VIOLATIONS OF CALIFORNIA LAW
20                                                 )
                                                   ) Assigned for All Purposes to:
21                                                 ) Judge: Hon. Richard H. DuBois
                                                   ) Dept.: 16
22                                                 !Date Action Filed: June 5, 2018
                                                   )
23                                                 ? DEMAND FOR JURY TRIAL
                                                   )
24

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 1           Plaintiffs Vladi Zakinov and David Oconer, individually and on behalf of all others similarly

 2 situated, by their undersigned attorneys, allege the following, based upon personal knowledge as to each

 3 plaintiff and each plaintiffs own acts, and upon information and belief as to all other matters based on

 4 the investigation conducted by and through plaintiffs' attorneys, which included, among other things, a

 5 review of filings and press releases by Ripple Labs, Inc. ("Ripple" or the "Company"), its wholly owned

 6 subsidiary XRP II, LLC ("XRP II"), and analyst and media reports and other publicly disclosed reports

 7 and information about the Company and XRP II. Plaintiffs believe that substantial additional

 8 evidentiary support will exist for the allegations set forth herein, after a reasonable opportunity for

 9 discovery.

10                                        SUMMARY OF ACTION
11          1.      This is a securities class action on behalf of all California purchasers of Ripple tokens

12 ("XRP"), brought against Ripple, XRP II and the Chief Executive Officer ("CEO") of the Company,

13 Bradley Garlinghouse ("Garlinghouse"), who promoted, sold and solicited the sale of XRP. Defendants

14 raised hundreds of millions of dollars through the unregistered sale of XRP, including selling to retail

15 investors, in violation of the law.

16          2.      Under California law, offers and sales of securities must be qualified with the

17 Commissioner of Corporations, unless exempt. These laws are designed to protect the public, by

18 requiring various disclosures so that investors can better understand the security and the risks associated

19 with investing in that security. The regime of registration and disclosure is the primary means by which

20 regulators prohibit deceit, misrepresentations, and fraud in the sale of securities, and promote the fair

21 and orderly functioning of the securities markets.

22          3.      The U.S. Securities and Exchange Commission ("SEC") has made it clear that digital

23 tokens, such as XRP, often constitute "securities and may not be lawfully sold without registration with

24 the SEC or pursuant to an exemption from registration."1 As stated by Chairman of the SEC Jay

25 Clayton, "A change in the structure of a securities offering does not change the fundamental point that

26
„ 1 See      Investor    Bulletin:    Initial    Coin       Offerings,     SEC       (July     25,    2017),
27 https://www.sec.gov/oiea/investor-alerts-and-bul letin s/ib-co inofferings.

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 1 when a security is being offered, our securities laws must be followed."2 "Said another way, replacing a

 2 traditional corporate interest recorded in a central ledger with an enterprise interest recorded through a

 3 blockchain entry on a distributed ledger may change the form of the transaction, but it does not change

 4 the substance."3 In the case of XRP, the digital currency is centralized in the XRP Ledger, which is

 5 maintained and controlled by Ripple (notwithstanding the Company's representations to the contrary),

 6 making the security transactions at issue even more akin to a traditional corporate interest.

 7             4.   Here, the XRP offered and sold by defendants has all the traditional hallmarks of a

 8 security, yet defendants failed to register them as such. The purchase of XRP constitutes an investment

 9 contract as XRP purchasers, including plaintiffs, provided consideration (in the form of fiat, such as

10 U.S. dollars, or other cryptocurrencies) in exchange for XRP. XRP purchasers reasonably expected to

11 derive profits from their ownership of XRP, and defendants themselves have frequently highlighted this

12 profit motive. Moreover, defendants solicited the public at large and sold XRP to raise funds for the

13 business and operations of Ripple and the XRP ecosystem. The development of the XRP Ledger and

14 other facets of the XRP network, and the return that investors expected to derive therefrom, were, and

15 are, based entirely on the technical, managerial, and entrepreneurial efforts of defendants, and other

16 third parties employed by defendants. Indeed, a feature of XRP that differentiates the cryptocurrency

17 from others such as Bitcoin, is that the security is highly centralized in Ripple. The Company created

18 the XRP token and then uses sales of the tokens in order to fund its operations and the development of

19 the XRP ecosystem, which in turn, increases the value of XRP and the potential returns to XRP

20 investors. Plaintiffs and other class members have an entirely passive role in the success of their

21 investment in XRP.

22             5.   Despite the status of XRP as a security, defendants failed to register XRP and the sale of

23 XRP did not qualify for an exemption from registration. Nevertheless, many of the representations

24 defendants made regarding XRP were designed to drive demand for XRP, allowing defendants to obtain

25
     2
         See Jay Clayton, Statement on Cryptocurrencies and Initial Coin Offerings, SEC (Dec. 11, 2017),
26   https://www.sec.govinews/public-statement/statement-clayton-2017-12-11.

27   3   Id.
28

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 1 greater returns on their XRP sales. Defendants have since generated hundreds of millions of dollars in

 2 gross proceeds by selling XRP to the general public, in what is essentially a series of initial coin

 3 offerings ("ICO"). Much like the better-known term, initial public offering ("IPO"), in an ICO, digital

 4 assets are sold to consumers in exchange for legal tender or cryptocurrencies (most often Bitcoin and

 5 Ethereum). These tokens generally give the purchaser various rights on the blockchain network and

 6 resemble the shares of a company sold to investors in an IPO. Unfortunately, ICOs have become a

 7 magnet for unscrupulous practices and fraud.

 8          6.      Plaintiffs bring this suit for declaratory relief that XRP is, in fact, a security under

 9 applicable laws, and for damages, rescission and other relief as detailed herein.

10                                    JURISDICTION AND VENUE

11          7.      The claims alleged herein arise under §§25110, 25503 and 25504 of the California

12 Corporations Code (the "Corporations Code"). Jurisdiction is conferred by Article VI, §10 of the

13 California Constitution. Venue is proper pursuant to the California Code of Civil Procedure.

14          8.      The violations of law complained of herein occurred in San Mateo County, including the

15 unlawful sale of unregistered securities into this County. In addition, defendants are located and/or

16 conduct business in this County, significant events that led to the sale of unregistered securities

17 occurred in this County, and documents and witnesses are located in this County, or can be found in this

18 County. For example, Ripple raised proceeds from, and is backed by venture capital firms, such as

19 Andreessen Horowitz, which is located in this County, has solicited and sold XRP to investors located

20 in this County, and is run by defendant Garlinghouse, who lives in this County.

21          9.     In connection with the acts alleged in this complaint, defendants, directly or indirectly,

22 used the means and instrumentalities of interstate commerce, including, but not limited to, the mail,

23 interstate telephone communications and the facilities of the national securities markets.

24                                                PARTIES
25          10.    Plaintiff Vladi Zakinov is a citizen of California, who purchased the XRP promoted and

26 sold by defendants, which was not registered as a security by defendants and was not subject to any

27 exemption from registration.

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 1           11.    Plaintiff David Oconer is a citizen of California, who purchased the XRP promoted and

 2 sold by defendants, which was not registered as a security by defendants and was not subject to any

 3 exemption from registration.

 4           12.    Defendant Ripple has its principal place of business in San Francisco, California. Ripple

 5 created and sold XRP, through XRP II, and solicited the purchases of XRP from plaintiffs and the Class

 6 (defined herein) for its own benefit and the benefit of its executives and owners, such as defendant

 7 Garlinghouse.

 8           13.    Defendant XRP II has its principal place of business in San Francisco, California. XRP

 9 II sold XRP and solicited the purchases of XRP from plaintiffs and the Class for its own benefit and the

10 benefit of its parent, Ripple, and its executives and owners, such as defendant Garlinghouse.

11           14.    Defendant Garlinghouse is the CEO of the Company. He is a resident of California and

12 lives in Atherton, California. Garlinghouse orchestrated the sale of XRP by Ripple and XRP II and

13 solicited the purchases of XRP from plaintiffs and the Class for his own benefit and the benefit of

14 Ripple.

15           15.    The true names and capacities of defendants sued herein under California Code of Civil

16 Procedure §474 as Does 1 through 25, inclusive, are presently not known to plaintiffs, who therefore

17 sues these defendants by such fictitious names. Plaintiffs will seek to amend this complaint and include

18 these Doe defendants' true names and capacities when they are ascertained. Each of the fictitiously

19 named defendants is responsible in some manner for the conduct alleged herein and for the injuries

20 suffered by the Class.

21                                   SUBSTANTIVE ALLEGATIONS

22 Ripple Creates XRP

23           16.   Ripple's primary business involves the operation of an open ledger protocol, payment,

24 and exchange network. The native cryptocurrency for the Ripple system is the XRP token, which

25 serves as both an investment in the Company (as sales of XRP are used to fund Company operations,

26 with the expectation that these investments will increase the tokens' value) and as a means of exchange

27 promoted by Ripple. The Ripple system is based around the XRP Ledger. The XRP Ledger consists of

28 many servers, called nodes, which accept and process transactions. Client applications sign and send

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 I   transactions to nodes, which then relay these candidate transactions throughout the network for

 2 processing. Transactions are then verified and become part of the XRP Ledger history through a

 3 consensus process. Every transaction in XRP must be made by and through the XRP Ledger, which is

 4 maintained by defendants. In order to open an account on the XRP Ledger, a user is required by

 5 defendants to maintain a minimum account balance of 20 XRP. Furthermore, each time a transaction in

 6 XRP is made, defendants require a transaction cost from the transacting parties.4

 7          17.     Unlike cryptocurrencies such as Bitcoin and Ethereum, which are mined by those

 8 validating transactions on their networks, Ripple created the 100 billion XRP supply itself. Twenty

 9 billion XRP, or 20% of the total XRP supply, were given to the individual founders of Ripple,5 with the

10 remaining 80 billion being retained by the Company. As for the 80 billion XRP held by Ripple, the

11 Company periodically sells XRP from its supply and uses the proceeds from these sales to fund

12 Company operations and improve the XRP ecosystem. Ripple's founders and other Company insiders

13 have also enriched themselves with their personal XRP fortunes. In January 2018, Ripple co-founder

14 Chris Larsen was named one of the richest people in the United States, with an estimated net worth of

15 $59.9 billion, primarily due to the increase in value of XRP and his personal ownership of billions of

16 XRP tokens and a significant ownership stake in the Company.6

17          18.    Ripple has been criticized because of the centralized nature of its network for XRP,

18 especially when compared to the networks for other truly distributed cryptocurrencies such as Bitcoin.

19 Ripple demonstrated its control over the XRP ecosystem when, in 2015, it froze the balance of Ripple

20 co-founder McCaleb following an internal dispute. The ability of Ripple to control the flow of XRP

21 undermines any pretense that the security is not centralized in the Company. Similarly, in February

22 2018, a report by BitMEX Research stated that a test of the Ripple system revealed that all five public

23   4 The current minimum transaction cost is 0.00001 XRP, although this cost can be increased by
   defendants. This feature of XRP transactions benefits defendants because it makes their stockpile of
24 XRP more valuable over time.

25   5   Chris Larsen and Jed McCaleb ("McCaleb") each received 9.5 billion XRP. Arthur Britto received
     1 billion XRP.
26
   6  haps://www.cn b c.com/2018/01/04/ripple-co-founder-is-now-richer-than-the-google-founders-on-
27 paper.html.
28

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 1 keys used to validate transactions came directly from Ripple, meaning that Ripple was "essentially in

 2 complete control of moving the ledger forward."7 The report concluded that Ripple's claims that the

 3 system was "distributed" could be misleading, as Ripple essentially controlled the XRP Ledger process.

 4           19.    Significantly, several major cryptocurrency exchanges have refused to list XRP on their

 5 exchanges as a result of Ripple's singular control over the XRP network. For example, CoinBase, one

 6 of the world's largest and most widely used exchanges, has so far refused to list XRP (and even declined

 7 Ripple's offer to lend CoinBase more than $100 million worth of XRP in exchange for listing).

 8 Although CoinBase has yet to issue an explicit statement explaining its decision to exclude XRP, while

 9 simultaneously allowing Bitcoin, Ethereum, and other cryptocurrencies to trade on its exchange,

10 Ripple's centralized control over XRP (and the XRP Ledger) and the large volume of XRP allocated to

11 Ripple and XRP's founders are likely to blame. Indeed, these characteristics of XRP run contrary to

12 CoinBase's "Digital Asset Framework," which outlines the factors it considers when deciding whether

13 to list a particular cryptocurrency on its exchange.8 In addition, as several commentators have

14 observed, CoinBase and other exchanges have likely refused to list XRP recognizing that Ripple's

15 singular control over XRP is likely to draw scrutiny from U.S. regulators who have repeatedly warned

16 exchanges against listing any tokens that may be deemed securities.9

17          20.     As the stewards of the XRP ecosystem, defendants' success in developing, promoting,

18 and maintaining the XRP Ledger and other exchange infrastructure is directly related to the value of

19 XRP. Furthermore, because, inter alia: (i) Ripple maintains, controls, and stewards the XRP Ledger,

20 (ii) defendants have the ability to add conditions to transactions in XRP and can unilaterally modify

21
     7   The Ripple Story, BitMEX Research (Feb. 6, 2018), https://blog.bitmex.com/the-ripple-story/.
22
„  8   Kieran Smith, Outcast — Why Coinbase and Others Won't Touch XRP, Brave NewCoin (Aug. 7,
23 2018), https://bravenewco in .com/insi ghts/outcast-why-coinbase-and-oth ers-wont-touch-xrp; also
   GDAX, GDAX Digital Asset Framework (Nov. 2017), https://pro.coinbase.com/static/digital-asset-
24 framework-2017-11.pdf.

25   9  Annie Massa, et al., Ripple Has Tried to Buy Its Way Onto Major Exchanges for Cryptocurrency,
     Bloomberg (Apr. 4, 2018), https://www.bloomberg.com/news/articles/2018-04-04/ripple-is-said-to-
26 struggle-to-buy-u-s-listing-for-popular-coin; Kieran Smith, Outcast —Why Coinbase and Others
                                                                                                Won't
,,,, Touch XRP, Brave NewCoin (Aug. 7, 2018), https://bravenewcoin.com/insights/outcast-why-coinbase-
'' and-others-wont-touch-xrp.
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  I   elements of the XRP ecosystem; and (iii) each transaction in XRP has a transaction cost set by

 2 defendants that benefits defendants, each transaction in XRP involves a transaction directly with

 3 defendants.

 4 Ripple Updates XRP

 5          21.     Ripple is constantly changing and seeking to improve the XRP network. These changes

 6 have decreased transaction times and improved system security, compatibility, use cases and other

 7 features of XRP. At the same time, Ripple has released new "white papers" touting these upgrades and

 8 proposed upgrades to the cryptocurrency and its exchange network. For example, Ripple released a

 9 white paper in February 2016 following a series of upgrades with the subtitle "The ROI of Using Ripple

10 and XRP for Global Interbank Settlements."1° "ROI" stands for "return on investment," and the paper

11 discussed at length the purported value of using XRP, compared to other systems.

12          22.     One of the most significant changes to the XRP ecosystem occurred in the latter half of

13 2015. In May 2015, regulatory authorities in the United States fined Ripple and XRP II $700,000 for

14 "willfully" violating the Bank Secrecy Act by selling XRP without obtaining the required authorization.

15 The failure to properly register as a money services business, or "MSB," exposed XRP for use by

16 money launderers, criminals and other suspicious actors. As part of the settlement, defendants agreed to

17 a number of remedial measures, including registration with FinCEN within 30 days of the agreement

18 and to secure customer identification information within 180 days of the agreement. In the subsequent

19 months, Ripple updated the XRP network and ecosystem to comply with the settlement agreement. In

20 October 2015, Ripple underwent a rebranding after which it purported to fulfill its obligations under the

21 settlement agreement.

22          23.     Another key development occurred in May 2017, when Ripple announced that it would

23 limit distribution of the remaining 61.68 billion XRP owned by the Company, from its original 80

24 billion XRP allotment. Ripple stated that it would place 55 billion XRP into a cryptographically

25 secured escrow account, and only offer and sell limited amounts of XRP at defined intervals. The

26 Company established 55 contacts of 1 billion XRP that allowed it to sell up to 1 billion XRP per month,

27 10 https://ripple.com/files/xrp_cost_modelpaper.pdf.

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  1 with any unsold XRP returned to escrow for use in subsequent offerings. The Company stated that it

 2 expected the distribution strategy "will result in a strengthening XRP exchange rate against other

 3 currencies," and that Ripple's "self-interest is aligned with building and maintaining a healthy XRP

 4 market."' I The fact that the vast amount of existing XRP resides in the control of defendants further

 5 demonstrates the high degree of centralization and control defendants maintain over XRP, as they can

 6 determine the supply of XRP, which will, in turn impact the price of the security.

 7              24.    Indeed, a primary motivation for limiting the available supply of XRP was to drive price

 8 appreciation and allow defendants to maximize profits from XRP sales. The price of XRP increased

 9 rapidly following the announcement of the escrow decision, increasing 1,159% during the second

10 quarter of 2017. Ripple's "Q2 2017 XRP Markets Report" listed the escrow announcement as

11 "instrumental in helping to drive XRP interest and volume," and noted the "market responded favorably

12 to the escrow" announcement.12

13              25.    On or about December 7, 2017, Ripple announced that it had followed through with its

14 promise and placed "55 billion XRP in a cryptographically-secured escrow account to create certainty

15 of XRP supply at any given time."13 The announcement stated:

16              By securing the lion's share of XRP in escrow, people can now mathematically verify
                the maximum supply that can enter the market. While Ripple has proved to be a
17              responsible steward of XRP supply for almost five years — and has clearly
                demonstrated a tremendous track record of investing in and supporting the XRP
18
                ecosystem — this lockup eliminates any concern that Ripple could flood the market,
19              which we've pointed out before is a scenario that would be bad for Ripple!14

20              26.    The article contained a button to allow readers to share it on Twitter with the caption

21 "Game changer for $XRP! 55 billion XRP now in escrow."15 Ripple also promoted this article through

22
   11
       https://rippl e.com/insi ghts/rippl e-to-p lace-55-billion-xrp-in-escrow-to-ensure-certainty-into-total-
23 xrp-supply/.

24   12
          haps://ripp le.com/insights/q 2-2017-xrp-markets-report/.

25   13   https://ripple.com/insights/ripple-escrows-55-billion-xrp-for-supply-predictability/.
26   14
          Id.

27   15   Id.
28

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     1   its own tweet, which proclaimed: "55B $XRP is now in escrow. Interested in what this means for

     2 $XRP markets?"16 Garlinghouse was even more enthusiastic, tweeting: "Boom! 55B $XRP now in

     3 escrow. Good for supply predictability and trusted, healthy $XRP markets. Glad to finally let this

     4 #cryptokitty out of the bag!"17

     5            27.    Ripple's public commitment to limit the supply of XRP had its intended effect. In the

     6 weeks that followed, the price of XRP rapidly increased, from approximately $0.22 per token on

     7 December 7, 2017 to $3.38 per token on January 7, 2018.18

     8 Defendants Market XRP to Drive Demand and Increase Price

     9           28.     While publicly touting its xCurrent, xRapid and xVia enterprise solutions (collectively,

    10 "Enterprise Solutions"), Ripple's primary source of income is, and has been, the sale of XRP. Ripple

'   11 generated over $180 million in gross proceeds through XRP sales in 2017 alone.19 Defendants sell

    12 XRP on a wholesale basis to larger investors, and also sell significant quantities of XRP directly to

    13 retail investors on cryptocurrency exchanges. According to Ripple, in the first quarter of 2018, "market

    14 participants purchased $16.6 million [of XRP] directly from XRP II," and XRP II also "sold $151.1

    15 million worth of XRP" on exchanges.20

    16           29.    Given its reliance on sales of XRP, it is unsurprising that Ripple aggressively markets

    17 XRP to drive demand, increase the price of XRP, and, consequently, its own profits. For example,

    18 Ripple has an entire section of its website dedicated to providing advice on "How to Buy XRP." This

    19 section provides links to exchanges and instructions on "how to buy XRP" on those exchanges.21 It also

    20

    21   16
              https://twitter.com/Ripp le/status/938933967956389889.
    22   17   https://twitter.com/bgarlinghouse/status/938933791145336832?lang=en.

    23   18 XRP would subsequently lose nearly all its value in just over three months, falling to a low of
         approximately $0.48 per token on April 6, 2018.
    24
         19
          https://vvww.cnbc.com/2018/01/24/ripple-sold-91-point-6-m illion-of-digital-currency-xrp-last-
    25 quarter.html.

    26   20
              Q1 2018 XRP Markets Report, https://ripple.com/insights/q1-2018-xrp-markets-report/.

    27   21   XRP Buying Guide, https://ripple.com/xrp/buy-xrp/.
    28

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 1 has a section titled "Market Performance" which proclaims that Ripple is "committed to the long term

 2 health and stability of XRP markets."22

 3              30.   Ripple also regularly promotes the availability of XRP on exchanges. For example, on

 4 May 18, 2017, Ripple's Senior Vice-President for Business Development, Patrick Griffin, tweeted a link

 5 to the Kraken exchange with the caption: "Kraken Introduces New Fiat Pairs for XRP Trading! USD,

 6 JPY, CAD, EUR @Ripple."23

 7              31.   Similarly, on or about December 21, 2017, Ripple tweeted that XRP was now available

 8 on over 50 exchanges.24 That tweet linked to an article on Ripple's website which described XRP as

 9 "the fastest and most scalable [digital] asset on the market."25 The article continued: "The market is

10 taking notice of XRP's speed, reliability and scalability — which has strengthened the demand for XRP

11 and where it's listed. In fact, we're proud to announce that XRP has gone from being listed on six

12 exchanges earlier this year to more than 50 worldwide."26 The article also linked to a number of

13 exchanges where XRP could be purchased, and stated that "XRP's long-term value is determined by its

14 utility — including its ability to help financial institutions source liquidity for payments into and out of

15 emerging markets."27

16              32.   Illustrative of defendants' attempts to promote the XRP ecosystem, in 2017, Ripple

17 attempted to pay two of the top cryptocurrency exchanges, Gemini and Coinbase, to secure listing of

18 XRP. Coinbase and Gemini provide some of the easiest ways for U.S. customers to buy crypto-assets

19 with U.S. dollars. As a result, being listed on one of these exchanges tends to accelerate demand for,

20 and thus, increase the price of, a crypto-asset. For example, when Coinbase listed Bitcoin Cash in

21
     22
          Market Performance, https://ripple.com/xrp/market-performance/.
22
     23   @patgriffin9, https://twitter.com/patgriffin9/status/865251321867231233.
23
     24
          @Ripple, https://twitter.com/Ripple/status/943999526783905792.
24
   25
      XRP Now Available on 50 Exchanges Worldwide, https://ripple.com/insights/xrp-now-available-
25 on-50-exchanges-worldwide/.

26   26
          Id.

27   27   Id.
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 1 December 2017, the price of Bitcoin Cash increased nearly three times its trading price relative to other

 2 exchanges.

 3            33.    Reportedly, Ripple offered to pay $1 million to Gemini in the third quarter of 2017 if it

 4 would list XRP. Similarly, during preliminary talks with Coinbase in the fall of 2017, Ripple said it

 5 would be willing to lend the exchange more than $100 million worth of XRP to start letting users trade

 6 the token.28 On November 29, 2017, Ripple posted a link to a change.org petition to "Get Ripple on

 7 CoinBase," with the caption: "The community is mobilizing! [thumbs up emoji]."29 Ripple's Senior

 8 Vice President of Business Development also tweeted a link to the petition. According to Bloomberg:

 9 "By dangling money in front of exchanges, Ripple signaled that its future success hinges in part on

10 getting XRP listed on the top trading venues."30

11           34.     In addition, Ripple hosts conferences to generate interest in XRP. For example, from

12 October 16 to October 18, 2017, the Company hosted a conference named "Swell" in Toronto. Ripple

13 acknowledged that "[a]nticipation around the event spurred a meaningful spike in XRP, pushing it up

14 100 percent."31

15           35.    On December 21, 2017, CoinDesk, a subsidiary of Digital Currency Group, which has an

16 ownership interest in Ripple, published an article titled, "Ripple Price Passes Historic $1 Milestone."32

17 This was just one of many instances in which Ripple would promote price movements of XRP.

18           36.    Ripple's promotion of XRP's price continued in December 2017, as the price of XRP

19 climbed over 1,000% in a single month. In one instance, Ripple's product manager of the XRP Ledger

20 and xRapid retweeted a tweet exclaiming: "Wow, XRP at all time high! Forget about bitcoin, we're all

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   28 https://vvvvw.b loomb erg.com/n ews/articl es/2018-04-04/ripple-is-said-to-struggle-to-buy-u-s-listin g-
22 for-popular-coin.

23   29   https://twitter.com/ripple/status/935923310080045056?lang=en.
24   30  https://www.bloomb erg.com/news/articles/2018-04-04/ripple-is-said-to-stru ggle-to-buy-u-s-listing-
     for-popular-coin.
25
     31
          Q3 2017 XRP Markets Report, https://ripple.com/xrp/q3-2017-xrp-markets-report/.
26
     32  Daniel Palmer, Ripple Price Passes Historic $1 Milestone, CoinDesk (Dec. 21, 2017)
27
     https://www.coindesk.com/ripple-price-passes-histori c-1-milestone/.
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 1   in on XRP!" 33 This same manager later tweeted: "So glad I doubled down. Since I joined @Ripple,

 2 $XRP now at $1.00 (up 17,141.37%)...."34

 3              37.   Ripple's CEO, defendant Garlinghouse, has also been a vocal advocate for investing in

 4 XRP. In a December 14, 2017 interview with BNN, when asked if he is "personally invested" in XRP

 5 and was "taking profits" on that investment, Garlinghouse stated, "I'm long XRP, I'm very, very long

 6 XRP as a percentage of my personal balance sheet."35 He continued, stating that he is "not long some

 7 of the other [digital] assets, because it is not clear to me what's the real utility, what problem are they

 8 really solving."36 He ended by reiterating, "if you're solving a real problem, if it's a scaled problem,

 9 then I think you have a huge opportunity to continue to grow that."37 Later that same day, Garlinghouse

10 tweeted: "Bloomberg welcomes $XRP to @theterminal and gets it right — #2 market cap behind $BTC

11 at —$80B!"38

12              38.   About a week later, on or about December 22, 2017, Garlinghouse tweeted an article

13 titled "Bitcoin Is So 2017 as Ripple Soars at Year End," with the caption "I'll let the headline speak for

14 itself. $xrp."39

15              39.   Similarly, on or about January 17, 2018, Garlinghouse tweeted a link to a CNBC article

16 titled "Ripple is sitting on close to $80 billion and could cash out hundreds of millions per month — but

17 it isn't," with the caption: "A good read on why fostering a healthy $XRP ecosystem is a top priority at

18 @Ripple."4°

19

20   33   cy,
          9-warpaul, https://twitter.com/yoshitaka_kitao/status/940785785925709829.
21   34   https://twitter.com/warpaul/status/943766056710975490.
22   35   Interview available at https://twitter.com/jonerl ichman/status/941354964227522561?1an g=en .

23   36   Id.
24   37   Id.

25   38   @bgarlinghouse, https://twitter.com/bgarlinghouse/status/941375649549246464.
26   39   @bgarlinghouse, https://twitter.com/bgarlinghouse/status/944325730338357248.
27   40
          https://twitter.com/bgarlinghouse/status/953676992313872384?lang=en.
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 1              40.   However, the reality was that Ripple was profiting by selling to investors from its

 2 massive store of XRP. In 2017 alone, Ripple sold more than $180 million worth of XRP. These sales

 3 accelerated in the first quarter of 2018, reaching $151.1 million in just three months.

 4              41.   Recently, Ripple's efforts to aggressively market and drive demand for XRP have bled

 5 into politics. In September 2018, Ripple and several other cryptocurrency companies with links to

 6 Ripple announced the founding of an advocacy group dubbed "Securing America's Internet of Value

 7 Coalition."41 The Coalition announced that it retained The Klein/Johnson Group, a prominent

 8 Washington D.C. based lobbying firm, who is expected to help the Coalition in its efforts to lobby

 9 Congress and the SEC on issues critical to Ripple's bottom-line, including whether XRP is a security

10 subject to SEC regulation.42 For their expertise, the Klein/Johnson Group will receive $25,000 and

11   10,000 XRP tokens per month from the Coalition. Commenting on the decision to pay their lobbyists in

12 XRP, Chris Larsen, Ripple's executive chairman explained: "It gives them some upside and gives them

13 some risk ... Hopefully it gives them a taste of the industry in a way that hits home." 43

14 The Price of XRP Is Directly Tied to Ripple's Business and Operations

15              42.   The Company's primary source of revenue is the periodic sale of XRP to investors. The

16 price for XRP, in turn, is directly tied to the managerial skills and efforts of Ripple, XRP II,

17 Garlinghouse, and other third parties who they employ, or with whom they are associated. Ripple

18 regularly promotes its improvements to the XRP ecosystem, which are intended to increase demand for

19 XRP and thus potential returns for XRP investors. For example, in describing the reasons behind the

20 dramatic price appreciation of XRP during the fourth quarter of 2017, Ripple specifically cited as of

21 "particular importance," the Company's various business initiatives, including: (i) Ripple's partnership

22 with American Express/Santander; (ii) Ripple's activation ofthe previously discussed escrow of XRP to

23 limit periodic offers and distributions; and (iii) a Japanese/Korean banking consortium backed by the

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     41
          https://vvww.coindesk.com/new-ripple-led-advocacy-group-to-pay-lobbyists-in-xrp/.
25
     42
      https://www.b1oomberg.com/news/articl es/2018-09-27/cryptocurrency-coalition-to-pay-d -c-
26 lobbyists-in-digital-coins.

27   43   Id.
28

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  1 Company.44 In the report, Ripple stated that its "consistent and steadfast support of XRP is a major

 2 advantage as the payments industry continues to seriously consider it as an alternative liquidity

 3 solution."45 The centralized nature of XRP compared to other cryptocurrencies further cements the

  4 central role of defendants in determining the future expected value of the asset.

 5              43.   Defendants' white papers, advertising and social media postings also conflate adoption

 6 and use of Ripple's Enterprise Solutions businesses with adoption and use of XRP. Although ostensibly

 7 separate, the two business segments are very much interrelated, because adoption of Ripple's Enterprise

 8 Solutions by various institutional actors is likely to increase the use and demand for XRP. For example,

 9 the Company's xRapid infrastructure solution uses XRP, which Ripple states will "dramatically lower

10 costs while enabling real-time payments in emerging markets."46 Similarly, a November 2015 white

11 paper by the Company highlighted "XRP's Role on Ripple and in the Internet of Value" and how the

12 Company's technologies could turn a "Spark to a Wildfire" by increasing liquidity and efficiencies for

13 cross-border transactions for the Company's banking clients.47 A February 2016 white paper followed

14 up on those purported "network effects," claiming that the use of the Ripple network and XRP would

15 increase banks' returns on investment by improving the global payment infrastructure.48 Moreover,

16 Ripple promotes XRP and xRapid to its existing Enterprise Solutions customer base and can increase

17 the use of these products through cross-selling. Ripple has explicitly stated that this is part of its

18 business strategy.49 As XRP can be used to transact on xRapid, and the same customers that may adopt

19

20   44   Q4 2017 XRP Markets Report, https://ripple.com/insights/q4-2017-xrp-markets-report/.
21   45   Id.

22   46   https://ripple.com/solutions/source-liquidity/.
23   47
          https://ripple.com/files/ripple_vision.pdf.
24
     48   https://ripple.com/files/xrp_cost_modelpaper.pdf.
25   4,
       E.g., https://ripple.com/insights/much-ado-much-to-do-part-3/("While no xCuffent customers today
26 use xRapid, we're increasingly speaking to them about their liquidity challenges and xRapid at their
   request.... As long as we continue to run )(Rapid pilots as successful as Cuallix's, we believe we'll drive
27 a lot of payments volume through XRP in the years ahead.").

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 1   Ripple's Enterprise Solutions overlap with potential institutional users and facilitators of XRP, the

 2 success of Ripple's overall business and operations is directly correlated to the price of XRP.

 3              44.   Articles such as "Ripple XRP price picks up pace as demand for xVia API increases"

 4 have made the direct connection between the price of XRP and the adoption of the Company's

 5 Enterprise Solutions.5° Ripple itself has made this link, for example tweeting on May 16, 2017: "The

 6 appeal that Ripple has towards traditional financial institutions is a big advantage it has over Bitcoin."51

 7              45.   Similarly, on June 29, 2017, Ripple tweeted a clip of an interview Garlinghouse gave on

 8 CNBC with the caption: "#XRP — up 4000% this year — has shown the market favors a real use case for

 9 #digitalassets...."52 For that interview, Garlinghouse was quoted as stating, "Digital assets are in a

10 position to be more valuable than gold." 53

11              46.   On September 11, 2017, Garlinghouse stated in an interview with CNBC: "People are

12 looking at the success Ripple has been having as a company, and I think that's increased the value of

13 XRP." 54 He continued by stating that Ripple wants "to keep focusing on making XRP a valuable

14 payments tool, and that value will increase accordingly," and he was "voting with my . . . pocketbook

15 on the future increased value of cryptocurrencies,"55

16              47.   On November 27, 2017, Garlinghouse tweeted "Ripple & $XRP are giving businesses

17 'what they want in a #blockchain,'" along with a link to a Motley Fool tweet.56 The linked-to Motley

18

19

20
     5°   https://global co inreport.com/ripp le-xrp-price-p icks-up-pace-as-dem and-for-xvia-ap i-increases/.
21
     51   @Ripple, https://twitter.com/Ripple/status/864635614020251649.
22

23   52   @Ripple, https://twitter.com/Ripple/status/880532198025121793.

24   53   https://twitter.com/AkikoFujita/status/880256389213339648.

25   54   https://www.cnbc.com/2017/09/11/ripple-ceo-brad-garlinghouse-on-bitcoin-and-xrp.html.

26   55   Id.

27   56   @bgarlinghouse, https://twitter.com/bgarlinghou se/status/935225940845711366.
28

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 1 Fool tweet stated that "AmEx and Banco Santander will use Ripple's blockchain network for instant

 2 intl. fund transfers. Could be a big deal for Ripple's XRP cryptocurrency. $AXP $SAN."57

 3              48.   Likewise, on December 14, 2017, Ripple tweeted: "The Japan Bank Consortium

 4 launched a Ripple pilot with two large Korean banks —the first time money moves from. Japan to Korea

 5 over RippleNet."58 On that same day Ripple tweeted "@bgarlinghouse [its CEO's Twitter handle] on

 6 why crypto prices will be driven by real utility, the multi-trillion $ problem @Ripple is solving and why

 7 $XRP will come out on top."59

 8              49.   On January 4, 2018, following XRP's rapid price increase, The New York Times

 9 published an article titled, "Rise of Bitcoin Competitor Ripple Creates Wealth to Rival Zuckerberg.ii60

10 The author of the article, Nathaniel Popper, tweeted a link to the article with the caption: "On the rise of

11 Ripple. If this is a tulip fever, the fever has spread to chrysanthemums and poppies."61 He further

12 stated in the tweet: "I've asked several people close to banks if banks are indeed planning to begin using

13 Ripple's token, XRP, in a serious way, which is what investors seem to assume when they buy in at the

14 current XRP prices."62

15              50.   Garlinghouse publicly responded to this post, tweeting: "Over the last few months I've

16 spoken with ACTUAL banks and payment providers. They are indeed planning to use xRapid (our

17 XRP liquidity product) in a serious way." 63 Garlinghouse then provided a "sampling" of feedback he

18 had purportedly received from these institutions praising XRP and xRapid. This feedback implicitly

19 justified the market price and investment opportunity for XRP, including:

20
     57   @themotleyfool, https://twitter.com/themotleyfool/status/934850515640471553.
21
     58   @Ripple, https://twitter.com/Ripple/status/941501026267316224.
22
     59   @Ripple, https://twitter.com/Ripple/status/941352005058011137.
23
   60
      Nathaniel Popper, Rise of Bitcoin Competitor Ripple Creates Wealth to Rival Zuckerberg, N.Y.
24 Times, Jan. 4, 2018, https://www.nytimes.com/ 2018/01/04/technology/bitcoin-ripple.html.

25   61
          @nath an ielpopper, https://twitter.com/bgarlinghouse/status/949129952716234752.
26   62
          Id
27   63   Id.


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 1                    •   "We ran the costs on our end and see that this is 100% more efficient that [sic] what
                          we're doing now."
 2
                      •   "The )(Rapid pilots all went perfectly."
 3

 4                    •   "This is much more efficient than our process today. We'd like to move forward with
                          xRapid today."
 5
                      •   "We've already used Bitcoin in transactions but the time is causing slippage and costing
 6                        more to transfer. We'd like to use xRapid and XRP to help with these issues."
 7                    •   "This [XRP] is a much more efficient way to send money across borders than what we
 8                        typically use today. Especially as Bitcoin has continued to slow and become more
                          expensive."
 9
                      •   "There's plenty of small to medium sized banks out there that are hit hard by fees.
10                        They'd jump at the opportunity to send money directly and bypass those fees [using
                          xRp].ft 64
11

12 Defendants Acknowledge that Development of the XRP Ledger Is Dependent on Their Technical,
   Entrepreneurial, and Managerial Efforts
13

14              51.       As alleged herein, defendants have repeatedly acknowledged the obvious: development

15 of the XRP Ledger and the potential profits that could be derived from investing in XRP, depends on

16 their technical, entrepreneurial and managerial efforts.

17              52.       Indeed, Ripple publishes a quarterly report detailing its efforts to grow the "XRP

18 ecosystem."65 In the report for the second quarter of 2017, Ripple stated: "We plan to focus on three

19 areas of liquidity development as we drive XRP towards its natural position as the digital asset standard

20 for international value transfer."66 The report continues: "Most importantly, we are accelerating the

21 pace of our investment in the XRP Ledger to build on its speed, uptime, and scalability, to ensure XRP
22 is the most trusted enterprise-grade digital asset."67

23
     64
          Id.
24
     65
      Announcing the Quarterly XRP Market Operations Report, https://ripple.com/insights/announcing-
25 quarterly-xrp-market-operations-report/.

26   66
          Q2 2017 XRP Markets Report, https://ripple.com/insights/q2-2017-xrp-markets-report/.
27   67
          Id.
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 1              53.   Three months later, in describing its goals for the fourth quarter of 2017, Ripple

 2 proclaimed it would "continue to expand [its] xRapid partnerships." 68 The report stated that Ripple's

 3 "long-term goal is, and always has been, usage of XRP as a liquidity solution for more and more

 4 corridors, and partnerships are key to achieving this goal."69

 5              54.   Similarly, in January 2018, Ripple touted "a partnership with MoneyGram — one of the

 6 world's largest money transfer companies — to use xRapid and XRP for near real-time cross-border

 7 payments. In addition, there are a number of other xRapid deals at various stages of completion in the

 8 pipeline."70 The Company also stated that it wanted "to build the necessary markets infrastructure for

 9 eventual direct usage of XRP by financial institutions."71 Garlinghouse commented on this partnership,

10 stating "And to be clear: @MoneyGram announcement is one step in a marathon ahead to truly make

11 $XRP the global liquidity solution for payment providers and banks."72 These are illustrative of the

12 many instances in which defendants have acknowledged their own role in promoting the market for

13 XRP, and the ways in which the future expected value of XRP is dependent on their own efforts.

14              55.   In addition, defendants, and Ripple in particular, are responsible for maintaining the

15 XRP Ledger. Unlike cryptocurrencies such as Bitcoin and Ethereum, which use a Proof of Work

16 ("PoW") consensus mechanism to verify the legitimacy oftransactions on the network, the XRP Ledger

17 relies on trusted nodes, operated by Ripple, to verify the legitimacy of transactions and maintain

18 agreement on the network. The PoW mechanism utilized by Bitcoin and Ethereum helps to ensure the

19 network is decentralized by allowing anyone to use their own hardware and electricity to run the PoW

20 consensus algorithm to verify transactions on the public ledger, and send them to be recorded

21 throughout the blockchain. The network's decision-making process is thus placed entirely in the hands

22

23 68 Q3 2017 XRP Markets Report, https://ripple.com/xrp/q3-2017-xrp-markets-report/.

24 69 Id.

25   70   Q4 2017 XRP Markets Report, https://ripple.com/insights/q4-2017-xrp-markets-report/.
26   71   Id.

27   72   @bgarlinghouse, https://twitter.com/bgarlinghouse/status/951461582424358912.
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 1   of those who run the consensus algorithm, with their own hardware and electricity, rather than any one

 2 entity or individual.

 3              56.   The XRP Ledger consensus protocol, by contrast, relies on "trusted nodes" on Ripple's

 4 Unique Node Lists ("UNL"). The UNL is the set of trusted nodes that communicate "reliable"

 5 information to other nodes on the XRP Ledger. Like miners in Bitcoin and Ethereum, these "trusted

 6 nodes" validate transactions. However, unlike those miners, the trusted nodes are either selected, or

 7 controlled, by Ripple itself. Ripple provides its own default and recommended UNL — comprised of

 8 only five Ripple-hosted nodes. Although Ripple claims it plans to decentralize the network, it admits

 9 that it will only remove its own "trusted nodes" if it decides that other validator nodes are reliable,

10 reputable, stable and secure.73 Ripple's view of decentralization of the XRP Ledger still involves

11 Ripple maintaining full control over the XRP Ledger, and deciding who owns and operates any third-

12 party "trusted nodes."

13              57.   In February 2018, BitMEX Research, a blockchain research group, installed and ran a

14 copy of Rippled (the software that allows users to run nodes on the XRP Ledger).74 According to

15 BitMEX Research, "[t]he node operated by downloading a list of five public keys from the server

16 vlsipple.com."75 The report continued: "The software indicates that four of the five keys are required

17 to support a proposal in order for it to be accepted [on the XRP Ledger]."" However, "[a]ll five keys

18 are assigned to Ripple.com." 77 BitMEX Research concluded that "[s]ince the keys were all downloaded

19 from the Ripple.com server, Ripple is essentially in complete control of moving the ledger forward, so

20

21 73
      Rome Reginelli, Decentralization Strategy Update (Oct. 17, 2017), https://ripple.com/dev-
22 blog/decentralization-strategy-update/; Stephan Thomas, How We Are Further Decentralizing the XRP
   Ledger to Bolster Robustness for Enterprise Use, https://ripple.com/insights/how-we-are- further-
23 decentralizing-the-ripple-consensus-ledger-rcl-to-bolster-robustness-for-enterprise-use/.

24   74   The Ripple Story, BitMEX Research (Feb. 6, 2018) https://blog.bitmex.com/the-ripple-story/.

25   " Id.
26   76
          Id.
27   77
          Id.
28

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 1 one could say the system is centralized."78 As a result, BitMEX Research found that "the Ripple

 2 system appears for all practical purposes to be centralized and is therefore perhaps devoid of any

 3 interesting technical characteristics, such as censorship resistance, which coins like Bitcoin may

 4 have.""

 5              58.   Ripple's control over the XRP Ledger and the flow of XRP was put on dramatic display

 6 in 2015, when it exerted this control to freeze the sale of approximately 96 million XRP, worth about $1

 7 million at the time, by Company co-founder McCaleb. Ripple received heavy criticism for the incident.

 8 As noted by one cryptocurrency blog: "This incident is a reminder of the fact that despite its constant

 9 portrayal as a semi-decentralized currency, there's a lot of control that can be exercised upon your XRP

10 by the company!"8°

11              59.   As additional indications of centralization and control over every XRP transaction,

12 Ripple is continuously updating the Ripple ecosystem. The implementation of gateway freezes, such as

13 the one used to freeze McCaleb's attempted XRP sale, is one example of an XRP system update by

14 Ripple, which the Company activated in August 2014.

15              60.   Ripple's XRP product manager, Warren Paul Anderson ("Anderson"), frequently markets

16 the XRP Ledger's dependence on Ripple's continued commitment to it. For example, on December 14,

17 2016, he tweeted: "Thrilled to have the rippled team in town for a summit to discuss the future of

18 @Ripple Consensus Ledger & XRP as a native digital asset!"81 Approximately a year later, in

19 December 2017, he retweeted his earlier statement, saying "It's that time of year again, and what a year

20 it's been! #XRP Ledger (rippled) core developers in town @Ripple for a summit to discuss planning for

21 2018."82 Later that same day, Anderson posted a picture of Ripple engineers with the caption: "A great

22

23   78   Id.
     79
24        Id.

25   80   https://cryptocrimson.com/n ews/ripple-fre ezes-bitstamp-fun ds-co- fo un der.

26   81   @warpaul, https://twitter.com/warpaul/status/809047284717469696.

27   82   @warpaul, https://twitter.com/warpaul/status/940970970759573505.
28

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 1 day of reflection & planning @Ripple w/ the greatest C++ engineering team in the world #XRP."83 On

 2 that same day, Ripple's head of cryptography tweeted: "Today, all the $XRP Ledger developers at

 3   @Ripple are in SF to reflect on 2017 and plan for 2018."84

 4           61.     Later in the month, on December 29, 2017, a Ripple software engineer, Nik Bougalis

 5 ("Bougalis"), tweeted: "I've been working on code review for the last couple days. Excited to get

 6 rippled 0.90.0 out the door,"85 indicating that Ripple was working to launch a new version of Rippled

 7 and thereby advance the XRP Ledger. Following, Ripple's release of a Rippled upgrade, Bougalis

 8 tweeted: "The @Ripple C++ team has released rippled 0.90.0. Cool new features: history sharding,

 9 deposit authorizations, checks and more!" 86

10           62.    On March 5, 2018, Bougalis similarly reposted a tweet defending investing in XRP by

11 stating, "So you'd invest in Linux, not Microsoft. In UseNet, not Google. In MySQL, not Oracle.

12 Good luck with your portfolio. Ripple is the next Google. You're stuck in the silly idea that a

13 company can't build a digital asset, even when it does this right under your nose," with the caption:

14 "Now that's a mic drop, if I've ever seen one."87 In other words, as acknowledged by Ripple's own

15 employees, the value of XRP is tied directly to the security's centralization in Ripple and the business,

16 operations, success and prospects of the Company.

17 XRP Is a Security

18           63.    The sale of XRP involved an offer and sale of securities under applicable law.

19 Defendants indiscriminately made the offer to sell XRP to the public, and defendants used the proceeds

20 raised from the sale of XRP to fund the operations of Ripple and development of the XRP ecosystem.

21 Ripple acknowledges that it "sells XRP to fund its operations and promote the network. This allows

22

23   83   @warpaul, https://twitter.com/warpaul/status/941087297360994304.
     84
24        @JoelKatz, https://twitter.com/JoelKatz/status/940974743733153792.

25   85   @nbougalis, https://twitter.com/nbougalis/status/946829572145741824.

26   86   @nbougalis, https://twitter.com/nbougalis/status/966106932925882368.

27   87   @nbougalis, https://twitter.com/nbougalis/status/970733741319503872.
28

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 1 Ripple Labs to have a spectacularly skilled team to develop[] and promote the Ripple protocol and

 2 network."88 Similarly, Garlinghouse has conceded that Ripple's "self-interest is aligned with building

 3 and maintaining a healthy XRP market."89

 4           64.    XRP, despite its name as a "token," is actually a security under California law. In

 5 particular: (i) Ripple uses the funds it raised from the sale of XRP to fund its business ventures; (ii) the

 6 Company indiscriminately offers XRP for sale to the public at large; (iii) plaintiffs and the Class (as

 7 defined herein) are effectively powerless to control the success of Ripple and XRP; and (iv) plaintiffs

 8 and the Class members' investment is substantially at risk, and is without any security.

 9           65.    Plaintiffs and the Class invested in XRP as a common enterprise with the expectation of

10 profits derived solely from the efforts of Ripple and its employees. Plaintiffs and the Class used fiat

11 and other digital currencies, such as Bitcoin and Ethereum, to purchase XRP. The expected profits and

12 returns on these investments are directly intertwined with the business and operations of Ripple. Ripple

13 acknowledges that it "sells XRP to fund its operations and promote the network. This allows Ripple

14 Labs to have a spectacularly skilled team to develop and promote the Ripple protocol and network."9°

15 Similarly, Garlinghouse has conceded that Ripple's "self-interest is aligned with building and

16 maintaining a healthy XRP market."

17           66.    The success of XRP and the development of the XRP ecosystem is uniquely centralized

18 in Ripple. The Company created the XRP Ledger and all 100 billion XRP in existence, and concedes

19 that it "sells XRP to fund its operations and promote the network," in order "to have a spectacularly

20

21

22
     88
      Ripple   credits,  https://wiki.ripp le.com/Ripp le_credits#XRPfunds_the_ddevelopment_and_
23 promotion_of the_protocol_andthe_network.

24   89
       Brad Garlinghouse, Ripple to Place 55 Billion XRP in Escrow to Ensure Certainty of Total XRP
25 Supply (May 16, 2017), https://ripple.com/insights/ripple-to-place-55-billion-xrp-in-escrow-to-ensure-
   certainty-into-total-xrp-supply/.
26
   90
       Ripple     credits,   https://wiki.ripple .com/Ripple_credits#XRP_funds_th e_development_and_
27 promotion_of the_protocol_and_thenetwork.

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 1   skilled team to develop[] and promote the Ripple protocol and network." 91 As of May 6, 2018, Ripple

 2 held over 60.8 billion XRP — more than 60% of the XRP in existence.92

 3              67.   In addition, Ripple directly influences the supply of XRP by locking more than half the

 4 supply of XRP in escrow to provide "supply predictability and trusted, healthy $XRP markets."93

 5 Ripple exercises near complete control over the XRP Ledger itself. As noted by BitMEX Research,

 6 "Ripple is essentially in complete control of moving the ledger forward, so one could say the system is

 7 centralized [sic]."94 Ripple touts its control over the XRP Ledger as an advantage for XRP, contending

 8 that governance "may be where XRP most significantly distinguishes itself [from Bitcoin, Ethereum,

 9 and Litecoin] going forward."95 Similarly, it has stated that "[b]uilding pivotal infrastructure on top of

10 technology that does not have clear governance is not palatable for large established companies."96

11              68.   Defendants themselves have recognized that XRP investors have a reasonable

12 expectation of profits derived from defendants' efforts to improve the XRP ecosystem, and have

13 publicly touted XRP's price performance on numerous occasions, as detailed herein. Ripple's website

14 even contains an "XRP Buying Guide" that provides links to exchanges and instructions on "How to

15 Buy XRP" on those exchanges.97 Furthermore, Ripple has taken steps to promote XRP in an attempt to

16 increase the token's price or to justify its price appreciation, and the Company has issued a white paper

17 touting XRP's purported "ROI." Garlinghouse and other Ripple employees have publicly stated that

18 they are bullish investors on XRP.

19

20   91   Id.
21   92   Market Performance, https://ripple.com/xrp/market-performance/ (last visited May 23, 2018).
22   93
       Q4 2017 XRP Markets Reports, https://twitter.com/bgarlinghouse/status/938933791145336832?
23 lang=en.
     94
24        The Ripple Story, BitMEX Research (Feb. 6, 2018), https://blog.bitmex.com/the-ripple-story/.

25   95   Q4 2017 XRP Markets Report, https://ripple.com/insights/q4-2017-xrp-markets-report/.

26   96   Id

27   97   XRP Buying Guide, https://ripple.com/xrp/buy-xrp/.
28

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 1             69.     Similarly, Ripple and its CEO have acknowledged that the value of XRP will be driven

 2 by the XRP Ledger's usefulness in solving cross-border payments and its adoption by institutions.

 3 Defendants have similarly touted adoption of Ripple's Enterprise Solutions, which are directly

 4 correlated with the use case and likely value of XRP. Indeed, in a lawsuit between Ripple against R3

 5 LRC LLC, a company "focused exclusively on developing a next generation financial transaction

 6 network ... based on distributed ledger technology," Ripple confirmed the correlation between the

 7 adoption of the Ripple network and the market value of XRP, alleging that the Ripple/R3 relationship

 8 would benefit Ripple through access to R3's "many banking contacts, and in turn, R3 could reap the

 9 financial benefits of Ripple's success — through both the Option Contract [R3 received the option to

10 purchase 5 billion XRP] and other compensation outlined in the agreements."98

11             70.    In addition, defendants have pooled XRP investments to fund projects to promote the

12 XRP Ledger and interledger protocol, thereby increasing the value of the XRP Ledger and XRP. For

13 example, on April 11, 2018, Ripple announced that it had "invested $25 million in XRP to Blockchain

14 Capital Parallel IV, LP," to "support and develop additional [XRP] use cases beyond payments."99

15 Ripple's Senior Vice President of Business Development promoted this investment, tweeting: "Ripple's

16 $25 million investment in @blockchaincap's new fund is the first and not the last contribution to

17 ventures that further develop the #blockchain and $XRP ecosystems." I cm

18             71.    Plaintiffs and the Class have entirely passive roles vis-a-vis the success of the XRP

19 Ledger and XRP. In fact, while Ripple promotes its payment network to banks and other financial

20 institutions to "process their customers' payments anywhere in the world instantly, reliably and cost-

21 effectively," the technology is unrelated to an investment in XRP. Rather, as defendants' own

22 marketing makes clear, the profits reasonably expected to be derived from investing in XRP are solely

23
   98
      R3 Holdco LLC v. Ripple Labs, et al., C.A. No. 2017-0652-JRS, Defendants' Opening Brief in
24 Support of Motion to Dismiss, or in the Alternative, to Stay (Del. Ch. filed Sept. 25, 2017).

25 99 Ripple Invests S25 Million to Drive Innovation in Blockchain and Digital Assets,
   https://ripple.com/insights/ripple-invests-25-million-to-drive-innovation-in-blockchain-and-digital-
26 assets/.

27   100
            @patgriffin9, https://twitter.com/Ripple/status/984061347078987776.
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 1 dependent on the technical, entrepreneurial, and managerial efforts of defendants and their agents and

 2 employees. Plaintiffs and the Class reasonably expected defendants to provide significant managerial

 3 efforts, to develop and improve the XRP Ledger, to develop and sustain a supportive network, and to

 4 secure exchanges through which XRP can be exchanged. Defendants repeatedly represented that they

 5 would provide significant managerial efforts to achieve these objectives and make the XRP ecosystem a

 6 success. The purchase of XRP is thus an investment in a common enterprise, with an expectation of

 7 profits, solely from the efforts of defendants and their affiliates.

 8 Recent SEC Guidance Undermines Ripple's Denials

 9            72.   Ripple has long claimed that XRP is not a security. As recently as April 12, 2018,

10 Ripple's Chief Marketing Strategist told CNBC in an interview: "We absolutely are not a security. We

11 don't meet the standards for what a security is based on the history of court law."101 Instead, Ripple

12 claims that XRP is a commodity, such as gold. Purchasers of XRP did not have any reason to challenge

13 these contentions from the Company, given the unclear state of regulation and quickly evolving and

14 unchartered landscape of blockchain technologies. This state of affairs has only recently changed, as

15 regulators have begun to provide clarifying guidance that undermines defendants' denials, and the

16 centralized nature of XRP in Ripple has become more apparent.

17            73.   In July 2017, U.S. Securities and Exchange Commission ("SEC") began to question the

18 legality of unregistered token sales, such as the sales of XRP, and made clear that sellers of unregistered

19 securities cannot evade their obligations under the federal securities laws by elevating faint over

20 substance. On July 23, 2017, the SEC issued an "Investor Alert," which stated that the agency was

21 "concerned that the rising use of virtual currencies in the global marketplace may entice fraudsters to

22 lure investors into Ponzi and other schemes in which these currencies are used to facilitate fraudulent,

23 or simply fabricated, investments or transactions."1°2 The release warned that "the fraud may also

24

25   101 Kate Rooney, Ripple says its cryptocurrency XRP is not a security, CNBC (Apr. 12, 2018),
     https://www.cnbc.com/2018/04/12/ripple-says-its-cryptocurrency-xrp-is-not-a-security.html.
26
     102
         Investor Alert: Ponzi Schemes Using Virtual Currencies, haps://www.sec.gov/investor/alerts/ia_
27   virtualcurrencies.pdf.
28

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 1   involve an unregistered offering or trading platform" and promises of "high returns for getting in on the

 2 ground floor of a growing Internet phenomenon."1°3

 3               74.     On July 25, 2017, the SEC released an "Investor Bulletin" on ICOs. The bulletin stated

 4 that digital blockchain currencies "may be securities" under the facts and circumstances, and that such

 5 "virtual coins or tokens in an ICO are subject to the federal securities laws." 1°4 The release continued

 6 in pertinent part:

 7
                 A virtual currency is a digital representation of value that can be digitally traded and
 8               functions as a medium of exchange, unit of account, or store of value. Virtual tokens
                 or coins may represent other rights as well. Accordingly, in certain cases, the tokens
 9               or coins will be securities and may not be lawfully sold without registration with
                 the SEC or pursuant to an exemption from registration.
10

11               75.    That same day, the SEC issued an investigative report concluding that the tokens issued

12 by a blockchain and distributed ledger organization known as "The Dao" were, in fact, securities. The

13 press release announcing the report stated that, "issuers of distributed ledger or blockchain technology-

14 based securities must register offers and sales of such securities unless a valid exemption applies" and

15 that those organizing unregistered offerings "may be liable for violations of the federal securities

16 laws."105 In the case of The Dao, the SEC found that even though the organization labeled its tokens as

17 something other than securities, the virtual currency was subject to the registration requirements of the

18 federal securities laws as, in economic substance, it was a security.

19               76.    On December 11, 2017, SEC Chairman Jay Clayton ("Clayton") issued another

20 statement on digital tokens. He confirmed that "[m]erely calling a token a 'utility' token or structuring it

21 to provide some utility does not prevent the token from being a security," and warned security offerors

22

23

24   103
           Id.
25   104
         See Investor Bulletin: Initial Coin Offerings, https://wvvw.sec.gov/oiea/investor-alerts-and-
     bulletins/ib_coinofferings.
26
     105
        See SEC Issues Investigative Report Concluding DA0 Tokens a Digital Asset, Were Securities,
27   haps://wwvv.sec .govinews/press-release/2017-131.
28

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  1 that attempts to "elevate form over substance" could not obviate their obligations under the federal

 2 securities laws.106 Clayton continued in pertinent part:

 3           [C]ertain market professionals have attempted to highlight utility characteristics of
             their proposed initial coin offerings in an effort to claim that their proposed tokens
 4           or coins are not securities. Many of these assertions appear to elevate form over
             substance. Merely calling a token a "utility" token or structuring it to provide
  5
             some utility does not prevent the token from being a security. Tokens and offerings
 6           that incorporate features and marketing efforts that emphasize the potential for
             profits based on the entrepreneurial or managerial efforts of others continue to
 7           contain the hallmarks of a security under U.S. law. On this and other points where
             the application of expertise and judgment is expected, I believe that gatekeepers and
 8           others, including securities lawyers, accountants and consultants, need to focus on
             their responsibilities. I urge you to be guided by the principal motivation for our
 9
             registration, offering process and disclosure requirements: investor protection and, in
10           particular, the protection of our Main Street investors.

11                                                    * * *

12           [M]any token offerings appear to have gone beyond this construct and are more
             analogous to interests in a yet-to-be-built publishing house with the authors, books
13           and distribution networks all to come. It is especially troubling when the promoters
14           of these offerings emphasize the secondary market trading potential of these
             tokens. Prospective purchasers are being sold on the potential for tokens to
15           increase in value — with the ability to lock in those increases by reselling the tokens
             on a secondary market — or to otherwise profit from the tokens based on the efforts
16           of others. These are key hallmarks of a security and a securities offering.
17          By and large, the structures of initial coin offerings that I have seen promoted
            involve the offer and sale of securities and directly implicate the securities
18          registration requirements and other investor protection provisions of our federal
            securities laws. Generally speaking, these laws provide that investors deserve to
19          know what they are investing in and the relevant risks involved.
20           77.    Clayton could have been referring directly to Ripple and defendants' attempts to tout the

21 profit-making potential of investing in XRP tokens on the one hand, while disclaiming any

22 responsibilities to comply with applicable securities laws on the other. The SEC has since launched

23 dozens of investigations into cryptocurrency startups.

24          78.     For the integrity of the U.S. securities markets, defendants' attempts to circumvent

25 important investor safeguards must fail. Although cryptocurrencies represent something of a new

26 investing frontier, the old adage rings true: "If it looks like a duck, swims like a duck, and quacks like a

27 106 See Jay Clayton, Statement on Cryptocurrencies and Initial Coin Offerings, SEC
                                                                                      (Dec. 11, 2017).
28

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 1 duck, then it probably is a duck." Here, XRP has all of the hallmarks of a security, and defendants'

 2 substance denial does nothing to diminish their obligations to register these securities under applicable

 3 securities laws.

 4           79.    In light of recent SEC statements, and the heavy centralization of XRP in Ripple, there

 5 can now be little doubt that XRP tokens constitute securities. Despite this fact, defendants have failed

 6 to register the securities in accordance with applicable laws and regulations, before offering and selling

 7 them to the investing public. Further, the sale of XRP was not subject to any exemption or exceptions

 8 to the registration requirements available under state or federal law. As a result, the offer and sale of

 9 XRP was unlawful, and defendants are liable to plaintiffs and the Class as purchasers ofXRP as alleged

10 herein.

11                                   CLASS ACTION ALLEGATIONS

12           80.    Plaintiffs bring this action as a class action pursuant to §382 of the California Code of

13 Civil Procedure on behalf of a class consisting of all citizens of California who purchased XRP (the

14 "Class"). Excluded from the Class are defendants and their families, the officers, directors and affiliates

15 of the defendants, at all relevant times, members of their immediate families and their legal

16 representatives, heirs, successors or assigns, and any entity in which defendants have or had a

17 controlling interest.

18           81.    The members of the Class are so numerous that joinder of all members is impracticable.

19 Hundreds of millions of XRP have been sold by defendants. While the exact number of Class members

20 are unknown to plaintiffs at this time and can only be ascertained through appropriate discovery,

21 plaintiffs believe that there are thousands of members in the proposed Class.

22           82.    Plaintiffs' claims are typical of the claims of the members of the Class, as all members of

23 the Class are similarly affected by defendants' wrongful conduct in violation of federal law that is

24 complained of herein.

25           83.    Plaintiffs will fairly and adequately protect the interests of the members of the Class and

26 has retained counsel, who is competent and experienced in class and securities litigation.

27

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 1           84.       Common questions of law and fact exist as to all members of the Class and predominate

 2 over any questions solely affecting individual members of the Class. Among the questions of law and

 3 fact common to the Class are:

 4                     (a)     whether defendants violated the Corporations Code;

 5                     (b)     whether XRP are securities;

 6                     (c)     whether XRP were required to be registered under applicable laws;

 7                     (d)     whether plaintiffs and the Class are entitled to rescind their purchases of XRP;

 8 and

 9                     (e)     to what extent the members of the Class have sustained damages and the proper

10 measure of damages.

11           85.       A class action is superior to all other available methods for the fair and efficient

12 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

13 damages suffered by individual Class members may be relatively small, the expense and burden of

14 individual litigation make it impossible for members of the Class to individually redress the wrongs

15 done to them. There will be no difficulty in the management of this action as a class action.

16                                          FIRST CAUSE OF ACTION

17                       For Violation of §§25110 and 25503 of the Corporations Code
                                            Against All Defendants
18
             86.       Plaintiffs repeat and reallege the preceding allegations as if fully set forth herein.
19
             87.       This Cause of Action is brought pursuant to §§25110 and 25503 of the Corporations
20
     Code against all defendants.
21
             88.       As detailed herein, XRP is a security.
22
             89.       Defendants failed to qualify XRP with the Commissioner of Corporations and XRP did
23
     not qualify for an exemption from registration.
24
             90.       Defendants sold XRP to plaintiffs and the Class, in violation of §25110, which makes it
25
     "unlawful for any person to offer or sell in this state any security in an issuer transaction ... unless such
26
     sale has been qualified ... or unless such security or transaction is exempted or not subject to
27
     qualification."
28

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 1           91.    As such, Garlinghouse and Ripple have participated in the unlawful sale of securities in

 2 violation of the Corporations Code, and are liable to plaintiffs and the Class for rescission and/or

 3 compensatory damages under §25503.

 4                                     SECOND CAUSE OF ACTION

 5                           For Violation of §25504 of the Corporations Code
                                     Against Ripple and Garlinghouse
 6

 7          92.     Plaintiffs repeat and reallege the preceding allegations as if fully set forth herein.

 8          93.     This Cause of Action is brought pursuant to §25504 of the Corporations Code against

 9 Ripple and Garlinghouse.

10          94.     Due to his position within the Company and role, vis-à-vis, the XRP Ledger, ownership

11 interest in and control over Ripple, Garlinghouse acted as a controlling person of Ripple and XRP II

12 within the meaning of §25504 of the Corporations Code as alleged herein. By virtue of his position as

13 CEO and his participation in and/or awareness of Ripple's operations, Garlinghouse had the power to

14 influence and control, and did influence and control, directly or indirectly, the decision-making, relating

15 to the sale of XRP and the failure to register these sales.

16          95.     Ripple controlled XRP II, as the parent of XRP II, and the various actors responsible for

17 the advancement of the XRP ecosystem. In addition, Ripple controlled Garlinghouse and all of his

18 employees.

19          96.     Ripple and Garlinghouse also controlled the flow of XRP, the advancement of the XRP

20 Ledger, and the means by which transactions in XRP and the offer and sale of XRP occurred, including

21 their ability to freeze XRP accounts and control the flow of XRP through various exchanges and the

22 other indications of control alleged herein. By virtue of their own acts, and their positions of control

23 and influence, Ripple and Garlinghouse materially aided in the acts and transactions constituting the

24 violations alleged herein.

25          97.     By virtue of the foregoing, defendants are liable to plaintiffs and the Class as secondary

26 actors under §25504 of the Corporations Code.

27

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 1           98.     As such, Garlinghouse and Ripple have participated in an unregistered sale of securities

 2 in violation of the Corporations Code, and are liable to plaintiffs and the Class for rescission and/or

 3 compensatory damages.
 4                                           PRAYER FOR RELIEF
 5           WHEREFORE, plaintiffs pray for relief and judgment, as follows:
 6           A.      Determining that this action is a proper class action and certifying plaintiffs as class

 7 representatives and plaintiffs' counsel as Lead Counsel;

 8           B.      Declaring that XRP is a security and that defendants' unregistered sales of XRP violated

 9 applicable law;

10           C.      Awarding compensatory damages in favor of plaintiffs and the other Class members
11 against all defendants, jointly and severally, for all damages sustained as a result of defendants'

12 wrongdoing, in an amount to be proven at trial, including interest thereon;
13           D.      Awarding plaintiffs and the Class their reasonable costs and expenses incurred in this

14 action, including counsel fees and expert fees;
15           E.      Awarding rescission or a rescissionary measure of damages; and

16           F.      Awarding such equitable/injunctive or other relief as the Court may deem just and

17 proper.

18                                               JURY DEMAND
19           Plaintiffs respectfully request a trial by jury on all issues so triable.
20 DATED: October 15, 2018                                ROBBINS ARROYO LLP
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 1                                     DECLARATION OF SERVICE
 2          I, the undersigned, declare:
 3          1.      That declarant is and was, at all times herein mentioned, a citizen of the United States
 4 and a resident of the County of San Diego, over the age of 18 years, and not a party to or interest in the

 5 within action; that declarant's business address is 600 B Street, Suite 1900, San Diego, California

 6 92101.
 7          2.      That on October 15, 2018, I served the following document(s):
 8          CONSOLIDATED COMPLAINT FOR VIOLATIONS OF CALIFORNIA LAW
 9                    By transmitting via facsimile the document(s) listed above to the fax number(s) set
                      forth on the attached Service List from fax number (619) 525-3991 on this date
10                    before 5:00 p.m. The facsimile transmission was reported as complete and without
                      error.
11
           X          By placing the document(s) listed above in a United States mailbox at San Diego,
12                    California in a sealed envelope with postage thereon fully prepaid and addressed to
                      the parties listed on the attached Service List.
13
                      By causing the document(s) listed above to be served by a courier service on the
14                    following parties:
15                    By depositing in a box or other facility regularly maintained by FedEx, an express
                      service carrier, or delivered to a courier or driver authorized by said express service
16                    carrier to receive documents, in an envelope designated by the said express service
                      carrier, with delivery fees paid or provided for, addressed to the parties on the
17                    attached Service List.
18                   Based on a court order or an agreement of the parties to accept service by e-mail or
                     electronic transmission, I sent the documents described herein to the persons at the
19                   e-mail addresses on the attached service list. I did not receive, within a reasonable
                     time after the transmission, any electronic message or other indication that the
20                   transmission was unsuccessful.
21          3.     That there is a regular communication by mail between the place of mailing and the
22 places so addressed.
23          I declare under penalty of perjury under the laws of the State of California that the foregoing is
24 true and correct. Executed this October 15, 2018, at San Diego, California.
25
26
                                                                     KATHERINE B. SCHEELE
27

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                    CONSOLIDATED COMPLAINT FOR VIOLATIONS OF CALIFORNIA LAW
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 1                                       SERVICE LIST

 2 In re Ripple Labs Inc. Litigation, Lead Case No. 18CIV02845

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26                                              II, LLC, and Bradley Garlinghouse

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          EXHIBIT B
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            Counselfor Plaintiff
12

13
                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
14
                                                                                        '

                                              COUNTY OF SAN MATEO
15
            AVNER GREENWALD, Individually and on                Case No.
                                                                                            18       C    W 03            4.6 1.
16          Behalf of All Others Similarly Situated,
                                                                CLASS ACTION COMPLAINT FOR
17                                            Plaintiff,        VIOLATIONS OF THE SECURITIES ACT
                   V.                                       ‘
                                                                OF 1933
18
   RIPPLE LABS, INC., a Delaware Corporation,                   JURY TRIAL DEMANDED
19 XRP II, LLC, a South Carolina Limited Liability
   Company, BRADLEY GARLINGHOUSE,
20 CHRISTIAN LARSEN, RON WILL,
   ANTOINETTE O’GORMAN, ERIC VAN
21 MILTENBURG, SUSAN ATHEY, ZOE
   CRUZ, KEN KURSON, BEN LAWSKY,
22 ANJA MANUEL, and TAKASI-II OKITA,
                                                                                   ‘
                                                                                       18—clV—ua451
23                                            Defendants.                      .       CMP
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                      Plaintiff Avner Greenwald (“Plaintiff”), individually and on behalf of all others similarly
               situated, by Plaintiffs undersigned attorneys, alleges the following based upon personal knowledge as to

               Plaintiff’s own acts, and upon information and belief as to all other matters based on the investigation

               conducted by and through Plaintiffs attorneys, which included, among other things, a review                        of

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               Securities and Exchange Commission (“SEC”) ﬁlings and commentary, publicly available reports and

               information, analyst and media reports, and other commentary analysis. Plaintiff’s investigation into the

               matters alleged herein is continuing and many relevant facts are known only to, or are exclusively within

 8             the custody and control of, the Defendants.         Plaintiff believes that substantial additional evidentiary
               support will exist for the allegations set forth herein after a reasonable opportunity for formal discovery.

10                                             NATURE AND SUMMARY OF ACTION

11                     1.      Plaintiff brings this securities   class action under §§5,   l2(a)(l),   and 15    of the   Securities

12             Act of 1933 (the “Securities Act”) against (1) Ripple Labs, Inc. (“Ripple Labs” or the “Company”);

13             (2) Ripple Labs’ wholly owned subsidiary, XRP II, LLP (“XRP              II”);   and (3) certain   of Ripple Labs’
14             controlling senior executives and directors (collectively, the “Individual Defendants”). Plaintiff alleges

15             that Defendants sold unregistered securities to investors in violation       of the   Securities Act. Defendants

16             are liable in their capacities as issuers, statutory sellers, and/or direct or indirect offerors   of XRP.
17                     2.      Plaintiff brings this action on behalf of all investors who purchased Ripple tokens
18             (“XRP” or “Ripples”) on or after July 3, 2015 and were damaged thereby.

19                     3.      XRP qualify     as securities   under Section 2(a)(1)      of    the Securities Act, 15 U.S.C.

20             §77b(a)(1).   The purchase     of XRP constitutes     an investment contract as XRP purchasers, including

21             Plaintiff, provided consideration (in the form of ﬂat, i.e.,       US    dollars or other cryptocurrencies) in

22             exchange for XRP. XRP is in investment in a common enterprise and purchasers reasonably expected to

23             derive proﬁts from their ownership       of XRP. Defendants promoted this proﬁt motive               as a reason to

24 purchase XRP.

25                     4.      No registration statements have been ﬁled with the SEC or have been in effect with

26             respect to the XRP offerings alleged herein.

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                          5.       All     100   billion XRP in existence were created out of thin air by Ripple   Labs.1   Twenty

                 billion XRP, or 20% of all XRP in existence, were given to the individual founders of Ripple Labs,
                 including Defendant Chris Larsen, and the remaining 80 billion were retained by Ripple Labs.

                          6.       Defendants have since earned massive proﬁts by selling the retained XRP to the public,

                 without complying with federal securities laws, in what is essentially an ongoing initial coin offering

                 (“ICO”). Like an initial public offering (“IPO”), in an ICO, digital              assets are sold to consumers   in
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                 exchange for legal tender or other cryptocurrencies (most often Bitcoin and Ethereurn).

                          7.       Defendants sell XRP from the retained supply and use the proceeds from the sales to fund

                 Company operations.

1o                        8.       In order to increase demand for XRP, and thereby increase the proﬁts derived by selling

11               XRP, Defendants portray XRP as a good investment, solicit sales, express optimistic price predictions,

12               and conﬂate Ripple Labs’ enterprise customer programs with usage and value                 of XRP. Ripple Labs
13               greatly increased these efforts to push XRP on the general public in recent years.

14                        9.       These solicitation efforts were conducted by interstate means, as were the sales     of XRP.
15                                                          JURISDICTION AND VENUE
16                        10.      The Court has subject matter jurisdiction over this action pursuant to the California

17               Constitution, Article VI, §10 and Section 22         of the   Securities Act, 15 U.S.C. §77v. The claims alleged

18               herein arise under §§5, l2(a)(l), and 15           of the   Securities Act.   See 15 U.S.C. §§77e, 771, and 770.

19               Section 22     of the   Securities Act, 15 U.S.C. §77v(a), expressly states that “[e]xcept as provided in section

2o               77p(c)   of this title,   no case arising under this subchapter and brought in any State court      of competent
21               jurisdiction shall be removed to any court of the United States.” Section 77p(c) refers to “covered class

22               action[s] brought in any State court involving a covered security, as set forth in subsection (b),” and

23               subsection (b)     of   §77p in turn includes Within its scope only covered class actions “based upon the

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           This is unlike other cryptocurrencies like Bitcoin and Ethereum that are “mined” by those
27 validating transactions on their networks.

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                    statutory or common law     of any   State or subdivision thereof.” See 15 U.S.C. §77p. This is an action

                    asserting only federal law claims. Thus, this action is not removable to federal court.

                           11.     Venue is proper in this jurisdiction pursuant to the provisions             of California   Code   of
                    Civil Procedure §395 (a) because certain Defendants reside in San Mateo County.
                           12.     This Court has personal jurisdiction over Defendants        as a   result   of acts of Defendants
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                    occurring in and/or aimed at the state of California in connection with Defendants’ unregistered

                    offer and sale of securities in violation of §§5, 12(a)(1), and   15   of the Securities Act.
                            13.    This Court also has personal jurisdiction over Defendants because they reside in or

                    have their principal places   of business in California.
10                                                                    PARTIES

11                          14.    Lead Plaintiff Avner Greenwald is an individual and a resident of Israel. Plaintiff

12                  bought and sold XRP in both USD and Bitcoin between December 14, 2017 and May 12, 2018, and

13                  suffered losses on those investments as a result    of the scheme alleged herein.
14                          15.    Defendant Ripple Labs, Inc. is a Delaware corporation with its principal place of

15                  business at 300 Montgomery Street, 12th Floor, San Francisco, California. Ripple Labs operates

16                  RippleNet, a global payments network based on blockchain technology. Through RippleNet, banks

17                  and payment providers can use XRP to process, clear, and settle ﬁnancial transactions in real—time

18                  worldwide. Ripple Labs created XRP and, at all relevant times, solicited purchases of XRP by

19                  Plaintiff and the Class for its own beneﬁt and the beneﬁt of its executives and owners.
2o                          16.    Defendant XRP II, LLC is wholly owned subsidiary              of Ripple       Labs. XRP      II   is a

21                  South Carolina limited      liability company with its principal place of business in San Francisco,
22                  California. XRP    II   sold XRP and solicited the purchases of XRP by Plaintiff and the Class for its

23                  own beneﬁt and the beneﬁt of its parent, Ripple Labs, and its executives and owners.

24                          17.    Defendant Bradley Garlinghouse (“Garlinghouse”) is, the Chief Executive Ofﬁcer

25                  (“CEO”) of Ripple Labs and has been since January 2017.                   Garlinghouse was Ripple Labs’

26                  President and Chief Operating Ofﬁcer from April 2015 through December 2016. Garlinghouse is a

27                  California citizen and    a resident   of San Mateo County. Garlinghouse exercised control over Ripple
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        Labs and directed and/or authorized, directly or indirectly, the sale and/or solicitation      of XRP to the
N       public.

                  18.   Defendant Christian (Chris) Larsen (“Larsen”) is Executive Chairman of Ripple

        Labs’ Board     of Directors   and has been since January 2017. Larsen is also a co—founder        of Ripple

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        Labs and a former CEO          of Ripple Labs (through December 2016). Larsen exercised control over
        Ripple Labs and directed and/or authorized, directly or indirectly, the sale and/or solicitation of
                               .




        XRP to the public.

                  19.   Defendant Ron      Will (“Will”)   is Chief Financial Ofﬁcer   of Ripple   Labs and has been

        since November 2017.         Will exercised control over Ripple Labs     and directed and/or authorized,

1o      directly or indirectly, the sale and/or solicitation of XRP to the public.

11                20.    Defendant Antoinette O’Gorman (“O’Gorman”) is Chief Compliance Ofﬁcer of

12      Ripple Labs.      O’Gorman exercised control over Ripple Labs and directed and/or authorized,

13      directly or indirectly, the sale and/or solicitation of XRP to the public.

14                21.    Defendant Eric van Miltenburg (“van Miltenburg”) is Senior Vice President for

15      Business Operations        of Ripple   Labs.   Van Miltenburg exercised control over Ripple Labs and

16      directed and/or authorized, directly or indirectly, the sale and/or solicitation   of XRP to the public.
17                22.    Defendant Susan Athey (“Athey”) is a Director of Ripple Labs. As a Director, Athey

18      exercised control over Ripple Labs and directed and/or authorized, directly or indirectly, the sale

19      and/or solicitation   of XRP to the public.
2o                23.    Defendant Zoe Cruz (“Cruz”) is a Director of Ripple Labs.            As a Director, Cruz

21      exercised control over Ripple Labs and directed and/or authorized, directly or indirectly, the sale

22      and/or solicitation   of XRP to the public.
23                24.    Defendant Ken Kurson (“Kurson”) is a Director of Ripple Labs.                As a Director,

24 Kurson exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,

25      the sale and/or solicitation    of XRP to   the public.

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                     25.      Defendant Ben Lawsky (“Lawsky”) is a Director             of Ripple   Labs.   As a Director,

              Lawsky exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,

#WN           the sale and/or solicitation   of XRP to the public.
                     26.      Defendant Anja Manuel (“Manuel”) is a Director            of Ripple   Labs. As a Director,

              Manuel exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,

              the sale and/or solicitation   of XRP to the public.
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                     27.      Defendant Takashi Okita (“Okita”) is a Director          of Ripple    Labs.   As a Director,

              Okita exercised control over Ripple Labs and directed and/or authorized, directly or indirectly, the

              sale and/or   solicitation of XRP to the public.

10                   28.      The defendants referred to in W17-27 are referred to as the “Individual Defendants.”

11                                                SUBSTANTIVE ALLEGATIONS

12                   A.       The Background of XRP

13                   29.      Unlike cryptocurrencies such       as   Bitcoin and Ethereum, which are mined by those

14            validating transactions on their networks, all 100 billion XRP in existence were created out of thin

15            air by Ripple Labs in 2013. Twenty billion XRP, or 20% of the total XRP supply, were given to

16            the individual founders   of Ripple Labs,2 with the remaining     80   billion retained by Ripple Labs.
17                   30.      As for 80 billion XRP held by Ripple Labs, the plan was to sell them and use the

18            proceeds to fund and improve Company operations, including the XRP ledger network.

19                   31.      Ripple Labs’ own wiki notes that “Ripple Labs sells XRP to fund its operations and

20            promote the network. This allows Ripple Labs to have a spectacularly skilled team to develop and

21            promote the Ripple protocol and network.”3

22                   32.       In the ﬁrst quarter of 2018, “market participants purchased $16.6 million [of XRP]
23            directly from XRP II, LLC,” XRP        II also “sold $151.1 million worth of XRP” on exchange.4
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                     Defendant Chris Larsen received 9.5 billion XRP.
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                     Ripple credits, https://wiki.ripple.com/Ripple_credits#XRP ﬁnds                the   development   and
27            promotion of the protocol and the network (last visited June 29, 2018).     .




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                        33.     Ripple Labs’ primary business involves the operation of an open ledger protocol,

                 payment, and exchange network. The native cryptocurrency for Ripple Labs’ exchange network is

                 XRP.   Thus, XRP is both an investment in the Company (as sales are used to ﬁmd Company

                 operations with the expectation that such investments in the Company          will   increase the value   of
                 XRP) and an investment in itself (with the expectation that the value     of XRP will increase),   as   well

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                 as a means   of exchange promoted by Ripple Labs.
                        34.     Ripple Labs’ exchange network is based around the XRP Ledger. The XRP Ledger

                 consists   of many   servers, called nodes, which accept and process transactions. Client applications

                 sign and send transactions to nodes, which then relay these candidate transactions throughout the

10               network for processing. Transactions are then veriﬁed and become part of the XRP Ledger through

11               a consensus process.      Every XRP transaction must be made through Ripple Labs’ XRP Ledger,

12               which is maintained by Defendants. In order to open an account on the XRP Ledger, users must

13               maintain a minimum account balance        of 20 XRP. In addition,   each time a transaction is made in

14               XRP, there is a transaction cost to users.

15                      35.     Ripple Labs’ founders and other Company insiders have also proﬁted individually

16               from their XRP holdings. In January 2018, Ripple co—founder Defendant Larsen was named one of

17               the richest people in the United States, with an estimated net worth     of $59.9 billion, primarily    due

18               to the increase in value in XRP and his personal ownership       of billions of XRP    and his signiﬁcant

19               stake in the Company.5

2o                      36.     Defendants have control over how many XRP are in the market.

21                      37.     No registration statement has been ﬁled for XRP with the SEC and no registration

22               statement is in effect for XRP.

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25                       Q1 2018 XRP Markets Report, https://ripple.com/insights/q1—2018—xrp—markets—report/ (last
                 visited June 29, 2018).
26               5
                       https ://www. cnbc. com/2O l 8/0 1/04/ripple—co-founder—is—now—richer-than-the- goo gle-founders—
27               on-paper.html (last visited on June 29, 2018).

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                  B. Defendants Solicit XRP Sales

           38.       From 2013 to the present, Defendants and their afﬁliates have been engaged in an

     ongoing scheme to sell XRP to the general public.

           39.       Ripple Labs dedicates an entire section of its website to providing advice on “How to

     Buy XRP.” This section provides links to online exchanges and instructions on “[h]ow to buy
     XRP” on those exchanges.6 It also has a section titled “Market Performance” which proclaims that

     Ripple Labs is “committed to the long term health and stability of XRP markets.”7

           40.       Ripple Labs also consistently promotes the availability of XRP on exchanges. For

     example, on May 18, 2017, its Senior Vice-President for Business Development, Patrick Grifﬁn,

10   tweeted a link to the Kraken exchange with the caption: “Kraken Introduces New Fiat Pairs for

11   XRP Trading! USD, JPY, CAD, EUR @ Ripple.”8

12          41.      Similarly, on or about December 21, 2017, Ripple Labs tweeted in Japanese that
13   XRP was now available on over 50 exchanges.9 That tweet linked to an article on Ripple Labs’

14   website which described XRP as “the fastest and most scalable [digital] asset on the market.”10            It
15   continued, “[t]he market is taking notice     of XRP’s   speed,   reliability and scalability   —   which has

16   strengthened the demand for XRP and where it’s listed. In fact, we’re proud to announce that XRP

17   has gone from being listed on six exchanges earlier this year to more than 50           worldwide.” The

18   article also links to a number   of online   exchanges where XRP can be purchased, and states that

19   “XRP’s long—term value is determined by its utility         —     including its ability to help ﬁnancial

2o institutions source   liquidity for payments into and out of emerging markets.”
21
     6
22          XRP Buying Guide, https://ripple.com/xm/buy—xrp/ (last visited on June 29, 2018).
     7
23          Market Performance, https:l/ripple.com/xrp/market—performance/ (last visited on June 29, 2018)
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24         @patgrifﬁn9, https://twitter.com/patgrifﬁn9/status/865251321867231233 (last visited on June
     29,2018).
25   9
            @Ripple, https://twitter.com/Ripple/status/943999526783905792 (last visited on June 29, 2018).
26   10
            XRP Now Available on 50 Exchanges Worldwide, https://ripple.com/insights/xrp—now—
27   available-on—SO—exchanges—worldwide/ (last visited on June 29, 2018).

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            42.      Ripple Labs also hosts conferences to generate interest in XRP.           For example,

     between October 16 and October 18, 2017,           it   hosted a conference named “Swell” in Toronto.

     Ripple Labs acknowledged that “[a]nticipation around the event spurred a meaningful spike in

     XRP, pushing    it up   100 percent[.]”11

            43.      On the same day, CoinDesk, a subsidiary of Digital Currency Group, which has an

     ownership interest in Ripple Labs, published an article titled “Ripple Price Passes Historic $1

     Milestone.”12    This was just one     of many   instances in which Ripple Labs would promote price

     movements     of XRP.
            44.      Ripple Labs’ promotion of XRP’s price reached new highs in December 2017. In

10   one instance, Ripple’s XRP product manager retweeted a tweet exclaiming:        “Wow, XRP at all-time

11   high! Forget about bitcoin, we’re all in on XRP!” (Emphasis added.)13

12          45.      Around that same time, on or about December 7, 2017, Ripple Labs announced that

13   it had placed “55 billion XRP in      a cryptographically—secured escrow account to create certainty   of
14   XRP supply at any given time”:4 It had been previously announced in May 2017 that this would

15   happen along with a limited distribution schedule. This was done to        limit the available supply of
16   XRP and drive price appreciation, which allowed Defendants to maximize proﬁts from XRP sales.

17   The December 7, 2017 announcement stated:

18                By securing the lion’s share of XRP in escrow, people can now mathematically verify
                  the maximum supply that can enter the market. While Ripple has proved to be a
19                responsible steward of XRP supply for almost ﬁve years — and has clearly
                  demonstrated a tremendous track record of investing in and supporting the XRP
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22           14Q3 2017 XRP Markets Report, https://ripple.com/xrp/q3~2017-xrp—markets-report/ (last
     visited on June 29, 2018).
23   12
            Ripple Price Passes Historic $1 Milestone, https://www.coindesk.com/ripple-price—passes-
24 historic—l-milestone/ (last visited on June 29, 2018).
     13
25           @Warpaul, https://twitter.com/yoshitaka_kitao/status/940785785925709829 (last visited on June
     29, 201 8).
26   14
          https://ripple.com/insights/ripple—escrows-55-billion—xrp-for—supply—predictability (last visited on
27 June 29, 2018).

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                                 ecosystem    —   this lockup eliminates any concern that Ripple could ﬂood the market,
                                                                                                                5
                                 which we’ve pointed out before 1s     a scenario that would be bad for Ripple!

                         46.        The article contained a button to allow readers to share         it   on Twitter with the caption

                 “Game changer for $XRP! 55 billion XRP now in escrow.”16 Ripple also promoted this article through

                 its own tweet, which proclaimed:            “55B $XRP is now in escrow. Interested in what this means for

                 $XRP markets?”l7 Garlinghouse was even more enthusiastic, tweeting: “Boom! 55 B $XRP now in

                 escrow.     Good for supply predictability and trusted, healthy $XRP markets.                Glad to ﬁnally let this
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                 #cryptokitty out of the bag!”18

                           47.      Ripple’s public commitment to limit the supply of XRP had its intended effect. In the

                 weeks that followed, the price           of XRP rapidly increased, from approximately $0.22 per token on
10
                 December 7, 2017 to $3.38 per token on January 7, 2018.19
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                           48.      Ripple Labs’ CEO, Brad Garlinghouse, has also been a vocal advocate for investing
12
                 in XRP. In       a December 14, 2017       interview with Canada’s Business News Network (“BNN”), when
13
                 asked   if he     is personally invested in XRP, the CEO stated             “I’m long XRO, I’m very, very long
14
                 XRP   as a      percentage   of my personal balance sheet.” He continued, stating that he is “not long some
15
                 of the other [digital]       assets, because    it   is not clear to me what’s the real   utility, what problem      are
16
                 they really solving.” And ended by reiterating                “if you’re   solving a real problem,   if it’s   a scaled
17
                 problem, then       I think you have      a huge     opportunity to continue to grow that. We have been really
18
                 fortunate obviously,         I remain very, veiy, very long XRP, there is an expression in the industry
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                 HODL, instead of hold, its HODL             . . .   I’m on the HODL side” (emphasis       added).
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23                         Id.
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24                         Id.
                 17
25                         https://twitter.com/Ripple/status/93 89339679563 89889.
                 18
26                         https://twitter.coni/bgarlinghouse/stattis/93 8933791 145336832?lang=en.
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27                      XRP would subsequently lose nearly all its value in just over three months, falling to                  a   low of
                 approximately $0.48 per token on April 6, 2018.
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                       49.     Later that same day, Garlinghouse tweeted: “Bloomberg welcomes $XRP to

               @theterrninal and gets      it right — #2 market cap behind $BTC   at ~$80BB!”20

                       50.     About   a   week later, on or about December 22, 2017, Garlinghouse tweeted an article

               titled “Bitcoin Is So 2017     as   Ripple Soars at Year End,” with the caption   “I’ll let the headline speak
               for itself. $xrp.”21
                       51.     On or about January 17, 2018, Garlinghouse tweeted a CNBC article titled “Ripple is
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               sitting on close to $80 billion and could cash out hundreds of millions per month—but               it isn’t,” with
               the caption   “A good read on why fostering a healthy $XRP ecosystem is a top priority at @Ripple.”
                       52.     However, the reality was that Ripple Labs was doing exactly that                —    cashing out.

10             Defendants sold at least $167.7 million worth          of XRP between January       1, 2018 and        March 31,

ll             2018.

12                     53.     Given its reliance on sales of XRP to fund its operations,            it   is unsurprising that

13             Ripple Labs’ aggressively markets XRP to drive demand, increase the price                        of XRP,       and

14             consequently, its own proﬁts.

15                     54.     Defendants’ advertising and social media postings also conﬂate adoption and use of

16             Ripple Labs’ xCurrent and XVia enterprise solutions with adoption and use              of XRP,       even though

17             they often have little to no correlation and do not involve the XRP Ledger. Defendants do this to

18             drive demand for XRP and thereby maximize profits from XRP sales.

19                     55.     According to its site, “xCurrent is Ripple’s enterprise software solution that enables

20             banks to instantly settle cross—border payments with end-to-end tracking. Using xCurrent, banks

21             message each other in real-time to conﬁrm payment details prior to initiating the transaction and to

22             conﬁnn delivery once it settles. ”22

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               20
          @bgarlinghouse, https://twitter.com/bgarlinghouse/status/94l375649549246464 (last visited on
24 June 29, 2018).
               21
25                     @bgarlinghouse, https://twitter.com/bgarlinghouse/status/944325730338357248 (last Visited on
               June 29, 2018).
26
               22
                      Process Payments, xCurrent, https://ripplc.com/solutions/process-payments/ (last Visited on June
27             29, 2018).

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               56.     xCurrent doesn’t operate on the same technology     as   XRP or even require the use of

     XRP. In short, there is no reason to believe that adoption       of xCurrent would correlate in    any way

     with adoption of XRP.
               57.     Nor does use of Ripple Labs’ xVia product require adoption of XRP. Ripple Labs
     states that its   xVia product is “for corporates, payment providers and banks who want to send
                                                                  3,23
     payments across various netwOrks using a standard interface.

               58.     Ripple Labs nevertheless conﬂates the adoption of xCurrent and xVia with the

     adoption    of XRP.
               59.     Another of Ripple Labs’ enterprise solutions, xRapid, which does use XRP, is also

10   used to drive XRP sales (xRapid, along        with xCurrent and xVia, are together referred to herein        as

11   “Ripple Labs’ Enterprise Solutions”).

12             60.     Indeed, Ripple Labs regularly promotes its improvements to the XRP ecosystem,

13   which are intended to increase demand for XRP and thus potential returns for XRP investors. For

14   example, in describing the reasons behind the dramatic price appreciation of XRP during the fourth

15   quarter   of 2017, Ripple speciﬁcally cited as of “particular importance,” the Company’s various business
16   initiatives, including: (i) Ripple’s partnership with American Express/Santander; (ii) Ripple’s activation

17   of the previously discussed escrow of XRP to limit periodic offers and distributions;          and   (iii)    a

18   Japanese/Korean banking consortium backed by the Company.24 In the report, Ripple stated that its

19   “consistent and steadfast support    of XRP   is a major advantage as the payments industry continues to

2o   seriously consider it as an alternative liquidity solution.”25

21             61.     A November   2015 white paper by the Company highlighted “XRP’s Role on Ripple

22   and the Internet    of Value” and how the Company’s technologies could turn a “Spark to a Wildﬁre”
23

24   23
               Send Payments, xVia, https://ripp1e.com/solutions/send-payments/ (last visited on June 29,
25   2018).
     24
26             Q4 2017 XRP Markets Report, https://ripple.com/insights/q4—20 l 7-xrp—markets—report/.
     25
27             Id.

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                 by increasing liquidity and efﬁciencies for cross—border transactions for the Company’s banking
                 clients.    A February   2016 white paper followed up on those purported “network effects,” claiming

                 that the use     of   the Ripple network at XRP would increase banks’ returns on investment by

                 improving the global payment infrastructure.

                            62.    In addition, on March 20, 2017, Ripple Labs retweeted a Bloomberg article regarding

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                 adoption     of Ripple   Labs Enterprise Solutions, proclaiming “Ripple is the only company in this

                 space   with real customers who are really in production.”26
                            63.    The price   of XRP      increased rapidly following this tweet and on March 24, 2017

                 Ripple Labs tweeted: “The price          of #XRP   continues to surge showing that people are looking for

1o               #bitcoin alternatives.”27

11                          64.    On April 26, 2017, Ripple Labs tweeted a link to an article on its own site,

12               proclaiming “#Ripple welcomes 10 additional customers to our #blockchain #paymentsnetwork.”28

13               Neither this tweet nor the article it linked to informed readers that the blockchain payments

14               network did not refer to the XRP Ledger, but rather Ripple’s xCurrent enterprise solution.

15                          65.    Just days later, on May 3, 2017, with the price        of XRP continuing to    rise, Ripple

16               Labs tweeted: “#Ripple adoption is sparking interest in XRP ‘which has had an impressive rally in

17               the last months’ via @Nasdaq.”29

18                          66.    Articles such   as   “Ripple XRP price picks up pace   as demand   for xVia API increases”

19               have made the direct connection between the price            of XRP   and the adoption    of   the Company’s

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                 26
24                          @Ripple, https://twitter.com/Ripple/status/844009778309357568 (last visited on June 29, 2018).
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25                          @Ripple, https2//twitter.com/Ripple/status/845347809830195200 (last visited June 29, 2018).
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26                          @Ripple, https://twitter.com/Ripple/status/85 72673 04618278912 (last visited June 29, 2018).
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27                          @Ripple, https://twitter.com/Ripple/status/85 9904105916923 904 (last visited June 29, 2018).

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              Enterprise Solutions.30 Ripple itself has made this link, for example tweeting on May 16, 2017: “The

 N            appeal that Ripple has towards traditional ﬁnancial institutions is a big advantage                it has over Bitcoin.”31
                         67.    On June 29, 2017, Ripple Labs tweeted a clip                         of   an interview its CEO Brad

              Garlinghouse gave on CNBC with the caption: “#XRP—up 4000% this year—has shown the market
 \IONUI-PU)



              favors a real use case for #digitalassets          .   .   .
                                                                             3’32    In that interview, Garlinghouse proclaims that
              “digital    assets are   in   a   position to be more valuable than gold,” and describes XRP                as   “solving    a

              real-world use case, it’s not just about speculators.”

                         68.    On September 11, 2017, Garlinghouse stated in an interview with CNBC: “People are

              looking at the success Ripple has been having              as a   company, and       I think that’s increased the value of
10            XRP.”33 (emphasis added). He continued by stating that Ripple wants “to keep focusing on making

11            XRP a valuable payments tool, and that value               will       increase accordingly,” and he was “voting with my

12            . . .   pocketbook on the future increased value       of cryptocurrencies.”34
13                       69.     On November 27, 2017, Garlinghouse tweeted “Ripple                       & $XRP   are giving business

14            ‘what they want in a #blockchain,”’ along with a link to a Motley Fool tweet.35 That Motley Fool

15            tweet in turn stated that “AmEx and Banco Santader                          will   use Ripple’s blockchain network for

16            instant intl. fund transfers. Could be a big deal for Ripple ’s XRP cryptocurrency. $ASP $SAN”

17            (emphasis added.)36

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19            30
                         httpsz/lglobalcoinreport. com/ripple—xrp—price—picks—up-pace- as—demand—for—xvia—api-increases/.
20            31
                         @Ripple,https://twitter.com/Ripple/status/864635614020251649.
21            32
                         @Ripple, https://twitter.com/Ripp1e/status/880532198025121793 (last visited June 29, 2018).
22            33
                      htpps://www.cnbc.corn/2017/09/1 l/ripple—ceo-brad-garlinghouse—on—bitcoin—and-xrp.htrnl                        (last
23            Visited June 29, 2018).
              34
24                       Id.
              35
25                       @bgarlinghouse, https://twitter.com/bgarlinghouse/status/93 5225940845 71 1366 (last visited on
              June 29, 2018).
26            36
                         @themotleyfool, https://twitter.com/themotleyfool/status/934850515640471553 (last Visited on
27            June 29, 2018).

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            70.    Similarly, on December 14, 2017, Ripple Labs tweeted: “The Japan Bank
     Consortium launched a Ripple pilot with two large Korean Banks 4 the ﬁrst time money moves

     from Japan to Korea over RippleNet.”37 On that same day, Ripple Labs tweeted “@garlinghouse

     [its CEO’s twitter handle] on why crypto prices   will   be driven by real   utility, the multi-trillion   $

     problem @Ripple is solving and why $XRP      will come out on top.”38
            71.    Ripple Labs would later acknowledge that “neither the AMEX news nor the Korean

     bank initiative involved XRP.”

            72.    Nevertheless, this tweet linked to a BNN interview with Mr. Garlinghouse, in which

     he says:
            The reason Why XRP has performed so well this year, we’re solving a real problem,
10          it’s a multi—trillion dollar problem around cross-border payments. There is a lot of
            friction its very slow its expensive, we’re working with the institutions to deal with
11          that, so people have gotten excited.     We now have over 100 customers we’ve
            announced publicly.
12
            He continues,
13
            [A]t the end of the day the value of digital assets will be driven by their utility. If
14          they are solving a real problem, and that problem has scale, and that problem, you
            know there is real value there, then there will be demand for the tokens and the price
15          will go up. For XRP we have seen because its required, its something that can really
            reduce the friction, and we’re talking about a multi-trillion dollar problem in how
16          cross—border payments ﬂow. And so, I think if you drive real utility, yes there’s
            going to be demand for that. XRP is up 100x this year, and I think it’s because the
17          problem we are solving people realize is a real problem, it’s a big problem.
18   (Emphasis added.)
19          73.    On January 4, 2018, following XRP’s rapid price increase, The New York Times

20 published an article by Nathaniel Popper titled: “Rise     of Bitcoin Competitor Ripple    Creates Wealth

21   to Rival Zuckerberg.”39 Mr. Popper tweeted a link to this article with the caption: “On the rise           of
22

23

24   37
            @Ripple, https://twitter.com/Ripple/status/94l501026267316224 (last Visited on June 29, 2018).
25   38
            @Ripple, https://twitter.com/Ripple/status/94l352005058011137 (last visited on June 29, 2018).
26   39
            @nathanielpopper, “Rise   of Bitcoin Competitor Ripple   Creates Wealth to Rival Zuckerberg,”
27 NY TIMES   (Jan. 4, 2018).

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           If this is a tulip fever, the fever has spread to Chrysanthemums and poppies”4°. He ﬁther
     Ripple.

     commented, “I’ve asked several people close to banks if banks are indeed planning to begin using

     Ripple’s token XRP, in a serious way, which is what investors seem to assume when they buy in at

     the current XRP prices. This is a sampling what I heard back:

                     0      Actual use of XRP by banks is not something I’ve heard about, I ﬁnd the
                            run up absolutely blufﬁng, as do all the blockchain folks I know at large
                            Fis.
                     o      XRP isn’t used for anything. The hope is that someday                  it will    be by
                            banks, but there really aren’t banks signaling that yet.
                     0       I would   be surprised   if there have been any real bank transactions               done
                            with it (outside of maybe test transactions), despite people making claims
                             to the contrary.
                     0       It’s not clear to me Why XRP would be used by banks at all. XRP could
10
                            potentially be adopted by consumers as a payment rail, although they
                            don’t yet have meaningful traction in that regard.
11
                      -     I haven’t seen a sufﬁciently large catalyst in the fundamentals of Ripple to
12                          justify a greater than 10x move in the price of $XRP in the last month.
13
                      0     In a few years we’re going to look back on 2017 and think WTF were we
                             thinking.”41
14
               74.   Defendant Garlinghouse publicly responded to this, tweeting: “Over the last few
15
     months I’ve spoken with ACTUAL banks and payment providers. They are indeed planning to use
16
     XRapid (our XRP liquidity product) in a serious way           .   .   .   .” He follows up stating,     “I   don’t think
17
     you want to hear about validation for XRP.                  The @NYTirnes should be above spreading
is
     anonymous FUD.”42          FUD, which stands for fear, uncertainty, and doubt, is an expression
19
     frequently used among crypto—investors to deride or undermine criticism                of an asset.
20
               75.    On January 4, 2018, Ripple’s XRP product manager also attacked Mr. Popper,
21
     tweeting: “Do you think       I left #Bitcoin   and joined @Ripple to build bank software? Think again.
22

23   4°
               @nathanielpopper, https://'twitter.com/bgarlinghouse/status/949129952716234752 (last Visited
24 on June 29, 2018).
     4’
25          @nathanielpopper, httpsz/ftwitter.c01n/bgarlinghouse/status/949129952716234752 (last visited
     on June 29, 2018).
26   4”
            @nathanielpopper, https://twitter.com/bgarlinghouse/status/949129952716234752 (last visited
27   on June 29, 2018).

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             $XRP.”43      This tweet linked to a Ripple Labs tweet stating that “3 of the top                5   global money

             transfer companies plan to use XRP in payment ﬂows in 2018. Even more in the pipeline.”

                     76.      In January 2018, Ripple Labs touted “a partnership with MoneyGram                    —   one   of the
             world’s largest money transfer companies            —   to use xRapid and XRP for near real-time cross—border

             payments. In addition, there are a number            of other xRapid deals   at various stages   of completion in
             the pipeline.”     It   also stated that    it   wanted “to build the necessary markets infrastructure for
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             eventual direct usage      of XRP by ﬁnancial institutions.” Defendant Garlinghouse                  commented on

             this partnership, saying: “And to be clear: @MoneyGram announcement is one step in a marathon

             ahead to   truly make $XRP the global liquidity solution for payment providers and banks.”44
10                   77.      By way of the internet, including Ripple Labs’ website, Twitter, and the over 50
11           cryptocurrency exchanges that trade XRP, interstate means are used in connection with the offer

12           and sale   of XRP.
13                         C. XRP Is a Security

14                   78.      Plaintiff and the Class invested ﬁat, including U.S. dollars, and other digital
15           currencies, such as Bitcoin and Ethereum, to purchase XRP.

16                   79.      Defendants sold XRP to the general public through global, online cryptocurrency

17           exchanges. XRP can be bought or sold on over 50 exchanges.

18                   80.      Every purchase of XRP by a member of the public is an investment contract.

19                   81.      Under Section 2(a)(1) of the Securities Act, a “security” is deﬁned to include an

20           “investment contract.” 15 U.S.C.        §   77b(a)(1). An investment contract is “an investment            of money
21           in   a common enterprise      with proﬁts to come solely from the efforts of others.” SE. C.                    v. W.J.

22 Howey C0., 328 U.S. 293, 301 (1946).                              Speciﬁcally, a transaction qualiﬁes      as an    investment

23           contract and, thus, a security      if it is:    (1) an investment; (2) in a common enterprise; (3) with a

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25           43
                     @Warren Paul Anderson, https://twitter.com/warpaul (last visited on June 29, 2018).
26           44
                     @bgarlinghouse, https://twitter.com/bgarlinghouse/status/9514615 8242435 8912 (last Visited on
27           June 29, 2018).

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                 reasonable expectation       of proﬁts; (4) to be derived from the entrepreneurial or managerial efforts of
                 others.    See    United Housing Foundation, Inc.        v.    Forman, 421 U.S. 837, 852-53 (1975).             This

                 deﬁnition embodies       a   “ﬂexible rather than   a static   principle, one that is capable of adaptation to

                 meet the countless and variable schemes devised by those who seek the use                of the money of others
                 on the promise        of proﬁts,”   and thereby “permits the        fulﬁllment of the statutory purpose of
                 compelling full and fair disclosure relative to the issuance of ‘the many types of instruments that in
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                 our commercial world fall within the ordinary concept of a security.” Howey, 328 U.S. at 299.

                 Accordingly, in analyzing whether something is                 a security,   “form should be disregarded for
                 substance,” and the emphasis should be “on economic realities underlying a transaction, and not on

10               the name appended thereto.” Forman, 421 U.S. at 849.

11                         82.     Plaintiff and the Class were investing in         a   common enterprise with a reasonable

12               expectation      of proﬁts when they invested in XRP.
13                         83.      The proﬁts   of Plaintiff   and the Class are intertwined with the fortunes          of Ripple
14               Labs. Ripple Labs concedes that          it “sells XRP to fund its operations        and promote the network.

15               This allows Ripple Labs to have a spectacularly skilled team to develop and promote the Ripple

16               protocol and network.”45

17                         84.      Notably, the SEC has already concluded that virtual Currency substantially similar to

18               XRP are “securities and therefore subject to the federal securities laws.” As stated by the SEC,

19               “issuers   of distributed ledger or blockchain technology-based              securities must register offers and

20               sales   of such securities unless a valid exemption applies.”46
21                         85.      No such valid exemption from registration requirements exists for XRP.
22                         86.      The current SEC Chairman, Jay Clayton, III, recently said,         “I have yet to   see an   ICO

23               that doesn’t have a sufﬁcient number       of hallmarks of a security.”47
24
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                           Ripple credits, https://wiki.ripple.com/Ripple credits#XRP (last visited on June 29, 2018).
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                 46
           Press Release. SEC Issues Investigative Report Concluding DAO Tokens, a Digital Asset, Were
26 Securities, SEC (July 25, 2017), https: //www. sec. gov/news/press—release/2017— 131
           Dave Michaels       and     Paul Vigna,        “SEC Fires Warning Shot Against Coin
27 Offerings,” WALL STREET JOURNAL
                                        (Nov. 9, 2017).
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                                               CLASS ACTION ALLEGATIONS
                   87.     This suit is brought      as a class   action pursuant to Section 382         of the California Code
           of Civil Procedure, on behalf of a        Class   of all   persons or entities who purchased XRP from           July 3,
           2015 through the present. Excluded from the Class are Defendants; the ofﬁcers and directors                       of the
           Company and XRP         II   at all relevant times; members           of their immediate families        and their legal
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           representatives, heirs, successors, or assigns; and any entity in which Defendants have or had a

           controlling interest.

  00               88.     Plaintiff reserves the right to amend the Class deﬁnition           if further investigation     and/or

           discovery indicate that the Class deﬁnition should be modiﬁed.

1o                 89.     The members      of the   Class are so numerous that joinder      of all members     is impracticable.

11         While the exact number of Class members is unknown to Plaintiff at this time and can only be

12         ascertained through appropriate discovery,        Plaintiff believes that there are thousands of members of the

13         proposed Class. The members        of the proposed Class may be identiﬁed from records maintained by the
14         Company and may be notiﬁed         of the pendency of this action by mail, using customary forms of notice
15         that are commonly used in securities class actions.

16                 90.     Plaintiff’s claims are typical of the claims of the members of the Class            as   all members of

17         the Class are similarly affected by Defendants’ wrongful conduct.

18                 91.     Plaintiff will fairly and adequately protect the interests of the members of the Class and

19         has retained counsel competent and experienced          in class and securities litigation.

2o                 92.     Common questions      of law and fact exist      as   to all members   of the   Class and predominate

21         over any questions solely affecting individual members           of the   Class. Among the questions         of law   and

22         fact common to the Class are:

23                         (a)     Whether XRP are securities under the Securities Act;

24                         (b)     whether the sale of XRP violates the registration requirements of the Securities

25                                 Act; and

26                         (c)     to what extent     Plaintiff and members of the Class have sustained damages and the

27                                 proper measure of damages.

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                      93.     A   class action is superior to all other available methods            for the fair and efﬁcient

             adjudication    of this controversy   since joinder   of all   members is impracticable.      Furthermore,      as the

             damages suffered by individual Class members may be relatively small, the expense and burden                        of
             individual litigation make it impossible for members of the Class to individually redress the wrongs

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             done to them. There     will be no difﬁculty in the management of this action as a class action.
                                                         CAUSES OF ACTION              \

                                                     FIRST CAUSE OF ACTION
                                     Unregistered Offering and Sale of Securities in Violation of
                                             Sections 5 and 12(a)(1)of the Securities Act
                                                      (Against All Defendants)
1o                    94.      Plaintiff, on behalf of himself and all others similarly situated, realleges and incorporates

11           herein by reference each and every allegation contained in the preceding paragraphs              of this complaint,
12           and further alleges as follows:

13                    95.      Defendants, and each   of them, by engaging in       the conduct described above, directly or

14           indirectly, made use of means or instruments of transportation or communication in interstate commerce

15           or   of the mails, to offer to sell or to sell securities, or to carry or     cause such securities to be carried

16           through the mails or in interest commerce for the purpose of sale or for delivery after sale.

17                    96.      XRP are securities within the meaning of Section 2(a)(l) of the Securities Act,          15   U.S.C.

18           §77b(a)(l).

19                    97.      Plaintiff and members of the Class purchased XRP securities.
20                    98.      No registration statements have been ﬁled with the SEC or have been in effect with

21           respect to any   of the offerings alleged herein. No exemption to the registration requirement applies.
22                    99.      SEC Rule 159A provides that, for purposes        of Section 12(a)(2),   an “issuer” in   “a primary

23           offering of securities” shall be considered a statutory seller. 17 C.F.R.         §   230.159A(a). The Securities

24 Act in turn defines “issuer” to include every person who issues or proposes to issue any security.                            15

25           U.S.C.   §   77b(a)(4). Ripple Labs and XRP    II are issuers of XRP.
26                    100.     The US. Supreme Court has held that statutory sellers under §12(a)(l) also include “the

27           buyer’s immediate seller” and any person who actively solicited the sale          of the securities to plaintiff and
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     did so for ﬁnancial gain. See Pinter v. Dahl, 486 US. 622, 644 n.21 & 647 (1988); accord, e.g., Steed

     Finance LDC v. Nomura Sec. Int’l, Inc. No. 00 CiV. 8058, 2001 WL 1111508, at *7 (S.D.N.Y. Sept. 20,

     2001). That is, §l2(a)(1) liability extends to sellers who actively solicit the sale                  of securities with    a

     motivation to serve their own ﬁnancial interest or those of the securities owner. Pinter v. Dahl, 486 US.

     622, 647 (1988); Capri v. Murphy, 856 F.2d 473, 478 (2d Cir. 1988). Ripple Labs, XRP II, and the

     Individual Defendants are all statutory sellers.

              101.    By reason of the foregoing, each of the Defendants have violated Sections 5(a), 5(c), and
     12(a)   of the Securities Act,   15   U.S.C. §§77e(a), 77e(c), and 771(a).

              102.    As a direct and proximate result of Defendants’ unregistered sale of securities, Plaintiff

10   and the Class have suffered damages in connection with their XRP purchases.

11                                             SECOND CAUSE OF ACTION

12                                  Violation of Section 15 of the Securities Act
                                (Against Ripple Labs and the Individual Defendants)
13
              103.    Plaintiff, on behalf of himself and all others similarly situated, realleges and incorporates
14
     herein by reference, each and every allegation contained in the preceding paragraphs                     of this Complaint,
15
     and further alleges as follows:
16
              104.    This Count is asserted against Defendants Ripple Labs and the Individual Defendants
17
     (collectively, the “Control Person Defendants”) under Section              15   of the Securities Act,    15 U.S.C. §77o.
18
              105.    The Control Person Defendants, by virtue         of their ofﬁces, ownership,         agency, agreements
19
     or understandings, and speciﬁc acts were, at the time             of the wrongs alleged herein,            and as set forth
20
     herein, controlling persons within the meaning           of Section   15   of the Securities Act.     The Control Person
21
     Defendants, and each       of    them, had the power and inﬂuence and exercised the same to cause the
22
     unlawﬁil offer and sale of XRP securities        as   described herein.
23
               106.   The Control Person Defendants, separately or together, possess, directly or indirectly, the
24
     power to direct or cause the direction of the management and policies                 of XRP   11,   through ownership of
25
     voting securities, by contract, subscription agreement, or otherwise.
26
               107.   The Control Person Defendants also have the power to direct or cause the direction of the
27
     management and policies      of Ripple Labs.
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                          108.     The Control Person Defendants, separately or together, have sufﬁcient inﬂuence to have

               caused XRP        II and/or Ripple Labs to   submit a registration statement.

                          109.     The Control Person Defendants, separately or together, jointly participated in Ripple

A              Labs’ and/or XRP II’s failure to register XRP.

                          110.     By virtue of the conduct alleged herein, the Control Person Defendants are liable for the
               wrongﬁrl conduct complained of herein and are liable to Plaintiff and the Class for rescission and/or
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               damages suffered.

                                                              PRAYER FOR RELIEF

                        WHEREFORE, Plaintiff prays for judgment as follows:

10                      A.         Declaring this action to be a proper class action and certifying Plaintiff      as Class

11             representative;

12                      B.         Declaring that Defendants offered and sold unregistered securities in violation of

13             Sections 5(a), 12(a), and 15     of the Securities Act;
14                        C.       Awarding Plaintiff and the other members of the Class rescission of their XRP purchases;

15                      D.         Awarding Plaintiff and the other members of the Class compensatory damages;

16                      E.         Awarding Plaintiff and the other members of the Class pre-judgment and post-judgment

17             interest, as well as reasonable attorneys’ fees, expert witness fees, and other costs and disbursements;

18                        F.       Requiring an accounting of all remaining assets and funds raised by Defendants through

19             the sale   of XRP;
2o                        G.       Imposing a constructive trust over the assets and ﬁnds raised by Defendants through the

21             sale   of XRP;
22                        H.       Enjoining and restraining Defendants from violating the securities laws through the

23             continued unregistered sale      of XRP;     and

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          EXHIBIT C
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 62 of 450




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 9                        SUPERIC :',. COURT OF THE STATE OF CALIFORNIA
10                                         COUNTY OF SAN MATEO
11     VLADI ZAKINOV, individu;Cly and on              )   Ca.se No.          18C I vo g84 5
       Behalf of All Others Similarl: Situated,        )
12                                                     )   CLASS ACTION
                                        Plaintiff,     )
13                                                     )   COMPLAINT FOR VIOLATIONS OF
               v.                                      )   CALIFORNIA CORPORATIONS CODE
14                                                     )
   RIPPLE LABS INC.,                                   )
15 XRP II, LLC,          '                             )
   BRADLEY GARLINGHOUM, and                            )
16 DOES 1-25, Inclusive,                               )
17                                      Defendants.        DEMAND FOR KAY TRIAL
                                                       )
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                                             CLASS ACTIONCOMPLAINT
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 1                                          INTRODUCTION

 2          1.      Plaintiff, individually and on behalf of all others similarly situated, by his

 3   undersigned attorneys, alleges the following based upon personal knowledge as to plaintiff and

 4   plaintiffs own acts, and upon information and belief as to all other matters based on the

 5   investigation conducted by and through plaintiffs attorneys, which included, among other things,

 6 a review of media and reports about the Company and Company press releases against

 7 defendants Ripple Labs Inc. ("Ripple" or the "Company"), its wholly owned subsidiary XRP II,

 8   LLC ("XRP II"), and Ripple's Chief Executive Officer, Bradley Garlinghouse ("Garlinghouse").

 9 Plaintiff believes that substantial additional evidentiary support will exist for the allegations set

10 forth herein.

11                                   SUMMARY OF THE ACTION

12          2.      Plaintiff brings this class action on behalf of all California citizens who purchased

13 or otherwise acquired Ripple tokens ("XRP") issued and sold by defendants,

14          3.      XRP, despite its name as a "token," is actually a security under California law. In

15 particular: (i) Ripple uses the funds it raised from the sale of XRP to fund its business ventures;

16 (ii) the Company indiscriminately offers XRP for sale to the public at large; (iii) plaintiff and the

17 Class (as defined herein) are effectively powerless to control the success of Ripple and XRP; and

18 (iv) plaintiff and the Class members' investment is substantially at risk and is without any

19 security.

20          4.      As a result, defendants were required to register XRP when offering or selling it.

21   They did not. Instead, they made a series of improper statements which drove up the price of

22   XRP, allowing defendants to obtain greater returns on their XRP sales.

23                                   JURISDICTION AND VENUE

24          5.      This Court has jurisdiction over the causes of action asserted herein pursuant to

25 the California Constitution, Article VI, section 10, because this case is a cause not given by

26 statute to other trial courts.

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 1          6.      The violations of law complained of herein occurred in California and in large

 2   part in this County. More, certain of the defendants reside in San Mateo County.

 3          7.      This Court has personal jurisdiction over each of the defendants named herein

 4   because they conduct business, were citizens of, or took steps to conduct the initial coin offering

 5   ("ICO") in California.

 6          8.      Venue is proper because the defendants' wrongful acts arose in and emanated

 7   from, at least in part, this County. The violations of law complained of herein occurred in this

 8   County. Further, certain of the defendants live in or conduct business in this County.

 9          9.      This Court also has personal jurisdiction over Defendants because they reside or

10   have their principal places of business in California.

11                                            THE PARTIES

12   Plaintiff

13          10.     Plaintiff Vladi Zakinov is a citizen of California. Plaintiff purchased XRP in

14   January 2018 and was damaged thereby.

15   Defendants

16          11.     Defendant Ripple is a corporation with principal executive offices located at 315

17 Montgomery Street, 2nd Floor, San Francisco, California. Ripple operates RippleNet, a global

18   payments network based on blockchain technology. Through RippleNet, banks and payment

19   providers can use the digital asset XRP to process, clear, and settle financial transactions in real-

20   time worldwide.

21          12.     Defendant XRP II is a limited liability company and a wholly owned subsidiary

22 of Ripple. Its principal place of business is in San Francisco, California. XRP II sold XRP and

23 solicited the purchases of XRP from plaintiff and the Class for its own benefit and the benefit of

24   its parent, Ripple, and its executives and owners, such as defendant Garlinghouse

25           13.    Defendant Garlinghouse is Ripple's Chief Executive Officer and has been since

26   January 2017 and a director and has been since at least July 2017. Defendant Garlinghouse was

27 also Ripple's President and Chief Operating Officer from April 2015 to December 2016.

28   Defendant Garlinghouse is a California citizen and a resident of San Mateo County.
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 1          14.    The true names and capacities of defendants sued herein under California Code of

 2 Civil Procedure section 474 as Does 1 through 25, inclusive, are presently not known to plaintiff,

 3   who therefore sues these defendants by such fictitious names. Plaintiff will seek to amend this

 4   complaint and include these Doe defendants' true names and capacities when they are

 5   ascertained. Each of the fictitiously named defendants is responsible in some manner for the

 6 conduct alleged herein and for the injuries suffered by the Class.

 7                RIPPLE INDISCRIMINATELY OFFERS XRP TO THE PUBLIC
                  AT LARGE, WHICH PLAINTIFF AND THE CLASS INVESTED
 8
                           IN WITH AN EXPECTATION OF PROFIT
 9

10          15.     Ripple sells XRP through exchanges and directly to investors. The Company lists

11   the various exchanges on which investors can purchase XRP on its website, and for some

12   provides step by step purchasing directions.

13          16.     Plaintiff and the Class invested fiat and other digital currencies, such as Bitcoin

14 and Ethereum, to purchase XRP.

15          17.     Plaintiff used Ethereum to purchase XRP. In particular, plaintiff purchased 162

16   XRP at $1.4337 and 57 XRP at $1.365 on January 11, 2017, and 299 XRP at a price of $1.0923

17 on January 27, 2018. Plaintiff has not sold any of his XRP.

18          18.     Plaintiff and the Class invested in XRP with the expectation that XRP would

19   increase in value and result in a profit. As explained below, defendants have promoted XRP and

20 conflated the value of XRP with its other software efforts.

21     RIPPLE USES PLAINTIFF AND THE CLASS MEMBERS' UNSECURED PASSIVE
                INVESTMENTS TO FUND THE COMMON ENTERPRISE
22

23          19.     Ripple concedes that it "sells XRP to fund its operations and promote the

24   network. This allows Ripple [] to have a spectacularly skilled team to develop[] and promote the

25   Ripple protocol and network." Ripple sold nearly $92 million worth of XRP in the fourth quarter

26 of 2017 alone. On information and belief, the sale of XRP substantial dwarfs any other source of

27   revenue for the Company.

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 1            20.  In addition, plaintiff and the Class members' investment is entirely passive.
                                4
2    Plaintiff and the Class have no ability to control the direction of the Company or the

 3 development of the XRP Ledger (described in more detail below). Rather, it is through the

 4 efforts of defendants that plaintiff expected to make a profit on his investment, In particular, the

 5 efforts of defendants to maintain and push the adoption of XRP and the XRP Ledger, of which

 6 they have near complete control, is explained below.

 7            21.   Plaintiff and the Class members' investment in XRP is unsecured and at risk of

 8 loss at all times, largely depending on defendants' actions.        If defendants fail to create an

 9 adequate market for XRP, inadequately or incorrectly manage the XRP Ledger, or there is a loss

10 of confidence in Ripple's management by the general market, plaintiff and the Class members'

11   investment in XRP will likely lose money.

12
               THE VALUE OF XRP IS DERVIVED FROM DEFENDANTS' EFFORTS
13                     ON BEHALF OF THE COMMON ENTERPRISE

14 XRP's Value Is a Result of Defendants' Efforts

15            Defendants Control Both the Supply of XRP in the Market and the XRP Ledger
16            22.   Since its creation, defendants have focused on how to create, maintain, and

17 increase the value of XRP.        First, they focused on limiting the supply of XRP while also

18   increasing its usage. Defendants created all 100 billion XRP at one time. XRP is currently the

19 third largest coin by market capitalization, with a market capitalization of. approximately $24

20 billion.
21            23.   Ripple provided its founders with twenty billion XRP and held onto the rest.

22 defendants' plan was to sell the other eighty billion XRP in basically a never ending ICO. In

23   particular, Ripple put fifty-five billion XRP into an escrow account and has the ability to sell up
24 to one billion XRP a month.

25            24.   Ripple's   control   over   XRP's   supply    is   different   than   other   popular

26 cryptocurrencies, such as Bitcoin. One of the hallmarks of a cryptocurrency is that control of the

27 currency is supposedly "decentralized."        In contrast to a governmental system, where, for

28 example in the United States, the Federal Reserve system controls the supply of currency,
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 1   cryptocurrencies work through distributed ledger technology, which has no central administrator

 2   or centralized data storage. It is the ledger of a cryptocurrency that can record transactions

 3   between two parties. This instant creation of the XRP security, which its set cap, stands in stark

 4 contrast to other well-known cryptocurrencies, such as Bitcoin, which are constantly being

 5   "mined." I

 6          25.     Ripple created and continues to work on the XRP Ledger, in which XRP's

 7 adoption and value depends. The XRP Ledger, as opposed to Bitcoin, is not decentralized, as

 8   Ripple basically admits. The Company has a multiple page explanation on "The XRP Ledger

 9   Consensus Process" on its website. There, Ripple explains how the "nodes" of the network share

10   information about candidate transactions, which validates the transactions. Unlike Bitcoin or

11   Ethereum, which is open to the world, the XRP Ledger nodes "evaluate proposals from a specific

12   set of peers, called chosen validators [also known as Uniduq Node Lists ("UNLs")]." These

13   UNLs are chosen by Ripple itself based on what it deems "trusted," meaning nodes that will not

14   collude.

15          26.     In its long discussion of the XRP Ledger Consensus Process, Ripple never calls

16   XRP decentralized, though it does confusingly say the ledger consists of "distributed" servers.

17   Rather, it claims to have come up with a plan "to increase decentralization and ensure that no

18 single entity has operational control of the XRP Ledger." While the XRP Ledger could one day

19 he decentralized, it is not currently.      Instead, Ripple admits that "Beyond our work on

20 decentralization, we have also focused on refining and improving the XRP Ledger Consensus

21   Protocol, the algorithm underlying the XRP Ledger."

22           27.    On February 6, 2018, BitMEX ran an article titled "The Ripple Story," in the

23   wake of XRP's substantial increase in value. In short, the researchers found that "the default

24   behaviour of Rippled nodes effectively hands full control over updating the ledger to the

25   Ripple.com server" and that "More significant than the disputes is the fact that the Ripple system

26

27 I Mining is when transactions are verified and added to the public ledger, known as a blockchain,
28 as a means through which new bitcoin are released.

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 1   appears for all practical purposes to be centralised and is therefore perhaps devoid of any

 2   interesting technical characteristics, such as censorship resistance, which coins like Bitcoin may

 3   have...."

 4          28.     BitMEX explained in reasoning that led it to conclude that the XRP Ledger is

 5 centralized:

 6          In January 2018, the BitMEX Research team installed and ran a copy of Rippled
            for the purpose of this report. The node operated by downloading a list of five
 7
            public keys from the server v1 .ripple.com, as the screenshot below shows. All
 8          five keys are assigned to Ripple.com. The software indicates that four of the five
            keys are required to support a proposal in order for it to be accepted. Since the
 9          keys were all downloaded from the Ripple.com server, Ripple is essentially in
            complete control of moving the ledger forward, so one could say that the system
10          is centralised. Indeed, our node indicates that the keys expire on 1 February 2018
            Oust a few days after the screenshot), implying the software will need to visit
11
            Ripple.com's server again to download a new set of keys.
12

13          29,     Further, Ripple publishes a quarterly report detailing its efforts grow the "XRP

14 ecosystem." In its report for the second quarter of 2017, the Company admitted that it continues

15   to work on the XRP Ledger. In particular, it stated, "[m]ost importantly, we are accelerating the

16   pace of our investment in the XRP Ledger to build on its speed, uptime, and scalability, to

17 ensure XRP is the most trusted enterprise-grade digital asset."

18          30.     Thus, defendants control both the supply of XRP and the ledger on which it is

19 based.

20          Defendants' Efforts to Market and Increase the Value of XRP

21          31.     In addition, defendants control the value of XRP by continuously touting it in the

22   press and obscuring the role of the security. In the press release announcing the formation of the

23   escrow account, Ripple stated that:

24          ['the] move underscores Ripple's commitment to building XRP liquidity and a
            healthy and trusted market. Long term, the value of digital assets will be
25
            determined by their utility. XRP has emerged as the only digital asset with a clear
26          intuitional use case designed to solve a multitrillion-dollar problem—the global
            payment and liquidity challenges that banks, payment providers and corporates
27          face.

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 1          32.     Discussing the escrow account, defendant Garlinghouse stated that, "Our goal in

 2 distributing XRP is to incentivize actions that build trust, utility and liquidity. We engage in

 3 distribution strategies that we expect will result in a strengthening XRP exchange rate against

 4 other currencies." Defendant Garlinghouse continued:

 5          [W]e have heard concerns in the market about uncertainty surrounding our
            ongoing XRP distribution. The root of this uncertainty is the notion that Ripple
 6
            might one day sell its 61.68B XRP in the market at any time a scenario that
 7          would be bad for Ripple! Our self-interest is aligned with building and
            maintaining a healthy XRP market.
 8

 9          33.     In addition to limiting supply of XRP, defendants also attempted to build demand

10 for the security by aggressively marketing it. Ripple's website contains a page on "How to Buy

11 XRP," which has links to various exchanges on which a person can buy XRP and even a "How

12   to" on certain of those pages.

13          34.     There is also a page on Ripple's website dedicated to XRP's market performance.

14 The page boldly stated that the Company is "committed to the long term health and stability of

15 XRP markets." The page also displays Ripple's market capitalization and the value of each XRP

16 security in U.S. Dollars.

17          35.     Defendants have also conflated the Company's software products with XRP in

18 order to increase the value of XRP. Ripple develops software for financial institutions and

19 payment providers that attempt, among other things, to minimize liquidity costs, known as

20 xCurrent, xRapid, and xVia. xCurrent is "Ripple's enterprise software solution that enables

21   banks to instantly settle cross-border payments with end-to-end tracking. Using xCurrent, banks

22   message each other in real-time to confirm payment details prior to initiating the transaction and

23 to confirm delivery once it settles." xVia "is for corporates, payment providers and banks who

24   want to send payments across various networks using a standard interface." Neither xCurrent

25   nor xVia require the use of XRP.2

26
   2
     The only product that actually needs XRP is xRapid. xRapid is supposedly "for payment
27 providers and other financial institutions who want to minimize liquidity costs while improving
28 their customer experience. Because payments into emerging markets often require pre-funded

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 1          36.     For instance, on June 28, 2017, defendant Garlinghouse participated in an

 2 interview on CNBC. During the interview, defendant Garlinghouse discussed why XRP was "a

 3   more stable digital asset."    In among other things, defendant Garlinghouse highlighted the

 4 payment technology that Ripple was working on. In doing so, defendant Garlinghouse again

 5   conflated the value of XRP with software Ripple was developing. To make matters worse,

 6   Ripple than retweeted a portion of that interview that was originally tweeted by the CNBC

 7 reporter.

 8          37.     During a Bloomberg News Network interview, defendant Garlinghouse stated that

 9 "the reason why XRP has performed so well this year, we're solving a real problem, it's a

10   multitrillion-dollar problem around cross-border payments. There is a lot of friction, its very

11   slow its expensive, we're working with the institutions to deliver on that, so people have gotten

12   excited. We now have over 100 customers we've announced publicly." This discussion, of

13   course, conflated XRP, the security, with the customers using Ripple's products. Defendant

14   Garlinghouse doubled down on this confusion later in the interview, stating "at the end of the day

15 the value of digital assets will be driven by their utility. If they are solving a real problem, and

16 that problem has scale, and that problem, you know there is real value there, then there will be

17   demand for the tokens and the price will go up. For XRP we have seen because it's required, it's

18   something that can really reduce the friction, and we're talking about a multitrillion-dollar

19   problem in how cross-border payments flow. And so, I think if you drive real utility, yes there's

20   going to be demand for that." "XRP is up 100x this year, and I think it's because the problem we

21   are solving people realize is a real problem, it's a big problem."

22          38.     Articles about Ripple's software products often cause a rise in the price of XRP,

23   even though the two are not linked. Defendants have fostered this confusion through their own

24 statements and "retweets." For instance, on May 3, 2017, Ripple quote tweeted an article from

25 Nasdaq.com, stating "Ripple adoption is sparking interested in XRP, 'which had an impressive

26

27   local currency accounts around the world, liquidity costs are high. xRapid dramatically lowers
28   the capital requirements for liquidity."

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 1   rally in the last two months.'" The quoted article discussed how financial institutions were

 2 adopting Ripple's software products, which "in turn, has sparked interest in Ripple's digital

 3 currency."         Instead of explaining the difference, defendants, in quote tweeting the article,

 4 continued to give off the incorrect impression about the link between the products and security.

 5          39,        Similarly, on May 16, 2017, Ripple tweeted a quote from an article about XRP's

 6   market capitalization, stating; "The appeal that Ripple has towards traditional financial

 7 institutions is a big advantage it has over Bitcoin." However, this article confused Ripple's

 8 software solutions with the value of XRP, a confusion fostered by Ripple's quoted tweet.

 9          40.        Defendants fought back against articles and writers that attempted to unlink XRP

10   from Ripple's other products. On January 4, 2018, The New York Times published an article by

11   Nathaniel Popper ("Popper") titled: "Rise of Bitcoin Competitor Ripple Creates Wealth to Rival

12   Zuckerberg."

13          41.        Popper tweeted a follow-up about his article, stating, "over the last day, I've asked

14   several people close to banks if banks are indeed planning to begin using Ripple's token, XRP, in

15   a serious way, which is what investors seem to assume when they buy in at the current XRP

16   prices. This is a sampling of what I heard back:

17                •    Actual use of XRP by banks is not something I've heard about, I find the
                       run up absolutely baffling, as do all the blockchain folks I know at large
18
                       FIs.
19
                  •    XRP isn't used for anything. The hope is that someday it will be by banks,
20                     but there really aren't banks signaling that yet.

21                •    I would be surprised if there have been any real bank to bank transactions
                       done with it (outside of maybe test transactions), despite people making
22                     claims to the contrary.
23
                  •    It's not clear to me why XRP would be used by banks at all. XRP could
24                     potentially be adopted by consumers as a payment rail, although they don't
                       yet have meaningful traction in that regard.
25
                  •    I haven't seen a sufficiently large catalyst in the fundamentals of Ripple to
26                     justify a greater than 10x move in the price of $XRP over the last month.
27                •     In a few years we're going to look back on 2017 and think WTF were we
                        thinking."
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 I             42.   Defendant Garlinghouse responded by tweeting: "Over the last few months I've

 2 spoken with ACTUAL banks and payment providers. They are indeed planning to use xRapid

 3 (our XRP liquidity product) in a serious way...." Ripple's XRP product manager, tweeted: "Do

 4   you think I left #Bitcoin and joined @Ripple to build bank software? Think again. $XRP."

 5             43.   Accordingly, as shown above, the defendants acted on behalf of the common

 6 enterprise, with the expectation of increase the value of XRP, and thus causing a profit.

 7                                 CLASS ACTION ALLEGATIONS

 8             44.   Plaintiff brings this class action individually and on behalf of all California

 9 citizens who purchased or otherwise acquired XRP from January 1, 2013 to the present (the

10   "Class"). Excluded from the Class are defendants and their families, the officers and directors

11   and affiliates of defendants, at all relevant times, members of their immediate families and their

12   legal representatives, heirs, successors, or assigns, and any entity in which defendants have or

13   had a controlling interest.

14             45.   The members of the Class are so numerous that joinder of all members is

15   impracticable. While the exact number of Class members is unknown to plaintiff at this time and

16   can only be ascertained through appropriate discovery, plaintiff believes that there are thousands

17 of members in the proposed Class. XRP owners and other members of the Class may be

18   identified from records maintained by Ripple and may be notified of the pendency of this action

19 by mail, using the form of notice similar to that customarily used in class actions.

20             46.   Plaintiffs claims are typical of the claims of the members of the Class, as all

21   members of the Class are similarly affected by defendants' wrongful conduct, as complained of

22   herein.

23             47.   Plaintiff will fairly and adequately protect the interests of the members of the

24   Class and has retained counsel competent and experienced in class and securities litigation.

25             48.   There are no unique defenses that may be asserted against plaintiff individually,

26   as distinguished from the other members of the Class. Plaintiff has no interest that is in conflict

27   with, or is antagonistic to, the interests of the members of the Class, and has no conflict with any

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 1   other members of the Class. Plaintiff has retained competent counsel experienced in securities,

 2 consumer protection, and Class action litigation to represent himself and the Class.

 3          49.      Common questions of law and fact exist as to all members of the Class and

 4 predominate over any questions solely affecting individual members of the Class. Among the

 5 questions of law and fact common to the Class are:

 6                   (a)    whether XRP are securities;

 7                   (b)    whether defendants violated the California Corporations Code; and

 8                   (c)    to what extent the members of the Class have sustained damages and the

 9 proper measure of damages.

10          50.      A class action is superior to all other available methods for the fair and efficient

11 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

12 the damages suffered by individual Class members may be relatively small, the expense and

13   burden of individual litigation make it impossible for members of the Class to individually

14   redress the wrongs done to them. There will be no difficulty in the management of this action as

15 a class action.

16                                   FIRST CAUSE OF ACTION
            Against All Defendants and Does 1-25 for the Unregistered Offer and Sale of
17        Securities in Violation of California Corporations Code Sections 25110 and 25503
18

19          51.      Plaintiff incorporates by reference and realleges each and every allegation

20 contained above, as though fully set forth herein.

21          52.      This Cause of Action is brought pursuant to California Corporations Code

22 sections 25110 and 25503, on behalf of the Class, against all defendants.

23          53.      XRP are securities within the meaning of the California Corporations Code.

24          54.      No registration statements have been filed with any state or federal government

25 entity or have been in effect with respect to any of the offerings alleged herein.

26          55.      Defendants and each of them, by engaging in the conduct described above within

27 California, directly or indirectly, sold and offered to sell the unregistered securities.

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 I          56.     Plaintiff and members of the Class purchased XRP securities from defendants.

 2          57.     By reason of the foregoing, each of the defendants have violated sections and

 3   25110 and 25503 of the California Corporations Code.

 4          58.     As a direct and proximate result of defendants' unregistered sale of securities,

 5   plaintiff and members of the Class have suffered damages in connection with their respective

 6 purchases of XRP securities.

 7                                  SECOND CAUSE OF ACTION
                       Against Defendants Ripple, Garlinghouse, and Does 1-25
 8                for Violation of Section 25504 of the California Corporations Code
 9

10          59.     Plaintiff incorporates by reference and realleges each and every allegation

II   contained above, as though fully set forth herein.

12          60.     This Cause of Action is brought pursuant to California Corporations Code

13 section 25504, on behalf of the Class, against all defendants.

14          61.     Defendants Ripple and Garlinghouse were control persons within the meaning of

15 section 25504 of the California Corporations Code. In particular, defendant Ripple was a control
16   person by virtue of agency and ownership of XRP II. Defendant Garlinghouse was a control

17 person by virtue of his position as an officer of Ripple and/or authorized representative of the

18 other defendants. Defendants Ripple and Garlinghouse each had the power and influence and

19 exercised the same to cause the unlawful offer and sale of XRP securities as described herein.

20          62.     Defendants Ripple and Garlinghouse, separately or together, have sufficient

21   influence to have caused XRP II and/or Ripple to submit a registration statement.

22          63.     Defendants Ripple and Garlinghouse, separately or together, jointly participated

23   in, and/or aided and abetted, XRP II and/or Ripple failure to register XRP.

24                                       PRAYER FOR RELIEF

25          WHEREFORE, plaintiff demands judgment on his behalf and that of the Class as

26   follows:

27          A.      Under section 382 of the California Code of Civil Procedure, certifying this as a

28 Class action, appointing plaintiff as a Class representative under California Rule of Court 3,764,

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 1 and appointing plaintiffs counsel as Class counsel;

 2          B.      Awarding damages in favor of plaintiff and the Class against all defendants

 3 jointly and severally, in an amount to be proven at trial, including interest thereon;

 4          C.      Awarding plaintiff and the Class their reasonable costs and expenses incurred it

 5 this action, including counsel fees and expert fees;

 6          D.      Awarding rescission or a rescissory measure of damages; and

 7          E.      Awarding equitable, injunctive or other relief, including disgorgement o

 8 restitution, as deemed appropriate by the Court.

 9                                             JURY DEMAND
10          Plaintiff demands trial by jury.

11   Dated: June 5, 2018                                ROBBINS ARROYO LLP
                                                        BRIAN J. ROBBINS
12                                                      STEPHEN J. ODDO
                                                        ERIC M. CARRINO
13


14                                                                             pw,v JAIN
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                                        CLASS ACTION COMPLAINT
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                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 78 of 450




            ROBBINS ARROYO LLP
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 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 83 of 450




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             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 84 of 450




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             Katé Rponey, Ripple says ”S cryptocurrency XRP is not  _a security: CNBC (AP
.27 https: //www. énbc. com/2018/04/12/r1pple-says-1ts cryptocurrency     -i not-a-secuntyh
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                                 COMPLAINT FOR VIOLATIONS OF CALIFORNIA LAW
                         Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 101 of 450




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                    :90Investor Alert: Ponzz' Schemes Using Vzrtual Currenczes https   WWWW sec. gov/1nvestor/alerts/1a
                    Yimialcurrencies pdf.          ~‘
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                    :93 See SEC Issues Investzgatzve Report Concludzng DAO Tokens a      nztal Asset    Were Securztzes
                    https://www.sec;gov/news/press-release/ZO17-13 I



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                                            COMPLAINT FOR VIOLATIONS OF CALIFORNIA LAW
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 102 of 450




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                                                    $9   011   December 11; 2027 SEC Chm-man      Clayton ("Clayton”) issued another
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                        “3                                                                                                                                I

                                         :‘that mcorporate eatures and marketmg efforts that emphaSIZe the potentlal for
                        :               :éproﬁts based on the entrepreneunal or managerial efforts of others continue tQ
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                                           contam the hallmarks of a secunty uncler U S law On this and other pomts where
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                                        S{part1cularthe protection of our Main Street mvestors                         _




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                                               [M]any token offenngs appear to have gone: beyond this construct and are more                         .




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                                            ::;of these offerings emphaszze the secondary market tradmg potenttal of these
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                                             ‘.tQhens. Prospecttve purchasers are being sQIiI on the potential ‘for tokens to                        -




                       1i:                     Increase in value; with the ability to Iock In those Increases by resellmg the tokens I: I
                                               on :a secondary market» or to otherwzse proftfrom the tokens based on the efforts
                                                                                                                                 ‘ ‘     ‘

                                               of others. . These are key hallmarks of a security and a securztzes offering
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                                              {\and sale of securttxes and directg": tmpheate :the seeuntres
                           fregzstratton requzrements and QtIzer investor protection provisions of ourfederal                                        ‘:


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                        a.” asecurzttes
                                        laws Generally speaking, these laWs provide that mvestors deserve to”
                                                                                                    ”                      ‘

                             know What they are mvestmg in and the relevant risks mvolved
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                                                    70   Clayton could have been referring drreetly to Rspple‘ and defendants’ attempts to                                ‘19e       1




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         proﬁt-makmg potentlal                                      of   1nvestmg   in XRP tokens on the one hand, wlnle           d13cla1mn1g any
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                       See Jay Clayton, Statement on Cryptocurrencres and InitiaI Com Qﬁermgs SEC (Dec                                               ll, 2017)

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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 103 of 450




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                 COMPLAINT FQR VIOLATIONS OF CALIFORNIA LAW
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 104 of 450




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    "fact=¢omrn§n.tdzthetﬂlassfarc‘3:




                                               FIRST CAUSE OF ACTION

                     :‘AEor: Violation     of §§25110 and 25503 of the Corporatlons
                                                                       “““
                                                                                    Code}:
                                                 Agamst All Defendants




                                                                                                                       ‘3
    unlawful for any person to offer or sell m this state any secunty in an Issuer transacuon           unless sucl;



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                              COMPLAINT FOR VIOLATIONS OF CALIFORNIA LAW
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 105 of 450




                                     SECOND CAUSE OF ACTION

                        For2V101atlon      of §25504 of the Corporatlons Code
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                         COMPLAINT FOR VIOLATIONS OF CALIFORNIA LAW
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 106 of 450




                       Awardmg: such ieqmtable/lnju'ncnve: or other rellef as the   ourt may deem just and

    proper

                                                JURY DEMAND



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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 107 of 450




           EXHIBIT E
                                                                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 108 of 450




                                         b-A
                                                                              ROBBINS ARROYO LLP
                                                                              BRIAN J. ROBBINS (190264)
                                                                              STEPHEN J. ODDO (174828)
                                                                              ERIC M. CARRINO (310765)

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                                                                              San Diego, CA 92101
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                                                                              Telephone: (619) 525—3990
                                                                                                                                                                                                                    '

                                                                              Facsimile: (619) 525-3991
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                                                                              'E—mail: brobbins@robbinsarroyo.com                                                                                 39
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                                                                                       ecarr1no@robbinsarroyo.com
                                                                                                                                                                                                                        I”!
                                                                              Attorneys for Plaintiffs                                                                                                                  3)-
                                                                              Vladi Zakinov and David Oconer
                                                                                                                                                                                                                        W
                                                                                                                                                                                                                        k:
                                                                              [Additional counsel appear on signature page]                                                                                             [w
                                                                                                                                                                                                                        n:
                                                                                                                                                                                                                        %
                                                                                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                                                COUNTY OF SAN MATEO
                                                                                        \
                                                                              VLADI ZAKINOV, Individually and on                                            Case No. l8-CIV-0284S
                                                                              Behalf of All Others Similarly Situated,
                                                                                                                                                            CLASS ACTION
                                                                                                            Plaintiff,
                                                                                                                                                            STIPULATION AND [PROPOSED]
                                                                                      v,                                                                    ORDER CONSOLIDATING RELATED
                                                                                                                                                            ACTIONS AND RELATED MATTERS
                                                                              RIPPLE LABS INC., XRP II, LLC,
                                                                              BRADLEY GARLINGHOUSE, and DOES
                                                                              1—25, Inclusive,                                                              Judge: Richard H. DuBois
NNNMNNNMNHb—db—lD—lb—li—lb—lh—‘D—‘H




                                                                                                                                                            Dept: 16
                                                                                                            Defendants.                                     Date Action Filed: June 5, 2018
                                         OOﬂQM-PWNHOKOOONO‘sUl-bkﬂND—‘O




                                                                                                                              VVVVVVVVVVVVVVVVVVVVVVVVVVV




                                                                                                                          ‘
                                                                              DAVID OCONER, Individually and on                                             Case No. 18-CIV-03332
                                                                              Behalf of All Others Similarly Situated,

                                                                                                             Plaintiff,                                                        153—
                                                                                                                                                                                      (1111—02845
                                                                                                                                                                      l

                                                                                                                                                                           Isiipulation      81   Order
                                                                                      v.                                                                                  ‘.




                                                                                        INC, XRP II, LLC,
                                                                              RIPPLE LABS
                                                                              BRADLEY GARLINGHOUSE, and DOES                                                                   \l\\\\ll\\\\\\\\\\\\\l\\\\l\\\\\\\\\
                                                                              1-25, Inclusive,                                                                                 \fa-r‘
                                                                                                                                                            Judgez:RObert D. Foiles
                                                                                                                                                                                                                ‘
                                                                                                            Defendants.                                     Dept: 21       -.

                                                                                                                                                            Date Action Filed: .Iune. 27, 20l 8:.
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                                                                               STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS'& RELATED MATTERS
 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 109 of 450




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                   Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 110 of 450




                              1.        The above-captioned actions pending in this Court (the "Related Actions") make

                       substantially the same allegations against defendant Ripple Labs Inc. ("Ripple" or the

 AWN               ;”Company"), XRP II, LLC, and Bradley Garlinghouse.
                                                                                                                                            ,




                              2.        In an effort to assure consistent rulings and decisions and the avoidance of

                       unnecessary duplication         of effort,   counsel for the respective parties in the Related Actions

                       hereby enter into this Stipulation and [Proposed] Order Consolidating Related Actions and                           1,



                       Related Matters (the "Stipulation").
 \DOOxlChL/t




                              3.        Counsel for the parties to this Stipulation include Robbins Arroyo LLP                              1




               '       ("Robbins Arroyo") and Robbins Geller Rudman & Dowd LLP ("Robbins Geller")                         On   behalf of

10                     plaintiff Vladi Zakinov; Robbins Arroyo on behalf of David Oconer (collectively, "Plaintiffs");                      .




                                                                                                                                           ‘7
11                     'Skadden, Alps, Slate, Meagher          & Flom LLP       and Debevoise      & Plimpton LLP      on behalf     of
12                     defendants Ripple Labs, Inc., XRP II, LLC, and Bradley Garlinghouse (collectively,

13
                   '
                       "Defendants").
                                                                                                                                            I


14                            4.         The parties agree that          it would     be duplicative and wasteful    of   the Court's

15                     resources for Defendants named in the Related Actions to have to respond to the individual

16                     complaints prior to the agreed upon consolidation and in light of the anticipated ﬁling of a                         _




17                     consolidated complaint. Therefore, the parties agree that Defendants need not respond to the

18                     individual complaints that have already been ﬁled in this Court.
19                            5.         On August 8, 2018, the Zakinov action was designated as complex. On August

20                     21, 2018,    it was assigned to the Honorable Richard H. DuBois, Department           16,    for all purposes.
21                     A complex case status conference in the Oconer action is set for August 29, 2018.
22                                                                  4
                                                                        CONSOLIDATION
23                            6.        The following Related Actions are hereby consolidated for all purposes,

24                     including pre-trial proceedings and trial (the "Consolidated Action"):

25                                 Abbreviated Case Name                                Case Number        Date Filed
26                                 Zakinov v. Ripple Labs Inc.                          18-CIV—02845       6/5/2018
27                                 Oconer   v.   Ripple Labs Inc.                       lS-CIV-O3332       6/27/2018

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                       STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 111 of 450




       H              Every pleading ﬁled in the Consolidated Action, or in any separate action included herein, shall

       N              bear the following caption:

       L93
                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
       4}
                                                              COUNTY OF SAN MATEO
       U1

                      IN RE RIPPLE LABS INC. LITIGATION                      T)
                                                                                    Lead Case No. 18-CIV-02845
       0\

                      {This Document Relates To:
                                                         -    —




                                                                             i      (Consolidated with Case No. 18-CIV-03332)
       ”‘1,

                                                                             g     CLASS ACTION
                                                                             “’3

       GO
                          ALL ACTIONS.
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                                7.      The ﬁles   of the Consolidated Action shall be maintained in one ﬁle under Master
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                      File No. 18-ClV—02845.
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                                8.      Plaintiffs shall either designate   a      complaint as operative or ﬁle a Consolidated
H      N
                      Complaint ("Consolidated Complaint") within 45 days after entry              of this order, unless otherwise
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                      agreed upon by the parties.            If   ﬁled, the Consolidated Complaint shall be the operative

                      complaint and shall supersede all complaints ﬁled in any of the actions consolidated herein.
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                      Defendants shall respond to the operative complaint or Consolidated Complaint within 45 days                   .


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                      after service, unless otherwise agreed by the parties.               In the event that Defendants file any
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                      motions directed at the operative complaint or Consolidated Complaint, the opposition and
)-‘    00


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                      Ereply   briefs shall be ﬁled within 45 and 20 days, respectively,        of the motions,   unless otherwise
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                      agreed upon by the parties. Counsel agrees to confer to select a hearing date.
NO
                                            APPOINTMENT OF A LEADERSHIP STRUCTURE
NH

                                9.      The Plaintiffs agree that Robbins Arroyo and Robbins Geller shall serve as Co-
[\J N


                      Lead Counsel for Plaintiffs ("Co-Lead Counsel") in the Consolidated Action, and Defendants
N U)                                                                                                                                 i


                      take no position on the Court's appointment                   of   Co—Lead Counsel    for Plaintiffs or the
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                      responsibilities assumed by that Co—Lead Counsel.
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                                10.     Plaintiffs agree that      Co—Lead Counsel shall have sole         authority to speak for    ,




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                      Plaintiffs in matters regarding pro-trial procedure, trial, and settlement and shall make all work             '



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                       STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
                         Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 112 of 450




                          assignments in such manner as to facilitate the orderly and efﬁcient prosecution                  of   the        .




                          Consolidated Action and to avoid duplicative or unproductive effort.
 U)
                                  11.       Plaintiffs agree that CO-Lead Counsel shall be responsible for coordinating all                 ‘




                          activities and appearances on behalf of Plaintiffs. No motion, request for discovery, or other                   i



                          pre—trial or   trial proceedings shall be initiated or ﬁled by any Plaintiff except through Co-Lead

 \OOOQO'xU‘s-P
                          Counsel.

                                  12.       Plaintiffs agree that   Co—Lead Counsel   shall be available and responsible for ‘,
                                                                                                                                                '
                          communications to and from this Court, including distributing orders and other directions from-

                          the Court to counsel, and shall be reSponsible for communication with Defendants' counsel on

10                       matters of case administration and scheduling. Co—Lead Counsel shall further be responsible for:

ll                        creating and maintaining a master service list   of all parties and their respective   counsel.

12                                13.       Defendants' counsel may rely upon all agreements made with Co—Lead Counsel,                    '3




                          or other duly authorized representative of Co—Lead Counsel, and such agreements shall be
                                                                                                                                            :


13

14                        binding on all Plaintiffs.
15'                                                             RELATED MATTERS
16                                14.       This Order shall apply to each case, arising out          of   the same or similar;
                                                                                                                                            '

17                       transactions and/or events as the Related Actions which is currently pending in, subsequently

18‘;                      ﬁled in, remanded to, or transferred to this Court.
19;                               15.       When a case which properly belongs as part         of   the In re Ripple Labs Inc.

                         Litigation, Lead Case No. 18-CIV-02845, is hereafter or has been ﬁled in, remanded to, or
21                        transferred to this Court, counsel for the parties shall call such ﬁling, remand, or transfer to the :

22: attention of the clerk of this Court for purposes of moving the Court for an order consolidating
23' such case(s) with In re Ripple Labs Inc. Litigation, Lead Case No.                              18—CIV—0284S. Counsel        for
24' the parties will further assist in assuring that counsel for the parties in such subsequent
                                                                                                action(s)

25                       receive notice    of this   Order.

26:

27.
                 '

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                     ‘
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                          'STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS &RELATED MATTERS
                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 113 of 450




                         '
                             IT IS SO STIPULATBD.

                DATED:          (8/22/1 ?                           ROBBINS ARROYO LLP
                                                                    BRIAN J. ROBBINS
                                                                    STEPHEN J. QDDO
                                                                    ERIC M.. CA INO

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                                                                    600 B Smelt\ Bite/51900
                                                                    San Diego (3"    2101
                                                                    Telephone. (619) 525- 3990
                                                                    Facsimile. (619) 525- 3991
                                                                    E-mail: brobbins@robbinsarroyo.com
                                                                            soddo@robbinsarroyo.com
                                                                            ecarrino@robbinsarroyo.com
10
                                                                    Proposed Co-Lead Counsel for Plaintiffs and
11
                                                                    Counsel for Plaintiffs Vladi Zakinov and
                                                                    David Oconer
12
                      DATED:   {9/7’3/   1   g                      ROBBINS GELLER RUDMAN
13)                                                         .




                                                                     & DOWD LLP
14

15               §
                                                                            BRIAN o, osMAgA (229737)
                 '.

16
                                                                    DAVID C. WALTON (167268)
17
                                                                    BRIAN E. COCHRAN (286202)
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                                                                    Facsimile: (619) 23 1-7423
19
                                                                    E—mail: davew@rgrdlaw.com
20                                                                          bomara@rgrdlaw.com
                                                                            bcochran@rgrdlaw.com
21
                                                                    Pr0posed Co—Lead Counsel for Plaintiffs and
                 '                                                  Counsel for Plaintiff Vladi Zakinov
22

23               .
                                                                    SHAWN A. WILLIAMS (2131 13)
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24"                                                                 San Francisco, CA 94104
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25
                                                                    Facsimile: (415) 288-4534
                                                                    E-mail: shawnw@rgrdlaw.com
26f
27
                                                                    Additional counsel for Plaintiff Vladi Zakinov

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                                                           -4-
                      STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
           Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 114 of 450


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                   DATED:      3134/ I g                     SKADDEN, ARPS, SLATE, MEAGHER
                                                              & FLOM LLP
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la)
                                                                         How/f ”7cm”
                                                                        PETERB MORRISON
‘A
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                                                             Virginia F. Milstead
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                                                                    Virginia.milstead@skadden.com

                                                             John Neukom
                                                             SKADDEN, ARPS, SLATE, MEAGHER
                                                               & FLOM LLP
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                                                             Mary Jo White (pro hac vice forthcoming)
                                                             Andrew J. Ceresney (pro hac vice
                                                             forthcoming)
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                                                             Facsimile: (212) 909-6836
                                                             Email: mjwhite@debevoise.com
                                                                    aceresney@debevoise.com
                                                                                                            '


                                                             Counsel for defendants Ripple Labs Inc., XRP
                                                             II, LLC, and Bradley Garlinghouse




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                    STI'PULATION‘ & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS '& RELATED MATTERS       ,
                                                                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 115 of 450




                                                                                                                ORDER
                                      )—-l
                                                                                                                                                                   ‘




                                                                             The above Stipulation Consolidating Related Actions and Related Matters having been

                                                                      considered, and good cause appearing therefore,

                                                                             IT IS SO ORDERED.


                                  \OOOVQUI-BUJN
                                                                      DATED:         5/] 7‘ , / 3’                       HONORABLE‘RICHARD H; DUBOIS’
                                                                                                                         JUDGE OF THE SUPERIOR COURT




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                                                                      STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 116 of 450




                                                            DECLARATION OF SERVICE
                                  I, the undersigned, declare:
                                                                                                                                    '




                                  1.      That declarant is and was, at   all times herein mentioned, a citizen of the United
                                                                                                                                    '


                           States and a resident   of the County of San Diego, over the age of 18   years, and not a party to or

                   interest in the within action; that declarant's business address is 600 B Street, Suite 1900, San

                   Diego, California 92101.
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                                  2.      That on August 23, 2018, I served the following document(s):

                                  STIPULATION AND [PRUPOSED] ORDER CONSOLIDATIN G RELATED
                                  ACTIONS AND RELATED MATTERS

                                            By transmitting via facsimile the document(s) listed above to the fax
10                                          number(s) set forth on the attached Service List from fax number (619) 525-
                                            3991 on this date before 5:00 pm. The facsimile transmission was reported as
ll                                          complete and without error.
12'
                                 .lN        By placing the docurnent(s) listed above in a United States mailbox at San
                                            Diego, California In a sealed envelope with postage thereon ﬁilly prepaid and
13                                          addressed to the parties listed on the attached Service List.
14E
                                            By causing the document(s) listed above to be served by a courier service on
                                            the following parties:
15%

16
                                            By depositing in    a box or other facility regularly maintained by UPS, an
                                            express service cairier, or delivered to a courier or driver authorized by said
                                            express service carrier to receive documents, in an envelope designated by the
17
                                            said express service carrier, with delivery fees paid or provided for, addressed
                                            to the parties on the attached Service List.
18
                                            Based on a court order or an agreement of the parties to accept service by e~
191‘;
                                            mail or electronic transmission, I sent the documents described herein to the
                                            persons at the e—mail addresses on the attached service list. I did not receive,
203:
                       1
                                            within a reasonable time after the transmission, any electronic message or
                                            other indication that the transmission was unsuccessful.
21

22'
                                  3.      That there is a regular communication by mail between the place        of mailing and
23             ,
                           the places so addressed.

24             g                  I declare under penalty of perjury under the laws of the       State   of California that   the
                                                                                                                "
25:”foregoing is true and correct. Executed this August 23, 2018,
               ‘
                                                                                           at San   D13
26‘

27..                                                                                      KA THERINE B. SCHEELE
28                     ,




                                                                           -7-
                           STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTTONS & RELATED MATTERS
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 117 of 450


Zakinov v. Ripple Labs Inc., et al., Case No. 18CIV02845;
0coner v. Ripple Labs Inc., et (11., Case No. 18CIV03332

COUNSEL FOR PLAINTIFF S

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Stephen J. Oddo                                  ROBBINS GELLER RUDMAN
Eric M. Carrino                                   & DOWD LLP
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                                                 Brian 0. O'Mara
Counsel for Plaintiﬁfs Vladi Zakinov and David   Brian E. Cochran
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                                                 E-mail: davew@rgrdlaw.com
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                                                         bcochran@rgrdlaw.com

                                                 Counsel for Plaintiff Vladi Zakinov

COUNSEL FOR DEFENDAN TS

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                                                 Email: mjwhite@debevoise.com
                                                        aceresney@debevoise.com

                                                 Counsel for defendants Ripple Labs Inc., XRP
                                                 II, LLC, and Bradley Garlinghouse



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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 118 of 450




           EXHIBIT F
                                    Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 119 of 450




                                          f/ﬁ18 — GIV — 03461
                                             ORD
                                             Order
                                                                                                                                FEEEﬁ
                                                                                                                            SAN MATEO COUNW



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           \OOONQUIAUJNp—A




                                                       IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                    IN AND   FOR THE COUNTY OF SAN MATEO




    r—t
           O                 AVNER GREENWALD, individually and on behalf
                             Of all others   similarly situated,
I
    r—t      D-‘
                                                                                                         Case No. 18 CIV 03461
                                                Plaintiff,                                                CLASS ACTION
    y—t
           N
                                    vs.                                                                   ORDER DEEMING CA E RELATED AND
    y—I
           b.)
                                                                                                          CONSOLIDATING AC ION INTO MASTER
                                                                                                         FILE NO. 18CIV02845
    r—t
           A                 RIPPLE LABS INC.              et a1.


    r—I     U!
                                                Defendants,                                              Dept.:   Hon. Richard H. DuBois
                                                                                                                  Dept. 16
    r—I     O\




    r—A
            ﬂ                       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                          File‘   consolidated class action cases, 18CIV02845, were previously designated as
    )—-A
             w                       The Master

    H        \O              complex and single assigned to Department                  16,   Honorable Richard DuBois.

    NO                               On   October 25, 2018, Defendant Ripple Labs Inc. in 18CIV03461, a putative class action, ﬁled a

    NH                       Notice. of Related Case, indicating that the action               is   related to In re Ripple   Labs Inc Litigation, Master ﬁle
                                                                                                                                        ~




    NN                       No. 180N02845.

    NW                               Accordingly, IT IS             HEREBY ORDERED AS .FOLLOWS:
    NL                               1.            Notice of Related Case having been ﬁled and‘ served, and no opposition or objection ﬁled

    N Ul                     and served, the case of Greenwald             vs.   Ripple Labs Inc 18CIV03461            is   deemed   “related” to the pending


    N ON                     consolidated class actions entitled In re Ripple Labs Inc Litigation, Master ﬁle No. 18CIV02845.

    NQ                               2.              Pursuant to the order in Master File No. 18CIV02845 consolidating related class actions,

    N 00                     and having been previously assigned for              all   purposes to Department 16, the case of Greenwald vs. Ripple


                                    Case No. 18 CIV 03461
                                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 120 of 450




                      Labs Inc 18CIV03461                is   ordered   CONSOLIDATED as part of Master File No.          18CIV02845.

         N                       3.          Accordingly, any Complex Status Conference or Case                 Management Conference previously

                      set for   18CIV03461          is   VACATED. The Case Management Conference in the Master ﬁle set for NoVember
                      16,   2018      at   10:30   am.   in   Department 16       shall   remain on calendar.
         VONUl-PU.)




                      Dated:
                                           ‘ﬁiﬁsﬁh   m            BY              /
                                                                        w; Richard H.
                                                                                          WMDuBois
                                                                           JUDGE OF THE SUPERIOR COURT


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                                .‘Case     No. 18 CIV 03461                                     2
                                 CASE MANAGEMENT ORDER No.                    1
                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 121 of 450
                                           SUPERIOR COURT OF SAN MATEO COUNTY
                                                              Civil   Department
                                           400 County Center, Redwood                      CA 94063
                                                                                                                          F H El E
                                                                                   City,

                                                                  (650) 261—5100                                                            .1



                                                     WWW.SBnmatEOCOUI’tDrg


                                                    AFFIDAVIT OF MAILING

Date: 11/1/2018


In   the Matter     of:    AVNER GREE‘NWALD   vs.   RIPPLE LABS, |NC., a Delaware Corporation, et                        al

Case No.2 18—ClV-03461



box  Redwdod City, a true copy of the attached document(s) ORDER DEEMING CASE RELATED AND
      at
CONSOLIDATING ACTION INTO MASTER FILE NO. 18CIV02845, enclosed in an envelope, with proper and nec
postage thereon, and addressed to the following:


Executed on: 11/1/2018




                                                       By:


Copies Mailed To:


       BRIAN   J.   ROBBINS
      STEPHEN        J.   ODDO
       600 B STREET, SUITE 1900
      SAN DIEGO, CA 92101

       SHAWN        A.    WILLIAMS
                    RUDMAN & DOWD LLP
       ROBBINS, GELLER,
       POST MONTGOMERY CENTER
       ONE MONTGOMERY STREET, SUITE 1800
                                                          '




       SAN FRANCISCO, CA 94104

       BRIAN O'MARA
       ROBBINS, GELLER,          RUDMAN & DOWD      LLP                                                                        V




       655   WEST BROADWAY,          SUITE 1900               -




       SAN DIEGO, CA 92101                                                                          ll
                                                                                                         AFM
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                                                                                                         Afﬁdavitof Mailing

                                                                                                   l




       PETER   B.    MORRISON                                                                   I




       SKADDEN, ARPs, SLATE, MEAGHER & FLOM LLP                           .                    1         ”munmuumunummm
                                                                                                         lllll
                                                                                                                                        F




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       Los ANGELEs, CA 90071


       JOHN NEUKOM
       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
       525 UNIVERSITY AVENUE, SUITE 1400
       PALO ALTO, CA 94301




                                                                                                                                   Rev. Jun.     2016
                 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 122 of 450

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    ‘


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        THOMAS   L.   LAUGHLIN,   |V
        RHIANA L. SWAR'IZ
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                                                                                 Rev. Jun. 2016
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 123 of 450




           EXHIBIT G
 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 124 of 450




                                                                                       .
Eatotneyir -gaily without Attorney (Name/Address)                           OR COURT USE ONLY
hirianJ. ohms             _
lingrequQt       A 'LAW
 art. ego,       72101
Telephone: (619) 525-3990                                                 ENDORSED FILED
State Bar No.:190264                                                       SAN MATEO GOUNTY•
Attorney for:Plaintiff Viadi 7laldnov
SUPERIOR COURT OF CALIFORNIA                                                     JUN 0 5 201B
                                                                                              Court
COUNTY OF SAN MATEO                                                       Clerk of me superior ILZ
                                                                                                 F
400 COUNTY CENTER                                                            1,11Ri
                                                                          By,_49.2a6:10-2
REDWOOD CITY, CA 94063                                                                  CLERK
                                                                                   DEKITY

Plaintiff   Vladi Zaklnov
Defendant
             Ripple Labs Inc., et al     I
                                                                                 Case Number       A   ig,
               Certificate Re Complex Case Designation
                                                                           la G 1      v ggs* P                11

  This certificate must be completed and filed with your Civil Case Cover Sheet if
      you have checked a Complex Case designation or Counter-Designation


    1.        In the attached Civil Case Cover Sheet, this case is being designated or counter-designated
              as a complex case.[Dpwraroticcamp:Ivounsei because at least one or more of the following
              boxes has been checked:

                 ac Box 1:-Case type that is best described as being [iptixficitclagis* provisionally
                    complex civil litigation (i.e., antitrust or trade regulation claims, construction
                    defect claims involving many parties or structures, securities claims or investment
                    losses involving many parties, environmental or toxic tort claims involving many
                    parties, claims involving mass torts, or insurance coverage claims arising out of
                    any of the foregoing claims).
                 II Box 2 — Complex [onSiDsilapixalol due to factors requiring exceptional judicial
                    management
                 x Box 5 — Is {ortista4 a class action suit.


    2.        This case is being so designated based upon the following supporting information
              [including, without limitalon, a brief description of the following factors as they pertain to
              this particular case; (1) management of a large number of separately represented. parties;
              (2) complexity of anticipated factual and/or legal issues; (3) numerous pretrial motions
              that will be time-consuming to resolve; (4) management of a large number of witnesses or
              a substantial amount of documentary evidence; (5) coordination with related actions




CV-59 [Rev, 1/06]                                                               www,sanmateocourtorg
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 125 of 450




           pending in one or more courts in other counties, states or countries or in a federal court;
           (6) whether or not certification of a putative class action will in fact be pursued; and (7)
           substantial post-judgment judicial supervision]:.                                     •
            This case is provisionally complex as it involves securities claims. In addition, it is

             being designated complex due to the large number of parties/witnesses, the

             complexity of factual and/or legal issues, and because certification of a putative

             class will be pursued.




                                      (attach additional pages if necessary)


3.      Based on the above-stated supporting information, there is a reasonable basis for the complex
        case designation or counter-designation PrEaratatatpliexmosomattatonalasignatioax] being made
        in the attached Civil Case Cover Sheet.



                                                  *****



I, the undersigned counsel or self-represented party, hereby certify that the above is true and correct
and that I make this certification subject to the applicable provisions of California Code of Civil
Procedure, Section 128.7 and/or California Rules of Professional Conduct, Rule 5-200 (B) and San
Mateo County Superior Court Local Rules, Local Rule 2.30.



Dated: June 5, 2018


 Brian J. Robbins                                       .            11111F deff   / iir 7.-.
[Type or Print Name]                           [Signature of • ty or Appr-y-       Party]




CV-59 [Rev. 1/061                                                              www.sanmateocourt.org
                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 126 of 450


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                                                                                                                                                                ,.             1 •
 ATTOISDEY OR PARTY WfT.110111t AFTQRNEY Mom ROW Oat riiRninif. and                                                                  FOR COURT aE ONLY
— Br an J. Robbins (190264) •   •
   ROBBINS ARROYO LLP
   600 B Street Suite 1900
   San Diego, CA 92101                                                                                                        oARTsEE.ocgiu1/4"R
,•    TELEPHONE NO.: 012) 525-3990                              FAX NO;   (619) 525-3991
 ATTORNEY FOR (Name):          Plaintiff Vlach Zakmov                                                                 : ESNANDwi
SUPERIOR COURT OF CALIFORNIA, COUNTY OF           San Mateo .                                                            •
           STREET ADDRESS:     400 County Center .                                                                               JUN 0 6 2018
           MAILING ADDRESS:
                                                                                                                   .   e i ric at the Sup    Qoun
                                                                                                                                              ,_
       erryANO ZIP CODE;       Redwood City, CA 94063                                                                     emirT                   _
                               Hall of JusticeAtid Records -                                                           By
       -.     BRANCH NAME;                                                                                                      DEPUTY cLeRK
    CASE NAME:             .
    Zakinov v.-Ripple Labs-Inc., et al.
                                                                             - •• - --- •              -      -- . --       - CASE NUMBS;
,      • CIVIL CASECOVER SHEET -                                  .' Complex Case Designation                                                      .                      .,
I i unlimited
           (Amount
                                I - (Limited
                                    • • (Amount                El:                Counter       I 1. •     Joinder             - ---- 48:C
                                                                                                                                JUDGe"
                                                                                                                                           1 v n 2 8 A. 5
           demanded .             .     dependedis           • F110 with first appearance by defendant                                             7
           exceeds $25,000)              $25,000 or less)           . ... (Cal. Rules of Court; rule 3.402) .. . DEPT;
                                            ' Items 1-6 be ow must' 69001401W seri. Strad-Ions on 'pa& 21
 . Check one box below for the case type that best describenthis case:                                                                        .
      Auto Tort          -                                     -Connect                                              Provisionally Complex Civil LiigatIon
                                                               I8-1        ,I Breach of contract/warranty (06) (Cat. Rules of Court, rules 3.400-3.403)
   . FR Auto (22)                                                  .......
   : , • Uninsured motorist (46)                              .1 I Rule 3.740 collections (09)
                                                                         .                                           [-.- .1; Antitrust/Trade regulation (03)
      Other PUPD/VVD (Personal          Injury/Property     • .I       ' . I    Other collections  (09)              I     I. Construction defect (10)
. BitMage/MOISul Death) Tort                                    El:. Insurance coverage (18)                                 . Mass tort (40) •      -
      Ft Asbestos (04)                                          I 1 Other contract (37)                                      •Securities litigation (28)
      rrl - Product liability (24)                              Real 7ropitty                                        L J Environmental/Toxic tort (30)
   .1        I. Medical malpractice (45)                                     • Eminent domain/Inverse
                                                                              condemnation (14)• •
                                                                                                                 l•  I         Insurance coverage claims arising from the
       :, : - Other PUPD/VVO (23)                                                                                              above listed provisionally complex case
                                                                                                                                                ..
- . Non-PI/PONS° (Other)794:•                                 Ti                Wrongful eviction (33)                         types (41)

    1-1 Business todientairPOSiness practice (07) U Other real property (26)                                          Enforcement      of  Judgment
     -         •Civil rights (08)                                Unlawful Detainer                          rl                 Enforcement of judgment (20)
    :           Defamation (13)                                          .    ' Commercial   (31)                     Miscellaneous Civil Complaint
     it         Fraud (16)                                      1. I Residential (32)                                          RICO (27)
      / I Intellectual property (19)                             1
                                                                 I              Drugs (38)                  LI                 Other complaint (not specified above) (42)
      I -I Professional negligence (25)                          Judicial Review.                                     Miscellaneous Civil Petition
       Ng Other non-PpPDVVO.tod (35)
         yoyment
                                                                 1 . 1 Asset forfeiture (05)
                                                                I,..—_,
                                                                                                            L_1
                                                                           II Petition re: arbitration award (11) 1Other
                                                                                                                      i I
                                                                                                                               Partnership and corporate governance (21)
  _ tran                                                                                                                              petition (not specified above) (43)
• I             Wrongful termination (38)                        I           I Writ of mandate (02)
      I' I Other employment (15)                           ...C                 Other udloial revl a (9
2. This ease . ..1 •71 is- - 'ILJ: Is not .— COMPfertlunder rule 3A00 of the California Rules of Court. If the case is complex, mark the
 • fac ors requiring exceptional judicial managemer:(:
    - 8,1 I Large number of separately represented parties                                   d. I i    I Large number of witnesses
        b.   pi     Extensive motion practice raising diffica ar novel                       e 1 .Coordination with related actions pending in one or more courts
           •.       Issues that will be time-consuming to resolve                                    -• in other counties, states, or countries, or In a federal court
        c. FT Substantial amount of documentary exidInce                                     f. I ISubstantial postjudgment judicial supervision                  .
3,         Remedies sought (check all that apply): 8.171monetary b.1 V I nonmonetery; declaratory or Injunctive relief                                     el       ]punitive
4. •       Number of causes of action (specify): Two           .
5.         This case I 1I is •      El is not a class actic-i suit.
6,         If there are any known related cases, file and sere:a notice of related case. (you = • • CM-015.)
Date: June 5, 2018
Brian J. Robbins                                                                                    eas    l
                                                                                                           ' liir
                -. " UWE ORFRINT.NAMEI                    •                      .. ... _ . .         " OF
                                                                                               ISIO Vt• -   PA TY. 0 -"7 " ft f 'PARTY)'
                                                                         NOTICE
     • Plaintiff must file this-cover sheet with the first pa ar filed In the action or proceeding (except small claims cases or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
        In sanctions.             .
    .• File this cover sheet In addition to any cover sheet required by local court rule.
     •. If this case is complex under rule 3.400 et seq, oc the California Rules of Court, you must serve a copy of this Cover sheet on all
        other parties to the action or proceeding.
     * Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes one._:_ ,2. _
Fenn Adopted for Mandatory U                                                                                              Col. Rules al court, nibs 230, 3220, 3400-3303, 3. 740;
  hellolal Getout! of Collftertle
                                                              CIVIL CASE COVER SHEET                                              Col. Standards of Ju41Uel Asinfidstrallen, std. 330
  CM-010 (Rev July 1, 20071                                                                                                                                   wwwmurtinto ea gov
                  Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 127 of 450

                                                                                                                                          CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1, This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you In completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit, &collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive 'pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate-whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property             Breach of ContractNVarranty (06)               Rules of Court Rules 3.400-3.403)
          DamageNVrongful Death                          Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (If the                          Contract (not unlawful detainer             Construction Defect (10)
          case Involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract'Warranty Breach-Seller                  Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                    Insurance Coverage Claims                .
                                                              Warranty                                         (arising from provisionally complex
Other PI/PD/WD (Personal Injury/
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                    case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                              Enforcement of Judgment (20)
                                                         Collection Case-Seller Plaintiff                     Abstract of Judgment (Out of
          Asbestos Property Damage                                                                                   County)
          Asbestos Personal Injury/                      Other Promissory Note/Collections
                                                              Case                                            Confession of Judgment (non-
                Wrongful Death
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                            domestic relations)
                                                         complex) (18)                                        Sister State Judgment
          toxic/environmental) (24)
     Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                            (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                       Petition/Certification of Entry of
                                                         Contractual Fraud                                        Judgment on Unpaid Taxes
          Other Professional Health Care
                Malpractice                              Other Contract Dispute                               Other Enforcement of Judgment
                                                                                                                    Case
     Other PUPD/VVD (23)                         Real Property
          Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                                                         Condemnation (14)                                RICO (27)
                and fall)
          intentional Bodily Injury/PDNVD           Wrongful   Eviction   (33)                            Other Complaint (not specified
                                                                                                               above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)             Declaratory Relief Only
          Intentional Infliction of                      Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                        harassment)
          Negligent Infliction of                        Quiet Title                                          Mechanics Lien
                Emotional Distress                       Other Real Property (not eminent                      Other Commercial Complaint
          Other PI/PD/WD                                  domain, landlord/tenant, or
                                                          foreclosure)                                               Case (non-tort/non-complex)
Non.PI/PDNVD (Other) Tort                                                                                      Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                  (non-tort/non-complex)
        Practice (07)                                Commercial (31)                                 Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                      Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                                drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                  above) (43)
           (13)                                  Judicial Review                                               Civil Harassment
     Fraud (16)                                     Asset Forfeiture (06)                                      Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                        Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                             Abuse
         Legal Malpractice                               Writ-Administrative Mandamus                          Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                        Petition for Name Change
              (not medical or legal)                         Case Matter                                       Petition for Relief From Late
      Other Non-Pl/PDAND Tort (35)                       Writ-Other    Limited  Court Case                           Claim
Employment                                                   Review                                            Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 'Rev July 1, 20071                                                                                                                   Page 2 of 2
                                                      CIVIL CASE COVER SHEET
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 128 of 450




  1 ROBBINS ARROYO LLP
    BRIAN J. ROBBINS (19026a)                               ENDORSED flap
  2 STEPHEN J. ODDO (17482r                                                   C
    ERIC M. CARRINO (310765)                                SAN MATEO              ax
  3 600 B Street, Suite 1900                                          JUN el 5 2018
    San Diego, CA 92101          ;
  4 Telephone: (619) 525-3990                                                  p eaot court
                                                                                      . tiei
    Facsimile: (619) 525-3991                                Cl e r ic tienpe;
  5 E-mail. brobbins@robbinsarroyo.com                       By mt oti        oL ls
            soddo@robbinsarrorwom
  6         eeattino®robbinsantyo.com
                              ii
  7 Attorneys for Plaintiff    '
  8 [Additional Counsel on Sign2 ture Page]
  9                        SUPERIC :',. COURT OF THE STATE OF CALIFORNIA
 10                                         COUNTY OF SAN MATEO
 11     VLADI ZAKINOV, individu;Cly and on              )   Ca.se No.          18C I vo g84 5
        Behalf of All Others Similarl: Situated,        )
 12                                                     )   CLASS ACTION
                                         Plaintiff,     )
 13                                                     )   COMPLAINT FOR VIOLATIONS OF
                v.                                      )   CALIFORNIA CORPORATIONS CODE
 14                                                     )
    RIPPLE LABS INC.,                                   )
 15 XRP II, LLC,          '                             )
    BRADLEY GARLINGHOUM, and                            )
 16 DOES 1-25, Inclusive,                               )
 17                                      Defendants.        DEMAND FOR KAY TRIAL
                                                        )
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                                              CLASS ACTIONCOMPLAINT
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 1                                          INTRODUCTION

 2          1.      Plaintiff, individually and on behalf of all others similarly situated, by his

 3   undersigned attorneys, alleges the following based upon personal knowledge as to plaintiff and

 4   plaintiffs own acts, and upon information and belief as to all other matters based on the

 5   investigation conducted by and through plaintiffs attorneys, which included, among other things,

 6 a review of media and reports about the Company and Company press releases against

 7 defendants Ripple Labs Inc. ("Ripple" or the "Company"), its wholly owned subsidiary XRP II,

 8   LLC ("XRP II"), and Ripple's Chief Executive Officer, Bradley Garlinghouse ("Garlinghouse").

 9 Plaintiff believes that substantial additional evidentiary support will exist for the allegations set

10 forth herein.

11                                   SUMMARY OF THE ACTION

12          2.      Plaintiff brings this class action on behalf of all California citizens who purchased

13 or otherwise acquired Ripple tokens ("XRP") issued and sold by defendants,

14          3.      XRP, despite its name as a "token," is actually a security under California law. In

15 particular: (i) Ripple uses the funds it raised from the sale of XRP to fund its business ventures;

16 (ii) the Company indiscriminately offers XRP for sale to the public at large; (iii) plaintiff and the

17 Class (as defined herein) are effectively powerless to control the success of Ripple and XRP; and

18 (iv) plaintiff and the Class members' investment is substantially at risk and is without any

19 security.

20          4.      As a result, defendants were required to register XRP when offering or selling it.

21   They did not. Instead, they made a series of improper statements which drove up the price of

22   XRP, allowing defendants to obtain greater returns on their XRP sales.

23                                   JURISDICTION AND VENUE

24          5.      This Court has jurisdiction over the causes of action asserted herein pursuant to

25 the California Constitution, Article VI, section 10, because this case is a cause not given by

26 statute to other trial courts.

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 1          6.      The violations of law complained of herein occurred in California and in large

 2   part in this County. More, certain of the defendants reside in San Mateo County.

 3          7.      This Court has personal jurisdiction over each of the defendants named herein

 4   because they conduct business, were citizens of, or took steps to conduct the initial coin offering

 5   ("ICO") in California.

 6          8.      Venue is proper because the defendants' wrongful acts arose in and emanated

 7   from, at least in part, this County. The violations of law complained of herein occurred in this

 8   County. Further, certain of the defendants live in or conduct business in this County.

 9          9.      This Court also has personal jurisdiction over Defendants because they reside or

10   have their principal places of business in California.

11                                            THE PARTIES

12   Plaintiff

13          10.     Plaintiff Vladi Zakinov is a citizen of California. Plaintiff purchased XRP in

14   January 2018 and was damaged thereby.

15   Defendants

16          11.     Defendant Ripple is a corporation with principal executive offices located at 315

17 Montgomery Street, 2nd Floor, San Francisco, California. Ripple operates RippleNet, a global

18   payments network based on blockchain technology. Through RippleNet, banks and payment

19   providers can use the digital asset XRP to process, clear, and settle financial transactions in real-

20   time worldwide.

21          12.     Defendant XRP II is a limited liability company and a wholly owned subsidiary

22 of Ripple. Its principal place of business is in San Francisco, California. XRP II sold XRP and

23 solicited the purchases of XRP from plaintiff and the Class for its own benefit and the benefit of

24   its parent, Ripple, and its executives and owners, such as defendant Garlinghouse

25           13.    Defendant Garlinghouse is Ripple's Chief Executive Officer and has been since

26   January 2017 and a director and has been since at least July 2017. Defendant Garlinghouse was

27 also Ripple's President and Chief Operating Officer from April 2015 to December 2016.

28   Defendant Garlinghouse is a California citizen and a resident of San Mateo County.
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 1          14.    The true names and capacities of defendants sued herein under California Code of

 2 Civil Procedure section 474 as Does 1 through 25, inclusive, are presently not known to plaintiff,

 3   who therefore sues these defendants by such fictitious names. Plaintiff will seek to amend this

 4   complaint and include these Doe defendants' true names and capacities when they are

 5   ascertained. Each of the fictitiously named defendants is responsible in some manner for the

 6 conduct alleged herein and for the injuries suffered by the Class.

 7                RIPPLE INDISCRIMINATELY OFFERS XRP TO THE PUBLIC
                  AT LARGE, WHICH PLAINTIFF AND THE CLASS INVESTED
 8
                           IN WITH AN EXPECTATION OF PROFIT
 9

10          15.     Ripple sells XRP through exchanges and directly to investors. The Company lists

11   the various exchanges on which investors can purchase XRP on its website, and for some

12   provides step by step purchasing directions.

13          16.     Plaintiff and the Class invested fiat and other digital currencies, such as Bitcoin

14 and Ethereum, to purchase XRP.

15          17.     Plaintiff used Ethereum to purchase XRP. In particular, plaintiff purchased 162

16   XRP at $1.4337 and 57 XRP at $1.365 on January 11, 2017, and 299 XRP at a price of $1.0923

17 on January 27, 2018. Plaintiff has not sold any of his XRP.

18          18.     Plaintiff and the Class invested in XRP with the expectation that XRP would

19   increase in value and result in a profit. As explained below, defendants have promoted XRP and

20 conflated the value of XRP with its other software efforts.

21     RIPPLE USES PLAINTIFF AND THE CLASS MEMBERS' UNSECURED PASSIVE
                INVESTMENTS TO FUND THE COMMON ENTERPRISE
22

23          19.     Ripple concedes that it "sells XRP to fund its operations and promote the

24   network. This allows Ripple [] to have a spectacularly skilled team to develop[] and promote the

25   Ripple protocol and network." Ripple sold nearly $92 million worth of XRP in the fourth quarter

26 of 2017 alone. On information and belief, the sale of XRP substantial dwarfs any other source of

27   revenue for the Company.

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 1            20.  In addition, plaintiff and the Class members' investment is entirely passive.
                                4
2    Plaintiff and the Class have no ability to control the direction of the Company or the

 3 development of the XRP Ledger (described in more detail below). Rather, it is through the

 4 efforts of defendants that plaintiff expected to make a profit on his investment, In particular, the

 5 efforts of defendants to maintain and push the adoption of XRP and the XRP Ledger, of which

 6 they have near complete control, is explained below.

 7            21.   Plaintiff and the Class members' investment in XRP is unsecured and at risk of

 8 loss at all times, largely depending on defendants' actions.        If defendants fail to create an

 9 adequate market for XRP, inadequately or incorrectly manage the XRP Ledger, or there is a loss

10 of confidence in Ripple's management by the general market, plaintiff and the Class members'

11   investment in XRP will likely lose money.

12
               THE VALUE OF XRP IS DERVIVED FROM DEFENDANTS' EFFORTS
13                     ON BEHALF OF THE COMMON ENTERPRISE

14 XRP's Value Is a Result of Defendants' Efforts

15            Defendants Control Both the Supply of XRP in the Market and the XRP Ledger
16            22.   Since its creation, defendants have focused on how to create, maintain, and

17 increase the value of XRP.        First, they focused on limiting the supply of XRP while also

18   increasing its usage. Defendants created all 100 billion XRP at one time. XRP is currently the

19 third largest coin by market capitalization, with a market capitalization of. approximately $24

20 billion.
21            23.   Ripple provided its founders with twenty billion XRP and held onto the rest.

22 defendants' plan was to sell the other eighty billion XRP in basically a never ending ICO. In

23   particular, Ripple put fifty-five billion XRP into an escrow account and has the ability to sell up
24 to one billion XRP a month.

25            24.   Ripple's   control   over   XRP's   supply    is   different   than   other   popular

26 cryptocurrencies, such as Bitcoin. One of the hallmarks of a cryptocurrency is that control of the

27 currency is supposedly "decentralized."        In contrast to a governmental system, where, for

28 example in the United States, the Federal Reserve system controls the supply of currency,
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 1   cryptocurrencies work through distributed ledger technology, which has no central administrator

 2   or centralized data storage. It is the ledger of a cryptocurrency that can record transactions

 3   between two parties. This instant creation of the XRP security, which its set cap, stands in stark

 4 contrast to other well-known cryptocurrencies, such as Bitcoin, which are constantly being

 5   "mined." I

 6          25.     Ripple created and continues to work on the XRP Ledger, in which XRP's

 7 adoption and value depends. The XRP Ledger, as opposed to Bitcoin, is not decentralized, as

 8   Ripple basically admits. The Company has a multiple page explanation on "The XRP Ledger

 9   Consensus Process" on its website. There, Ripple explains how the "nodes" of the network share

10   information about candidate transactions, which validates the transactions. Unlike Bitcoin or

11   Ethereum, which is open to the world, the XRP Ledger nodes "evaluate proposals from a specific

12   set of peers, called chosen validators [also known as Uniduq Node Lists ("UNLs")]." These

13   UNLs are chosen by Ripple itself based on what it deems "trusted," meaning nodes that will not

14   collude.

15          26.     In its long discussion of the XRP Ledger Consensus Process, Ripple never calls

16   XRP decentralized, though it does confusingly say the ledger consists of "distributed" servers.

17   Rather, it claims to have come up with a plan "to increase decentralization and ensure that no

18 single entity has operational control of the XRP Ledger." While the XRP Ledger could one day

19 he decentralized, it is not currently.      Instead, Ripple admits that "Beyond our work on

20 decentralization, we have also focused on refining and improving the XRP Ledger Consensus

21   Protocol, the algorithm underlying the XRP Ledger."

22           27.    On February 6, 2018, BitMEX ran an article titled "The Ripple Story," in the

23   wake of XRP's substantial increase in value. In short, the researchers found that "the default

24   behaviour of Rippled nodes effectively hands full control over updating the ledger to the

25   Ripple.com server" and that "More significant than the disputes is the fact that the Ripple system

26

27 I Mining is when transactions are verified and added to the public ledger, known as a blockchain,
28 as a means through which new bitcoin are released.

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 1   appears for all practical purposes to be centralised and is therefore perhaps devoid of any

 2   interesting technical characteristics, such as censorship resistance, which coins like Bitcoin may

 3   have...."

 4          28.     BitMEX explained in reasoning that led it to conclude that the XRP Ledger is

 5 centralized:

 6          In January 2018, the BitMEX Research team installed and ran a copy of Rippled
            for the purpose of this report. The node operated by downloading a list of five
 7
            public keys from the server v1 .ripple.com, as the screenshot below shows. All
 8          five keys are assigned to Ripple.com. The software indicates that four of the five
            keys are required to support a proposal in order for it to be accepted. Since the
 9          keys were all downloaded from the Ripple.com server, Ripple is essentially in
            complete control of moving the ledger forward, so one could say that the system
10          is centralised. Indeed, our node indicates that the keys expire on 1 February 2018
            Oust a few days after the screenshot), implying the software will need to visit
11
            Ripple.com's server again to download a new set of keys.
12

13          29,     Further, Ripple publishes a quarterly report detailing its efforts grow the "XRP

14 ecosystem." In its report for the second quarter of 2017, the Company admitted that it continues

15   to work on the XRP Ledger. In particular, it stated, "[m]ost importantly, we are accelerating the

16   pace of our investment in the XRP Ledger to build on its speed, uptime, and scalability, to

17 ensure XRP is the most trusted enterprise-grade digital asset."

18          30.     Thus, defendants control both the supply of XRP and the ledger on which it is

19 based.

20          Defendants' Efforts to Market and Increase the Value of XRP

21          31.     In addition, defendants control the value of XRP by continuously touting it in the

22   press and obscuring the role of the security. In the press release announcing the formation of the

23   escrow account, Ripple stated that:

24          ['the] move underscores Ripple's commitment to building XRP liquidity and a
            healthy and trusted market. Long term, the value of digital assets will be
25
            determined by their utility. XRP has emerged as the only digital asset with a clear
26          intuitional use case designed to solve a multitrillion-dollar problem—the global
            payment and liquidity challenges that banks, payment providers and corporates
27          face.

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 1          32.     Discussing the escrow account, defendant Garlinghouse stated that, "Our goal in

 2 distributing XRP is to incentivize actions that build trust, utility and liquidity. We engage in

 3 distribution strategies that we expect will result in a strengthening XRP exchange rate against

 4 other currencies." Defendant Garlinghouse continued:

 5          [W]e have heard concerns in the market about uncertainty surrounding our
            ongoing XRP distribution. The root of this uncertainty is the notion that Ripple
 6
            might one day sell its 61.68B XRP in the market at any time a scenario that
 7          would be bad for Ripple! Our self-interest is aligned with building and
            maintaining a healthy XRP market.
 8

 9          33.     In addition to limiting supply of XRP, defendants also attempted to build demand

10 for the security by aggressively marketing it. Ripple's website contains a page on "How to Buy

11 XRP," which has links to various exchanges on which a person can buy XRP and even a "How

12   to" on certain of those pages.

13          34.     There is also a page on Ripple's website dedicated to XRP's market performance.

14 The page boldly stated that the Company is "committed to the long term health and stability of

15 XRP markets." The page also displays Ripple's market capitalization and the value of each XRP

16 security in U.S. Dollars.

17          35.     Defendants have also conflated the Company's software products with XRP in

18 order to increase the value of XRP. Ripple develops software for financial institutions and

19 payment providers that attempt, among other things, to minimize liquidity costs, known as

20 xCurrent, xRapid, and xVia. xCurrent is "Ripple's enterprise software solution that enables

21   banks to instantly settle cross-border payments with end-to-end tracking. Using xCurrent, banks

22   message each other in real-time to confirm payment details prior to initiating the transaction and

23 to confirm delivery once it settles." xVia "is for corporates, payment providers and banks who

24   want to send payments across various networks using a standard interface." Neither xCurrent

25   nor xVia require the use of XRP.2

26
   2
     The only product that actually needs XRP is xRapid. xRapid is supposedly "for payment
27 providers and other financial institutions who want to minimize liquidity costs while improving
28 their customer experience. Because payments into emerging markets often require pre-funded

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 1          36.     For instance, on June 28, 2017, defendant Garlinghouse participated in an

 2 interview on CNBC. During the interview, defendant Garlinghouse discussed why XRP was "a

 3   more stable digital asset."    In among other things, defendant Garlinghouse highlighted the

 4 payment technology that Ripple was working on. In doing so, defendant Garlinghouse again

 5   conflated the value of XRP with software Ripple was developing. To make matters worse,

 6   Ripple than retweeted a portion of that interview that was originally tweeted by the CNBC

 7 reporter.

 8          37.     During a Bloomberg News Network interview, defendant Garlinghouse stated that

 9 "the reason why XRP has performed so well this year, we're solving a real problem, it's a

10   multitrillion-dollar problem around cross-border payments. There is a lot of friction, its very

11   slow its expensive, we're working with the institutions to deliver on that, so people have gotten

12   excited. We now have over 100 customers we've announced publicly." This discussion, of

13   course, conflated XRP, the security, with the customers using Ripple's products. Defendant

14   Garlinghouse doubled down on this confusion later in the interview, stating "at the end of the day

15 the value of digital assets will be driven by their utility. If they are solving a real problem, and

16 that problem has scale, and that problem, you know there is real value there, then there will be

17   demand for the tokens and the price will go up. For XRP we have seen because it's required, it's

18   something that can really reduce the friction, and we're talking about a multitrillion-dollar

19   problem in how cross-border payments flow. And so, I think if you drive real utility, yes there's

20   going to be demand for that." "XRP is up 100x this year, and I think it's because the problem we

21   are solving people realize is a real problem, it's a big problem."

22          38.     Articles about Ripple's software products often cause a rise in the price of XRP,

23   even though the two are not linked. Defendants have fostered this confusion through their own

24 statements and "retweets." For instance, on May 3, 2017, Ripple quote tweeted an article from

25 Nasdaq.com, stating "Ripple adoption is sparking interested in XRP, 'which had an impressive

26

27   local currency accounts around the world, liquidity costs are high. xRapid dramatically lowers
28   the capital requirements for liquidity."

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 1   rally in the last two months.'" The quoted article discussed how financial institutions were

 2 adopting Ripple's software products, which "in turn, has sparked interest in Ripple's digital

 3 currency."         Instead of explaining the difference, defendants, in quote tweeting the article,

 4 continued to give off the incorrect impression about the link between the products and security.

 5          39,        Similarly, on May 16, 2017, Ripple tweeted a quote from an article about XRP's

 6   market capitalization, stating; "The appeal that Ripple has towards traditional financial

 7 institutions is a big advantage it has over Bitcoin." However, this article confused Ripple's

 8 software solutions with the value of XRP, a confusion fostered by Ripple's quoted tweet.

 9          40.        Defendants fought back against articles and writers that attempted to unlink XRP

10   from Ripple's other products. On January 4, 2018, The New York Times published an article by

11   Nathaniel Popper ("Popper") titled: "Rise of Bitcoin Competitor Ripple Creates Wealth to Rival

12   Zuckerberg."

13          41.        Popper tweeted a follow-up about his article, stating, "over the last day, I've asked

14   several people close to banks if banks are indeed planning to begin using Ripple's token, XRP, in

15   a serious way, which is what investors seem to assume when they buy in at the current XRP

16   prices. This is a sampling of what I heard back:

17                •    Actual use of XRP by banks is not something I've heard about, I find the
                       run up absolutely baffling, as do all the blockchain folks I know at large
18
                       FIs.
19
                  •    XRP isn't used for anything. The hope is that someday it will be by banks,
20                     but there really aren't banks signaling that yet.

21                •    I would be surprised if there have been any real bank to bank transactions
                       done with it (outside of maybe test transactions), despite people making
22                     claims to the contrary.
23
                  •    It's not clear to me why XRP would be used by banks at all. XRP could
24                     potentially be adopted by consumers as a payment rail, although they don't
                       yet have meaningful traction in that regard.
25
                  •    I haven't seen a sufficiently large catalyst in the fundamentals of Ripple to
26                     justify a greater than 10x move in the price of $XRP over the last month.
27                •     In a few years we're going to look back on 2017 and think WTF were we
                        thinking."
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 I             42.   Defendant Garlinghouse responded by tweeting: "Over the last few months I've

 2 spoken with ACTUAL banks and payment providers. They are indeed planning to use xRapid

 3 (our XRP liquidity product) in a serious way...." Ripple's XRP product manager, tweeted: "Do

 4   you think I left #Bitcoin and joined @Ripple to build bank software? Think again. $XRP."

 5             43.   Accordingly, as shown above, the defendants acted on behalf of the common

 6 enterprise, with the expectation of increase the value of XRP, and thus causing a profit.

 7                                 CLASS ACTION ALLEGATIONS

 8             44.   Plaintiff brings this class action individually and on behalf of all California

 9 citizens who purchased or otherwise acquired XRP from January 1, 2013 to the present (the

10   "Class"). Excluded from the Class are defendants and their families, the officers and directors

11   and affiliates of defendants, at all relevant times, members of their immediate families and their

12   legal representatives, heirs, successors, or assigns, and any entity in which defendants have or

13   had a controlling interest.

14             45.   The members of the Class are so numerous that joinder of all members is

15   impracticable. While the exact number of Class members is unknown to plaintiff at this time and

16   can only be ascertained through appropriate discovery, plaintiff believes that there are thousands

17 of members in the proposed Class. XRP owners and other members of the Class may be

18   identified from records maintained by Ripple and may be notified of the pendency of this action

19 by mail, using the form of notice similar to that customarily used in class actions.

20             46.   Plaintiffs claims are typical of the claims of the members of the Class, as all

21   members of the Class are similarly affected by defendants' wrongful conduct, as complained of

22   herein.

23             47.   Plaintiff will fairly and adequately protect the interests of the members of the

24   Class and has retained counsel competent and experienced in class and securities litigation.

25             48.   There are no unique defenses that may be asserted against plaintiff individually,

26   as distinguished from the other members of the Class. Plaintiff has no interest that is in conflict

27   with, or is antagonistic to, the interests of the members of the Class, and has no conflict with any

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 1   other members of the Class. Plaintiff has retained competent counsel experienced in securities,

 2 consumer protection, and Class action litigation to represent himself and the Class.

 3          49.      Common questions of law and fact exist as to all members of the Class and

 4 predominate over any questions solely affecting individual members of the Class. Among the

 5 questions of law and fact common to the Class are:

 6                   (a)    whether XRP are securities;

 7                   (b)    whether defendants violated the California Corporations Code; and

 8                   (c)    to what extent the members of the Class have sustained damages and the

 9 proper measure of damages.

10          50.      A class action is superior to all other available methods for the fair and efficient

11 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

12 the damages suffered by individual Class members may be relatively small, the expense and

13   burden of individual litigation make it impossible for members of the Class to individually

14   redress the wrongs done to them. There will be no difficulty in the management of this action as

15 a class action.

16                                   FIRST CAUSE OF ACTION
            Against All Defendants and Does 1-25 for the Unregistered Offer and Sale of
17        Securities in Violation of California Corporations Code Sections 25110 and 25503
18

19          51.      Plaintiff incorporates by reference and realleges each and every allegation

20 contained above, as though fully set forth herein.

21          52.      This Cause of Action is brought pursuant to California Corporations Code

22 sections 25110 and 25503, on behalf of the Class, against all defendants.

23          53.      XRP are securities within the meaning of the California Corporations Code.

24          54.      No registration statements have been filed with any state or federal government

25 entity or have been in effect with respect to any of the offerings alleged herein.

26          55.      Defendants and each of them, by engaging in the conduct described above within

27 California, directly or indirectly, sold and offered to sell the unregistered securities.

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 I          56.     Plaintiff and members of the Class purchased XRP securities from defendants.

 2          57.     By reason of the foregoing, each of the defendants have violated sections and

 3   25110 and 25503 of the California Corporations Code.

 4          58.     As a direct and proximate result of defendants' unregistered sale of securities,

 5   plaintiff and members of the Class have suffered damages in connection with their respective

 6 purchases of XRP securities.

 7                                  SECOND CAUSE OF ACTION
                       Against Defendants Ripple, Garlinghouse, and Does 1-25
 8                for Violation of Section 25504 of the California Corporations Code
 9

10          59.     Plaintiff incorporates by reference and realleges each and every allegation

II   contained above, as though fully set forth herein.

12          60.     This Cause of Action is brought pursuant to California Corporations Code

13 section 25504, on behalf of the Class, against all defendants.

14          61.     Defendants Ripple and Garlinghouse were control persons within the meaning of

15 section 25504 of the California Corporations Code. In particular, defendant Ripple was a control
16   person by virtue of agency and ownership of XRP II. Defendant Garlinghouse was a control

17 person by virtue of his position as an officer of Ripple and/or authorized representative of the

18 other defendants. Defendants Ripple and Garlinghouse each had the power and influence and

19 exercised the same to cause the unlawful offer and sale of XRP securities as described herein.

20          62.     Defendants Ripple and Garlinghouse, separately or together, have sufficient

21   influence to have caused XRP II and/or Ripple to submit a registration statement.

22          63.     Defendants Ripple and Garlinghouse, separately or together, jointly participated

23   in, and/or aided and abetted, XRP II and/or Ripple failure to register XRP.

24                                       PRAYER FOR RELIEF

25          WHEREFORE, plaintiff demands judgment on his behalf and that of the Class as

26   follows:

27          A.      Under section 382 of the California Code of Civil Procedure, certifying this as a

28 Class action, appointing plaintiff as a Class representative under California Rule of Court 3,764,

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 1 and appointing plaintiffs counsel as Class counsel;

 2          B.      Awarding damages in favor of plaintiff and the Class against all defendants

 3 jointly and severally, in an amount to be proven at trial, including interest thereon;

 4          C.      Awarding plaintiff and the Class their reasonable costs and expenses incurred it

 5 this action, including counsel fees and expert fees;

 6          D.      Awarding rescission or a rescissory measure of damages; and

 7          E.      Awarding equitable, injunctive or other relief, including disgorgement o

 8 restitution, as deemed appropriate by the Court.

 9                                             JURY DEMAND
10          Plaintiff demands trial by jury.

11   Dated: June 5, 2018                                ROBBINS ARROYO LLP
                                                        BRIAN J. ROBBINS
12                                                      STEPHEN J. ODDO
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13


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                             CLASS ACTION COMPLAINT
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            APPROPRIATE DISPUTE RESOLUTION INFORMATION SHEET

              SUPERIOR COURT OF CALIFORNIA, SAN MATEO COUNTY

In addition to the court provided voluntary and mandatory settlement conferences, this
court has established, in partnership with the community and Bar Association, the Multi-
Option ADR Project. Recognizing that many civil disputes can be resolved without the
time and expense of traditional civil litigation, the San Mateo County Superior Court
encourages the parties in civil cases to explore and pursue the use of Appropriate
Dispute Resolution

WHAT IS APPROPRIATE DISPUTE RESOLUTION?

Appropriate Dispute Resolution (ADR) is the general term applied to a wide variety of
dispute resolution processes which are alternatives to lawsuits. Types of ADR
processes include arbitration, mediation, neutral evaluation, mini-trials, settlement
conferences, private judging, negotiation, and hybrids of these processes. All ADR
processes offer a partial or complete alternative to traditional court litigation for resolving
disputes.

WHAT ARE THE ADVANTAGES OF USING ADR?

ADR can have a number of advantages over traditional court litigation.

•   ADR can save time. Even in a complex case, a dispute can be resolved through
    ADR in a matter of months or weeks, while a lawsuit can take years.

•   ADR can save money. By producing earlier settlements, ADR can save parties and
    courts money that might otherwise be spent on litigation costs (attorney's fees and
    court expenses).

•   ADR provides more participation. Parties have more opportunity with ADR to
    express their own interests and concerns, while litigation focuses exclusively on the
    parties' legal rights and responsibilities,

•   ADR provides more control and flexibility. Parties can choose the ADR process
    most appropriate for their particular situation and that will best serve their particular
    needs.

•   ADR can reduce stress and provide greater satisfaction. ADR encourages
    cooperation and communication, while discouraging the adversarial atmosphere
    found in litigation. Surveys of disputants who have gone through ADR have found
    that satisfaction with ADR is generally high, especially among those with extensive
    ADR experience.

Arbitration, Mediation, and Neutral Evaluation

Although there are many different types of ADR processes, the forms most commonly
used to resolve disputes in California State courts are Arbitration, Mediation and Neutral
Evaluation. The Multi-Option ADR Project a partnership of the Court, Bar and
Community offers pre-screened panelists with specialized experience and training in
each of these areas.
Arbitration: An arbitrator hears evidence presented by the parties, makes legal rulings,
determines facts and makes an arbitration award. Arbitration awards may be entered as

Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-S" [Rev. Feb. 2014]
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judgments in accordance with the agreement of the parties or, where there is no
agreement, in accordance with California statutes. Arbitrations can be binding or non-
binding, as agreed by the parties in writing.

Mediation: Mediation is a voluntary, informal, confidential process in which the
mediator, a neutral third party, facilitates settlement negotiations, The mediator
improves communication by and among the parties, helps parties clarify facts, identify
legal issues, explore options and arrive at a mutually acceptable resolution of the
dispute.

Neutral Evaluation: Involves presentations to a neutral third party with subject matter
expertise who may render an opinion about the case the strengths and weaknesses of
the positions, the potential verdict regarding liability, and a possible range for damages.

CIVIL ADR PROCEDURES FOR THE SAN MATEO COUNTY SUPERIOR COURT

    •   Upon filing a Complaint, the Plaintiff will receive this information sheet from the
        Superior Court Clerk. Plaintiff is expected to include this information sheet when
        he or she serves the Complaint on the Defendant.

    •   All parties to the dispute may voluntarily agree to take the matter to an ADR
        process. A stipulation is provided here. Parties chose and contact their own ADR
        provider. A Panelist List is available online.

    •   If the parties have not agreed to use an ADR process, an initial Case
        Management Conference ("CMC") will be scheduled within 120 days of the filing
        of the Complaint. An original and copy of the Case Management Conference
        Statement must be completed and provided to the court clerk no later than
        15 days prior to the scheduled conference. The San Mateo County Superior
        Court Case Management Judges will strongly encourage all parties and their
        counsel to consider and utilize ADR procedures and/or to meet with the ADR
        director and staff where appropriate.

    •   If the parties voluntarily agree to ADR, the parties will be required to sign and file
        a Stipulation and Order to ADR.

    •   A timely filing of a stipulation (at least 10 days prior to the CMC) will cause a
        notice to vacate the CMC. ADR stipulated cases (other than judicial arbitration)
        will be continued for further ADR/Case Management status review in 90 days. If
        the case is resolved through ADR, the status review date may be vacated if the
        court receives a dismissal or judgment. The court may upon review of case
        information suggest to parties an ADR referral to discuss matters related to case
        management, discovery and ADR.

    •    Any ADR Services shall be paid for by the parties pursuant to a separate ADR
         fee agreement. The ADR Director may screen appropriate cases for financial aid
         where a party is indigent.

    •    Local Court Rules require your cooperation in evaluating the ADR Project and
         will expect a brief evaluation form to be completed and submitted within 10 days
         of completion of the process.

You can find ADR forms on the ADR webpage: www.sanmateocourt.oro/adr. For more
information contact the Multi-Option ADR Project at (650) 261-5075 or 261-5076.

Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-8" [Rev. Feb. 2014]
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                                                                                                  Print Form




                       SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
                                  MULTI OPTION ADR PROJECT
                                         FIALA, OF JUSTICE AND RECORDS
   J                                           •I-oo COUNTY CENTER
       r
                                        REDWOOD CITY, CALIFORNIA RIMS


                         ADR Stipulation and Evaluation Instructions

In accordance with Local Rule 2.3(1)(3), all parties going to ADR must complete a Stipulation and Order
to ADR and file it with the Clerk of the Superior Court. The Office of the Clerk is located at:

           Clerk of the Superior Court, Civil Division
           Attention: Case Management Conference Clerk
           Superior Court of California, County of San Mateo
           400 County Center
           Redwood City, CA 94063-1655

There is no filing fee for filing the stipulation. An incomplete stipulation will be returned to the parties by
the Clerk's Office. All stipulations must include the following:

                   0   Original signatures for all attorneys (and/or parties in pro per);
                   0   The name of the neutral;
                   0   Date of the ADR session; and
                   0   Service List (Counsel need not serve the stipulation on parties).

Parties mutually agree on a neutral and schedule ADR sessions directly with the neutral. If parties would
like a copy of the court's Civil ADR Program Panelist List and information sheets on individual panelists,
they may visit the court's website at www.sanmateocourt.org/adr.

If Filing the Stipulation Prior to an Initial Case Management Conference
To stipulate to ADR prior to the initial case management conference, parties must file a completed
stipulation at least 10 days before the scheduled case management conference. The clerk will send notice
of a new case management conference date approximately 90 days from the current date to allow time for
the ADR process to be completed.

If Filing Stipulation Following a Case Management Conference
When parties come to an agreement at a case management conference to utilize ADR, they have 21 days
from the date of the case management conference to file a Stipulation and Order to ADR with the court
[Local Rule 2.3(i)(3)].

Post-ADR Session Evaluations
Local Rule 2.3(0(5) requires submission of post-ADR session evaluations within 10 days of completion
of the ADR process. Evaluations are to be filled out by both attorneys and clients. A copy of the
Evaluation By Attorneys and Client Evaluation are attached to the Civil ADR Program Panelist List or
can be downloaded from the court's web site.

Non-Binding Judicial Arbitration
Names and dates are not needed for stipulations to judicial arbitration. The Judicial Arbitration
Administrator will send a list of names to parties once a stipulation has been submitted.

For further information regarding San Mateo Superior Court's Civil ADR and Judicial Arbitration
Programs, visit the Court's website at www.sanmateocourt.org/adr or contact the ADR offices at
(650) 261-5075 or (650) 261-5076.


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Attorney or Party without Attorney (Name, Address, Telephone, Fax, Court Use Only
State Bar membership number):



SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
Hall of Justice and Records
400 County Center
Redwood City, CA 94063-1655 (650) 363-4711
Plainti l'f(s):                                                                        Case number:



Defendant(s):                                                                          Current CMC Date:




         STIPULATION AND ORDER TO APPROPRIATE DISPUTE RESOLUTION

Plaintiff will file this stipulation with the Clerk's Office 10 days prior to or 3 weeks following the first
Case Management Conference unless directed otherwise by the Court and ADR Director [Local Rule
2.3(i)(3)]. Please attach a Service List.

The parties hereby stipulate that all claims in this action shall be submitted to (select one):
    Voluntary Mediation                                        Binding Arbitration (private)
    Neutral Evaluation                                          Settlement Conference rivate)
    Non-Binding Judicial Arbitration CCP 1141.12                Summary Jury Trial         Other:

Case Type:
Neutral's name and telephone number:                                          Date of session:
(Required for continuance of CMC except for non-binding judicial arbitration)
Identify by name the parties to attend ADR session:

                                                                                 Original Signatures



DIpe or print name of •Party without attorney EAttorney for
  Plaintif&Pei itioner ['Defendant/Respondent/Contestant
                                                                                            (Signature)
                                                                      Attorney or Party without attorney




u
:kite or print name of LIParty without attorneyuAttority for
   flaintiff/Petitioner0 Defendant/Respondent/Contestant
                                                                                            (Signature)
                                                                      Attorney or Party without attorney



LTC or print name of •Party without attorneyDAttorney for                                   (Signature)
UPlainfiff/PetitionerD3efendant/Respondent/Contestant                 Attorney or Party without attorney



Iype or print name of •Party without attorney •Attorney for                                 (Signature)
alaintiff/Petitionei •Defendant/Respondent/Contestant                 Attorney or Party without attorney


IT IS SO ORDERED:

Date:                                                          Judge of the Superior Court of San Mateo County


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                                                                                                                                                    CM-110
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Bar number, and Odra's):                                              FOR COURT USE ONLY




               TELEPHONE NO.:                               FN( NO. (Optional):
      E-MAIL ADDRESS (Optional):
         ATTORNEY FOR (Name):

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF
       STREET ADDRESS:
       MAILING ADDRESS:
      CITY AND ZIP CODE:
          BRANCH NAME:

         PLAINTIFF/PETITIONER:
 DEFENDANT/RESPONDENT:

                                    CASE MANAGEMENT STATEMENT                                            CASE NUMBER:

 (Check one):              I       I UNLIMITED CASE             I    I LIMITED CASE
                                     (Amount demanded                  (Amount demanded is $25,000
                                     exceeds $26,000)                  or less)

 A CASE MANAGEMENT CONFERENCE is scheduled as follows:
 Date:                                              Time:                         Dept.:               Div.:                     Room:
 Address of court (if different from the address above):

  I       I Notice of Intent to Appear by Telephone, by (name):

                  INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1.      Party or parties (answer one):
        a. I       J This statement Is submitted by party (name):
        b I.       I This statement is submitted jointly by parties (names):


2.      Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
        a. The complaint was filed on (date):
        b. I  I The cross-complaint, If any, was filed on (date):

3.      Service (to be answered by plaintiffs and cross-complainants only)
        a. I I All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
        b I     I The following parties named in the complaint or cross-complaint
                   (1) I    I have not been served (specify names and explain why not):

                       (2) 1         j   have been served but have not appeared and have not been dismissed (specify names):

                       (3) I         I   have had a default entered against them (specify names):

        c. I       I The following additional parties may be added (specify names, nature of involvement in case, and date by which
                     they may be served):


4.      Description of case
        a. Type of case in I               I complaint      I       I cross-complaint      (Describe, including causes of action):



                                                                                                                                                    Page 1 of 5
Form Adapted for Mandatory Use                           CASE MANAGEMENT STATEMENT                                                           Cal. Rules of Court,
  Judicial Council of California                                                                                                              roles 3.720-3.730
  CM-11D [Rev. July 1, 20111                                                                                                                  wvivccourts.ca.gov
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                                                                                                         CASE NUMBER:
 _   PLAINTIFF/PETITIONER:
  DEFENDANT/RESPONDENT:
 4. b.        Provide a brief statement of the case, including any damages. (If personal Injury damages are sought, specify the injury and
              damages claimed, Including medical expenses to date (indicate source and amount), estimated future medical expenses, lost
              earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)




      I       I (If more space is needed, check this box and attach a page designated as Attachment 4b.)
 5.        Jury or nonjury trial
          The party or parties request    I    I a jury trial I    I a nonjury trial.    (If more than one party, provide the name of each party
          requesting a jury trial):

 6.    Trial date
       a. I    I The trial has been set for (date):
       b. I    I No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain):

       c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):


 7. Estimated length of trial
    The party or parties estimate that the trial will take (check one):
    a. I I days (specify number):
    b. I I hours (short causes) (specify):

 8. Trial representation (to be answered for each party)
     The party or parties will be represented at trial I I by the attorney or party listed in the caption               I   I by the following:
     a. Attorney:
     b. Firm:
     c. Address:
     d. Telephone number:                                                     f. Fax number:
     e. E-mail address:                                                       g. Party represented:
    I   I Additional representation is described in Attachment 8.
9. Preference
   I   I This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
      a.     ADR information package. Please note that different ADR processes are available in different courts and communities; read
             the ADR Information package provided by the court under rule 3.221 for information about the processes available through the
             court and community programs in this case.
           (1) For parties represented by counsel: Counsel I 1 has I            I has not provided the ADR information package identified
               in rule 3.221 to the client and reviewed ADR options with the client.
        (2) For self-represented parties: Party I    I has I I has not reviewed the ADR information package identified in rule 3.221.
      b. Referral to Judicial arbitration or civil action mediation (if available).
        (1) I Il This matter Is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                   mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                    statutory limit.
           (2) I     j Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                       Civil Procedure section 1141.11.
           (3)I      I This case is exempt from judicial arbitration under rule 3,811 of the California Rules of Court or from civil action
                       mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):


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                                                   CASE MANAGEMENT STATEMENT                                                                 Page 2 of 5
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                                                                                                                                   CM-110
                                                                                                CASE NUMBER:
 _
      PLAINTIFF/PETITIONER:
DEFENDANT/RESPONDENT:

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate In, or
       have already participated in (check all that apply and provide the specified information):


                              The party or parties completing If the party or parties completing this form in the case have agreed to
                              this form are willing to          participate In or have already completed an ADR process or processes,
                              participate in the following ADR indicate the status of the processes (attach a copy of the parties' ADR
                              processes (check all that apply): stipulation):


                                                                 ED Mediation session not yet scheduled

                                                                 NM Mediation session scheduled for (date):
     (1) Mediation                        MI
                                                                 In Agreed to complete mediation by (date):
                                                                 C Mediation completed on (date):


                                                                 Mil    Settlement conference not yet scheduled

  (2) Settlement                          I=                     MS     Settlement conference scheduled for (date):
      conference
                                                                ED Agreed to complete settlement conference by (date):

                                                                C:3 Settlement conference completed on (date):


                                                                 MI Neutral evaluation not yet scheduled
                                                                E:1 Neutral evaluation scheduled for (dale):
     (3) Neutral evaluation               INE
                                                                        Agreed to complete neutral evaluation by (dale):
                                                                 INN Neutral evaluation completed on (date):

                                                                 NM     Judicial arbitration not yet scheduled

  (4) Nonbinding Judicial                                        ON     Judicial arbitration scheduled for (date):
                                          C
      arbitration
                                                                ri Agreed to complete judicial arbitration by (date):
                                                                ED Judicial arbitration completed on (date):


                                                                E:3 Private arbitration not yet scheduled

  (5) Binding private                                            Si Private arbitration scheduled for (date):
      arbitration
                                                                MN      Agreed to complete private arbitration by (date):

                                                                C Private arbitration completed on (date):


                                                                ED ADR session not yet scheduled

                                                                 MI     ADR session scheduled for (date):
   (6) Other (specify):                   ED
                                                                ED Agreed to complete ADR session by (date):

                                                                MI      ADR completed on (date):


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                                            CASE MANAGEMENT STATEMENT
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                                                                                                                                         CM-11Q
                                                                                                     CASE NUMBER:
         PLAINTIFF/PETITIONER:
_
 DEFENDANT/RESPONDENT;

11. Insurance
    a. I    I Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights I         I Yes I          I No
    C. I I Coverage issues will significantly affect resolution of this case (explain):



12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
      I   I Bankruptcy I I Other (specify):
    Status:

13. Related cases, consolidation, and coordination
    a. I    I There are companion, underlying, or related cases.
              (1) Name of case:
              (2) Name of court:
              (3) Case number:
              (4) Status:
           I     I Additional cases are described in Attachment 13a.
        b. I     I A motion to    I    I consolidate      I   I coordinate       will be filed by (name party):

14. Bifurcation
   I I The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following Issues or causes of
         action (specify moving party, type of motion, and reasons):



15. Other motions
    I     I The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):



 16. Discovery
     a. I  I The party or parties have completed all discovery.
     b. I  I The following discovery will be completed by the date specified (describe all anticipated discovery):
             Party                                    Description                                                  Date




        c. I     j The following discovery issues, including issues regarding the discovery of electronically stored Information, are
                   anticipated (specify):




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                                                 CASE MANAGEMENT STATEMENT
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                                                                                                                                             CM-110
           PLAINTIFF/PETITIONER:                                                                             CASE NUMBER:


  DEFENDANT/RESPONDENT:


 17, Economic litigation
     a. ( I This is a limited civil case (i.e., the amount demanded Is $25,000 or less) and the economic litigation procedures in Code
            of Civil Procedure sections 90-98 will apply to this case.
           b I      I This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                      discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                      should not apply to this case):




 18. Other Issues
       I         I The party or parties request that the following additional matters be considered or determined at the case management
                   conference (specify):




 19. Meet and confer
     a. I  I The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
             of Court (if not, explain):




       b. After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
          (specify):




 20. Total number of pages attached (if any):

 I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
 as well as other issues raised by this statement, and will possess the authority to enter Into stipulations on these issues at the time of
 the case management conference, including the written authority of the party where required,

 Date:




                                (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY OR ATTORNEY)



                                                                                     O.
                                (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                    I     I   Additional signatures are attached.




CM.110 (Rev. July 1, 20111                                                                                                                   Page 5 of 5
                                                       CASE MANAGEMENT STATEMENT
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                                           NOTICE OF CASE MANAGEMENT CONFERENCE


---4t PAI          nov                             ENDORSED FILED                                     Case No:
                                                                                                                                13C 1v02 8- 4
                                                   SAN MATEO COUNTY
                                                            JUN    e 5 2018                                 Date:               (OCT 0;4 2018.
           '          Labs.i                       clerk of the Superior Court
                                                  By MIRNA P. RIVERA.IrtARTINEZ                    Time 9:00 a.m.          .
                                                            DEPOT! CLERK
                                                                                            Dept.       `9,_ }          --on Tuesday & Thursday
                                                                                             Dept.                      --on Wednesday & Friday



 You are hereby given notice of your Case Management Conference, The date, time and department have been written above.

 1.        In accordance with applicable California Rules of the Court and local Rules 2.3(d)1-4 and 2.3(m), you are hereby ordered
           to:
               al Serve all named defendants and file prPofS.Pf.Ser vice on those defendants with the court within 60-days of filing
                    the complaint (CRC 201.7).
                 b) Serve a copy of this notice, Case Management Statement and ADR Information Sheet on all named parties In this
                    action.
                 c) File and serve a completed Case Management Statement at least 15-days before the Case Management
                        Conference [CRC 212(g)) Failure to clo,Eo may result in monetary sanctions,                           .
                 d)     Meet and confer, In person or by telepLne, to consider each of the issues Identified In CRC 212(f) no later than
                        30-days before the date set for the Caie Management Conference.
  2.   if you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The Order
     . to Show Cause hearing will be at the same time as the Case Management Conference hearing. Sanctions may
        Include monetary, evidentiary or Issue sanctions as well as striking pleadings and/or dismissal.
  3.    Continuances of Case Management Conferences are highly disfavored unless good cause is shown.
  4.    Parties may proceed to ah appropriate dispute resolution process ("ADR") by filing a Stipulation to ADR and Proposed
        Order (see attached form). If plaintiff files a Stipulation to ADR and Proposed Order electing to proceed to judicial
        arbitration, the Case Management Conference will be taken off the court calendar and the case will be referred to the
               Arbitration Administrator. If plaintiffs and defendants file a completed stipulation to another ADR process (e.g.,
               mediation) 10—days prior to the first scheduled Case Management Conference, the Case Management Conference will be
               continued foi- 90-days to allow parties time to complete their ADR session, The court will notify parties of their new Case
               Managehnent Conference date.
      5.       If you have filed a default or a judgment has been entered, your case Is not automatically taken off Case Management
               Conference Calendar, If "Does", "Roes," etc, ere named In your complaint, they must be dismissed In order to close the
               case. If any party Is In bankruptcy, the case Is stayed only as to that named party.
      6,       You are further ordered to appear in person* ior through your attorney of record) at the Case Management Conference
               noticed above, You must be thoroughly familiar with the case and fully authorized to proceed.
      7.       The Case Management judge will issue orders at the conclusion of the conference that may include:
                  a) Referring parties to voluntary ADR and setting an ADR completion date;
                   b)    Dismissing or severing claims or parties;            '
                   c)    Setting a trial date.          .
      8.       The Case Management judge may be the trial judge In this case.

       For further Information regarding case management policies and procedures, see the court's website at: www.sanmateocourtiore

       ?Telephonic appearances at case management conferences ore available by contacting CourtColl, LLC, on Independent vendor, of least five business days prior
       to the scheduled conference (see attached CourtColl Information),
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                                                                                                      ’
                                       SuraOR COURT OF SAN          MATEO COUNTY
                                                      Civil Department
                                        400 County Center, Redwood City, CA 94063
                                                    (650) 261-5100
                                                 www.5anmateocourt.org


              VLADI ZAKINOV                                    Notice of Complex Case Status Conference
                  Plaintiff (5)
                                                        Case No.: 18-ClV-02845                         Date:       8/8/2018
                      vs.
                                                                                                       Time:       9:00 AM
              RIPPLE LABS INC.                                                                         Dept p]
                Defendant (s)

 Title: VLADI ZAKINOV VS. RIPPLE LABS INC.,        ET AL


You are hereby given notice of your Complex Case Status Conference. The date, time and department have been
written above. At this conference, the Presiding Judge will decide whether this action is a complex case within the
meaning of California Rules Court (”CRC”), Rule 3.400, subdivision (a) and whether it should be assigned to a single
judge for all purposes.

1.   Inaccordance with applicable San Mateo County Local Rule 2.30, you are hereby ordered to:
     a. Serve copies of this notice, your Civil Case Cover Sheet, and your Certificate Re: Complex Case Designation
        on all named parties in this action no later than service of your first appearance pleadings.
     b. Give reason notice of the Complex Case Status Conference to all named parties in this action, even if they
        have not yet made a first appearance or been formally served with the documents listed in subdivision (a).
        Such notice shall be given in the same manner as required for an ex parte app ication pursuant to CRC
        3.1203.

2.   If you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The
     Order to Show Cause hearing will be at the same time as the Complex Cause Status Conference. Sanctions
     may include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal.

3.   An action is provisionally a complex case if it involves one or more of the following types of claims: (1) antitrust
     or trade regulation claims; (2) construction defect claims involving many parties or structures; (3) securities
     claims or investment losses involving many parties; (4) environmental or toxic tort claims involving many
     parties; (5) claims involving massive torts; (6) claims involving class actions; or (7) insurance coverage claims
     arising out of any of the claims listed in subdivisions (1) through (6). The Court shall treat a provisionally
     complex action as a complex case until the Presiding Judge has the opportunities to decide whether the action
     meets the definition in CRC 3.400(a).


4.   Any party who files either a Civil Case Cover Sheet (pursuant to CRC 3.401) or counter or joinder Civil Case Cover
     Sheet (pursuant to CRC 3.402, subdivision (b) or (C)), designating an action as a complex case in Items 1,2 and/or
     5, must also file an accompanying Certificate Re: Complex Case Designation in the form prescribed by the Court.
     The certificate must include supporting information showing a reasonable basis for the complex case
     designation being sought. Such supporting information may include, without limitation, a brief description of
     the following factors as they pertain to the particular action: (1) management of a large number of separately
     represented parties; (2) complexity of anticipated factual and/or legal issues’ (3) numerous pretrial motions that
     will be time—consuming to resolve; (4) management of a large number of witnesses or a substantial amount of
     documentary evidence; (5) coordination with related actions pending in one or more courts in other counties,
     states or countries or in a federal court; (6) whether or not certificationiof a p_u_tative_c_|_assactigllill in fact be
     pursued; and (7) substantial post-judgmentjudicial supervision.         (18—civ—02845
                                                                                     NCCSC
                                                                             1
                                                                                     Notice of Complex Case Status Conference
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                             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 154 of 450
                    .               .   .                         .   .                             l          .
  further Information regarding
For                                         cas    anagement polICIes and procedures, see           ’court WEbSlte at
www.5anmateocourt.org

* Telephone appearances at Complex Case Status Conference are available by contacting CourtCall,                       LLC,   and
independent vendor, at least 5 business days prior to the scheduled conference.

                                                  CLERK’S CERTIFICATE OF MAILING                                   _




 hereby certify that am the clerk of this court, not a party of this cause; that served a copy of this notice on the below
 I                              I                                                      I


date, by placing a copy thereof in separate sealed envelopes addressed to the address shown by the records of this court
as set forth above, and by then sealing said envelopes and depositing same, with postage :ully pre—paid thereon, in the
United States Mail at Red wood City, California.



 Date: 6/5/2018                                                       Rodina M. Catalano,
                                                                      Court Executive Officer/Cleric.

                                                            By:
                                                                      Mirna Rivera—Martinez,
                                                                      Deputy Clerk

Copies mailed to:




          BRIAN         J   ROBBINS
      '
          600   B   STREET
          SUITE 1900
          SAN DIEGO CA 92101




                                                                                                                              Rev. Jun: 2016
            Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 155 of 450




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                      SUMMONS.:-                                                                                            FOR after use 0NLe .•
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                  (CITAciorg  Jqltomy                                             ..
             •                  .. •                                                                                                             .•
NOTICE TO DEFENDANT:        •        ,                                       -                                  END0Fi$ED HIED'
oV1SO AL DEMANDADO)i                           1
                                                                                                                SAN MATEO COUNTY
 RIPPLE.LABS. INc., XRP II, LLC, BRADLEY GARLING110IJSE,
 and DOES 1-25, InClusive                  .
                                                                 .                                                       JUN     0 0 2018
YOU ARE BEING SUED BY PLAINTIFF:                                                                               Clerk 01 me Superior Court
(LO ESTA DEMANDANDO El_ DEMANDANTE):                             •                                             By MIRNA P. RIVERA-WeRTINEZ
 VLADI ZARINOV; Individually and on Behalf of All Others Similarly                                                       DEPUTY CLERK
 Situated . t . ,                   rf..                                                                                 _
 NOTICE) You haVeNeen sued. The court may decIdelfgainst you without your being heard unless you respond wig:M.30 days. Read the information
 below: • ....            -                                  , , -                                                                                   -,
    You halm 3d CALENDAR DAYS after thls summons andlegril papers are served on you to file, a written response at this court and have am*, .
 served oh the phantIff,-A letter or phonicall will not prOted you. Your written response must be In proper legal fermi( yet/want the court   to hear your
 case, There may he a court form that you can use for Your moods°, You can find these court forms and. more Informational theCailfamla COurta -
 Online Self-Help Center (www,courtinfata.govraellhelp), ydur county law library, or the courthouse nearest you.; if you cannot pay the filing fee, ask •
 the court 'clerk for a fee waiver form, If you'do not file your response on time, you may lose the case by default, and.. your wages,
                                                                                                                                     . money, and Properly
 may be taken without further warning from the court. :              •              .
    There are other legal requirements. You may want to call an attorney right away, If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program, You can locate
 theie nonprofit groups at the California Legal Services Web site (www.lawheipcaliretnlaerg), the California Courts Online Self-Help Center
 (weivieciudinfo,ca.goviselfhelp), or by contacting your local court or county bar association, NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more In a WI case. The court's lien must be paid before the court will dismiss the case. .
 rAt450/Lo han demanded& SI no responds denim de 30 dfas, /a code puedit decidir en su Contra s/n esatichar au widen. Lea fa Inroinmalon a
   contInuatiOn,                                 . .
      Tien 30 DIAS DE CALENCAR10 despoils de quo benteguen esta cltackin y pupate          . s legates pare presenter tree laanneeta Preaceit0 en eels
   code y haaer qua   de entragua  una  copla al demandanle, tAna carte o una llamado telakinke no to protegeni Sir reanimate pot esorgo gene quo ester
   on formate legal tomato -El doses qua prooasen an caso 6,1 la cOde. ES pestle qua hays un lonnularto quo naiad puede user pate su respussta,
• Puede encontrar °sloe iormulados de la code yards informaolon en el Centro de Ayuda de las Codes de Califomfa (vmv.sueorte,cagov), en /a
   blblioteca de byes de su condado o en la code qua le quede nuts germ SI no puede pager la cuota de presentation, pida al ascretarici da Is code :
   quo la de un form:dark de axenclein de pogo de cuestas. Si no presoak] su respuesta a !tempo, 'puede
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   padre guitar su suede, tfinero y Dienes stn rods advedencfs. '                                                                           .        ..        •
    • Hay otros raqufsltos lagates, Es raoomandable qua llama a un ebegado Inmadlatamonle. Sine canoes a un aimed°, puede.11amer a en smoke° de
  -remialdn a abogados. SI no puede pager a un abogado, es posibie qua oumpla con los requIsitos pans oblener servIcios legates grata/toe de un •              •
   programs de emulates legates sin fines de lucre. Puede monitor asks gropes sin eras do lucre en el &tie web do California Legal Services,, •
 y(www,letwhelpcaliforrfiri,org), en el Centro do Ayuda de las Cores de California, 0.waksucorte.ca.gov)oponidridose en' contact° con Ia aorta a al
   cola& de abogadoi loostes. A visa Por lay, la torte liens detect* a redamar las Quotas y las costes cameos par 'meaner un gravamen sabre
: (malodor recuperation de $10,0006 nuts de valor recItilde median's un award* o una canoes/6n de arbitrate en un caso de derecho blvII. Thine qua
 I pageral gravamen Op la code antes do quo la oortepuade &toucher a/ caso, .. .
The name and 'address of the court Is:                                                                     bAid NUMBER:
                                                                                                           Melva del Come
(El nombniy direcolOn de le aorta es); Superior Court of San Mato County
 400 County Center.                                                                                        .            1 8 C__LAt.'.702-8-44"
 Redwood City, CA 94063                                                                                             .
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is:        -     ..
(El nombre, la direcolOn y el ndmere de telefono del abogado del demandente, o del demendante qua no bone qboaado, el):
Brian J. Robbins, ROBBINS ARROYO LLP, 600 B Street, Suite 190.21,4ty Diego, CA 92101; (619) 525-3990
                                             RopliN M. CATKA             MINA P. RIVERMVIART1W,ty
DATE:                           •                                                 Clerk,
                                                                                    ark, by
 (Foote) .       ©UN                0 5,2018                                         .. .                                                    _        . (Adjunto)
(For proof ofservIce of this summons, use Proof of Servile of Summons (form POS-010))                i
(Pam prueba de entthige de Bela citation use el forniularlo Proof of Service of Summons, (P05-010)).
                                        • NOTICE TO THE PERSON SERVED: You are served
 menu
                                          1,ca as an Individual defendant.
                                          2, CI' as the peradn sued under the fictitious name of (speciOlr


                                              3,00 on behalf     ce (specify):   e/PP k...        „/.. es 777e-•
                                                   under       CCP 418,10 (corporation)                am CCP 416.60 (minor)
                                                               CCP 418,20 (defunct corporation)        I ll CCP 416.70 (conservatee)
                                                               CCP 416.40 (association or partnership) z,CCP 416,90 (authorized person)
                                                        = over (specify):                   ,       j_
                                               .       by personal delivery on (date):
                                                                                             `'Y                                           Pacol or ii
                                        ...                    .
 FOITI   Adopted for Mundilory We                                         SUMMONS                                   Coda ol avirProcedinIC 41220. 05
  Judiolisi for al California                                                                                                                     VIVIROVID/ROVRROY
  SWAM) IRnv. .Ink, I NIMI
                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 156 of 450


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 ATTOISDEY OR PARTY WfT.110111t AFTQRNEY Mom ROW Oat riiRninif. and                                                                  FOR COURT aE ONLY
— Br an J. Robbins (190264) •   •
   ROBBINS ARROYO LLP
   600 B Street Suite 1900
   San Diego, CA 92101                                                                                                        oARTsEE.ocgiu1/4"R
,•    TELEPHONE NO.: 012) 525-3990                              FAX NO;   (619) 525-3991
 ATTORNEY FOR (Name):          Plaintiff Vlach Zakmov                                                                 : ESNANDwi
SUPERIOR COURT OF CALIFORNIA, COUNTY OF           San Mateo .                                                            •
           STREET ADDRESS:     400 County Center .                                                                               JUN 0 6 2018
           MAILING ADDRESS:
                                                                                                                   .   e i ric at the Sup    Qoun
                                                                                                                                              ,_
       erryANO ZIP CODE;       Redwood City, CA 94063                                                                     emirT                   _
                               Hall of JusticeAtid Records -                                                           By
       -.     BRANCH NAME;                                                                                                      DEPUTY cLeRK
    CASE NAME:             .
    Zakinov v.-Ripple Labs-Inc., et al.
                                                                             - •• - --- •              -      -- . --       - CASE NUMBS;
,      • CIVIL CASECOVER SHEET -                                  .' Complex Case Designation                                                      .                      .,
I i unlimited
           (Amount
                                I - (Limited
                                    • • (Amount                El:                Counter       I 1. •     Joinder             - ---- 48:C
                                                                                                                                JUDGe"
                                                                                                                                           1 v n 2 8 A. 5
           demanded .             .     dependedis           • F110 with first appearance by defendant                                             7
           exceeds $25,000)              $25,000 or less)           . ... (Cal. Rules of Court; rule 3.402) .. . DEPT;
                                            ' Items 1-6 be ow must' 69001401W seri. Strad-Ions on 'pa& 21
 . Check one box below for the case type that best describenthis case:                                                                        .
      Auto Tort          -                                     -Connect                                              Provisionally Complex Civil LiigatIon
                                                               I8-1        ,I Breach of contract/warranty (06) (Cat. Rules of Court, rules 3.400-3.403)
   . FR Auto (22)                                                  .......
   : , • Uninsured motorist (46)                              .1 I Rule 3.740 collections (09)
                                                                         .                                           [-.- .1; Antitrust/Trade regulation (03)
      Other PUPD/VVD (Personal          Injury/Property     • .I       ' . I    Other collections  (09)              I     I. Construction defect (10)
. BitMage/MOISul Death) Tort                                    El:. Insurance coverage (18)                                 . Mass tort (40) •      -
      Ft Asbestos (04)                                          I 1 Other contract (37)                                      •Securities litigation (28)
      rrl - Product liability (24)                              Real 7ropitty                                        L J Environmental/Toxic tort (30)
   .1        I. Medical malpractice (45)                                     • Eminent domain/Inverse
                                                                              condemnation (14)• •
                                                                                                                 l•  I         Insurance coverage claims arising from the
       :, : - Other PUPD/VVO (23)                                                                                              above listed provisionally complex case
                                                                                                                                                ..
- . Non-PI/PONS° (Other)794:•                                 Ti                Wrongful eviction (33)                         types (41)

    1-1 Business todientairPOSiness practice (07) U Other real property (26)                                          Enforcement      of  Judgment
     -         •Civil rights (08)                                Unlawful Detainer                          rl                 Enforcement of judgment (20)
    :           Defamation (13)                                          .    ' Commercial   (31)                     Miscellaneous Civil Complaint
     it         Fraud (16)                                      1. I Residential (32)                                          RICO (27)
      / I Intellectual property (19)                             1
                                                                 I              Drugs (38)                  LI                 Other complaint (not specified above) (42)
      I -I Professional negligence (25)                          Judicial Review.                                     Miscellaneous Civil Petition
       Ng Other non-PpPDVVO.tod (35)
         yoyment
                                                                 1 . 1 Asset forfeiture (05)
                                                                I,..—_,
                                                                                                            L_1
                                                                           II Petition re: arbitration award (11) 1Other
                                                                                                                      i I
                                                                                                                               Partnership and corporate governance (21)
  _ tran                                                                                                                              petition (not specified above) (43)
• I             Wrongful termination (38)                        I           I Writ of mandate (02)
      I' I Other employment (15)                           ...C                 Other udloial revl a (9
2. This ease . ..1 •71 is- - 'ILJ: Is not .— COMPfertlunder rule 3A00 of the California Rules of Court. If the case is complex, mark the
 • fac ors requiring exceptional judicial managemer:(:
    - 8,1 I Large number of separately represented parties                                   d. I i    I Large number of witnesses
        b.   pi     Extensive motion practice raising diffica ar novel                       e 1 .Coordination with related actions pending in one or more courts
           •.       Issues that will be time-consuming to resolve                                    -• in other counties, states, or countries, or In a federal court
        c. FT Substantial amount of documentary exidInce                                     f. I ISubstantial postjudgment judicial supervision                  .
3,         Remedies sought (check all that apply): 8.171monetary b.1 V I nonmonetery; declaratory or Injunctive relief                                     el       ]punitive
4. •       Number of causes of action (specify): Two           .
5.         This case I 1I is •      El is not a class actic-i suit.
6,         If there are any known related cases, file and sere:a notice of related case. (you = • • CM-015.)
Date: June 5, 2018
Brian J. Robbins                                                                                    eas    l
                                                                                                           ' liir
                -. " UWE ORFRINT.NAMEI                    •                      .. ... _ . .         " OF
                                                                                               ISIO Vt• -   PA TY. 0 -"7 " ft f 'PARTY)'
                                                                         NOTICE
     • Plaintiff must file this-cover sheet with the first pa ar filed In the action or proceeding (except small claims cases or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
        In sanctions.             .
    .• File this cover sheet In addition to any cover sheet required by local court rule.
     •. If this case is complex under rule 3.400 et seq, oc the California Rules of Court, you must serve a copy of this Cover sheet on all
        other parties to the action or proceeding.
     * Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes one._:_ ,2. _
Fenn Adopted for Mandatory U                                                                                              Col. Rules al court, nibs 230, 3220, 3400-3303, 3. 740;
  hellolal Getout! of Collftertle
                                                              CIVIL CASE COVER SHEET                                              Col. Standards of Ju41Uel Asinfidstrallen, std. 330
  CM-010 (Rev July 1, 20071                                                                                                                                   wwwmurtinto ea gov
                  Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 157 of 450

                                                                                                                                          CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1, This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you In completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit, &collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive 'pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate-whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property             Breach of ContractNVarranty (06)               Rules of Court Rules 3.400-3.403)
          DamageNVrongful Death                          Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (If the                          Contract (not unlawful detainer             Construction Defect (10)
          case Involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract'Warranty Breach-Seller                  Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                    Insurance Coverage Claims                .
                                                              Warranty                                         (arising from provisionally complex
Other PI/PD/WD (Personal Injury/
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                    case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                              Enforcement of Judgment (20)
                                                         Collection Case-Seller Plaintiff                     Abstract of Judgment (Out of
          Asbestos Property Damage                                                                                   County)
          Asbestos Personal Injury/                      Other Promissory Note/Collections
                                                              Case                                            Confession of Judgment (non-
                Wrongful Death
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                            domestic relations)
                                                         complex) (18)                                        Sister State Judgment
          toxic/environmental) (24)
     Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                            (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                       Petition/Certification of Entry of
                                                         Contractual Fraud                                        Judgment on Unpaid Taxes
          Other Professional Health Care
                Malpractice                              Other Contract Dispute                               Other Enforcement of Judgment
                                                                                                                    Case
     Other PUPD/VVD (23)                         Real Property
          Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                                                         Condemnation (14)                                RICO (27)
                and fall)
          intentional Bodily Injury/PDNVD           Wrongful   Eviction   (33)                            Other Complaint (not specified
                                                                                                               above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)             Declaratory Relief Only
          Intentional Infliction of                      Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                        harassment)
          Negligent Infliction of                        Quiet Title                                          Mechanics Lien
                Emotional Distress                       Other Real Property (not eminent                      Other Commercial Complaint
          Other PI/PD/WD                                  domain, landlord/tenant, or
                                                          foreclosure)                                               Case (non-tort/non-complex)
Non.PI/PDNVD (Other) Tort                                                                                      Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                  (non-tort/non-complex)
        Practice (07)                                Commercial (31)                                 Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                      Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                                drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                  above) (43)
           (13)                                  Judicial Review                                               Civil Harassment
     Fraud (16)                                     Asset Forfeiture (06)                                      Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                        Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                             Abuse
         Legal Malpractice                               Writ-Administrative Mandamus                          Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                        Petition for Name Change
              (not medical or legal)                         Case Matter                                       Petition for Relief From Late
      Other Non-Pl/PDAND Tort (35)                       Writ-Other    Limited  Court Case                           Claim
Employment                                                   Review                                            Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 'Rev July 1, 20071                                                                                                                   Page 2 of 2
                                                      CIVIL CASE COVER SHEET
 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 158 of 450




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Eatotneyir -gaily without Attorney (Name/Address)                           OR COURT USE ONLY
hirianJ. ohms             _
lingrequQt       A 'LAW
 art. ego,       72101
Telephone: (619) 525-3990                                                 ENDORSED FILED
State Bar No.:190264                                                       SAN MATEO GOUNTY•
Attorney for:Plaintiff Viadi 7laldnov
SUPERIOR COURT OF CALIFORNIA                                                     JUN 0 5 201B
                                                                                              Court
COUNTY OF SAN MATEO                                                       Clerk of me superior ILZ
                                                                                                 F
400 COUNTY CENTER                                                            1,11Ri
                                                                          By,_49.2a6:10-2
REDWOOD CITY, CA 94063                                                                  CLERK
                                                                                   DEKITY

Plaintiff   Vladi Zaklnov
Defendant
             Ripple Labs Inc., et al     I
                                                                                 Case Number       A   ig,
               Certificate Re Complex Case Designation
                                                                           la G 1      v ggs* P                11

  This certificate must be completed and filed with your Civil Case Cover Sheet if
      you have checked a Complex Case designation or Counter-Designation


    1.        In the attached Civil Case Cover Sheet, this case is being designated or counter-designated
              as a complex case.[Dpwraroticcamp:Ivounsei because at least one or more of the following
              boxes has been checked:

                 ac Box 1:-Case type that is best described as being [iptixficitclagis* provisionally
                    complex civil litigation (i.e., antitrust or trade regulation claims, construction
                    defect claims involving many parties or structures, securities claims or investment
                    losses involving many parties, environmental or toxic tort claims involving many
                    parties, claims involving mass torts, or insurance coverage claims arising out of
                    any of the foregoing claims).
                 II Box 2 — Complex [onSiDsilapixalol due to factors requiring exceptional judicial
                    management
                 x Box 5 — Is {ortista4 a class action suit.


    2.        This case is being so designated based upon the following supporting information
              [including, without limitalon, a brief description of the following factors as they pertain to
              this particular case; (1) management of a large number of separately represented. parties;
              (2) complexity of anticipated factual and/or legal issues; (3) numerous pretrial motions
              that will be time-consuming to resolve; (4) management of a large number of witnesses or
              a substantial amount of documentary evidence; (5) coordination with related actions




CV-59 [Rev, 1/06]                                                               www,sanmateocourtorg
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           pending in one or more courts in other counties, states or countries or in a federal court;
           (6) whether or not certification of a putative class action will in fact be pursued; and (7)
           substantial post-judgment judicial supervision]:.                                     •
            This case is provisionally complex as it involves securities claims. In addition, it is

             being designated complex due to the large number of parties/witnesses, the

             complexity of factual and/or legal issues, and because certification of a putative

             class will be pursued.




                                      (attach additional pages if necessary)


3.      Based on the above-stated supporting information, there is a reasonable basis for the complex
        case designation or counter-designation PrEaratatatpliexmosomattatonalasignatioax] being made
        in the attached Civil Case Cover Sheet.



                                                  *****



I, the undersigned counsel or self-represented party, hereby certify that the above is true and correct
and that I make this certification subject to the applicable provisions of California Code of Civil
Procedure, Section 128.7 and/or California Rules of Professional Conduct, Rule 5-200 (B) and San
Mateo County Superior Court Local Rules, Local Rule 2.30.



Dated: June 5, 2018


 Brian J. Robbins                                       .            11111F deff   / iir 7.-.
[Type or Print Name]                           [Signature of • ty or Appr-y-       Party]




CV-59 [Rev. 1/061                                                              www.sanmateocourt.org
                      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 160 of 450



                                           NOTICE OF CASE MANAGEMENT CONFERENCE


---4t PAI          nov                             ENDORSED FILED                                     Case No:
                                                                                                                                13C 1v02 8- 4
                                                   SAN MATEO COUNTY
                                                            JUN    e 5 2018                                 Date:               (OCT 0;4 2018.
           '          Labs.i                       clerk of the Superior Court
                                                  By MIRNA P. RIVERA.IrtARTINEZ                    Time 9:00 a.m.          .
                                                            DEPOT! CLERK
                                                                                            Dept.       `9,_ }          --on Tuesday & Thursday
                                                                                             Dept.                      --on Wednesday & Friday



 You are hereby given notice of your Case Management Conference, The date, time and department have been written above.

 1.        In accordance with applicable California Rules of the Court and local Rules 2.3(d)1-4 and 2.3(m), you are hereby ordered
           to:
               al Serve all named defendants and file prPofS.Pf.Ser vice on those defendants with the court within 60-days of filing
                    the complaint (CRC 201.7).
                 b) Serve a copy of this notice, Case Management Statement and ADR Information Sheet on all named parties In this
                    action.
                 c) File and serve a completed Case Management Statement at least 15-days before the Case Management
                        Conference [CRC 212(g)) Failure to clo,Eo may result in monetary sanctions,                           .
                 d)     Meet and confer, In person or by telepLne, to consider each of the issues Identified In CRC 212(f) no later than
                        30-days before the date set for the Caie Management Conference.
  2.   if you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The Order
     . to Show Cause hearing will be at the same time as the Case Management Conference hearing. Sanctions may
        Include monetary, evidentiary or Issue sanctions as well as striking pleadings and/or dismissal.
  3.    Continuances of Case Management Conferences are highly disfavored unless good cause is shown.
  4.    Parties may proceed to ah appropriate dispute resolution process ("ADR") by filing a Stipulation to ADR and Proposed
        Order (see attached form). If plaintiff files a Stipulation to ADR and Proposed Order electing to proceed to judicial
        arbitration, the Case Management Conference will be taken off the court calendar and the case will be referred to the
               Arbitration Administrator. If plaintiffs and defendants file a completed stipulation to another ADR process (e.g.,
               mediation) 10—days prior to the first scheduled Case Management Conference, the Case Management Conference will be
               continued foi- 90-days to allow parties time to complete their ADR session, The court will notify parties of their new Case
               Managehnent Conference date.
      5.       If you have filed a default or a judgment has been entered, your case Is not automatically taken off Case Management
               Conference Calendar, If "Does", "Roes," etc, ere named In your complaint, they must be dismissed In order to close the
               case. If any party Is In bankruptcy, the case Is stayed only as to that named party.
      6,       You are further ordered to appear in person* ior through your attorney of record) at the Case Management Conference
               noticed above, You must be thoroughly familiar with the case and fully authorized to proceed.
      7.       The Case Management judge will issue orders at the conclusion of the conference that may include:
                  a) Referring parties to voluntary ADR and setting an ADR completion date;
                   b)    Dismissing or severing claims or parties;            '
                   c)    Setting a trial date.          .
      8.       The Case Management judge may be the trial judge In this case.

       For further Information regarding case management policies and procedures, see the court's website at: www.sanmateocourtiore

       ?Telephonic appearances at case management conferences ore available by contacting CourtColl, LLC, on Independent vendor, of least five business days prior
       to the scheduled conference (see attached CourtColl Information),
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  7 Attorneys for Plaintiff    '
  8 [Additional Counsel on Sign2 ture Page]
  9                        SUPERIC :',. COURT OF THE STATE OF CALIFORNIA
 10                                         COUNTY OF SAN MATEO
 11     VLADI ZAKINOV, individu;Cly and on              )   Ca.se No.          18C I vo g84 5
        Behalf of All Others Similarl: Situated,        )
 12                                                     )   CLASS ACTION
                                         Plaintiff,     )
 13                                                     )   COMPLAINT FOR VIOLATIONS OF
                v.                                      )   CALIFORNIA CORPORATIONS CODE
 14                                                     )
    RIPPLE LABS INC.,                                   )
 15 XRP II, LLC,          '                             )
    BRADLEY GARLINGHOUM, and                            )
 16 DOES 1-25, Inclusive,                               )
 17                                      Defendants.        DEMAND FOR KAY TRIAL
                                                        )
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                                              CLASS ACTIONCOMPLAINT
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 1                                          INTRODUCTION

 2          1.      Plaintiff, individually and on behalf of all others similarly situated, by his

 3   undersigned attorneys, alleges the following based upon personal knowledge as to plaintiff and

 4   plaintiffs own acts, and upon information and belief as to all other matters based on the

 5   investigation conducted by and through plaintiffs attorneys, which included, among other things,

 6 a review of media and reports about the Company and Company press releases against

 7 defendants Ripple Labs Inc. ("Ripple" or the "Company"), its wholly owned subsidiary XRP II,

 8   LLC ("XRP II"), and Ripple's Chief Executive Officer, Bradley Garlinghouse ("Garlinghouse").

 9 Plaintiff believes that substantial additional evidentiary support will exist for the allegations set

10 forth herein.

11                                   SUMMARY OF THE ACTION

12          2.      Plaintiff brings this class action on behalf of all California citizens who purchased

13 or otherwise acquired Ripple tokens ("XRP") issued and sold by defendants,

14          3.      XRP, despite its name as a "token," is actually a security under California law. In

15 particular: (i) Ripple uses the funds it raised from the sale of XRP to fund its business ventures;

16 (ii) the Company indiscriminately offers XRP for sale to the public at large; (iii) plaintiff and the

17 Class (as defined herein) are effectively powerless to control the success of Ripple and XRP; and

18 (iv) plaintiff and the Class members' investment is substantially at risk and is without any

19 security.

20          4.      As a result, defendants were required to register XRP when offering or selling it.

21   They did not. Instead, they made a series of improper statements which drove up the price of

22   XRP, allowing defendants to obtain greater returns on their XRP sales.

23                                   JURISDICTION AND VENUE

24          5.      This Court has jurisdiction over the causes of action asserted herein pursuant to

25 the California Constitution, Article VI, section 10, because this case is a cause not given by

26 statute to other trial courts.

27

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 1          6.      The violations of law complained of herein occurred in California and in large

 2   part in this County. More, certain of the defendants reside in San Mateo County.

 3          7.      This Court has personal jurisdiction over each of the defendants named herein

 4   because they conduct business, were citizens of, or took steps to conduct the initial coin offering

 5   ("ICO") in California.

 6          8.      Venue is proper because the defendants' wrongful acts arose in and emanated

 7   from, at least in part, this County. The violations of law complained of herein occurred in this

 8   County. Further, certain of the defendants live in or conduct business in this County.

 9          9.      This Court also has personal jurisdiction over Defendants because they reside or

10   have their principal places of business in California.

11                                            THE PARTIES

12   Plaintiff

13          10.     Plaintiff Vladi Zakinov is a citizen of California. Plaintiff purchased XRP in

14   January 2018 and was damaged thereby.

15   Defendants

16          11.     Defendant Ripple is a corporation with principal executive offices located at 315

17 Montgomery Street, 2nd Floor, San Francisco, California. Ripple operates RippleNet, a global

18   payments network based on blockchain technology. Through RippleNet, banks and payment

19   providers can use the digital asset XRP to process, clear, and settle financial transactions in real-

20   time worldwide.

21          12.     Defendant XRP II is a limited liability company and a wholly owned subsidiary

22 of Ripple. Its principal place of business is in San Francisco, California. XRP II sold XRP and

23 solicited the purchases of XRP from plaintiff and the Class for its own benefit and the benefit of

24   its parent, Ripple, and its executives and owners, such as defendant Garlinghouse

25           13.    Defendant Garlinghouse is Ripple's Chief Executive Officer and has been since

26   January 2017 and a director and has been since at least July 2017. Defendant Garlinghouse was

27 also Ripple's President and Chief Operating Officer from April 2015 to December 2016.

28   Defendant Garlinghouse is a California citizen and a resident of San Mateo County.
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 1          14.    The true names and capacities of defendants sued herein under California Code of

 2 Civil Procedure section 474 as Does 1 through 25, inclusive, are presently not known to plaintiff,

 3   who therefore sues these defendants by such fictitious names. Plaintiff will seek to amend this

 4   complaint and include these Doe defendants' true names and capacities when they are

 5   ascertained. Each of the fictitiously named defendants is responsible in some manner for the

 6 conduct alleged herein and for the injuries suffered by the Class.

 7                RIPPLE INDISCRIMINATELY OFFERS XRP TO THE PUBLIC
                  AT LARGE, WHICH PLAINTIFF AND THE CLASS INVESTED
 8
                           IN WITH AN EXPECTATION OF PROFIT
 9

10          15.     Ripple sells XRP through exchanges and directly to investors. The Company lists

11   the various exchanges on which investors can purchase XRP on its website, and for some

12   provides step by step purchasing directions.

13          16.     Plaintiff and the Class invested fiat and other digital currencies, such as Bitcoin

14 and Ethereum, to purchase XRP.

15          17.     Plaintiff used Ethereum to purchase XRP. In particular, plaintiff purchased 162

16   XRP at $1.4337 and 57 XRP at $1.365 on January 11, 2017, and 299 XRP at a price of $1.0923

17 on January 27, 2018. Plaintiff has not sold any of his XRP.

18          18.     Plaintiff and the Class invested in XRP with the expectation that XRP would

19   increase in value and result in a profit. As explained below, defendants have promoted XRP and

20 conflated the value of XRP with its other software efforts.

21     RIPPLE USES PLAINTIFF AND THE CLASS MEMBERS' UNSECURED PASSIVE
                INVESTMENTS TO FUND THE COMMON ENTERPRISE
22

23          19.     Ripple concedes that it "sells XRP to fund its operations and promote the

24   network. This allows Ripple [] to have a spectacularly skilled team to develop[] and promote the

25   Ripple protocol and network." Ripple sold nearly $92 million worth of XRP in the fourth quarter

26 of 2017 alone. On information and belief, the sale of XRP substantial dwarfs any other source of

27   revenue for the Company.

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 1            20.  In addition, plaintiff and the Class members' investment is entirely passive.
                                4
2    Plaintiff and the Class have no ability to control the direction of the Company or the

 3 development of the XRP Ledger (described in more detail below). Rather, it is through the

 4 efforts of defendants that plaintiff expected to make a profit on his investment, In particular, the

 5 efforts of defendants to maintain and push the adoption of XRP and the XRP Ledger, of which

 6 they have near complete control, is explained below.

 7            21.   Plaintiff and the Class members' investment in XRP is unsecured and at risk of

 8 loss at all times, largely depending on defendants' actions.        If defendants fail to create an

 9 adequate market for XRP, inadequately or incorrectly manage the XRP Ledger, or there is a loss

10 of confidence in Ripple's management by the general market, plaintiff and the Class members'

11   investment in XRP will likely lose money.

12
               THE VALUE OF XRP IS DERVIVED FROM DEFENDANTS' EFFORTS
13                     ON BEHALF OF THE COMMON ENTERPRISE

14 XRP's Value Is a Result of Defendants' Efforts

15            Defendants Control Both the Supply of XRP in the Market and the XRP Ledger
16            22.   Since its creation, defendants have focused on how to create, maintain, and

17 increase the value of XRP.        First, they focused on limiting the supply of XRP while also

18   increasing its usage. Defendants created all 100 billion XRP at one time. XRP is currently the

19 third largest coin by market capitalization, with a market capitalization of. approximately $24

20 billion.
21            23.   Ripple provided its founders with twenty billion XRP and held onto the rest.

22 defendants' plan was to sell the other eighty billion XRP in basically a never ending ICO. In

23   particular, Ripple put fifty-five billion XRP into an escrow account and has the ability to sell up
24 to one billion XRP a month.

25            24.   Ripple's   control   over   XRP's   supply    is   different   than   other   popular

26 cryptocurrencies, such as Bitcoin. One of the hallmarks of a cryptocurrency is that control of the

27 currency is supposedly "decentralized."        In contrast to a governmental system, where, for

28 example in the United States, the Federal Reserve system controls the supply of currency,
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 1   cryptocurrencies work through distributed ledger technology, which has no central administrator

 2   or centralized data storage. It is the ledger of a cryptocurrency that can record transactions

 3   between two parties. This instant creation of the XRP security, which its set cap, stands in stark

 4 contrast to other well-known cryptocurrencies, such as Bitcoin, which are constantly being

 5   "mined." I

 6          25.     Ripple created and continues to work on the XRP Ledger, in which XRP's

 7 adoption and value depends. The XRP Ledger, as opposed to Bitcoin, is not decentralized, as

 8   Ripple basically admits. The Company has a multiple page explanation on "The XRP Ledger

 9   Consensus Process" on its website. There, Ripple explains how the "nodes" of the network share

10   information about candidate transactions, which validates the transactions. Unlike Bitcoin or

11   Ethereum, which is open to the world, the XRP Ledger nodes "evaluate proposals from a specific

12   set of peers, called chosen validators [also known as Uniduq Node Lists ("UNLs")]." These

13   UNLs are chosen by Ripple itself based on what it deems "trusted," meaning nodes that will not

14   collude.

15          26.     In its long discussion of the XRP Ledger Consensus Process, Ripple never calls

16   XRP decentralized, though it does confusingly say the ledger consists of "distributed" servers.

17   Rather, it claims to have come up with a plan "to increase decentralization and ensure that no

18 single entity has operational control of the XRP Ledger." While the XRP Ledger could one day

19 he decentralized, it is not currently.      Instead, Ripple admits that "Beyond our work on

20 decentralization, we have also focused on refining and improving the XRP Ledger Consensus

21   Protocol, the algorithm underlying the XRP Ledger."

22           27.    On February 6, 2018, BitMEX ran an article titled "The Ripple Story," in the

23   wake of XRP's substantial increase in value. In short, the researchers found that "the default

24   behaviour of Rippled nodes effectively hands full control over updating the ledger to the

25   Ripple.com server" and that "More significant than the disputes is the fact that the Ripple system

26

27 I Mining is when transactions are verified and added to the public ledger, known as a blockchain,
28 as a means through which new bitcoin are released.

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 1   appears for all practical purposes to be centralised and is therefore perhaps devoid of any

 2   interesting technical characteristics, such as censorship resistance, which coins like Bitcoin may

 3   have...."

 4          28.     BitMEX explained in reasoning that led it to conclude that the XRP Ledger is

 5 centralized:

 6          In January 2018, the BitMEX Research team installed and ran a copy of Rippled
            for the purpose of this report. The node operated by downloading a list of five
 7
            public keys from the server v1 .ripple.com, as the screenshot below shows. All
 8          five keys are assigned to Ripple.com. The software indicates that four of the five
            keys are required to support a proposal in order for it to be accepted. Since the
 9          keys were all downloaded from the Ripple.com server, Ripple is essentially in
            complete control of moving the ledger forward, so one could say that the system
10          is centralised. Indeed, our node indicates that the keys expire on 1 February 2018
            Oust a few days after the screenshot), implying the software will need to visit
11
            Ripple.com's server again to download a new set of keys.
12

13          29,     Further, Ripple publishes a quarterly report detailing its efforts grow the "XRP

14 ecosystem." In its report for the second quarter of 2017, the Company admitted that it continues

15   to work on the XRP Ledger. In particular, it stated, "[m]ost importantly, we are accelerating the

16   pace of our investment in the XRP Ledger to build on its speed, uptime, and scalability, to

17 ensure XRP is the most trusted enterprise-grade digital asset."

18          30.     Thus, defendants control both the supply of XRP and the ledger on which it is

19 based.

20          Defendants' Efforts to Market and Increase the Value of XRP

21          31.     In addition, defendants control the value of XRP by continuously touting it in the

22   press and obscuring the role of the security. In the press release announcing the formation of the

23   escrow account, Ripple stated that:

24          ['the] move underscores Ripple's commitment to building XRP liquidity and a
            healthy and trusted market. Long term, the value of digital assets will be
25
            determined by their utility. XRP has emerged as the only digital asset with a clear
26          intuitional use case designed to solve a multitrillion-dollar problem—the global
            payment and liquidity challenges that banks, payment providers and corporates
27          face.

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 1          32.     Discussing the escrow account, defendant Garlinghouse stated that, "Our goal in

 2 distributing XRP is to incentivize actions that build trust, utility and liquidity. We engage in

 3 distribution strategies that we expect will result in a strengthening XRP exchange rate against

 4 other currencies." Defendant Garlinghouse continued:

 5          [W]e have heard concerns in the market about uncertainty surrounding our
            ongoing XRP distribution. The root of this uncertainty is the notion that Ripple
 6
            might one day sell its 61.68B XRP in the market at any time a scenario that
 7          would be bad for Ripple! Our self-interest is aligned with building and
            maintaining a healthy XRP market.
 8

 9          33.     In addition to limiting supply of XRP, defendants also attempted to build demand

10 for the security by aggressively marketing it. Ripple's website contains a page on "How to Buy

11 XRP," which has links to various exchanges on which a person can buy XRP and even a "How

12   to" on certain of those pages.

13          34.     There is also a page on Ripple's website dedicated to XRP's market performance.

14 The page boldly stated that the Company is "committed to the long term health and stability of

15 XRP markets." The page also displays Ripple's market capitalization and the value of each XRP

16 security in U.S. Dollars.

17          35.     Defendants have also conflated the Company's software products with XRP in

18 order to increase the value of XRP. Ripple develops software for financial institutions and

19 payment providers that attempt, among other things, to minimize liquidity costs, known as

20 xCurrent, xRapid, and xVia. xCurrent is "Ripple's enterprise software solution that enables

21   banks to instantly settle cross-border payments with end-to-end tracking. Using xCurrent, banks

22   message each other in real-time to confirm payment details prior to initiating the transaction and

23 to confirm delivery once it settles." xVia "is for corporates, payment providers and banks who

24   want to send payments across various networks using a standard interface." Neither xCurrent

25   nor xVia require the use of XRP.2

26
   2
     The only product that actually needs XRP is xRapid. xRapid is supposedly "for payment
27 providers and other financial institutions who want to minimize liquidity costs while improving
28 their customer experience. Because payments into emerging markets often require pre-funded

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 1          36.     For instance, on June 28, 2017, defendant Garlinghouse participated in an

 2 interview on CNBC. During the interview, defendant Garlinghouse discussed why XRP was "a

 3   more stable digital asset."    In among other things, defendant Garlinghouse highlighted the

 4 payment technology that Ripple was working on. In doing so, defendant Garlinghouse again

 5   conflated the value of XRP with software Ripple was developing. To make matters worse,

 6   Ripple than retweeted a portion of that interview that was originally tweeted by the CNBC

 7 reporter.

 8          37.     During a Bloomberg News Network interview, defendant Garlinghouse stated that

 9 "the reason why XRP has performed so well this year, we're solving a real problem, it's a

10   multitrillion-dollar problem around cross-border payments. There is a lot of friction, its very

11   slow its expensive, we're working with the institutions to deliver on that, so people have gotten

12   excited. We now have over 100 customers we've announced publicly." This discussion, of

13   course, conflated XRP, the security, with the customers using Ripple's products. Defendant

14   Garlinghouse doubled down on this confusion later in the interview, stating "at the end of the day

15 the value of digital assets will be driven by their utility. If they are solving a real problem, and

16 that problem has scale, and that problem, you know there is real value there, then there will be

17   demand for the tokens and the price will go up. For XRP we have seen because it's required, it's

18   something that can really reduce the friction, and we're talking about a multitrillion-dollar

19   problem in how cross-border payments flow. And so, I think if you drive real utility, yes there's

20   going to be demand for that." "XRP is up 100x this year, and I think it's because the problem we

21   are solving people realize is a real problem, it's a big problem."

22          38.     Articles about Ripple's software products often cause a rise in the price of XRP,

23   even though the two are not linked. Defendants have fostered this confusion through their own

24 statements and "retweets." For instance, on May 3, 2017, Ripple quote tweeted an article from

25 Nasdaq.com, stating "Ripple adoption is sparking interested in XRP, 'which had an impressive

26

27   local currency accounts around the world, liquidity costs are high. xRapid dramatically lowers
28   the capital requirements for liquidity."

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 1   rally in the last two months.'" The quoted article discussed how financial institutions were

 2 adopting Ripple's software products, which "in turn, has sparked interest in Ripple's digital

 3 currency."         Instead of explaining the difference, defendants, in quote tweeting the article,

 4 continued to give off the incorrect impression about the link between the products and security.

 5          39,        Similarly, on May 16, 2017, Ripple tweeted a quote from an article about XRP's

 6   market capitalization, stating; "The appeal that Ripple has towards traditional financial

 7 institutions is a big advantage it has over Bitcoin." However, this article confused Ripple's

 8 software solutions with the value of XRP, a confusion fostered by Ripple's quoted tweet.

 9          40.        Defendants fought back against articles and writers that attempted to unlink XRP

10   from Ripple's other products. On January 4, 2018, The New York Times published an article by

11   Nathaniel Popper ("Popper") titled: "Rise of Bitcoin Competitor Ripple Creates Wealth to Rival

12   Zuckerberg."

13          41.        Popper tweeted a follow-up about his article, stating, "over the last day, I've asked

14   several people close to banks if banks are indeed planning to begin using Ripple's token, XRP, in

15   a serious way, which is what investors seem to assume when they buy in at the current XRP

16   prices. This is a sampling of what I heard back:

17                •    Actual use of XRP by banks is not something I've heard about, I find the
                       run up absolutely baffling, as do all the blockchain folks I know at large
18
                       FIs.
19
                  •    XRP isn't used for anything. The hope is that someday it will be by banks,
20                     but there really aren't banks signaling that yet.

21                •    I would be surprised if there have been any real bank to bank transactions
                       done with it (outside of maybe test transactions), despite people making
22                     claims to the contrary.
23
                  •    It's not clear to me why XRP would be used by banks at all. XRP could
24                     potentially be adopted by consumers as a payment rail, although they don't
                       yet have meaningful traction in that regard.
25
                  •    I haven't seen a sufficiently large catalyst in the fundamentals of Ripple to
26                     justify a greater than 10x move in the price of $XRP over the last month.
27                •     In a few years we're going to look back on 2017 and think WTF were we
                        thinking."
28
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 I             42.   Defendant Garlinghouse responded by tweeting: "Over the last few months I've

 2 spoken with ACTUAL banks and payment providers. They are indeed planning to use xRapid

 3 (our XRP liquidity product) in a serious way...." Ripple's XRP product manager, tweeted: "Do

 4   you think I left #Bitcoin and joined @Ripple to build bank software? Think again. $XRP."

 5             43.   Accordingly, as shown above, the defendants acted on behalf of the common

 6 enterprise, with the expectation of increase the value of XRP, and thus causing a profit.

 7                                 CLASS ACTION ALLEGATIONS

 8             44.   Plaintiff brings this class action individually and on behalf of all California

 9 citizens who purchased or otherwise acquired XRP from January 1, 2013 to the present (the

10   "Class"). Excluded from the Class are defendants and their families, the officers and directors

11   and affiliates of defendants, at all relevant times, members of their immediate families and their

12   legal representatives, heirs, successors, or assigns, and any entity in which defendants have or

13   had a controlling interest.

14             45.   The members of the Class are so numerous that joinder of all members is

15   impracticable. While the exact number of Class members is unknown to plaintiff at this time and

16   can only be ascertained through appropriate discovery, plaintiff believes that there are thousands

17 of members in the proposed Class. XRP owners and other members of the Class may be

18   identified from records maintained by Ripple and may be notified of the pendency of this action

19 by mail, using the form of notice similar to that customarily used in class actions.

20             46.   Plaintiffs claims are typical of the claims of the members of the Class, as all

21   members of the Class are similarly affected by defendants' wrongful conduct, as complained of

22   herein.

23             47.   Plaintiff will fairly and adequately protect the interests of the members of the

24   Class and has retained counsel competent and experienced in class and securities litigation.

25             48.   There are no unique defenses that may be asserted against plaintiff individually,

26   as distinguished from the other members of the Class. Plaintiff has no interest that is in conflict

27   with, or is antagonistic to, the interests of the members of the Class, and has no conflict with any

28
                                                    - 10 -
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 1   other members of the Class. Plaintiff has retained competent counsel experienced in securities,

 2 consumer protection, and Class action litigation to represent himself and the Class.

 3          49.      Common questions of law and fact exist as to all members of the Class and

 4 predominate over any questions solely affecting individual members of the Class. Among the

 5 questions of law and fact common to the Class are:

 6                   (a)    whether XRP are securities;

 7                   (b)    whether defendants violated the California Corporations Code; and

 8                   (c)    to what extent the members of the Class have sustained damages and the

 9 proper measure of damages.

10          50.      A class action is superior to all other available methods for the fair and efficient

11 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

12 the damages suffered by individual Class members may be relatively small, the expense and

13   burden of individual litigation make it impossible for members of the Class to individually

14   redress the wrongs done to them. There will be no difficulty in the management of this action as

15 a class action.

16                                   FIRST CAUSE OF ACTION
            Against All Defendants and Does 1-25 for the Unregistered Offer and Sale of
17        Securities in Violation of California Corporations Code Sections 25110 and 25503
18

19          51.      Plaintiff incorporates by reference and realleges each and every allegation

20 contained above, as though fully set forth herein.

21          52.      This Cause of Action is brought pursuant to California Corporations Code

22 sections 25110 and 25503, on behalf of the Class, against all defendants.

23          53.      XRP are securities within the meaning of the California Corporations Code.

24          54.      No registration statements have been filed with any state or federal government

25 entity or have been in effect with respect to any of the offerings alleged herein.

26          55.      Defendants and each of them, by engaging in the conduct described above within

27 California, directly or indirectly, sold and offered to sell the unregistered securities.

28


                                         CLASS ACTION COMPLAINT
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 I          56.     Plaintiff and members of the Class purchased XRP securities from defendants.

 2          57.     By reason of the foregoing, each of the defendants have violated sections and

 3   25110 and 25503 of the California Corporations Code.

 4          58.     As a direct and proximate result of defendants' unregistered sale of securities,

 5   plaintiff and members of the Class have suffered damages in connection with their respective

 6 purchases of XRP securities.

 7                                  SECOND CAUSE OF ACTION
                       Against Defendants Ripple, Garlinghouse, and Does 1-25
 8                for Violation of Section 25504 of the California Corporations Code
 9

10          59.     Plaintiff incorporates by reference and realleges each and every allegation

II   contained above, as though fully set forth herein.

12          60.     This Cause of Action is brought pursuant to California Corporations Code

13 section 25504, on behalf of the Class, against all defendants.

14          61.     Defendants Ripple and Garlinghouse were control persons within the meaning of

15 section 25504 of the California Corporations Code. In particular, defendant Ripple was a control
16   person by virtue of agency and ownership of XRP II. Defendant Garlinghouse was a control

17 person by virtue of his position as an officer of Ripple and/or authorized representative of the

18 other defendants. Defendants Ripple and Garlinghouse each had the power and influence and

19 exercised the same to cause the unlawful offer and sale of XRP securities as described herein.

20          62.     Defendants Ripple and Garlinghouse, separately or together, have sufficient

21   influence to have caused XRP II and/or Ripple to submit a registration statement.

22          63.     Defendants Ripple and Garlinghouse, separately or together, jointly participated

23   in, and/or aided and abetted, XRP II and/or Ripple failure to register XRP.

24                                       PRAYER FOR RELIEF

25          WHEREFORE, plaintiff demands judgment on his behalf and that of the Class as

26   follows:

27          A.      Under section 382 of the California Code of Civil Procedure, certifying this as a

28 Class action, appointing plaintiff as a Class representative under California Rule of Court 3,764,

                                                    - 12 -
                                        CLASS ACTION COMPLAINT
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 1 and appointing plaintiffs counsel as Class counsel;

 2          B.      Awarding damages in favor of plaintiff and the Class against all defendants

 3 jointly and severally, in an amount to be proven at trial, including interest thereon;

 4          C.      Awarding plaintiff and the Class their reasonable costs and expenses incurred it

 5 this action, including counsel fees and expert fees;

 6          D.      Awarding rescission or a rescissory measure of damages; and

 7          E.      Awarding equitable, injunctive or other relief, including disgorgement o

 8 restitution, as deemed appropriate by the Court.

 9                                             JURY DEMAND
10          Plaintiff demands trial by jury.

11   Dated: June 5, 2018                                ROBBINS ARROYO LLP
                                                        BRIAN J. ROBBINS
12                                                      STEPHEN J. ODDO
                                                        ERIC M. CARRINO
13


14                                                                             pw,v JAIN
15                                                                   BRIAN J./'ROBBINS

16                                                      600 B Street, Suite 1900
                                                        San Diego, CA 92101
17                                                      Telephone: (619) 525-3990
                                                        Facsimile: (619) 525-3991
18                                                      E-mail: brobbins@robbinsarroyo.com
                                                                soddo@robbinsarroyo.com
19                                                              ecarrino@robbinsarroyo.com
20
                                                        ROBBINS GELLER RUDMAN
21                                                       & DOWD LLP
                                                        SHAWN A. WILLIAMS (213113)
22                                                      Post Montgomery Center
                                                        One Montgomery Street, Suite 1800
23                                                      San Francisco, CA 94104
24                                                      Telephone: (415) 288-4545
                                                        Facsimile: (415) 288-4534
25                                                      E-mail: shawnw@rgrdlaw.com

26                                                      DAVID C. WALTON (167268)
                                                        BRIAN 0. O'MARA (229737)
27                                                      BRIAN E. COCHRAN (286202)
28                                                      655 West Broadway, Suite 1900

                                                    - 13 -
                                        CLASS ACTION COMPLAINT
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                                         San Diego, CA 92101
1                                        Telephone: (619) 231-1058
                                         Facsimile: (619) 231-7423
2
                                         E-mail: dayew@rgrdlaw.com
3                                                bomara@rgrdlaw.com
                                                 lolts®rgrdlaw.com
4                                                bcochran@rgrdlaw.com
 5                                       Attorneys for Plaintiff
6

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                             CLASS ACTION COMPLAINT
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            APPROPRIATE DISPUTE RESOLUTION INFORMATION SHEET

              SUPERIOR COURT OF CALIFORNIA, SAN MATEO COUNTY

In addition to the court provided voluntary and mandatory settlement conferences, this
court has established, in partnership with the community and Bar Association, the Multi-
Option ADR Project. Recognizing that many civil disputes can be resolved without the
time and expense of traditional civil litigation, the San Mateo County Superior Court
encourages the parties in civil cases to explore and pursue the use of Appropriate
Dispute Resolution

WHAT IS APPROPRIATE DISPUTE RESOLUTION?

Appropriate Dispute Resolution (ADR) is the general term applied to a wide variety of
dispute resolution processes which are alternatives to lawsuits. Types of ADR
processes include arbitration, mediation, neutral evaluation, mini-trials, settlement
conferences, private judging, negotiation, and hybrids of these processes. All ADR
processes offer a partial or complete alternative to traditional court litigation for resolving
disputes.

WHAT ARE THE ADVANTAGES OF USING ADR?

ADR can have a number of advantages over traditional court litigation.

•   ADR can save time. Even in a complex case, a dispute can be resolved through
    ADR in a matter of months or weeks, while a lawsuit can take years.

•   ADR can save money. By producing earlier settlements, ADR can save parties and
    courts money that might otherwise be spent on litigation costs (attorney's fees and
    court expenses).

•   ADR provides more participation. Parties have more opportunity with ADR to
    express their own interests and concerns, while litigation focuses exclusively on the
    parties' legal rights and responsibilities,

•   ADR provides more control and flexibility. Parties can choose the ADR process
    most appropriate for their particular situation and that will best serve their particular
    needs.

•   ADR can reduce stress and provide greater satisfaction. ADR encourages
    cooperation and communication, while discouraging the adversarial atmosphere
    found in litigation. Surveys of disputants who have gone through ADR have found
    that satisfaction with ADR is generally high, especially among those with extensive
    ADR experience.

Arbitration, Mediation, and Neutral Evaluation

Although there are many different types of ADR processes, the forms most commonly
used to resolve disputes in California State courts are Arbitration, Mediation and Neutral
Evaluation. The Multi-Option ADR Project a partnership of the Court, Bar and
Community offers pre-screened panelists with specialized experience and training in
each of these areas.
Arbitration: An arbitrator hears evidence presented by the parties, makes legal rulings,
determines facts and makes an arbitration award. Arbitration awards may be entered as

Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-S" [Rev. Feb. 2014]
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judgments in accordance with the agreement of the parties or, where there is no
agreement, in accordance with California statutes. Arbitrations can be binding or non-
binding, as agreed by the parties in writing.

Mediation: Mediation is a voluntary, informal, confidential process in which the
mediator, a neutral third party, facilitates settlement negotiations, The mediator
improves communication by and among the parties, helps parties clarify facts, identify
legal issues, explore options and arrive at a mutually acceptable resolution of the
dispute.

Neutral Evaluation: Involves presentations to a neutral third party with subject matter
expertise who may render an opinion about the case the strengths and weaknesses of
the positions, the potential verdict regarding liability, and a possible range for damages.

CIVIL ADR PROCEDURES FOR THE SAN MATEO COUNTY SUPERIOR COURT

    •   Upon filing a Complaint, the Plaintiff will receive this information sheet from the
        Superior Court Clerk. Plaintiff is expected to include this information sheet when
        he or she serves the Complaint on the Defendant.

    •   All parties to the dispute may voluntarily agree to take the matter to an ADR
        process. A stipulation is provided here. Parties chose and contact their own ADR
        provider. A Panelist List is available online.

    •   If the parties have not agreed to use an ADR process, an initial Case
        Management Conference ("CMC") will be scheduled within 120 days of the filing
        of the Complaint. An original and copy of the Case Management Conference
        Statement must be completed and provided to the court clerk no later than
        15 days prior to the scheduled conference. The San Mateo County Superior
        Court Case Management Judges will strongly encourage all parties and their
        counsel to consider and utilize ADR procedures and/or to meet with the ADR
        director and staff where appropriate.

    •   If the parties voluntarily agree to ADR, the parties will be required to sign and file
        a Stipulation and Order to ADR.

    •   A timely filing of a stipulation (at least 10 days prior to the CMC) will cause a
        notice to vacate the CMC. ADR stipulated cases (other than judicial arbitration)
        will be continued for further ADR/Case Management status review in 90 days. If
        the case is resolved through ADR, the status review date may be vacated if the
        court receives a dismissal or judgment. The court may upon review of case
        information suggest to parties an ADR referral to discuss matters related to case
        management, discovery and ADR.

    •    Any ADR Services shall be paid for by the parties pursuant to a separate ADR
         fee agreement. The ADR Director may screen appropriate cases for financial aid
         where a party is indigent.

    •    Local Court Rules require your cooperation in evaluating the ADR Project and
         will expect a brief evaluation form to be completed and submitted within 10 days
         of completion of the process.

You can find ADR forms on the ADR webpage: www.sanmateocourt.oro/adr. For more
information contact the Multi-Option ADR Project at (650) 261-5075 or 261-5076.

Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-8" [Rev. Feb. 2014]
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                                                                                                  Print Form




                       SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
                                  MULTI OPTION ADR PROJECT
                                         FIALA, OF JUSTICE AND RECORDS
   J                                           •I-oo COUNTY CENTER
       r
                                        REDWOOD CITY, CALIFORNIA RIMS


                         ADR Stipulation and Evaluation Instructions

In accordance with Local Rule 2.3(1)(3), all parties going to ADR must complete a Stipulation and Order
to ADR and file it with the Clerk of the Superior Court. The Office of the Clerk is located at:

           Clerk of the Superior Court, Civil Division
           Attention: Case Management Conference Clerk
           Superior Court of California, County of San Mateo
           400 County Center
           Redwood City, CA 94063-1655

There is no filing fee for filing the stipulation. An incomplete stipulation will be returned to the parties by
the Clerk's Office. All stipulations must include the following:

                   0   Original signatures for all attorneys (and/or parties in pro per);
                   0   The name of the neutral;
                   0   Date of the ADR session; and
                   0   Service List (Counsel need not serve the stipulation on parties).

Parties mutually agree on a neutral and schedule ADR sessions directly with the neutral. If parties would
like a copy of the court's Civil ADR Program Panelist List and information sheets on individual panelists,
they may visit the court's website at www.sanmateocourt.org/adr.

If Filing the Stipulation Prior to an Initial Case Management Conference
To stipulate to ADR prior to the initial case management conference, parties must file a completed
stipulation at least 10 days before the scheduled case management conference. The clerk will send notice
of a new case management conference date approximately 90 days from the current date to allow time for
the ADR process to be completed.

If Filing Stipulation Following a Case Management Conference
When parties come to an agreement at a case management conference to utilize ADR, they have 21 days
from the date of the case management conference to file a Stipulation and Order to ADR with the court
[Local Rule 2.3(i)(3)].

Post-ADR Session Evaluations
Local Rule 2.3(0(5) requires submission of post-ADR session evaluations within 10 days of completion
of the ADR process. Evaluations are to be filled out by both attorneys and clients. A copy of the
Evaluation By Attorneys and Client Evaluation are attached to the Civil ADR Program Panelist List or
can be downloaded from the court's web site.

Non-Binding Judicial Arbitration
Names and dates are not needed for stipulations to judicial arbitration. The Judicial Arbitration
Administrator will send a list of names to parties once a stipulation has been submitted.

For further information regarding San Mateo Superior Court's Civil ADR and Judicial Arbitration
Programs, visit the Court's website at www.sanmateocourt.org/adr or contact the ADR offices at
(650) 261-5075 or (650) 261-5076.


Form ADR-CV-1 [Rev. Feb. 2014]
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Attorney or Party without Attorney (Name, Address, Telephone, Fax, Court Use Only
State Bar membership number):



SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
Hall of Justice and Records
400 County Center
Redwood City, CA 94063-1655 (650) 363-4711
Plainti l'f(s):                                                                        Case number:



Defendant(s):                                                                          Current CMC Date:




         STIPULATION AND ORDER TO APPROPRIATE DISPUTE RESOLUTION

Plaintiff will file this stipulation with the Clerk's Office 10 days prior to or 3 weeks following the first
Case Management Conference unless directed otherwise by the Court and ADR Director [Local Rule
2.3(i)(3)]. Please attach a Service List.

The parties hereby stipulate that all claims in this action shall be submitted to (select one):
    Voluntary Mediation                                        Binding Arbitration (private)
    Neutral Evaluation                                          Settlement Conference rivate)
    Non-Binding Judicial Arbitration CCP 1141.12                Summary Jury Trial         Other:

Case Type:
Neutral's name and telephone number:                                          Date of session:
(Required for continuance of CMC except for non-binding judicial arbitration)
Identify by name the parties to attend ADR session:

                                                                                 Original Signatures



DIpe or print name of •Party without attorney EAttorney for
  Plaintif&Pei itioner ['Defendant/Respondent/Contestant
                                                                                            (Signature)
                                                                      Attorney or Party without attorney




u
:kite or print name of LIParty without attorneyuAttority for
   flaintiff/Petitioner0 Defendant/Respondent/Contestant
                                                                                            (Signature)
                                                                      Attorney or Party without attorney



LTC or print name of •Party without attorneyDAttorney for                                   (Signature)
UPlainfiff/PetitionerD3efendant/Respondent/Contestant                 Attorney or Party without attorney



Iype or print name of •Party without attorney •Attorney for                                 (Signature)
alaintiff/Petitionei •Defendant/Respondent/Contestant                 Attorney or Party without attorney


IT IS SO ORDERED:

Date:                                                          Judge of the Superior Court of San Mateo County


 Form ADR-CV-1 [Rev. Feb. 2014]
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                                                                                                                                                    CM-110
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Bar number, and Odra's):                                              FOR COURT USE ONLY




               TELEPHONE NO.:                               FN( NO. (Optional):
      E-MAIL ADDRESS (Optional):
         ATTORNEY FOR (Name):

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF
       STREET ADDRESS:
       MAILING ADDRESS:
      CITY AND ZIP CODE:
          BRANCH NAME:

         PLAINTIFF/PETITIONER:
 DEFENDANT/RESPONDENT:

                                    CASE MANAGEMENT STATEMENT                                            CASE NUMBER:

 (Check one):              I       I UNLIMITED CASE             I    I LIMITED CASE
                                     (Amount demanded                  (Amount demanded is $25,000
                                     exceeds $26,000)                  or less)

 A CASE MANAGEMENT CONFERENCE is scheduled as follows:
 Date:                                              Time:                         Dept.:               Div.:                     Room:
 Address of court (if different from the address above):

  I       I Notice of Intent to Appear by Telephone, by (name):

                  INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1.      Party or parties (answer one):
        a. I       J This statement Is submitted by party (name):
        b I.       I This statement is submitted jointly by parties (names):


2.      Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
        a. The complaint was filed on (date):
        b. I  I The cross-complaint, If any, was filed on (date):

3.      Service (to be answered by plaintiffs and cross-complainants only)
        a. I I All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
        b I     I The following parties named in the complaint or cross-complaint
                   (1) I    I have not been served (specify names and explain why not):

                       (2) 1         j   have been served but have not appeared and have not been dismissed (specify names):

                       (3) I         I   have had a default entered against them (specify names):

        c. I       I The following additional parties may be added (specify names, nature of involvement in case, and date by which
                     they may be served):


4.      Description of case
        a. Type of case in I               I complaint      I       I cross-complaint      (Describe, including causes of action):



                                                                                                                                                    Page 1 of 5
Form Adapted for Mandatory Use                           CASE MANAGEMENT STATEMENT                                                           Cal. Rules of Court,
  Judicial Council of California                                                                                                              roles 3.720-3.730
  CM-11D [Rev. July 1, 20111                                                                                                                  wvivccourts.ca.gov
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                                                                                                         CASE NUMBER:
 _   PLAINTIFF/PETITIONER:
  DEFENDANT/RESPONDENT:
 4. b.        Provide a brief statement of the case, including any damages. (If personal Injury damages are sought, specify the injury and
              damages claimed, Including medical expenses to date (indicate source and amount), estimated future medical expenses, lost
              earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)




      I       I (If more space is needed, check this box and attach a page designated as Attachment 4b.)
 5.        Jury or nonjury trial
          The party or parties request    I    I a jury trial I    I a nonjury trial.    (If more than one party, provide the name of each party
          requesting a jury trial):

 6.    Trial date
       a. I    I The trial has been set for (date):
       b. I    I No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain):

       c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):


 7. Estimated length of trial
    The party or parties estimate that the trial will take (check one):
    a. I I days (specify number):
    b. I I hours (short causes) (specify):

 8. Trial representation (to be answered for each party)
     The party or parties will be represented at trial I I by the attorney or party listed in the caption               I   I by the following:
     a. Attorney:
     b. Firm:
     c. Address:
     d. Telephone number:                                                     f. Fax number:
     e. E-mail address:                                                       g. Party represented:
    I   I Additional representation is described in Attachment 8.
9. Preference
   I   I This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
      a.     ADR information package. Please note that different ADR processes are available in different courts and communities; read
             the ADR Information package provided by the court under rule 3.221 for information about the processes available through the
             court and community programs in this case.
           (1) For parties represented by counsel: Counsel I 1 has I            I has not provided the ADR information package identified
               in rule 3.221 to the client and reviewed ADR options with the client.
        (2) For self-represented parties: Party I    I has I I has not reviewed the ADR information package identified in rule 3.221.
      b. Referral to Judicial arbitration or civil action mediation (if available).
        (1) I Il This matter Is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                   mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                    statutory limit.
           (2) I     j Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                       Civil Procedure section 1141.11.
           (3)I      I This case is exempt from judicial arbitration under rule 3,811 of the California Rules of Court or from civil action
                       mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):


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                                                   CASE MANAGEMENT STATEMENT                                                                 Page 2 of 5
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 182 of 450



                                                                                                                                   CM-110
                                                                                                CASE NUMBER:
 _
      PLAINTIFF/PETITIONER:
DEFENDANT/RESPONDENT:

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate In, or
       have already participated in (check all that apply and provide the specified information):


                              The party or parties completing If the party or parties completing this form in the case have agreed to
                              this form are willing to          participate In or have already completed an ADR process or processes,
                              participate in the following ADR indicate the status of the processes (attach a copy of the parties' ADR
                              processes (check all that apply): stipulation):


                                                                 ED Mediation session not yet scheduled

                                                                 NM Mediation session scheduled for (date):
     (1) Mediation                        MI
                                                                 In Agreed to complete mediation by (date):
                                                                 C Mediation completed on (date):


                                                                 Mil    Settlement conference not yet scheduled

  (2) Settlement                          I=                     MS     Settlement conference scheduled for (date):
      conference
                                                                ED Agreed to complete settlement conference by (date):

                                                                C:3 Settlement conference completed on (date):


                                                                 MI Neutral evaluation not yet scheduled
                                                                E:1 Neutral evaluation scheduled for (dale):
     (3) Neutral evaluation               INE
                                                                        Agreed to complete neutral evaluation by (dale):
                                                                 INN Neutral evaluation completed on (date):

                                                                 NM     Judicial arbitration not yet scheduled

  (4) Nonbinding Judicial                                        ON     Judicial arbitration scheduled for (date):
                                          C
      arbitration
                                                                ri Agreed to complete judicial arbitration by (date):
                                                                ED Judicial arbitration completed on (date):


                                                                E:3 Private arbitration not yet scheduled

  (5) Binding private                                            Si Private arbitration scheduled for (date):
      arbitration
                                                                MN      Agreed to complete private arbitration by (date):

                                                                C Private arbitration completed on (date):


                                                                ED ADR session not yet scheduled

                                                                 MI     ADR session scheduled for (date):
   (6) Other (specify):                   ED
                                                                ED Agreed to complete ADR session by (date):

                                                                MI      ADR completed on (date):


cm-110 [Rey. July 1, 20111                                                                                                        Page 3 of 5
                                            CASE MANAGEMENT STATEMENT
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                                                                                                                                         CM-11Q
                                                                                                     CASE NUMBER:
         PLAINTIFF/PETITIONER:
_
 DEFENDANT/RESPONDENT;

11. Insurance
    a. I    I Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights I         I Yes I          I No
    C. I I Coverage issues will significantly affect resolution of this case (explain):



12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
      I   I Bankruptcy I I Other (specify):
    Status:

13. Related cases, consolidation, and coordination
    a. I    I There are companion, underlying, or related cases.
              (1) Name of case:
              (2) Name of court:
              (3) Case number:
              (4) Status:
           I     I Additional cases are described in Attachment 13a.
        b. I     I A motion to    I    I consolidate      I   I coordinate       will be filed by (name party):

14. Bifurcation
   I I The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following Issues or causes of
         action (specify moving party, type of motion, and reasons):



15. Other motions
    I     I The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):



 16. Discovery
     a. I  I The party or parties have completed all discovery.
     b. I  I The following discovery will be completed by the date specified (describe all anticipated discovery):
             Party                                    Description                                                  Date




        c. I     j The following discovery issues, including issues regarding the discovery of electronically stored Information, are
                   anticipated (specify):




CM-110 MeV. July 1, 20111                                                                                                                Page 0 of 5
                                                 CASE MANAGEMENT STATEMENT
                  Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 184 of 450



                                                                                                                                             CM-110
           PLAINTIFF/PETITIONER:                                                                             CASE NUMBER:


  DEFENDANT/RESPONDENT:


 17, Economic litigation
     a. ( I This is a limited civil case (i.e., the amount demanded Is $25,000 or less) and the economic litigation procedures in Code
            of Civil Procedure sections 90-98 will apply to this case.
           b I      I This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                      discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                      should not apply to this case):




 18. Other Issues
       I         I The party or parties request that the following additional matters be considered or determined at the case management
                   conference (specify):




 19. Meet and confer
     a. I  I The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
             of Court (if not, explain):




       b. After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
          (specify):




 20. Total number of pages attached (if any):

 I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
 as well as other issues raised by this statement, and will possess the authority to enter Into stipulations on these issues at the time of
 the case management conference, including the written authority of the party where required,

 Date:




                                (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY OR ATTORNEY)



                                                                                     O.
                                (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                    I     I   Additional signatures are attached.




CM.110 (Rev. July 1, 20111                                                                                                                   Page 5 of 5
                                                       CASE MANAGEMENT STATEMENT
                    Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 185 of 450


 Attorney or Party without Attorney:                                                                                             For Court Use Only
  Brian J. Robbins, Esq., Bar #190264
  Robbins Arroyo LLP
  600 B Street, Suite 1900
  San Diego, CA 92101
 Telephone No: 619-525-3990         FAX No: 619-525-3991
                                                                           Ref. No. or File No.:
 Attorney for:   Plaintiff
Insert name of Court, and Judicial District and Branch Court:
 San Mateo County Superior Court
nainte Vladi Zakinov, et al.
Defendant: Ripple Labs, Inc., et al.
    AFFIDAVIT OF SERVICE                            Hearing Date:                   Time:          Dept/Div:         Case Number:
      Summons; Complaint                                                                                               18CIV02845
I. At the time of service I was at least 18 years of age and not a party to this action.

2. I served copies of the Summons; Class Action Complaint; Civil Case Cover Sheet; Certificate re Complex Case Designation; Notice
   of Case Management Conference; ADR Information Sheet; ADR Stipulation and Evaluation Instructions; Case Management
   Statement (blank)

3. a. Party served:                                             XRP II, LLC
   b. Person served:                                            Jane Doe, Service of Process Intake Clerk, Caucasian, Female, 50 Years Old,
                                                                Brown Hair, 5 Feet 4 Inches, 145 Pounds

4. Address where the party was served                           Corporation Service Company
                                                                80 State Street
                                                                Albany, NY 12207
5. I served the party:
   a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Wed., Jun. 06, 2018 (2) at: 3:25PM

6. The "Notice to the Person Served" (on the Summons) was completed as follows:
    on behalf of XRP II, LLC
    Other: limited liability company

7. Person Who Served Papers:                                                           Fee for Service:
    a. Mary M. Bonville                                                         I Declare under penalty of perjury under the laws of the State of
    b. Class Action Research & Litigation                                       NEW YORK that the foregoing is true and correct.
       P 0 Box 740                                                                                                               AL)
       Penryn, CA 95663                                                                    ellt              41 0M
    c. (916) 663-2562, FAX (916) 663-4955
                                                                      (Date)                                    (Signature)




8. STATE OF NEW YORK, COUNTY OF.                      ANy
                                                           , ,TN
   Subscribed and sworn to (or affirmed) before me on this g #day of                          jtINE
                                                                                                a                             by Mary M. Bonville
   proved to me on the basis of satisfactory evidence to be the person who appeared befo                       me.


                VERA B. RAY                                         AFFIDAVIT OF SERVICE
                                                                      Summons; Complaint
                                                                                                                     (Notary Signal 411
                                                                                                                                                brrob. 178991
       Notary Public - State of New York
       Albany County No. 01RA6133233
     Commission Expires on 09-12-e).0•4
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 186 of 450




                                                                        ENDORSED FILE
 I    PETER B, MORRISON (SBN 230148)                                     SAN MATEO COUNTYT
     _peter.morrison@skadden.corn




                                                                                                       I
 2    VIRGINIA F. MILSTEAD (SBN 234578)                                       JUN 2 7 2018
      virginia.milstead@skadden.com
 3    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP                           Clerk of the Superior Court
      300 South Grand Avenue                                            By: COLLEEN LANGSJOEN
 4    Los Angeles, California 90071-3144                                       Deputy Clerk
      Telephone: (213) 687-5000                             N
 5    Facsimile: (213) 687-5600                             4,
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 6 JOHN NEUKOM (SBN 275887)




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   john.neukom@skadden.com              ot)     .---
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 7 SKADDEN, ARPS, SLATE, MEAGHER & FL41. '_LP -            ,4
   525 University Avenue, Suite 1400  f -6,        "        ._tf
 8 Palo Alto, California 94301          ti 1 `---             ,,....
   Telephone: (650) 470-4500             -,, c i--,  a        7i,-
 9 Facsimile: (650) 470-4570              11, "      2;4
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10   MARY JO WHITE (pro hac vice forthcoming)
     rnjwhite@dehevoise.com
11   ANDREW J. CERESNEY (pro hac vice forthcoming)
     aceresney@debevoise.com
12   DEBEVOISE & PLIMPTON LLP
     919 Third Avenue
13   New York, New York 10022
     Telephone: (212) 909-6000
14   Facsimile: (212) 909-6836
15 Attorneys for Defendants
   Ripple Labs Inc., XRP 11, LLC, and Bradley
16 Garlinghouse

17 (additional counsel on next page)

18
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
19
                                 FOR THE COUNTY OF SAN MATEO
20
                                                 )
   VLADI ZAKINOV,
21 Behalf Of All Others Individually And On      )   CASE NO.: 18C1V02845
                        Similarly Situated,      )
22                                               )   STIPULATION AND [PROPOSED]
                                 Plaintiff,      )   ORDER EXTENDING TIME TO
23                                               )   RESPOND TO COMPLAINT
                  V.                             )
24                                               )
     RIPPLE LABS INC., et al.,
25                                               )
                                                 )
26                                               )
                                 Defendants.     )
27

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          STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO COMPLAINT
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 187 of 450




 1 (continued from previous page)

 2 BRIAN J. ROBBINS (SBN 190264)
   brobbins@robbinsarroyo.com
 3 STEPHEN J. ODDO (SBN 174828)
   sothio@robbinsarroyo.com
 4 ERIC M. CARRINO (SBN 310765)
   ecarrino@robbinsarroyo,com
 5 ROBBINS ARROYO LLP
   600 B Street, Suite 1900
 6 San Diego, CA 92101
   Telephone: (619) 525-3990
 7 Facsimile: (619) 525-3991
 8 Attorneys for Plaintiff

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          STIPULATION AND [PROPOSED) ORDER EXTENDING TIME TO RESPOND TO COMPLAINT
        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 188 of 450




  1          WHEREAS, Plaintiff Vladi Zakinov filed the complaint against Defendants Ripple Labs

  2 Inc. ("Ripple"), XRP II, LLC ("XRP II"), and Bradley Garlinghouse (collectively, "Defendants")
 3 in the above-captioned action on June 5, 2018;

  4          WHEREAS Ripple was sub-served with the complaint on June 6, 2018, making Ripple's

 5 response to the complaint due on July 16, 2018;

 6           WHEREAS XRP 11 was served with the complaint on June 6, 2018, making XRP ll's

 7 response to the complaint due on July 6, 2018;

 8           WHEREAS, on June 18, 2018, counsel for the Defendants agreed to accepted service of the

 9 complaint on behalf of Mr. Garlinghouse, making Mr. Garlinghouse's response to the complaint
10 due on July 18,2018;

11          WHEREAS, this action is provisionally complex because it involves a putative class action
12 and asserts securities claims;

13          WHEREAS, a Complex Case Status Conference is scheduled in this action for August 8,
14 2018 at 9:00 a.m., at which it will be decided whether the case is complex and should be assigned

15 to a single judge for all purposes;

16          WHEREAS, the parties wish to (i) provide Defendants a uniform date to respond to the
17 complaint and (ii) ensure that, if this action is designated complex and assigned to a single judge

18 for all purposes, any motion or responsive pleading Defendants file in response to the complaint

19 will be heard before that judge;

20          THEREFORE, subject to Court approval, IT IS HEREBY STIPULATED AND AGREED,

21 by and between the attorneys for the undersigned parties, as follows:
22          1.     The time for Defendants to answer, plead, or otherwise respond to the complaint is
23 extended to September 7, 2018.

24          2,     Nothing herein shall be deemed to constitute a waiver of any rights, claims,
25 defenses, motions, or objections that a party may have or make with respect to jurisdiction, venue

26 and/or the claims set forth in this action.

27 //

28 II


           STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO COMPLAINT
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 189 of 450




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                                          FLOM LLP
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 4                                                            Peter B. Morrison
                                                         Attorneys for Defendants
 5                                               Ripple Labs Inc., XRP II, LLC, Bradley
                                                                Garlinghouse
 6
 7 DATED:              2.) 1,y            ROBBINS ARROYO LLP
 8
                                          By:           ,           --f_ a/(
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 9                                                         Stephen J. Oddo
                                                        Attorneys for Plaintiff
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        STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO COMPLAINT
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 190 of 450




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 7
 g                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                               FOR THE COUNTY OF SAN MATEO

14 VLADI ZAKINOV, Individually                 )
                                    And On     )   CASE NO.: I 8CIV02845
   Behalf Of All Others Similarly Situated,    )
11
                                               )             ORDER EXTENDING TIME
12                               Plaintiff,    )   TO RESPOND TO COMPLAINT
                                               )
                  V.                           )
13
                                               )
     RIPPLE LABS INC., et al.,                 )
14
                                               )
15                                             )                                       .
                                               )
                                 Defendants.   )
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          STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO COMPLAINT
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 191 of 450




 1          The Court, having reviewed the stipulation of the parties, and good cause appearing, hereby
 2 orders as follows:
 3          I.     The time for Defendants to answer, plead, or otherwise respond to the complaint is
 4 extended to September 7, 2018.

 5         2.      Nothing herein shall be deemed to constitute a waiver of any rights, claims,
 6 defenses, motions, or objections that a party may have or make with respect to jurisdiction, venue
 7 andlor the claims set forth in this action.
 8          IT IS SO ORDERED.

                 JUN 2 6 Z018
10   DATED:
                                                 SAN MATEO COUNTY SUPERIOR                 URT
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           STIPULATION AND DtfIRCESE13] ORDER EXTENDING TIME TO RESPOND TO COMPLAINT

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      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 192 of 450




 I                                        PROOF OF SERVICE

 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3        I am employed in the county of Los Angeles, State of California. I am over the age of 18
   and not a party to the within action; my business address is 300 S. Grand Avenue, Los Angeles,
 4 California 90071, My email address is nandi.berglund@skadden.com.

 5          On June 22, 2018 f served the foregoing documents described as:

 6
     STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO
     COMPLAINT
     on the interested party in this action addressed as follows:
 8

 9 BRIAN J. ROBBINS                                MARY JO Wai l b.
   brobbins©robbinsEuToyo.com                      mjwhite@debevoise.com
10 STEPHEN I. ODDO                                 ANDREW I. CERESNEY
   soddo@robbinsarroyo.com                         aceresney@debevoise.com
11 ERIC M. CARRINO                                 DEBEVOISE & PLIMPTON LLP
   ecarrino@robbinsarroyo.com                      919 Third Avenue
12 ROBBINS ARROYO LLP                              New York, New York 10022
   600 B Street, Suite 1900                        Telephone: (212) 909-6000
13 San Diego, CA 92101                             Facsimile: (212) 909-6836
   Telephone: (619) 525-3990
14 Facsimile:     (619) 525-3991                   Attorneys for Defendants
                                                   Ripple Labs Inc., XRP II, LLC, and Bradley
15 Attorneys for Plaintiff                         Garlinghouse
16

17                    •

18         0       (BY FEDERAL EXPRESS) I am readily familiar with the firm's practice for the
   daily collection and processing of correspondence for deliveries with the Federal Express delivery
19 service and the fact that the correspondence would be deposited with Federal Express that same
   day in the ordinary course of business; on this date, the above-referenced document was placed for
20 deposit at Los Angeles, California and placed for collection and delivery following ordinary
   business practices.
21
           I declare under penalty of perjury under the laws of the State of California that the above is
22 true and correct.

23 Executed on June 2.2, 2018 at Los Angeles, California.
24
           Nandi Berglund                                   4\0,\Atii . I °                  I,
25         PRINT NAME                                               GN • 'r41:4-
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                                             PROOF OF SERVICE
                              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 193 of 450
        s"lTii; ,                            SUPERIOR COURT OF SAN MATEO COUNTY
     •• ,,Z%;;;,                             400 County Center, Redwood City, CA 94063
a.       1. ---,-----,F
                                                         (650) 261-5100
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                                                    www.sanmateocourt.org
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                                                    AFFIDAVIT OF MAILING

Date: 8/8/2018

In the Matter of: VLADI ZAKINOV vs. RIPPLE LABS INC., et al
Case No.: 18-CIV-02845A

    I declare under penalty of perjury that on the following date I deposited in the United States Post Office mail
box at Redwood City, a true copy of the attached document(s) ORDER DESIGNATING MATTER COMPLEX &
ASSIGNING CASE FOR ALL PURPOSES, enclosed in an envelope, with proper and necessary postage thereon, and
addressed to the following:

Executed on: 8/8/2018
                                                            Rodina M. Cata 4 , r,       ,. t(
                                                                                            Exec
                                                                                             t   tive Officer/Clerk



                                                      By:                 /
                                                            Alex ndrin Orte              puty Clerk
Copies Mailed To:



 BRIAN J. ROBBINS
 600 B STREET, SUITE 1900
 SAN DIEGO, CA 92101



 PETER B. MORRISON
 300 SOUTH GRAND AVENUE, SUITE 3400
 LOS ANGELES, CA 90071




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                                                                                            - — CIV-02845
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                                                                                             Affidavit o Ma ling
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                               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 194 of 450


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 PLAINTIFF: VLADI ZAKINOV                                                                           Clerk •    1.5A• go
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 DEFENDANT: RIPPLE LABS INC.; XRP II, LLC; BRADLEY GARLINGHOUSE; DOES 1-25,                    By           -'43'
                                                                                                                41111*
 INCLUSIVE
                                                                                                      Apv OF•     0._
                                                                                               CASE NUMBER:
                CLERK'S NOTICE OF FEES DUE COMPLEX LITIGATION DESIGNATION
                                                                                                18-CIV-02845


PARTY INFORMATION:


     BRIAN J. ROBBINS
     600 B STREET, SUITE 1900
     SAN DIEGO, CA 92101


     PETER B. MORRISON
     300 SOUTH GRAND AVENUE                                                                           118 — CIV— 02845
     LOS ANGELES, CA 90071- 3144                                                                       FDCL
                                                                                                       C erk's Notice of Fees Due Complex Litigation i
                                                                                                       1309278


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COUNSEL (FOR PRO/PER) INFORMATION:
          BRIAN J ROBBINS                 600 B STREET SUITE 1900 SAN DIEGO CA 92101


         PETER B. MORRISON                300 SOUTH GRAND AVENUE LOS ANGELES, CA 90071- 3144


      You are hereby notified that the court has designed your case as a complex case. Pursuant to Government Code
section 70616 you are required to pay the following fees:

       Plaintiff(s): A single complex case fee of $1,000 shall be paid on behalf of all plaintiffs, either filing separately or
jointly to be paid at the same time as designated in Government Code section 70616(a).

      Defendant(s): A complex case fee of $1,000 shall be paid by each defendant, intervenor, respondent, or adverse
party, whether filing separately or jointly, up to the total complex fees collected from all defendants, intervenors,
respondents, or other adverse parties appearing not to exceed $18,000. These fees are to be paid at the time as
designated in Govt.C. §70616(b). (Govt.C. §7 0616(b) and (d))

      You are required to bring this notice to the clerk's office, civil division, and deposit the required fee within the
statutory time period of 10 days from the date indicated on this Notice. Failure to pay the required fee will result in a
delay of your case as provided for under Government Code section 70616 and the Code of Civil Procedure section
411.20.

Please disregard this notice if you have paid this fee prior to receipt of this Notice. If you paid this fee more than 10
days ago, please contact the Clerk's Office at (650) 261-5100.

You are required to bring this worksheet to the clerk's office as directed, and deposit the required fees and you are to


                                                                                                                         Rev. Oct. 2014
                  Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 195 of 450


present your receipt to the courtroom clerk as proof of payment. Failure to pay the required fess could result in a
delay of your case.

Date: 8/8/2018                                                  Rodina M. Catalano, Court Executive Officer/Clerk

                                                   CLERK'S CERTIFICATE OF MAILING
I hereby certify that I am the clerk of this Court, not a party to this cause; that I served a • . • this notice on the below date, by
pplacing a copy thereof in separate sealed envelopes addressed to the address sh• • n by the reco s of this Court and by then
sealing said envelopes and depositing same, with postage fully rep-paid thereon,' the Unit -• tate Mail at Redwood City
California.

Date: 8/8/2018                                                  By:                                   `411/
                                                                       Alexa , i rina   2   r rega, Co , "%*6 11 Clerk




                                                                                                                          Rev. Oct. 2014
                   Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 196 of 450
                                                                                             Case Number: 18-CIV-02845

    ..-- ..iiiii.;::.
          -                            SUPERIOR COURT OF SAN MATEO COUNTY
 /6247:590-A- \ LL 52>a\             400 County Center                1050 Mission Road
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1@ _ .c-'616;irinl 4 g _ MI        Redwood City, CA 94063       South San Francisco, CA 94080
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                                                 Minute Order
VLADI ZAKINOV vs. RIPPLE LABS INC., et al                                                      18-CIV-02845
                                                                                        08/08/2018 9:00 AM
                                                                                        Complex Case Status
                                                                                                 Conference
                                                                                        Hearing Result: Held

Judicial Officer: Foiles, Robert D                    Location: Courtroom 2J
Courtroom Clerk: Alexandrina Ortega                   Courtroom Reporter: Chris Perez



Parties Present


Exhibits



Minutes
Journals
 - No appearance by any parties herein or their counsel of record.

  (Case called at 9:12 am)

  Tentative ruling adopted and becomes order:

  This matter is provisionally deemed and designated as COMPLEX and is assigned to Judge Marie S.
  Weiner, Department 2, for all purposes. The parties are directed to contact Judge Weiner's Department
  at 650-261-5102 to set a date for future status conferences or other hearings.

  If the tentative ruling is uncontested, it shall become the order of the Court, pursuant to Rule
  3.1308(a)(1), adopted by Local Rule 3.10, effective immediately, and no formal order pursuant to Rule
  3.1312 or any other notice is required as the tentative ruling affords sufficient notice to the parties.

  ** ** ** ** ** ** ** ** ** ** ** ** ** **
Case Events
 - Case deemed complex litigation

Others
Comments:


Future Hearings and Vacated Hearings


       October 04, 2018 9:00 AM Case Management Conference
       Case Management Conferences, -




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                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 197 of 450


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 6                       IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                         COUNTY OF SAN MATEO
 8

 9   VLADI ZAKINOV                                           ) Case No. 18-CIV-02845
10
                                                             )
                Plaintiff,                                   )
11                                                           )
                vs.                                           )
                                                             ) ORDER DESIGNATING MATTER
12   RIPPLE LABS INC., ETAL.                                 ) COMPLEX & ASSIGNING CASE
                                                             ) FOR ALL PURPOSES
13              Defendants.                             I    )
                                                             1
14

15              On August 8, 2018 this matter was set for Complex Case Status Conference. The
16   Tentative ruling by Judge Foiles was adopted and ordered as follows:
17              This matter is provisionally deemed and designated as complex, and is assigned to
18   Department 2, the Honorable Marie S. Weiner, for all purposes. The parties are directed to
19   contact Judge Weiner's Department at (650) 261-5102 to set a date for future status conference
20   or other hearing.
21

22

23   Dated:
24                                                  ROBERT D FOILES
                                                    Presiding Judge of the Superior Court
25

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                                                                        18—CIV-02845                                     I
                                                                         ODCC
                                                                         Order Designating Case as Complex
                                                                         1309376



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                        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 198 of 450
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                                              AFFIDAVIT OF MAILING

Date: 8/9/2018

In the Matter of: VLADI ZAKINOV vs. RIPPLE LABS INC., et al
Case No.: 18-CIV-02845

     I declare under penalty of perjury that on the following date I deposited in the United States Post Office mail
box at Redwood City, a true copy of the attached document(s) Case Management Order #1 and Order For
Permissive E-Filing, enclosed in an envelope, with proper and necessary postage thereon, and addressed to the
following:

See Attached Service List.




Executed on: 8/9/2018
                                                      Rodina M. Catalano, Court Execu ive Officer/Clerk


                                                By:    al----
                                                      Sandra Harris, Deputy Cler




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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 199 of 450




                                     SERVICE LIST
                    Zakinov v. Ripple Labs, Class Action 18CIV02845
          •                        As of August 2018

Attorneys for Plaintiff:

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STEPHEN ODDO
ERIC CARRINO
ROBBINS ARROYO LLP
600 B Street, Suite 1900
San Diego, CA 92101
(619) 525-3990

Attorneys for Defendants:

PETER MORRISON                .
VIRGINIA MILSTEAD
SKADDEN ARPS SLATE MEAGHER & FLOM LLP
300 South Grand Avenue
Los Angeles, CA 90071-3144
(213) 687-5000

JOHN NEUKOM
SKADDEN ARPS SLATE MEAGHER & FLOM LLP
525 University Avenue, Suite 1400
Palo Alto, CA 94301
(650) 470-4500

MARY JO WHITE
ANDREW CERESNEY
DEBEVOISE & PLIMPTON LLP
919 Third Avenue
New York City, NY 10022
(212) 909-6000
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 200 of 450




                                                                                     FILED
                                                                                     SAN MATEO COUNTY

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                               SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                              COUNTY OF SAN MATEO

                                           COMPLEX CIVIL LITIGATION

              VLADI ZAKJNOV, individually and on                 Case No. 18CIV02845
              behalf of all others similarly situated,           CLASS ACTION

                      Plaintiffs,                                Assigned for all purposes to Dept. 2
                                                                 Hon. Marie S. Weiner
              vs.
                                                                 CASE MANAGEMENT ORDER #1
              RIPPLE LABS INC.; XRP II LLC;                      and ORDER FOR PERMISSIVE
              BRADLEY GARLINGHOUSE; and                          E-FILING
              Does 1-25, Inclusive,

                      Defendants.
                                                        /



                      Pursuant to Order of the Acting Presiding Judge on August 8, 2018, designating

              this putative class action as "complex" and assigning this complex action for all purposes

              to the Honorable Marie S. Weiner in Department 2 of this Court,

                     IT IS HEREBY ORDERED as follows:

                      1.      All pleadings, motions, applications, briefs, and any and all other papers in
   t,-
   2
   .
   1
              this case shall be filed with (and related filing fees paid to) the Civil Clerk's Office
Er E
ca1 glocated in the Hall of Justice, First Floor, Room A, 400 County Center, Redwood City,
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1      g
 .—C.aC.D ,
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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 201 of 450




California. One extra copy of any such filing shall be (1) electronically served upon

Department 2 at email address complexcivilsanmateocourt.org or (2) stamped

"Judge's Copy" and delivered by overnight or first class mail directly to Department 2

located at Courtroom 2E, 400 County Center, Redwood City, California 94063. DO

NOT LEAVE THE JUDGE'S COPY WITH THE CLERK'S OFFICE. PLEASE ADD

DEPARTMENT 2 TO YOUR E-SERVICE OR MAILING SERVICE LIST IN THE

CASE AS TO ANY AND ALL PAPERS FILED WITH THE COURT. All motions and

briefs shall conform with the California Rules of Court, especially Rule 3.1113, and

indicate on the caption page that this matter is assigned for all purposes to Department 2.

DO NOT FAX COPIES OR CORRESPONDENCE TO DEPARTMENT 2, AS THERE

IS NO DEDICATED FAX LINE FOR THE CIVIL COMPLEX DEPARTMENT.

       2.       As to any and all motions or other matters requiring a hearing, the hearing

date shall be obtained directly from and approved by Department 2 at (650) 261-5102

(and not with the Civil Clerk's Office nor with the Research Attorney), prior to filing of

the moving papers or other initial filings.

       3.      ' Pursuant to Section 1010.6(b) of the Code of Civil Procedure, Rule

2.253(a) of the California Rules of Court, and San Mateo County Superior Court Local

Rule 2.1.5, all documents in Complex Civil actions (other than the original documents

specified below) may be filed electronically. The document (other than exhibits) must be

text searchable. Please visit www.sanrnateocourt.org for further information on e-filing.

Please note that exhibits to any electronically filed briefs, declarations or other

documents must be electronically "bookmarked" as required by CRC Rule

3.1110(f)(4)




                                              2
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 202 of 450




       4.      Until further order of the Court, the following original documents must

still be filed/lodged in hardcopy paper:

       Ex Parte Motions and Oppositions thereto

       Stipulation and Proposed Order

       Request for Dismissal

       Proposed Judgments

       Abstract of Judgment

       Default Judgment

       Appeal Documents

       Administrative Records

       5.      Proposed Orders should be e-filed with the motion or stipulation to which

it relates in conformity with CRC Rule 3.1312(c). You must also email an editable

version of the Proposed Order in Word format (not PDF) to

complexcivil@sanmateocourtorg so that the judge can modify it prior to signing, if

needed.

       6.      Correspondence to Department 2, such as discovery letter briefs, requests

to take matters off calendar, and requests for rescheduling, regarding actions assigned to

the Complex Civil Department may be submitted electronically, rather than paper, by e-

mail addressed to complexcivil@sanmateocourtorg All e-correspondence must be sent

in at least 12 point type. This email address is for the Complex Civil Litigation

Department to receive correspondence, and is not a venue for back-and-forth

communications with the judge. Communications to this email address are not part of the

official court files — just like a paper letter, they are not "filed" documents — and will be

retained for at least 30 days and then be subject to deletion (destruction) thereafter.

                                               3
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 203 of 450




       7.        All communications to the complexcivil@sanmateocourt.org email

address MUST include in the header "subject line" the Case Number and Name of Case

(e.g., CIV 654321 Smith v. Jones).

       8.        Ex parte applications in this matter shall heard by Department 2, on

Tuesdays and Thursday between 2:00 p.m. and 3:30 p.m., and the parties are required

to meet the requirements of CRC Rule 3.120 et seq.. With the consent of counsel for all

parties, telephone conferences on simple interim case management matters may be

scheduled with the Court for a mutually convenient time and date — with the scheduling

and logistics of such telephone conferences to be the responsibility of the requesting

party/parties.

       9.        As to any discovery motions, the parties are relieved of the statutory

obligation under CRC Rule 3.1345, and thus need not file a separate statement — instead

the subject discovery requests (or deposition questions) and written responses (or

deposition answers or objections) must be attached to the supporting declaration on the

discovery motion.

        10.      Given the nature of this case, the Court views document production and

depositions as the most effective means of discovery for adjudication. Accordingly, no

party may propound more than 35 special interrogatories total and no party may

propound more than 35 requests for admissions (other than as to the authenticity of

documents) total, without prior court order after demonstration of need and a showing

that other means of discovery would be less efficient

        11.      In regard to all discovery disputes, counsel for the parties (and any

involved third parties) shall meet and confer on any and all discovery disputes and, if

there are remaining disputes, then counsel for each side shall serve on each other and

                                               4
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 204 of 450




mail/deliver directly to Department 2 a short letter brief setting forth the dispute and

attaching as tabbed exhibits to the letter the subject discovery requests and discovery

responses (if any). The discovery letter brief may instead be electronically delivered

to Department 2 via email address complexcivil(&,sanmateocourt.org. At the time or

prior to submitting the letter briefs, counsel for the parties shall also schedule a discovery

conference with the Court to occur no sooner than five court days after delivery of the last

letter brief to the Court, in order to discuss the dispute. THE DISCOVERY DISPUTE

LETTER BRIEFS AND THE DISCOVERY CONFERENCE SHALL BE DONE WELL

PRIOR TO THE STATUTORY DEADLINES FOR FILING OF ANY MOTION TO

COMPEL OR OTHER DISCOVERY MOTION. No discovery motion may be filed by

any party unless and until there is compliance with the requirement of this Order, i.e., (i)

substantive meet and confer, (ii) exchange of letter briefs, and (iii) discovery conference

with the Court. This requirement does not constitute an extension of time for any

statutory time period for filing and serving any motion under the Civil Discovery Act.

       12.     Pursuant to CRC Rule 3.1113(i), the Complex Civil Department, Dept. 2,

does not require any appendix of non-California authorities, unless specifically

stated by the Court as to a particular motion.

       13.     The Case Management Conference set for October 4, 2018 is VACATED.

       14.     The Court is aware of the Stipulation and Order granting an extension of

time for all Defendants to file and serve their response to the Complaint until

September 7, 2018. Accordingly, if the Defendants' response to the Complaint is

anything other than an Answer, then the demurrer or other motion regarding the

pleadings is set for hearing on Friday, October 26, 2018 at 2:30 p.m. in Department 2




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of this Court. Any opposition shall be filed and served on or before September 28, 2018.

Any reply shall be filed and served on or before October 19, 2018.

       15.    The initial Case Management Conference is set for Friday, October 26,

2018 at 10:00 a.m. in Department 2 of this Court, located at Courtroom 2E, 400 County

Center, Redwood City, California. Counsel for all parties shall meet and confer on all

matters set forth in California Rules of Court Rule 3.750 and Rule 3.724(8).

       16.     In anticipation of the Case Management Conference, counsel for the

parties should be prepared to discuss at the hearing and file written case management

conference statements (in prose and details, not using the standardized Judicial

Council form) with a courtesy copy delivered directly to Department 2 on or before

October 19, 2018, as to the following:

       a.      Status of Discovery, including the initial production of documents by all

                      parties;

       b.      Status of Settlement or Mediation;

       c.      Conclusions reached after meet and confer on all matters set forth in CRC

                      Rule 3.750 and Rule 3.724(8);

       d.      Any anticipated motions and proposed briefing schedule;

       e.      Setting of next CMC date; and

       f.      Any other matters for which the parties seek Court ruling or scheduling.

       17.     Discovery is not stayed.

DATED:         August 9, 2018                              ,

                                             HON. • ' I S. WEINER
                                             JUDGE OF THE SUPERIOR COURT




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       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 206 of 450




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 8                   SUPERIO          0 ki.? T OF TnE           STATEOF CALIFORNIA
 9 '                                             LINTY OF SAN MATEO
10 VLADI ZAKINOV                                  )
                       Individually and on Behalf )              CASE NO.: 18-CIV-02845
11 of All Others Similarly Situated,              )
                                                  )              [PROPOSED] ORDER GRANTING
12                               Plaintiff, ,     )              DEFENDANT'S MOTION AND
                                                  )              PEREMPTORY CHALLENGE TO THE
13                V.                              )              HONORABLE MARIE S. WEINER
                                                  )              PURSUANT TO CALIFORNIA CODE
14 RIPPLE   LABS   INC   et al.,                  )              OF CIVIL PROCEDURE SECTION
                       "
                                                  )              170.6
15                               Defendants.      )
                                                  )              Assigned for all purposes to Hon. Marie S.
16                                                )              Weiner, Dept. 2
                                                  )
17                                                )              Judge:      Hon. Susan Irene Etezadi
                                                  )              Department: 18
18                                                          )
                                                            )    Date Action Filed: June 5, 2018
19                                                          )    Trial Date:        Not Set
                                                            )
20                                                          )    [Submitted to the Presiding Judge per Cal.
                                                            )    Code Civ. Proc. § 170.6(a)(2)]
21                                                          )
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         [PROPOSED] ORDER GRANTING DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE
                                    CASE NO. 18-CIV-02845
      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 207 of 450




 1         The Court having considered Defendant Ripple Labs Inc.'s Motion and Peremptory

 2 Challenge to the Honorable Marie S. Weiner Pursuant to California Code of Civil Procedure

 3 § 170.6, orders as follows:

 4         Defendant's peremptory challenge is GRANTED.

 5
     DATED:                      , 2018
 6                                        By:
                                                The Honorable Susan Irene Etezadi
 7                                              Presiding Judge of San Mateo Superior Court
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         [PROPOSED] ORDER GRANTING DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE
                                    CASE NO. 18-CIV-02845
-.1        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 208 of 450

                                ...



       1 DEBORAH McCRIMMON (SBN 229769)
         315 Montgomery St., 2nd Floor
       2 San Francisco, CA 94101
         Telephone: (415) 967-1836
       3 dmcrimmon@ripple.com
                                                                         FILED
                                                                      SAN MATEO COUNTY
       4   Attorney for Defendant                                        AUG 1 6 2018 .
           Ripple Labs Inc.
       5                                                              Clerk         parlor Court
       6                                                                      SWIM OWN

       7

       8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
       9                                      COUNTY OF SAN MATEO

      10                                                      )
         VLADI ZAKINOV Individually and on Behalf )                 CASE NO.: 18-CIV-02845
      11 of All Others Similarly Situated,                    )
                                                                    CLASS ACTION
                                              Plaintiff,    i
      12                                                      )
                                                              )     BY FAX
      13
                         V.                                   )
                                                              )     DECLARATION OF DEBORAH
      14
         RIPPLE LABS INC., et al.,                            )     McCRIMMON IN SUPPORT OF
                                                              )     DEFENDANT'S MOTION AND
      15                                      Defendants.     )     PEREMPTORY CHALLENGE TO THE
                                                              )     HONORABLE MARIE S. WEINER
                                                              )     PURSUANT TO CALIFORNIA CODE
      16     '                        __ —
                      ---- -02845                             )     OF CIVIL PROCEDURE SECTION
                       18-CIV                                 )     170.6
      17             ; PIS
                       Declaration to support


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      18
                        1327157                           \   )     Assigned for all purposes to Hon. Marie S.
                                                              ))    Weiner, Dept. 2
      19
                               --- -                          )     Judge:      Hon. Susan Irene Etezadi
      20                                                      )     Department: 18
                                                              )
      21                                                      )     Date Action Filed: June 5, 2018
                                                              )     Trial Date:        Not Set
      22                                                        )
                                                                )   [Submitted to the Presiding Judge per Cal.
      23
                                                                )   Code Civ. Proc. § 170.6(a)(2)]

      24

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                 DECLARATION OF DEBORAH McCRIMMON ISO MOTION AND PEREMPTORY CHALLENGE
                                           CASE NO. 18-CIV-02845
       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 209 of 450



                       .                                                                                     ,
 1          I, Deborah E. McCrimmon, declare as follows:
 2          1.     I am an attorney duly licensed to practice in the courts of the State of California and
 3 have been admitted to this Court.         I am Senior Counsel for Defendant Ripple Labs Inc.
 4 ("Defendant"). I have personal knowledge of the matters stated herein and, if called upon, I could

 5 and would competently testify thereto. I submit this Declaration in support of the Motion and
 6 Peremptory Challenge to the Honorable Marie S. Weiner, filed by Defendant pursuant to Section '
 7 170.6 of the California Code of Civil Procedure.
 8          2.     This action was filed on June 5, 2018.
 9          3.     On August 8, 2018, this action was designated as complex and assigned for all
10 purposes to the Honorable Marie S. Weiner, Department 2 of this Court.
11          4.     I believe that Judge Weiner is prejudiced against Defendant, or the interests of
12 Defendant, such that Defendant cannot have a fair and impartial trial or hearing before Judge
13 Weiner.
14          5.     Pursuant to Section 170.6 of the California Code of Civil Procedure, I request that
15 this case be reassigned to another judicial officer for further proceedings.
16          I declare under penalty of perjury under the laws of the State of California that the
17 foregoing is true and correct.
18          Executed August 15, 2018 in San Fran isco, California.
19
20                                        By:
                                                            Deborah E. McCrimmon
21 .                                                 Attorney for Defendant Ripple Labs Inc.
22
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          DECLARATION OF DEBORAH E. MCCRIMMON ISO MOTION AND PEREMPTORY CHALLENGE
                                     CASE NO. 18-CIV-02845
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 210 of 450




     1 DEBORAH McCRIMMON (SBN 229769)
       315 Montgomery St., 2nd Floor                                                          F
     2 San Francisco, CA 94101                                                            SAN MATED COUNTY
       Telephone: (415) 967-1836
     3 dmcrimmon@ripple.com                                                                  AUG 1 6 2018
     4    Attorney for Defendant                                                          Cie* of,parlor Court
          Ripple Labs Inc. .                                                                          ,
     5                                                                                            '       OMR

     6

     7

     8                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
     9                                                               COUNTY OF SAN MATEO

    10                                                                           )
          VLADI ZAKINOV Individually and on Behalf                               ) , CASE NO.: 18-CIV-02845
          of All Others Similarly Situated,                                      )
-,-- 11
                                                                                 ) CLASS ACTION
    12                                                    Plaintiff,             )
                                                                                 ) BY FAX
                           V.                                    t
    13                                                                           )
                                                                                 ) (1) DEFENDANT'S MOTION AND
    14    RIPPLE LABS INC., et al.,                                              )   PEREMPTORY CHALLENGE TO THE
                                                                                 ) HONORABLE MARIE S. WEINER
    15                                                    Defendants.            ) PURSUANT TO CALIFORNIA' CODE
                                                                                 ) OF CIVIL`PROCEDURE SECTION
    16                                                                           ) 170.6;
                                                                                 )
    17                                                                           )   (2) DECLARATION OF DEBORAH
                    Plie:re:6CniplV                              -----           )   McCRIMMON (filed under separate
                                 to—ry°2845                                      )   cover); and
    18              1327144           Challeng   e Pursuant to
                                                                 ccp 170.6
                                                                             A
                                                                                 )
                                                                                 )   (3) [PROPOSED] ORDER (lodged under
    19             1111111                                                       )   separate cover).
                          11111
    20                                              - --- __________             )
                                                                                 )   Assigned for all purposes to Hon. Marie S.
    21                                                                           )   Weiner, Dept. 2
                                                                                 )
    22                                                                           )   Judge:      Hon. Susan Irene Etezadi
                                                                                 )   Department: 18
    23                                                                           )
                                                                                 )   Date Action Filed: June 5, 2018
   24                                                                            )   Trial Date:        Not Set
                                                                                 )
   25                                                                                [Submitted to the Presiding Judge per Cal.
                                                                                     Code Civ. Proc. § 170.6(a)(2)]
   26

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                                        DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE
                                                     CASE NO. 18-CIV-02845
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 211 of 450




1          Defendant Ripple Labs Inc. respectfully moves, pursuant to California Code of Civil
2 Procedure Section 170.6, for an order that the Honorable Marie S. Weiner, Judge of the Superior
3 Court assigned for all purposes to the above-captioned matter, be disqualified from hearing any
 4 motion or trying any matter in this action, on the grounds set forth in the Declaration of Deborah E.
 5 McCrimmon, submitted herewith.
 6 DATED: August 16, 2018
 7
 8
                                         By:                             -------'
 9                                                         Debor        cCrimmon
                                                    Attorney for Defendant Ripple Labs Inc.
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                          DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE
                                       CASE NO. 18-CIV-02845
      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 212 of 450



 1 DEBORAH McCRIMMON (SBN 229769)
   315 Montgomery St., 2nd Floor
 2 San Francisco, CA 94101
   Telephone: (415) 967-1836
 3 dmcrimmon@ripple.com

 4 Attorney for Defendant
                                                             FILED
                                                         SAN MATEO COUNTY
   Ripple Labs Inc.
 5                                                          AUG 1 6 2018

 6                                                       Clerk
                                                                                     Court

 7
 8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                                COUNTY OF SAN MATEO
10 VLADI                                        )
           ZAKINOV Individually and on Behalf )     CASE NO.: 18-CIV-02845
11 of All Others Similarly Situated,            )
                                                )   CLASS ACTION
12                                 Plaintiff,   )
                                                )
13                V.                            )
                                                )   PROOF OF SERVICE
14 RIPPLE   LABS   INC., et al.,                )
                                                )   Assigned for all purposes to Hon. Marie S.
15                               _ Defendants.  )   Weiner, Dept. 2
                                                )
16                                              )   Judge:      Hon. Susan Irene Etezadi
                                                )   Department: 18
17                                              )
                                                )   Date Action Filed: June 5, 2018
18                                              )   Trial Date:        Not Set
                                                )
19                                              )   [Submitted to the Presiding Judge per Cal.
                                               )    Code Civ. Proc. § 170.6(a)(2)]
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21                                             )      ''-18- CIV-02845
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     PROOF OF SERVICE                                                               CASE NO. 18-CIV-02845
        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 213 of 450




 1                                          PROOF OF SERVICE

 2 STATE OF CALIFORNIA, COUNTY OF SANTA CLARA
 3        I am employed in the county of Santa Clara, State of California. I am over the age of 18
   and not a party to the within action; my business address is 4546 El Camino Real #262, Los Altos,
 4 CA 94022.

 5
            On August16, 2018, I served the documents described as:
 6
 7 (1) DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE TO THE
   HONORABLE MARIE S. WEINER PURSUANT TO CALIFORNIA CODE OF CIVIL
 8 PROCEDURE SECTION 170.6;

 9 (2) DECLARATION OF DEBORAH McCRIMMON (filed under separate cover); and

10
     (3) [PROPOSED] ORDER (lodged under separate cover).
11
     on the interested parties in this action addressed as follows:
12
   Honorable Judge Marie S. Weiner                        BRIAN J. ROBBINS
13 Courtroom 2E                                           STEPHEN J ODDO
   400 Country Center                                     ERIC M. CARRINO
14 Redwood City, CA 94063                                 ROBBINS ARROYO LLP
                                                          600 B Street, Suite 1900
15                                                        San Diego, CA 92101

16                                                        Attorney for Plaintiff Vladi Zakinov

17
    , (BY FEDERAL EXPRESS) I am readily familiar with the firm's practice for the daily
18 collection and processing of correspondence for deliveries with the Federal Express delivery
    service and the fact that the correspondence would be deposited with Federal Express that same
19 day in the ordinary course of business; on this date, the above-referenced document was placed for
    deposit at Palo Alto, California and placed for collection and overnight delivery following ordinary
20. business practices. (AS NOTED)
21
22           I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct.                                                                                ,
23
            Executed on August 16, 2018, at Palo Alto, California.
24

25             jowl 13 LS V(
                    Type or Print Name                                            Signature
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      PROOF OF SERVICE                                                             CASE NO. 18-CIV-02845
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 214 of 450




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 8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                                      COUNTY OF SAN MATEO
10 VLADI ZAKINOV Individually and on Behalf         )
                                                   )    CASE NO.: 18-CIV-02845
11 of All Others Similarly Situated,               )
                                                    )   [PROPOSED] ORDER GRANTING
12                               Plaintiff,        )    DEFENDANT'S MOTION AND
                                                    )   PEREMPTORY CHALLENGE TO THE
13                   v.                            )    HONORABLE MARIE S. WEINER
                                                    )   PURSUANT TO CALIFORNIA CODE
14 RIPPLE LABS INC., et al.,                       )
                                                    )
                                                        OF CIVIL PROCEDURE SECTION
                                                        170.6
15                                   Defendants.    )
                                                   )    Assigned for all purposes to Hon. Marie S.
16                                                  )   Weiner, Dept. 2
                                                   )
17                                                  )   Judge:      Hon. Susan Irene Etezadi
                                                   )    Department: 18
18                                                 ))   Date Action Filed: June 5, 2018
19         18 — CIV-02845                          )    Trial Date:        Not Set
           PORCV
           Proposed Order Received                 )
20         1335415                                 )    [Submitted to the Presiding Judge per Cal.
                                                   )    Code Civ. Proc. § 170.6(4)(2)]
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         [PROPOSED] ORDER GRANTING DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE
                                    CASE NO. 18-CIV-02845
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 215 of 450




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      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 216 of 450




1         The Court having considered Defendant Ripple Labs Inc.'s Motion and Peremptory
 2 Challenge to the Honorable Marie S. Weiner Pursuant to California Code of Civil Procedure

3 § 170.6, orders as follows:
 4        Defendant's peremptory challenge is GRANTED.
 5
     DATED:                     , 2018
 6                                       By:
                                               The Honorable Susan Irene Etezadi
 7                                             Presiding Judge of San Mateo Superior Court
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         [PROPOSED] ORDER GRANTING DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE
                                    CASE NO. 18-CIV-02845
                 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 217 of 450
                                     SUPERIOR COURT OF SAN MATEO COUNTY
                                     400 County Center, Redwood City, CA 94063
                                                 (650) 261-5100
                                             www.5anmateocourt.org
                                                                                         FILED
                                                                                    SAN MATEO COUNTY
                                                                                                                                 ‘
                                             AFFIDAVIT OF MAILING                              AUG 2 1 2018

Date: 8/21/2018                                                                        Clerk    fth               rior Court
                                                                                  By
                                                                                                   DEPUTY CLERK
In   the Matter of: VLADI ZAKINOV vs. RIPPLE LABS lNC., et. al.
Case No.: 18—ClV—02845A
                                                                                                                                              ‘

     declare under penalty of perjury that on the following date deposited in the United States Post Office mail
      I                                                              I



box at Redwood City, a true copy of the attached document(s) ORDER ASSIGNING CASE FOR ALL PURPOSES,
enclosed in an envelope, with proper and necessary postage thereon, and addressed to the following:

Executed on: 8/21/2018
                                                      Rodina M. Catalano, Court Executive Officer/Clerk



                                                By:
                                                           V //(ﬂ“/
                                                      Marie Peréz,
Copies Mailed To:

          See attached   list




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    Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 218 of 450




                                         SERVICE LIST
                        Zakinov v. Ripple Labs, Class Action 18CIV 02845
                                        As of August 2018_

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    Attorneys for Defendants:

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    Los Angeles, CA 90071—3 144
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    MARY JO WHITE
    ANDREW CERESNEY
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_
    919 Third Avenue
    New York City, NY 10022
    (212) 909-6000
           Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 219 of 450



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                                                                                FILED
                                                                             SAN MATEO COUNT"
       1 DEBORAH McCRIMMON (SBN 229769)
         315 Montgomery St., 2nd Floor                                           AUG 2 1 2018
       2 San Francisco, CA 94101
         Telephone: (415) 967-1836                                           Clerk ot /-r-      for Court
       3 dmcrimmon@ripple.com                                           By
                                                                                    a -      CL RK
       4 Attorney for Defendant
         Ripple Labs Inc.
       5

       6

       7

       8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
       9                                      COUNTY OF SAN MATEO
      10                                                    )
           VLADI ZAKINOV Individually and on Behalf         )   CASE NO.: 18-CIV-02845
           of All Others Similarly Situated,                )
      11
                                                            )   CLASS ACTION
                                          Plaintiff,        )
      12
                                                            )   BY FAX
                             V.                             )
      13
                                                            )   DECLARATION OF DEBORAH
           RIPPLE LABS INC.,et al ,                         )   McCRIMMON IN SUPPORT OF
      14
                                                            )   DEFENDANT'S MOTION AND
      15                                  Defendants.       )   PEREMPTORY CHALLENGE TO THE
                                                            )   HONORABLE MARIE S. WEINER
      16                                                J   )   PURSUANT TO CALIFORNIA CODE
                                                            )   OF CIVIL PROCEDURE SECTION
      17                                                    )   170.6
                                                            )
      18                                                    )   Assigned for all purposes to Hon. Marie S.
                                                            )   Weiner, Dept. 2
      19                                                    )
                                                            )   Judge:      Hon. Susan Irene Etezadi
      20                                                    )   Department: 18
                                                            )
      21                                                    )   Date Action Filed: June 5, 2018
               18— CIV-02845
                                                            )   Trial Date:        Not Set
               DIS
      22       Dec arat on in Support
                                                            )
                                                            )   [Submitted to the Presiding Judge per Cal.
               1335391
      23                                                    )   Code Civ. Proc. § 170.6(a)(2)]

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      27                                                                                             •

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               DECLARATION OF DEBORAH McCRIMMON ISO MOTION AND PEREMPTORY CHALLENGE
                                         CASE NO. 18-CIV-02845
            Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 220 of 450



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     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 221 of 450




 1         I, Deborah E. McCrimmon, declare as follows:
 2         1.      I am an attorney duly licensed to practice in the courts of the State of California and
 3 have been admitted to this Court.         I am Senior Counsel for Defendant Ripple Labs Inc.
 4 ("Defendant"). I have personal knowledge of the matters stated herein and, if called upon, I could
 5 and would competently testify thereto. I submit this Declaration in support of the Motion and
 6 Peremptory Challenge to the Honorable Marie S. Weiner, filed by Defendant pursuant to Section

 7 170.6 of the California Code of Civil Procedure.
 8          2.     This action was filed on June 5, 2018.
 9          3.     On August 8, 2018, this action was designated as complex and assigned for all
10 purposes to the Honorable Marie S. Weiner, Department 2 of this Court
11          4.     I believe that Judge Weiner is prejudiced against Defendant, or the interests of
12 Defendant, such that Defendant cannot have a fair and impartial trial or hearing before Judge
13 Weiner.
14          5.     Pursuant to Section 170.6 of the California Code of Civil Procedure, I request that
15 this case be reassigned to another judicial officer for further proceedings.
16          I declare under penalty of perjury under the laws of the State of California that the
17 foregoing is true and correct.
18          Executed August 15, 2018 in San Fran sco, California.
19
                                                                        L.-----------
20                                        By:
                                                             Deborah E. McCrimmon
21                                                    Attorney for Defendant Ripple Labs Inc.
22
23
24
25
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27
28

         DECLARATION OF DEBORAH E. MCCRIMMON ISO MOTION AND PEREMPTORY CHALLENGE
                                    CASE NO. 18-CIV-02845
             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 222 of 450



                                                                                           FILE
                                                                                         SAN MATEO COUNTY
       1 DEBORAH McCRIMMON (SBN 229769)                                                     AUG 21 2018
         315 Montgomery St., 2nd Floor
       2 San Francisco, CA 94101                                                         Clerk of tper r Court
         Telephone: (415) 967-1836
       3 dmcrimmon@ripple.com                                                       By
                                                                                             , DEPUTY CLERK
       4 Attorney for Defendant
         Ripple Labs Inc.
       5
       6
       7 ,

       8                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
-,-    9           )                                             COUNTY OF SAN MATEO
      10 VLADI ZAKINOV Individually                                       )
                                           and on Behalf                  )   CASE NO.: 18-CIV-02845
         of All Others Similarly Situated,                                )
      11
                                                                          )   CLASS ACTION
      12                               Plaintiff,                         )
                                                                          )   BY FAX
      13                            V.                                    )                 •
                                                                          )   (1) DEFENDANT'S MOTION AND
      14 RIPPLE LABS INC., et al.,                                        )   PEREMPTORY CHALLENGE TO THE
                                                                          )   HONORABLE MARIE S. WEINER
                                                           Defendants.    )   PURSUANT TO CALIFORNIA CODE
      15
                                                                          )   OF CIVIL PROCEDURE SECTION
      16                                                                  )   170.6;
                                                                          )
      17                                                                  )   (2) DECLARATION OF DEBORAH
                         18— CIV— 02845                                   )   McCRIMMON (filed under separate
                         170.6                                            )   cover); and
      18               I Peremptory Challenge Pursuant to CCP 170.6 AI
                         1335610                                     1    )
      19                                                             i    )   (3) [PROPOSED] ORDER (lodged under
                                                                          )   separate cover).
               •        1 1011110111111 1 1111                            )
      20                                                           J      )   Assigned for all purposes to Hon. Marie S.
      21                                                                  )   Weiner, Dept. 2
                                                                          )
      22                                                                  )   Judge:      Hon. Susan Irene Etezadi
                                                                          )   Department: 18
      23                                                                  )
                                                                          )   Date Action Filed: June 5, 2018
      24                                                                  )   Trial Date:        Not Set
                                                                          )
      25                                                                      [Submitted to the Presiding Judge per Cal.
                                                                              Code Civ. Proc. § 170.6(a)(2)]
      26
      27

      28                                                                                                        '•

                                              DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE
                                                           CASE NO. 18-CIV-02845
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 223 of 450   IT   ,
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     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 224 of 450




 1         Defendant Ripple Labs Inc. respectfully moves, pursuant to California Code of Civil
 2 Procedure Section 170.6, for an order that the Honorable Marie S. Weiner, Judge of the Superior
3 Court assigned for all purposes to the above-captioned matter, be disqualified from hearing any
 4 motion or trying any matter in this action, on the grounds set forth in the Declaration of Deborah E.
 5 McCrimmon, submitted herewith.
 6 DATED: August 16, 2018
 7                                                    ,

 8                                                                             .
                                         By:
 9                                                         Debor        cCrimmon
                                                    Attorney for Defendant Ripple Labs Inc.
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                          DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE
                                       CASE NO. 18-CIV-02845
      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 225 of 450



 1 DEBORAH McCRIMMON (SBN 229769)                                  FILED
                                                              SAN MATEO COUNT'
   315 Montgomery St., 2nd Floor
 2 San Francisco, CA 94101
   Telephone: (415) 967-1836                                         AUG 2 1 2018
 3 dmcrimmon@ripple.com
                                                              Clerk of                    or Court
 4 Attorney for Defendant                                By
   Ripple Labs Inc.                                                                  CL Rf<
 5

 6
 7
 8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                              COUNTY OF SAN MATEO
10 VLADI ZAKINOV Individually and on Behalf ))   CASE NO.: 18-CIV-02845
11 of All Others Similarly Situated,         )
                                             )   CLASS ACTION
12                               Plaintiff,  )
                                             )
13                v.                         )
                                             )   PROOF OF SERVICE
   RIPPLE   LABS   INC., et al.,             )
14                                           )   Assigned for all purposes to Hon. Marie S.
                                 Defendants. )   Weiner, Dept. 2
15
                                             )
                                             )   Judge:      Hon. Susan Irene Etezadi
16                                           )   Department: 18
17                                           )
                                             )   Date Action Filed: June 5, 2018
                                             )   Trial Date:        Not Set
18
                                             )
19                                           )   [Submitted to the Presiding Judge per Cal.
                                             )   Code Civ. Proc. § 170.6(a)(2)]
20                                           )
                                             )
21                                           )
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22                                           )
                                             )        18— CIV— 02845
23                                           )        PSM1
                                                      Proof of Service by MAIL of
                                                       335443
24

25                                                    I 1111111111111111111111111

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     PROOF OF SERVICE                                                               CASE NO. 18-CIV-02845
                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 226 of 450


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        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 227 of 450



 1                                           PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SANTA CLARA
 3        I am employed in the county of Santa Clara, State of California. I am over the age of 18
   and not a party to the within action; my business address is 4546 El Camino Real #262, Los Altos,
 4 CA 94022.

 5
             On August16, 2018, I served the documents described as:
 6                                 .
 7 (1) DEFENDANT'S MOTION AND PEREMPTORY CHALLENGE TO THE
   HONORABLE MARIE S. WEINER PURSUANT TO CALIFORNIA CODE OF CIVIL
 8 PROCEDURE SECTION 170.6;

 9 (2) DECLARATION OF DEBORAH McCRIMMON (filed under separate cover); and

10
     (3) [PROPOSED] ORDER (lodged under separate cover).
11
     on the interested parties in _this action addressed as follows:
12
   Honorable Judge Marie S. Weiner                         BRIAN J. ROBBINS
13 Courtroom 2E                                            STEPHEN J ODDO
   400 Country Center                                      ERIC M. CARRINO
14 Redwood City, CA 94063                                  ROBBINS ARROYO LLP
                                                           600 B Street, Suite 1900
15                                                         San Diego, CA 92101

16                                                         Attorney for Plaintiff Vladi Zakinov

17
   ' (BY FEDERAL EXPRESS) I am readily familiar with the firm's practice for the daily
18 collection and processing of correspondence for deliveries with the Federal Express delivery
   service and the fact that the correspondence would be deposited with Federal Express that same
19 day in the ordinary course of business; on this date, the above-referenced document was placed for
   deposit at Palo Alto, California and placed for collection and overnight delivery following ordinary
20 business practices. (AS NOTED)

21
22           I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct.     .
23
            Executed on August 16, 2018, at Palo Alto, California.
24

25            Jou"' 73 LSE"(
                    Type or Print Name                                             Signature
26
27

28


      PROOF OF SERVICE                                                              CASE NO. 18-CIV-02845
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 228 of 450



                                                                                                      FILED
                                                                                                SAN MATEO COUNTY
                                                                                                                            '

                                                                                                         AUG 2 1 2018
                                                                                                                    '
                                                                                                    Clerk ofthéS         rCourt
                                                                                               By
                                                                                                          D'EMT (CLERK



                       IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                        COUNTY OF SAN MATEO


     VLADI ZAKINOV, individually and on behalf of all                                     Case No. 18CIV02845
10   others similarly situated,
11            Plaintiff,                                                                  ORDER ASSIGNING CASE FOR
                                                                                          ALL PURPOSES
12            vs.
13   RIPPLE LABS INC., et al.,                                         vvvvvvvvvvvvvvvv




14            Defendants.
15

16

17

18            Based on the Peremptory Challenge ﬁled on August 16, 2018 by defendant Ripple Labs,
19   Inc. and its counsel disqualifying the Honorable Marie S. Weiner pursuant to Cal. Code Civ.
20
     Proc.§ 170.6, the above listed matter is reassigned for all purposes to Department 16, the
21   Honorable Richard H. DuBois. The parties are directed to contact Judge DuBois’ clerk at (650)
22   261-5116 to set a case management conference date.




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     Dated:
                        FAUG      2 2 2018


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                                                                 ﬂan. (Alla
                                                               Susan I. Etezadi
                                                                                                        ﬂ“!9”
              18- DIV—02845
                                              -—   ——   \      Presiding Judge of the Superior Court
              0RD
              Order                                                  SUSAN IRENE ETEZADI
              1335404




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      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 229 of 450




                                                                                    FILED
                                                                               SAN MATEO COUNTY
      ROBBINS GELLER RUDMAN
        & DOWD LLP                                                                     AUG 2 8'          2m
      SHAWN A. WILLIAMS (213113)
      Post Montgomery Center
      One Montgomery Street, Suite 1800
      San Francisco, CA 94104
 A    Telephone: 415/288—4545                                        ROBBINS ‘1' '
      415/288—4534 (fax)                                             BRIAN J. ROBBINS (190264)
 LA
      shawnw@rgrdlaw.com                                             STEPHEN J. ODDO (174828)
                  —   and —                                          ERIC M. CARRINO (310765)
 Ch   BRIAN O. O’MARA (229737)                                       600 B Street, Suite 1900
      LUCAS F. OLTS (234843)                                         San Diego, CA 92101
 \J   655 West Broadway, Suite 1900                                  Telephone: 619/525—3990
      Telephone: 619/231—1058                                        619/525—3991 (fax)
 00   619/231—7423 (fax)                                             brobbins@robbinsarroyo.com
      bomara@rgrdlaw.com                                             soddo@robbinsarroyo.com
 ND
      lolts@rgrdlaw.corn                                             ecarrino@robbinsarroyo.com

10    Attorneys for Plaintiff

11                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

12                                        COUNTY OF SAN MATEO

13    VLADI ZAKINOV, Individually and on                        Case No. 18CIV02845
      Behalf of All Others Similarly Situated,
14                                                              CLASS ACTION
                                    Plaintiff,
15                                                              NOTICE OF APPEARANCE OF COUNSEL
                  vs.                             vvvvvvvvvvv




16                                                              Assigned for All Purposes to:
      RIPPLE LABS INC., et al.,                                 Hon. Richard H. Dubois, Dept. 16
17                                                                                                            311:5
                                                                Date Action Filed: 06/05/18
                                    Defendants.
18
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19                                                               ,   18—ClV—02845
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                                     NOTICE OF APPEARANCE OF COUNSEL
      1465623_1
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 230 of 450




                 TO: THE COURT,        ALL PARTIES AND THEIR ATTORNEYS OF RECORD
              PLEASE TAKE NOTICE that the undersigned Brian 0. O’Mara of Robbins Geller Rudman &

     Dowd LLP, hereby appears in Case No. 18CIV02845             as counsel   of record for plaintiff Vladi Zakinov.
     Copies      of all pleadings   and papers ﬁled in this action should be served on counsel as follows:

                                                    Brian 0. O’Mara
                                                  bomara@rgrdlaw.com
                                           Robbins Geller Rudman & Dowd LLP
                                             655 West Broadway, Suite 1900
                                               San Diego, CA 92101—8498
                                                Telephone: 619/231—1058
                                                   619/23 1-7423 (fax)

     DATED: August 28, 2018                                ROBBINS GELLER RUDMAN
                                                            & DOWD LLP
10                                                         BRIAN O. O’MARA
                                                           LUCAS F. OLTS
11

12                                                                                 ‘1;s           .




13                                                                       ‘BRIAN'OOMARA                   N
14                                                         65 5 West Broadway, Suite 1900
                                                           Telephone: 619/231-1058
15                                                         619/231—7423 (fax)

16                                                         ROBBINS GELLER RUDMAN
                                                             & DOWD LLP
17                                                         SHAWN A. WILLIAMS
                                                           Post Montgomery Center
18                                                         One Montgomery Street, Suite 1800
                                                           San Francisco, CA 94104
19                                                         Telephone: 415/288—4545
                                                           415/288-4534 (fax)
20
                                                           ROBBIN S ARROYO LLP
21                                                         BRIAN J. ROBBINS
                                                           STEPHEN J. ODDO
22                                                         ERIC M. CARRINO
                                                           600 B Street, Suite 1900
23                                                         San Diego, CA 92101
                                                           Telephone: 619/525—3990
24                                                         619/525-3991 (fax)

25                                                         Attorneys for Plaintiff

26

27

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                                                         _ 2 _

                                           NOTICE OF APPEARANCE OF COUNSEL
     1465623_1
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 231 of 450




                                           DECLARATION OF SERVICE BY MAIL

                  I, the undersigned, declare:
#UJN
                      1.     That declarant is and was, at all times herein mentioned, a citizen   of the United States
          and a resident     of the County of San Mateo, over the age of 18 years,    and not a party to or interested

          party in the within action; that declarant’s business address is Post Montgomery Center, One
 \]O\U1

          Montgomery Street, Suite 1800, San Francisco, California 94104.

                      2.     That on August 28, 2018, declarant served the NOTICE OF APPEARANCE OF

          COUNSEL by depositing a true copy thereof in a United States mailbox at San Francisco, California in
          a sealed envelope     with postage thereon ﬁJlly prepaid and addressed to the parties listed on the attached
10        Service List.

11                    3.     That there is a regular communication by mail between the place        of mailing   and the

12        places so addressed.

13                    I declare under penalty of perjury that the foregoing is true and correct. Executed on August 28,
14        2018, at San Francisco, California.
                                                                             {Zr
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                                              NOTICE OF APPEARANCE OF COUNSEL
          1465623_1
                                                                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 232 of 450




                                         b-A
                                                                              ROBBINS ARROYO LLP
                                                                              BRIAN J. ROBBINS (190264)
                                                                              STEPHEN J. ODDO (174828)
                                                                              ERIC M. CARRINO (310765)

                                                                          1
                                                                              600 B Street, Suite 1900
                                                                              San Diego, CA 92101
                                                                                                                                                                      FILED
                                                                                                                                                                   SAN MATEO COUNI'
                                                                              Telephone: (619) 525—3990
                                                                                                                                                                                                                    '

                                                                              Facsimile: (619) 525-3991
                                                                                                                                                                                      AUG                 201
                                                                              'E—mail: brobbins@robbinsarroyo.com                                                                                 39
                                      \OOOQONU‘I-PUJN                                  soddo@robbinsarroyo.com
                                                                                       ecarr1no@robbinsarroyo.com
                                                                                                                                                                                                                        I”!
                                                                              Attorneys for Plaintiffs                                                                                                                  3)-
                                                                              Vladi Zakinov and David Oconer
                                                                                                                                                                                                                        W
                                                                                                                                                                                                                        k:
                                                                              [Additional counsel appear on signature page]                                                                                             [w
                                                                                                                                                                                                                        n:
                                                                                                                                                                                                                        %
                                                                                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                                                COUNTY OF SAN MATEO
                                                                                        \
                                                                              VLADI ZAKINOV, Individually and on                                            Case No. l8-CIV-0284S
                                                                              Behalf of All Others Similarly Situated,
                                                                                                                                                            CLASS ACTION
                                                                                                            Plaintiff,
                                                                                                                                                            STIPULATION AND [PROPOSED]
                                                                                      v,                                                                    ORDER CONSOLIDATING RELATED
                                                                                                                                                            ACTIONS AND RELATED MATTERS
                                                                              RIPPLE LABS INC., XRP II, LLC,
                                                                              BRADLEY GARLINGHOUSE, and DOES
                                                                              1—25, Inclusive,                                                              Judge: Richard H. DuBois
NNNMNNNMNHb—db—lD—lb—li—lb—lh—‘D—‘H




                                                                                                                                                            Dept: 16
                                                                                                            Defendants.                                     Date Action Filed: June 5, 2018
                                         OOﬂQM-PWNHOKOOONO‘sUl-bkﬂND—‘O




                                                                                                                              VVVVVVVVVVVVVVVVVVVVVVVVVVV




                                                                                                                          ‘
                                                                              DAVID OCONER, Individually and on                                             Case No. 18-CIV-03332
                                                                              Behalf of All Others Similarly Situated,

                                                                                                             Plaintiff,                                                        153—
                                                                                                                                                                                      (1111—02845
                                                                                                                                                                      l

                                                                                                                                                                           Isiipulation      81   Order
                                                                                      v.                                                                                  ‘.




                                                                                        INC, XRP II, LLC,
                                                                              RIPPLE LABS
                                                                              BRADLEY GARLINGHOUSE, and DOES                                                                   \l\\\\ll\\\\\\\\\\\\\l\\\\l\\\\\\\\\
                                                                              1-25, Inclusive,                                                                                 \fa-r‘
                                                                                                                                                            Judgez:RObert D. Foiles
                                                                                                                                                                                                                ‘
                                                                                                            Defendants.                                     Dept: 21       -.

                                                                                                                                                            Date Action Filed: .Iune. 27, 20l 8:.
                                                                                                                                                                                       ., \:4
                                                                                                                                                                                                           1%




                                                                               STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS'& RELATED MATTERS
 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 233 of 450




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                                  I
                   Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 234 of 450




                              1.        The above-captioned actions pending in this Court (the "Related Actions") make

                       substantially the same allegations against defendant Ripple Labs Inc. ("Ripple" or the

 AWN               ;”Company"), XRP II, LLC, and Bradley Garlinghouse.
                                                                                                                                            ,




                              2.        In an effort to assure consistent rulings and decisions and the avoidance of

                       unnecessary duplication         of effort,   counsel for the respective parties in the Related Actions

                       hereby enter into this Stipulation and [Proposed] Order Consolidating Related Actions and                           1,



                       Related Matters (the "Stipulation").
 \DOOxlChL/t




                              3.        Counsel for the parties to this Stipulation include Robbins Arroyo LLP                              1




               '       ("Robbins Arroyo") and Robbins Geller Rudman & Dowd LLP ("Robbins Geller")                         On   behalf of

10                     plaintiff Vladi Zakinov; Robbins Arroyo on behalf of David Oconer (collectively, "Plaintiffs");                      .




                                                                                                                                           ‘7
11                     'Skadden, Alps, Slate, Meagher          & Flom LLP       and Debevoise      & Plimpton LLP      on behalf     of
12                     defendants Ripple Labs, Inc., XRP II, LLC, and Bradley Garlinghouse (collectively,

13
                   '
                       "Defendants").
                                                                                                                                            I


14                            4.         The parties agree that          it would     be duplicative and wasteful    of   the Court's

15                     resources for Defendants named in the Related Actions to have to respond to the individual

16                     complaints prior to the agreed upon consolidation and in light of the anticipated ﬁling of a                         _




17                     consolidated complaint. Therefore, the parties agree that Defendants need not respond to the

18                     individual complaints that have already been ﬁled in this Court.
19                            5.         On August 8, 2018, the Zakinov action was designated as complex. On August

20                     21, 2018,    it was assigned to the Honorable Richard H. DuBois, Department           16,    for all purposes.
21                     A complex case status conference in the Oconer action is set for August 29, 2018.
22                                                                  4
                                                                        CONSOLIDATION
23                            6.        The following Related Actions are hereby consolidated for all purposes,

24                     including pre-trial proceedings and trial (the "Consolidated Action"):

25                                 Abbreviated Case Name                                Case Number        Date Filed
26                                 Zakinov v. Ripple Labs Inc.                          18-CIV—02845       6/5/2018
27                                 Oconer   v.   Ripple Labs Inc.                       lS-CIV-O3332       6/27/2018

28
                                                                             1- 1 _

                       STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 235 of 450




       H              Every pleading ﬁled in the Consolidated Action, or in any separate action included herein, shall

       N              bear the following caption:

       L93
                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
       4}
                                                              COUNTY OF SAN MATEO
       U1

                      IN RE RIPPLE LABS INC. LITIGATION                      T)
                                                                                    Lead Case No. 18-CIV-02845
       0\

                      {This Document Relates To:
                                                         -    —




                                                                             i      (Consolidated with Case No. 18-CIV-03332)
       ”‘1,

                                                                             g     CLASS ACTION
                                                                             “’3

       GO
                          ALL ACTIONS.
                                                                              )
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                                7.      The ﬁles   of the Consolidated Action shall be maintained in one ﬁle under Master
I--\
       O

                      File No. 18-ClV—02845.
H H


                                8.      Plaintiffs shall either designate   a      complaint as operative or ﬁle a Consolidated
H      N
                      Complaint ("Consolidated Complaint") within 45 days after entry              of this order, unless otherwise
)--x   b)



b—A
       4}
                      agreed upon by the parties.            If   ﬁled, the Consolidated Complaint shall be the operative

                      complaint and shall supersede all complaints ﬁled in any of the actions consolidated herein.
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                      Defendants shall respond to the operative complaint or Consolidated Complaint within 45 days                   .


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                      after service, unless otherwise agreed by the parties.               In the event that Defendants file any
)-‘    \l

                      motions directed at the operative complaint or Consolidated Complaint, the opposition and
)-‘    00


                  3


                      Ereply   briefs shall be ﬁled within 45 and 20 days, respectively,        of the motions,   unless otherwise
i—d
       \D

                      agreed upon by the parties. Counsel agrees to confer to select a hearing date.
NO
                                            APPOINTMENT OF A LEADERSHIP STRUCTURE
NH

                                9.      The Plaintiffs agree that Robbins Arroyo and Robbins Geller shall serve as Co-
[\J N


                      Lead Counsel for Plaintiffs ("Co-Lead Counsel") in the Consolidated Action, and Defendants
N U)                                                                                                                                 i


                      take no position on the Court's appointment                   of   Co—Lead Counsel    for Plaintiffs or the
NA
                  .
                      responsibilities assumed by that Co—Lead Counsel.
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                                10.     Plaintiffs agree that      Co—Lead Counsel shall have sole         authority to speak for    ,




N O\
                      Plaintiffs in matters regarding pro-trial procedure, trial, and settlement and shall make all work             '



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                       STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
                         Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 236 of 450




                          assignments in such manner as to facilitate the orderly and efﬁcient prosecution                  of   the        .




                          Consolidated Action and to avoid duplicative or unproductive effort.
 U)
                                  11.       Plaintiffs agree that CO-Lead Counsel shall be responsible for coordinating all                 ‘




                          activities and appearances on behalf of Plaintiffs. No motion, request for discovery, or other                   i



                          pre—trial or   trial proceedings shall be initiated or ﬁled by any Plaintiff except through Co-Lead

 \OOOQO'xU‘s-P
                          Counsel.

                                  12.       Plaintiffs agree that   Co—Lead Counsel   shall be available and responsible for ‘,
                                                                                                                                                '
                          communications to and from this Court, including distributing orders and other directions from-

                          the Court to counsel, and shall be reSponsible for communication with Defendants' counsel on

10                       matters of case administration and scheduling. Co—Lead Counsel shall further be responsible for:

ll                        creating and maintaining a master service list   of all parties and their respective   counsel.

12                                13.       Defendants' counsel may rely upon all agreements made with Co—Lead Counsel,                    '3




                          or other duly authorized representative of Co—Lead Counsel, and such agreements shall be
                                                                                                                                            :


13

14                        binding on all Plaintiffs.
15'                                                             RELATED MATTERS
16                                14.       This Order shall apply to each case, arising out          of   the same or similar;
                                                                                                                                            '

17                       transactions and/or events as the Related Actions which is currently pending in, subsequently

18‘;                      ﬁled in, remanded to, or transferred to this Court.
19;                               15.       When a case which properly belongs as part         of   the In re Ripple Labs Inc.

                         Litigation, Lead Case No. 18-CIV-02845, is hereafter or has been ﬁled in, remanded to, or
21                        transferred to this Court, counsel for the parties shall call such ﬁling, remand, or transfer to the :

22: attention of the clerk of this Court for purposes of moving the Court for an order consolidating
23' such case(s) with In re Ripple Labs Inc. Litigation, Lead Case No.                              18—CIV—0284S. Counsel        for
24' the parties will further assist in assuring that counsel for the parties in such subsequent
                                                                                                action(s)

25                       receive notice    of this   Order.

26:

27.
                 '

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                                                                           -3-                                                         ‘
                          'STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS &RELATED MATTERS
                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 237 of 450




                         '
                             IT IS SO STIPULATBD.

                DATED:          (8/22/1 ?                           ROBBINS ARROYO LLP
                                                                    BRIAN J. ROBBINS
                                                                    STEPHEN J. QDDO
                                                                    ERIC M.. CA INO

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                                                                ‘      '



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10
                                                                    Proposed Co-Lead Counsel for Plaintiffs and
11
                                                                    Counsel for Plaintiffs Vladi Zakinov and
                                                                    David Oconer
12
                      DATED:   {9/7’3/   1   g                      ROBBINS GELLER RUDMAN
13)                                                         .




                                                                     & DOWD LLP
14

15               §
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16
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                 '                                                  Counsel for Plaintiff Vladi Zakinov
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27
                                                                    Additional counsel for Plaintiff Vladi Zakinov

28
                                                           -4-
                      STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
           Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 238 of 450


           :




                   DATED:      3134/ I g                     SKADDEN, ARPS, SLATE, MEAGHER
                                                              & FLOM LLP
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la)
                                                                         How/f ”7cm”
                                                                        PETERB MORRISON
‘A
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                                                             Virginia F. Milstead
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                                                              & FLOM LLP
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                                                             Mary Jo White (pro hac vice forthcoming)
                                                             Andrew J. Ceresney (pro hac vice
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                                                                    aceresney@debevoise.com
                                                                                                            '


                                                             Counsel for defendants Ripple Labs Inc., XRP
                                                             II, LLC, and Bradley Garlinghouse




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                    STI'PULATION‘ & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS '& RELATED MATTERS       ,
                                                                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 239 of 450




                                                                                                                ORDER
                                      )—-l
                                                                                                                                                                   ‘




                                                                             The above Stipulation Consolidating Related Actions and Related Matters having been

                                                                      considered, and good cause appearing therefore,

                                                                             IT IS SO ORDERED.


                                  \OOOVQUI-BUJN
                                                                      DATED:         5/] 7‘ , / 3’                       HONORABLE‘RICHARD H; DUBOIS’
                                                                                                                         JUDGE OF THE SUPERIOR COURT




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                                                                                                                   —6-
                                                                      STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 240 of 450




                                                            DECLARATION OF SERVICE
                                  I, the undersigned, declare:
                                                                                                                                    '




                                  1.      That declarant is and was, at   all times herein mentioned, a citizen of the United
                                                                                                                                    '


                           States and a resident   of the County of San Diego, over the age of 18   years, and not a party to or

                   interest in the within action; that declarant's business address is 600 B Street, Suite 1900, San

                   Diego, California 92101.
\OOOQO‘tUl-b

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                                  2.      That on August 23, 2018, I served the following document(s):

                                  STIPULATION AND [PRUPOSED] ORDER CONSOLIDATIN G RELATED
                                  ACTIONS AND RELATED MATTERS

                                            By transmitting via facsimile the document(s) listed above to the fax
10                                          number(s) set forth on the attached Service List from fax number (619) 525-
                                            3991 on this date before 5:00 pm. The facsimile transmission was reported as
ll                                          complete and without error.
12'
                                 .lN        By placing the docurnent(s) listed above in a United States mailbox at San
                                            Diego, California In a sealed envelope with postage thereon ﬁilly prepaid and
13                                          addressed to the parties listed on the attached Service List.
14E
                                            By causing the document(s) listed above to be served by a courier service on
                                            the following parties:
15%

16
                                            By depositing in    a box or other facility regularly maintained by UPS, an
                                            express service cairier, or delivered to a courier or driver authorized by said
                                            express service carrier to receive documents, in an envelope designated by the
17
                                            said express service carrier, with delivery fees paid or provided for, addressed
                                            to the parties on the attached Service List.
18
                                            Based on a court order or an agreement of the parties to accept service by e~
191‘;
                                            mail or electronic transmission, I sent the documents described herein to the
                                            persons at the e—mail addresses on the attached service list. I did not receive,
203:
                       1
                                            within a reasonable time after the transmission, any electronic message or
                                            other indication that the transmission was unsuccessful.
21

22'
                                  3.      That there is a regular communication by mail between the place        of mailing and
23             ,
                           the places so addressed.

24             g                  I declare under penalty of perjury under the laws of the       State   of California that   the
                                                                                                                "
25:”foregoing is true and correct. Executed this August 23, 2018,
               ‘
                                                                                           at San   D13
26‘

27..                                                                                      KA THERINE B. SCHEELE
28                     ,




                                                                           -7-
                           STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTTONS & RELATED MATTERS
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 241 of 450


Zakinov v. Ripple Labs Inc., et al., Case No. 18CIV02845;
0coner v. Ripple Labs Inc., et (11., Case No. 18CIV03332

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                                                 Brian 0. O'Mara
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                                                         bcochran@rgrdlaw.com

                                                 Counsel for Plaintiff Vladi Zakinov

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                                                 Counsel for defendants Ripple Labs Inc., XRP
                                                 II, LLC, and Bradley Garlinghouse



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     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 242 of 450




 1 ROBBINS ARROYO LLP
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 2 STEPHEN J. ODDO (174828)
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 6         ecarrino@robbinsarroyo.com
 7 Co-Lead Counsel for Plaintiffs

 8 [Additional counsel appear on signature page]
 9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                  COUNTY OF SAN MATEO
11 IN RE RIPPLE LABS INC. LITIGATION               )   Lead Case No. 18-CIV-02845
                                                   )
12                                                 )   (Consolidated with Case No. 18-CIV-03332)
     This Document Relates To:                     )
13                                                 )   CLASS ACTION
        ALL ACTIONS.                               )
14                                                 )   NOTICE OF ENTRY OF ORDER
                                                   )
15                                                 )   Judge: Hon. Richard H. DuBois
                                                   )   Dept: 16
16                                                 )   Date Action Filed: June 5, 2018
17

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                                    NOTICE OF ENTRY OF ORDER
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 243 of 450




 1 TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2                PLEASE TAKE NOTICE that on August 30, 2018, the Court entered the

 3 Stipulation and Order Consolidating Related Actions and Related Matters, a true and correct

 4 copy of which is attached hereto as Exhibit A.

 5 DATED: August 31, 2018                             ROBBINS ARROYO LLP
                                                      BRIAN J. ROBBINS
 6                                                    STEPHEN J. ODDO
                                                      ERIC M. CARRINO
 7

 8
                                                                  STEPHEN J. ODDO
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14                                                      & DOWD LLP
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                                                              bcochran@rgrdlaw.com
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                                                      Co-Lead Counsel for Plaintiffs
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24
                                                      Additional counsel for Plaintiff Vladi Zakinov
25

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     1292660
27

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                                                    -1-
                                      NOTICE OF ENTRY OF ORDER
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 244 of 450




 1                                  DECLARATION OF SERVICE

 2          I, the undersigned, declare:

 3          1.      That declarant is and was, at all times herein mentioned, a citizen of the United

 4 States and a resident of the County of San Diego, over the age of 18 years, and not a party to or

 5 interest in the within action; that declarant's business address is 600 B Street, Suite 1900, San

 6 Diego, California 92101.

 7          2.      That on August 31, 2018, I served the following document(s):

 8          NOTICE OF ENTRY OF ORDER
 9                    By transmitting via facsimile the document(s) listed above to the fax
                      number(s) set forth on the attached Service List from fax number (619) 525-
10                    3991 on this date before 5:00 p.m. The facsimile transmission was reported as
                      complete and without error.
11
           X          By placing the document(s) listed above in a United States mailbox at San
12                    Diego, California in a sealed envelope with postage thereon fully prepaid and
                      addressed to the parties listed on the attached Service List.
13
                      By causing the document(s) listed above to be served by a courier service on
14                    the following parties:
15                    By depositing in a box or other facility regularly maintained by UPS, an
                      express service carrier, or delivered to a courier or driver authorized by said
16                    express service carrier to receive documents, in an envelope designated by the
                      said express service carrier, with delivery fees paid or provided for, addressed
17                    to the parties on the attached Service List.
18                    Based on a court order or an agreement of the parties to accept service by e-
                      mail or electronic transmission, I sent the documents described herein to the
19                    persons at the e-mail addresses on the attached service list. I did not receive,
                      within a reasonable time after the transmission, any electronic message or
20                    other indication that the transmission was unsuccessful.
21
            3.      That there is a regular communication by mail between the place of mailing and
22
     the places so addressed.
23
            I declare under penalty of perjury under the laws of the State of California that the
24
     foregoing is true and correct. Executed this August 31, 2018, at San Diego, California.
25

26

27                                                                KATHERINE B. SCHEELE

28
                                                   -2-
                                   NOTICE OF ENTRY OF ORDER
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 245 of 450
In re Ripple Labs Inc. Litigation, Lead Case No. 18CIV02845


COUNSEL FOR PLAINTIFFS

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Stephen J. Oddo                              ROBBINS GELLER RUDMAN
Eric M. Carrino                               & DOWD LLP
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COUNSEL FOR DEFENDANTS
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                                             II, LLC, and Bradley Garlinghouse




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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 246 of 450




   EXHIBIT A
                                                                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 247 of 450




                                         b-A
                                                                              ROBBINS ARROYO LLP
                                                                              BRIAN J. ROBBINS (190264)
                                                                              STEPHEN J. ODDO (174828)
                                                                              ERIC M. CARRINO (310765)

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                                                                                       ecarr1no@robbinsarroyo.com
                                                                                                                                                                                                                        I”!
                                                                              Attorneys for Plaintiffs                                                                                                                  3)-
                                                                              Vladi Zakinov and David Oconer
                                                                                                                                                                                                                        W
                                                                                                                                                                                                                        k:
                                                                              [Additional counsel appear on signature page]                                                                                             [w
                                                                                                                                                                                                                        n:
                                                                                                                                                                                                                        %
                                                                                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                                                COUNTY OF SAN MATEO
                                                                                        \
                                                                              VLADI ZAKINOV, Individually and on                                            Case No. l8-CIV-0284S
                                                                              Behalf of All Others Similarly Situated,
                                                                                                                                                            CLASS ACTION
                                                                                                            Plaintiff,
                                                                                                                                                            STIPULATION AND [PROPOSED]
                                                                                      v,                                                                    ORDER CONSOLIDATING RELATED
                                                                                                                                                            ACTIONS AND RELATED MATTERS
                                                                              RIPPLE LABS INC., XRP II, LLC,
                                                                              BRADLEY GARLINGHOUSE, and DOES
                                                                              1—25, Inclusive,                                                              Judge: Richard H. DuBois
NNNMNNNMNHb—db—lD—lb—li—lb—lh—‘D—‘H




                                                                                                                                                            Dept: 16
                                                                                                            Defendants.                                     Date Action Filed: June 5, 2018
                                         OOﬂQM-PWNHOKOOONO‘sUl-bkﬂND—‘O




                                                                                                                              VVVVVVVVVVVVVVVVVVVVVVVVVVV




                                                                                                                          ‘
                                                                              DAVID OCONER, Individually and on                                             Case No. 18-CIV-03332
                                                                              Behalf of All Others Similarly Situated,

                                                                                                             Plaintiff,                                                        153—
                                                                                                                                                                                      (1111—02845
                                                                                                                                                                      l

                                                                                                                                                                           Isiipulation      81   Order
                                                                                      v.                                                                                  ‘.




                                                                                        INC, XRP II, LLC,
                                                                              RIPPLE LABS
                                                                              BRADLEY GARLINGHOUSE, and DOES                                                                   \l\\\\ll\\\\\\\\\\\\\l\\\\l\\\\\\\\\
                                                                              1-25, Inclusive,                                                                                 \fa-r‘
                                                                                                                                                            Judgez:RObert D. Foiles
                                                                                                                                                                                                                ‘
                                                                                                            Defendants.                                     Dept: 21       -.

                                                                                                                                                            Date Action Filed: .Iune. 27, 20l 8:.
                                                                                                                                                                                       ., \:4
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                                                                               STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS'& RELATED MATTERS
 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 248 of 450




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                   Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 249 of 450




                              1.        The above-captioned actions pending in this Court (the "Related Actions") make

                       substantially the same allegations against defendant Ripple Labs Inc. ("Ripple" or the

 AWN               ;”Company"), XRP II, LLC, and Bradley Garlinghouse.
                                                                                                                                            ,




                              2.        In an effort to assure consistent rulings and decisions and the avoidance of

                       unnecessary duplication         of effort,   counsel for the respective parties in the Related Actions

                       hereby enter into this Stipulation and [Proposed] Order Consolidating Related Actions and                           1,



                       Related Matters (the "Stipulation").
 \DOOxlChL/t




                              3.        Counsel for the parties to this Stipulation include Robbins Arroyo LLP                              1




               '       ("Robbins Arroyo") and Robbins Geller Rudman & Dowd LLP ("Robbins Geller")                         On   behalf of

10                     plaintiff Vladi Zakinov; Robbins Arroyo on behalf of David Oconer (collectively, "Plaintiffs");                      .




                                                                                                                                           ‘7
11                     'Skadden, Alps, Slate, Meagher          & Flom LLP       and Debevoise      & Plimpton LLP      on behalf     of
12                     defendants Ripple Labs, Inc., XRP II, LLC, and Bradley Garlinghouse (collectively,

13
                   '
                       "Defendants").
                                                                                                                                            I


14                            4.         The parties agree that          it would     be duplicative and wasteful    of   the Court's

15                     resources for Defendants named in the Related Actions to have to respond to the individual

16                     complaints prior to the agreed upon consolidation and in light of the anticipated ﬁling of a                         _




17                     consolidated complaint. Therefore, the parties agree that Defendants need not respond to the

18                     individual complaints that have already been ﬁled in this Court.
19                            5.         On August 8, 2018, the Zakinov action was designated as complex. On August

20                     21, 2018,    it was assigned to the Honorable Richard H. DuBois, Department           16,    for all purposes.
21                     A complex case status conference in the Oconer action is set for August 29, 2018.
22                                                                  4
                                                                        CONSOLIDATION
23                            6.        The following Related Actions are hereby consolidated for all purposes,

24                     including pre-trial proceedings and trial (the "Consolidated Action"):

25                                 Abbreviated Case Name                                Case Number        Date Filed
26                                 Zakinov v. Ripple Labs Inc.                          18-CIV—02845       6/5/2018
27                                 Oconer   v.   Ripple Labs Inc.                       lS-CIV-O3332       6/27/2018

28
                                                                             1- 1 _

                       STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 250 of 450




       H              Every pleading ﬁled in the Consolidated Action, or in any separate action included herein, shall

       N              bear the following caption:

       L93
                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
       4}
                                                              COUNTY OF SAN MATEO
       U1

                      IN RE RIPPLE LABS INC. LITIGATION                      T)
                                                                                    Lead Case No. 18-CIV-02845
       0\

                      {This Document Relates To:
                                                         -    —




                                                                             i      (Consolidated with Case No. 18-CIV-03332)
       ”‘1,

                                                                             g     CLASS ACTION
                                                                             “’3

       GO
                          ALL ACTIONS.
                                                                              )
                                                                             ,.)
       KO


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                                7.      The ﬁles   of the Consolidated Action shall be maintained in one ﬁle under Master
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       O

                      File No. 18-ClV—02845.
H H


                                8.      Plaintiffs shall either designate   a      complaint as operative or ﬁle a Consolidated
H      N
                      Complaint ("Consolidated Complaint") within 45 days after entry              of this order, unless otherwise
)--x   b)



b—A
       4}
                      agreed upon by the parties.            If   ﬁled, the Consolidated Complaint shall be the operative

                      complaint and shall supersede all complaints ﬁled in any of the actions consolidated herein.
r—-\
       (J!


                      Defendants shall respond to the operative complaint or Consolidated Complaint within 45 days                   .


)—-t   O\


                      after service, unless otherwise agreed by the parties.               In the event that Defendants file any
)-‘    \l

                      motions directed at the operative complaint or Consolidated Complaint, the opposition and
)-‘    00


                  3


                      Ereply   briefs shall be ﬁled within 45 and 20 days, respectively,        of the motions,   unless otherwise
i—d
       \D

                      agreed upon by the parties. Counsel agrees to confer to select a hearing date.
NO
                                            APPOINTMENT OF A LEADERSHIP STRUCTURE
NH

                                9.      The Plaintiffs agree that Robbins Arroyo and Robbins Geller shall serve as Co-
[\J N


                      Lead Counsel for Plaintiffs ("Co-Lead Counsel") in the Consolidated Action, and Defendants
N U)                                                                                                                                 i


                      take no position on the Court's appointment                   of   Co—Lead Counsel    for Plaintiffs or the
NA
                  .
                      responsibilities assumed by that Co—Lead Counsel.
[\J U!


                                10.     Plaintiffs agree that      Co—Lead Counsel shall have sole         authority to speak for    ,




N O\
                      Plaintiffs in matters regarding pro-trial procedure, trial, and settlement and shall make all work             '



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                                                                           -2-‘
                       STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
                         Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 251 of 450




                          assignments in such manner as to facilitate the orderly and efﬁcient prosecution                  of   the        .




                          Consolidated Action and to avoid duplicative or unproductive effort.
 U)
                                  11.       Plaintiffs agree that CO-Lead Counsel shall be responsible for coordinating all                 ‘




                          activities and appearances on behalf of Plaintiffs. No motion, request for discovery, or other                   i



                          pre—trial or   trial proceedings shall be initiated or ﬁled by any Plaintiff except through Co-Lead

 \OOOQO'xU‘s-P
                          Counsel.

                                  12.       Plaintiffs agree that   Co—Lead Counsel   shall be available and responsible for ‘,
                                                                                                                                                '
                          communications to and from this Court, including distributing orders and other directions from-

                          the Court to counsel, and shall be reSponsible for communication with Defendants' counsel on

10                       matters of case administration and scheduling. Co—Lead Counsel shall further be responsible for:

ll                        creating and maintaining a master service list   of all parties and their respective   counsel.

12                                13.       Defendants' counsel may rely upon all agreements made with Co—Lead Counsel,                    '3




                          or other duly authorized representative of Co—Lead Counsel, and such agreements shall be
                                                                                                                                            :


13

14                        binding on all Plaintiffs.
15'                                                             RELATED MATTERS
16                                14.       This Order shall apply to each case, arising out          of   the same or similar;
                                                                                                                                            '

17                       transactions and/or events as the Related Actions which is currently pending in, subsequently

18‘;                      ﬁled in, remanded to, or transferred to this Court.
19;                               15.       When a case which properly belongs as part         of   the In re Ripple Labs Inc.

                         Litigation, Lead Case No. 18-CIV-02845, is hereafter or has been ﬁled in, remanded to, or
21                        transferred to this Court, counsel for the parties shall call such ﬁling, remand, or transfer to the :

22: attention of the clerk of this Court for purposes of moving the Court for an order consolidating
23' such case(s) with In re Ripple Labs Inc. Litigation, Lead Case No.                              18—CIV—0284S. Counsel        for
24' the parties will further assist in assuring that counsel for the parties in such subsequent
                                                                                                action(s)

25                       receive notice    of this   Order.

26:

27.
                 '

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                     ‘
                                                                           -3-                                                         ‘
                          'STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS &RELATED MATTERS
                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 252 of 450




                         '
                             IT IS SO STIPULATBD.

                DATED:          (8/22/1 ?                           ROBBINS ARROYO LLP
                                                                    BRIAN J. ROBBINS
                                                                    STEPHEN J. QDDO
                                                                    ERIC M.. CA INO

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                                                                ‘      '



                                                                            (’   S       'EPiIbNTODDO
                                                                                     '

                                                                    600 B Smelt\ Bite/51900
                                                                    San Diego (3"    2101
                                                                    Telephone. (619) 525- 3990
                                                                    Facsimile. (619) 525- 3991
                                                                    E-mail: brobbins@robbinsarroyo.com
                                                                            soddo@robbinsarroyo.com
                                                                            ecarrino@robbinsarroyo.com
10
                                                                    Proposed Co-Lead Counsel for Plaintiffs and
11
                                                                    Counsel for Plaintiffs Vladi Zakinov and
                                                                    David Oconer
12
                      DATED:   {9/7’3/   1   g                      ROBBINS GELLER RUDMAN
13)                                                         .




                                                                     & DOWD LLP
14

15               §
                                                                            BRIAN o, osMAgA (229737)
                 '.

16
                                                                    DAVID C. WALTON (167268)
17
                                                                    BRIAN E. COCHRAN (286202)
                                                                    655 West Broadway, Suite 1900
18'                                                                 San Diego, CA 92101
                                                                    Telephone: (619) 231-1058
                                                                    Facsimile: (619) 23 1-7423
19
                                                                    E—mail: davew@rgrdlaw.com
20                                                                          bomara@rgrdlaw.com
                                                                            bcochran@rgrdlaw.com
21
                                                                    Pr0posed Co—Lead Counsel for Plaintiffs and
                 '                                                  Counsel for Plaintiff Vladi Zakinov
22

23               .
                                                                    SHAWN A. WILLIAMS (2131 13)
                                                                    Post Montgomery Center
                                                                    One Montgomery Street, Suite 1800
24"                                                                 San Francisco, CA 94104
                                                                    Telephone: (415) 288-4545
25
                                                                    Facsimile: (415) 288-4534
                                                                    E-mail: shawnw@rgrdlaw.com
26f
27
                                                                    Additional counsel for Plaintiff Vladi Zakinov

28
                                                           -4-
                      STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
           Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 253 of 450


           :




                   DATED:      3134/ I g                     SKADDEN, ARPS, SLATE, MEAGHER
                                                              & FLOM LLP
N


la)
                                                                         How/f ”7cm”
                                                                        PETERB MORRISON
‘A
                                                             Peter B. Morrison
                                                             Virginia F. Milstead
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                                                             Mary Jo White (pro hac vice forthcoming)
                                                             Andrew J. Ceresney (pro hac vice
                                                             forthcoming)
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                                                                    aceresney@debevoise.com
                                                                                                            '


                                                             Counsel for defendants Ripple Labs Inc., XRP
                                                             II, LLC, and Bradley Garlinghouse




               w




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                    STI'PULATION‘ & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS '& RELATED MATTERS       ,
                                                                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 254 of 450




                                                                                                                ORDER
                                      )—-l
                                                                                                                                                                   ‘




                                                                             The above Stipulation Consolidating Related Actions and Related Matters having been

                                                                      considered, and good cause appearing therefore,

                                                                             IT IS SO ORDERED.


                                  \OOOVQUI-BUJN
                                                                      DATED:         5/] 7‘ , / 3’                       HONORABLE‘RICHARD H; DUBOIS’
                                                                                                                         JUDGE OF THE SUPERIOR COURT




MMMNNNNNNHr—awr—Ap—Ir—A—t—ay—AH




                                    Wumm-P‘J-‘Nb‘OOOOQO’xUI-h-WNHO




                                                                                                                   —6-
                                                                      STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 255 of 450




                                                            DECLARATION OF SERVICE
                                  I, the undersigned, declare:
                                                                                                                                    '




                                  1.      That declarant is and was, at   all times herein mentioned, a citizen of the United
                                                                                                                                    '


                           States and a resident   of the County of San Diego, over the age of 18   years, and not a party to or

                   interest in the within action; that declarant's business address is 600 B Street, Suite 1900, San

                   Diego, California 92101.
\OOOQO‘tUl-b

                   A




                                  2.      That on August 23, 2018, I served the following document(s):

                                  STIPULATION AND [PRUPOSED] ORDER CONSOLIDATIN G RELATED
                                  ACTIONS AND RELATED MATTERS

                                            By transmitting via facsimile the document(s) listed above to the fax
10                                          number(s) set forth on the attached Service List from fax number (619) 525-
                                            3991 on this date before 5:00 pm. The facsimile transmission was reported as
ll                                          complete and without error.
12'
                                 .lN        By placing the docurnent(s) listed above in a United States mailbox at San
                                            Diego, California In a sealed envelope with postage thereon ﬁilly prepaid and
13                                          addressed to the parties listed on the attached Service List.
14E
                                            By causing the document(s) listed above to be served by a courier service on
                                            the following parties:
15%

16
                                            By depositing in    a box or other facility regularly maintained by UPS, an
                                            express service cairier, or delivered to a courier or driver authorized by said
                                            express service carrier to receive documents, in an envelope designated by the
17
                                            said express service carrier, with delivery fees paid or provided for, addressed
                                            to the parties on the attached Service List.
18
                                            Based on a court order or an agreement of the parties to accept service by e~
191‘;
                                            mail or electronic transmission, I sent the documents described herein to the
                                            persons at the e—mail addresses on the attached service list. I did not receive,
203:
                       1
                                            within a reasonable time after the transmission, any electronic message or
                                            other indication that the transmission was unsuccessful.
21

22'
                                  3.      That there is a regular communication by mail between the place        of mailing and
23             ,
                           the places so addressed.

24             g                  I declare under penalty of perjury under the laws of the       State   of California that   the
                                                                                                                "
25:”foregoing is true and correct. Executed this August 23, 2018,
               ‘
                                                                                           at San   D13
26‘

27..                                                                                      KA THERINE B. SCHEELE
28                     ,




                                                                           -7-
                           STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTTONS & RELATED MATTERS
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 256 of 450


Zakinov v. Ripple Labs Inc., et al., Case No. 18CIV02845;
0coner v. Ripple Labs Inc., et (11., Case No. 18CIV03332

COUNSEL FOR PLAINTIFF S

Brian J. Robbins                                 Shawn A. Williams
Stephen J. Oddo                                  ROBBINS GELLER RUDMAN
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                                                 Brian 0. O'Mara
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                                                         bcochran@rgrdlaw.com

                                                 Counsel for Plaintiff Vladi Zakinov

COUNSEL FOR DEFENDAN TS

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Virginia F. Milstead                             SKADDEN, ARPS, SLATE, MEAGHER
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Los Angeles, CA 90071                            Telephone: (650) 470—4500
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       Virginia.milstead@skadden.com             Mary J 0 White
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                                                 Email: mjwhite@debevoise.com
                                                        aceresney@debevoise.com

                                                 Counsel for defendants Ripple Labs Inc., XRP
                                                 II, LLC, and Bradley Garlinghouse



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                 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 257 of 450




                          18   — ClV—02845                            '




                          NCCSC                                        1                                     0C   .I




                          Notice of Complex Case Status Conference
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                                          Illllllllllllﬂ




                                     IN      THE SUPERIOR COURT OF THE STATE OF CALIFO
                                                   IN   AND FOR THE COUNTY OF SAN MATEO
 \OOOQQ




10                                                                                    Case No. 18CIV 02845
          IN   RE RIPPLE LABS                INC. LITIGATION
11                                                                                    Consolidated with 18CIV03332

12                                                                                    NOTICE OF COMPLEX CASE
                                                                                      MANAGEMENT CONFERENCE
13                                                                                    AND CASE MANAGEMENT ORDER NO.                          1
          This document relates              to:

14                                                                                    Date:     11-09-201 8
               ALL ACTIONS                                                            Time:     2:00 p.m.
15                                                                                    Dept:     Hon. Richard H. DuBois
                                                                                                Dept. 16
16

17                Pursuant to the Order entered by the Presiding Judge Susan Irene Etezadi, these complex actions

18        were single assigned to Department 16 of this Court before the Honorable Richard H. DuBois.

19                These actions were consolidated by order of the court dated August 30, 2018.

20                IT Is   HEREBY ORDERED as follows:
21                1.   PLAINTIFF(S)                AND/OR CROSS—COMPLAINANT(S) SHALL SERVE A COPY OF THIS
22                     ORDER UPON ALL PARTIES, OR THEIR DESIGNATED COUNSEL, WHO HAVE NOT
23                     YET APPEARED IN THIS CASE, and ﬁle a proof of service.
24                     A11 pleadings, motions, applications, briefs, and any and                    all   other papers in this case shall be


25                     ﬁled With (and related ﬁling fees paid to) the Civil Clerk's Ofﬁce located                      at Hall   of Justice, 400

26                     County Center,              First Floor,      Room A, Redwood City,     California.


27                     A11 motions and briefs shall conform with the California Rules of Court, especially rule 3.1 1 13,

28                     and indicate on the caption page that                  this matter is   "Assigned for All Purposes to Dept. 16."


                  Case No. 18CIV 02845
             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 258 of 450



                   DO NOT FAX COPIES OR CORRESPONDENCE TO DEPARTMENT                                                  16,   AS THERE    IS


                   NO DEDICATED FAX LINE.
                   Two     sets   of courtesy copies of any such ﬁling shall be stamped "Judge's Copy" and delivered

                   on the date of ﬁling directly           t0    Department 16 located       at   400 County Center, Courtroom 7A,

                   Redwood                                             DO NOT LEAVE THE JUDGE’S COPY                         IWITH THE
                                   City, California 94063.

                   CLERK’S OFFICE.              A11 exhibits must be separated by exhibit tabs. (See,                 e.g., Cal.   Rules of

                                                                                                                                     CD or
\OOOQONUI#




                   Court, rule 3.1110(f).) Courtesy copies 0f any electronic exhibits Shall be submitted on

                   DVD      in conformity with the requirements of California Rules                       of Court, rules 2.256(b) and

                   3.1 1 10(f)(4).


10           3.    As to any and all motions or other matters requiring a hearing, the hearing date shall be obtained

11                 directly   from and approved by Department‘16                 at (650)   261-51 16 (and not with the Civil Clerk’s

12                 Ofﬁce    o'r   the Research Attorney), prior to ﬁling the            moving papers or other initial        ﬁlings.


13           4.    Ex parte       applications in this action shall be heard         by Department 16        only.   Department 16 does

14                 not have a set day and time to hear ex parte applications.                         A   date to present any ex parte


15                 application shall be obtained directly from Department 16 in accordance with Paragraph 2,


16                 supra.     This requirement neither modiﬁes nor abrogates any notice or service requirements.

17                 (Cal.   Rules of Court, rules 3.1203, 3.1206.)

18           5.‘   As to any discovery motion, the parties are relieved of the                    statutory obligation under California


19                 Rules of       Com,      rule 3.1345,   and thus need not ﬁle a separate stétement — instead the subject

20                 discovery requests (or deposition questions) and written responses (or deposition answers or

21                 objections)      must be attached       to‘the supporting declaration          on the discovery motion.

22           6.    Given. the nature of this case, the Court Views document production and depositions as the most


23                 effective      means of discovery for adjudication. Accordingly, no party may propound more than

24                 35 special interrogatories        total     and no party may propound more than 35 requests for admissions

25                 (other than as t0 the authenticity of documents) total, Withoﬁt prior court order after


26                 demonstration of need and a showing that other means of discovery would be less efﬁcient.

27           7.    In regard to      all   discovery disputes, counsel for the parties (and any involved third parties) shall

28                 meet and confer on any and                  all   discovery disputes and, if there are remaining disputes, then


             Case No. l8CIV 02845                                            2
             CASE MANAGEMENT ORDER NO.                     1
                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 259 of 450



                          counsel for each side shall serve on each other and mail/deliver directly to Department 16 a

                          short letter brief setting forth the dispute and attaching as tabbed exhibits to the letter the subj ect


                          discovery requests and discovery responses               (if any).    At the time or prior to submitting the letter

                          briefs,   counsel for the parties shall also schedule a discovery conference with the Court to occur

     OOQO\Ul-hU-)N




                          no sooner than ﬁve court days            after delivery      of the   last letter brief to the Court, in order to


                          discuss     the    dispute.      THE DISCOVERY DISPUTE LETTER BRIEFS AND THE
                          DISCOVERY CONFERENCE SHALL BE DONE WELL PRIOR TO THE STATUTORY
                          DEADLINES FOR FILING OF ANY MOTION TO COMPEL OR OTHER DISCOVERY
     \O                   MOTION. No discovery motion may be ﬁled by any party unless and until there is compliance
'



    10                    with the requirement of this Order,          i.e., (i)   substantive meet and confer,          (ii)   exchange of letter

    11                    briefs,   and   (iii)   discovery conference with the Court. This requirement does not constitute an

    12                    extension of time for any statutory time period for ﬁling and serving any motion under the Civil

    13                    Discovery Act.           When   motions are ﬁled for hearing before the court, the court will post a

    14                    tentative ruling        on the Court’s website,   at least      one day prior to the hearing, under “Special Set

    15                    Matters Tentative Rulings”.

    16               8.   Pursuant to California Rules of Court, rule 3.1113(i), Department 16, does not require any

    17                    appendix of non—California          authorities, unless speciﬁcally stated           by the Court      as to a particular

    18                    motion.

    19               9.   The   initial     Case Management Conference               is    set for     November   9,    2018     at   2:00 p.m.v in

    20                    Department        16.     Counsel for    all parties shall       meet and confer on          all   matters set forth in

    21                    California Rules of Court, rules 3.750 and 3.724(8).                    Attendance    at said      conference by court

    22                    call is   approved unless a speciﬁc order to the contrary               is   ﬁade.

    23

    24

    25

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                     Case No. 18CIV 02845                                     3
                     CASE MANAGEIMENT ORDER NO.                1
           Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 260 of 450



            10. In anticipation     of the Case Management Conference, counsel for the parties should be prepared

 N                 to discuss at the hearing       and ﬁle a joint written case management conference statement               (in
              7‘




                   prbse and details, not using the standardized Judicial Councilform) with one courtesy copy

                   delivered directly to Department 16 on or before five court days prior to the conference which

                   shall address at least the following:


                      a.         Status of the Pleadings            and service of process;

                      b.         Whether there     are       any related actions in another forum or venue;

                      c.         Any pro hac vice applications;

                      d.         Anticipated discovery and proposed brieﬁng schedule for any anticipated demurrer

10                               or other motion regarding the pleadings

11                    e.         Status of Discovery, including the initial production of documen-ts           by all parties, and

12                               deposition of the Plaintiff;

13                    f.         Proposal regarding any ﬁlrther consolidation of cases;

14                    g.         Proposed hearing dates and brieﬁng schedule on Motion for Class Certiﬁcation, and

15                               what speciﬁc discovery is needed before ﬁling the motion and/or opposition;

16                    h.         Status of Settlement or Mediation;

                             '




17                    i.         Any other anticipated motions and proposed brieﬁng schedule;
18                    j.         Setting of next   CMC date; and
19                    k.         Any other matters           for   which the parties seek Coﬁrt rul'ing or scheduling.

20

21

22    Dated: [6    v)? "Zﬁ/ﬁ/            B
                                              430th H. pulsars
                                                              IW         [


.23
                                                   JUDGE OF THE SUPERIOR COURT
24

25

26

27

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           Case No. 18CIV 02845                                              4
           CASE MANAGEMENT ORDER NO.                     1
                         Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 261 of 450
                                             SUPERIOR COURT OF SAN MATEO COUNTY
                                                         Civil Department

                                             400 County Center, Redwood City, CA 94063
                                                                 (650) 261-5100
                                                          www.sanmateocourtﬂrg
                                                                                                                                                FEEEB
                                                                                                                                   SAN MATEO COU                1
                                                          AFFIDAVIT OF MAILING

Date: 10/19/2018


ln   the Matter     of:    VLADl ZAKINOV,   et. al. vs.   RIPPLE LABS |NC.,   et. al.                                        By
Case No.: 18-ClV-02845




to the following:


Executed on: 10/19/2018




                                                           By:
                                                                  Andrea Daley, Deputy Clerk
                                                                                                            -




Cogies Mailed To:



                                                                                                                             ’
       BRIAN   J.   ROBBINS
       STEPHEN       J.   ODDO                                                                                                         ‘




       600 B STREET, SUITE 1900
       SAN DIEGO, CA 92101

       SHAWN        A.    WILLIAMS
                    RUDMAN & DOWD LLP
       ROBBINS, GELLER,
       POST MONTGOMERY CENTER
       ONE MONTGOMERY STREET, SUITE 1800
       SANFRANCISCO;CA 94104                                                                                                                    x
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       BRIAN O'MARA
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       PETER   B.    MORRISON
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       PALO ALTO, CA 94301



                                                                                                                                                        Rev. Jun. 2016
            Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 262 of 450



    MARY JO WHITE
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    919 THIRD AVENUE
N   NEW YORK, NY 10022




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                        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 263 of 450


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                                                                                                       SAN MATEO COUNTY
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                                    IN   THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                               IN AND   FOR THE COUNTY OF SAN MATEO




10                                                                                    Case No. 18CIV 02845
               IN   RE RIPPLE LABS       INC. LITIGATION
11                                                                                    Consolidated with 18CIV03332

12                                                                                    NOTICE OF CONTINUANCE OF COMPLEX
                                                                                      CASE MANAGEMENT CONFERENCE
13
               This document relates     to:

14                                                                                    Date:   11-16-201 8»
                    ALL ACTIONS                                                       Time:    10:30 a.m.
15                                                                                    Dept:   Hon. Richard H. DuBois
                                                                                              Dept. 16
16

17                      The Case Management Conference currently set for November                                            9,   2018




                                                               WMW
18             is continued to November l6,                   2018 at 10:30 a.m. in Department l6.

19.


20             Dated:     lﬂ'lq'zpig/By:
                                                        Ric’hard H. DuBo‘lis/
21                                                      JUDGE OF THE SUPERIOR COURT
22

23

                                                              18 — GIV— 02845
24                                                            NOON
                                                              Notice of Continuance
                                                              14
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                        Case No. 18CIV 02845
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 264 of 450
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 265 of 450
       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 266 of 450



 1                                         PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3        I am employed in the county of Los Angeles, State of California. I am over the age of 18
   and not a party to the within action; my business address is 300 S. Grand Avenue, Los Angeles,
 4 California 90071. My email address is candice.spoon@skadden.com.

 5 On October 25, 2018 I served the documents described as:

 6                                    NOTICE OF RELATED CASE
   on the interested parties in this action addressed as follows:
 7
   BRIAN J. ROBBINS                                 David C. Walton
 8 brobbins@robbinsarroyo.com                       Brian 0. O'Mara
   STEPHEN J. ODDO                                  Brian E. Cochran
 9 soddo@robbinsarroyo.com                          ROBBINS GELLER RUDMAN
   ERIC M. CARRINO                                  & DOWD LLP
10 ecarrino@robbinsarroyo.com                       655 West Broadway, Suite 1900
   ROBBINS ARROYO LLP                               San Diego, CA 92101
11 600 B  Street, Suite 1900                        Telephone: (619) 231-1058
   San Diego, CA 92101                              Facsimile: (619) 231-7423
12 Telephone:      (619) 525-3990                   E-mail: davew@rgrdlaw.com
   Facsimile:      (619) 525-3991                   bomara@rgrdlaw.com
13                                                  bcochran@rgrdlaw.com
   Attorneys for Plaintiffs Vladi Zakinov and
14 David Oconer                                     Attorneys for Plaintiff Vladi Zakinov

15 Shawn A. Williams                               Andrew J. Ceresney
   ROBBINS GELLER RUDMAN                           aceresney@debevoise.com
16 & DOWD LLP                                      Mary Jo White
   Post Montgomery Center                          mjwhite@debevoise.com
17 One Montgomery Street, Suite 1800               DEBEVOISE & PLIMPTON LLP
   San Francisco, CA 94104                         919 Third Avenue
18 Telephone: (415) 288-4545                       New York, New York 10022
   Facsimile: (415) 288-4534                       Telephone: (212) 909-6000
19 E-mail: shawnw@rgrdlaw.com                      Facsimile: (212) 909-6836

20 Attorneys for Plaintiff Vladi Zakinov           Attorneys for Defendants
                                                   Ripple Labs Inc., XRP II, LLC, and Bradley
21                                                 Garlinghouse

22
     SCOTT+SCOTT ATTORNEYS AT LAW                  SCOTT+SCOTT ATTORNEYS AT LAW LLP
23   LLP                                           Thomas L. Laughlin, IV
     John T. Jasnoch                               Rhiana L. Swartz
24   600 W. Broadway, Suite 3300                   The Helmsley Building
     San Diego, CA 92101                           230 Park Avenue, 17th Floor
25   Telephone: 619-233-4565                       New York, NY 10169
     Facsimile: 619-233-0508                       Telephone: 212-223-6444
26   jjasnoch@scott-scott.com                      Facsimile: 212-223-6334

27 Attorneys for Plaintiff – Avner Greenwald       Attorneys for Plaintiff - Avner Greenwald

28           ☒       (BY FEDERAL EXPRESS) I am readily familiar with the firm's practice for the
     daily collection and processing of correspondence for deliveries with the Federal Express delivery
     service and the fact that the correspondence would be deposited with Federal Express that same
                                                      2
                                             PROOF OF SERVICE
        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 267 of 450



 1 day in the ordinary course of business; on this date, the above-referenced document was placed for
   deposit at Los Angeles, California and placed for collection and delivery following ordinary
 2 business practices.

 3           I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct.
 4
     Executed on October 25, 2018 at Los Angeles, California.
 5

 6          Candice Spoon
            PRINT NAME                                                    SIGNATURE
 7

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                       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 268 of 450


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                                  Order
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                                           IN THE SUPERIOR COURT OF                          THE STATE OF CALIFORNIA
  \OOOQQU‘I



                                                       IN   AND FOR THE COUNTY OF SAN MATEO




10            AVNER GREENWALD, individually and on behalf
              Of all   others similarly situated,
411                                                                                              Case No. 18 CIV 03461
                                    Plaintiff,                                                   CLASS ACTION
 12
                        vs.                                                                      ORDER DEEMING CA E RELATED AND
 13                                                                                              CONSOLIDATING AC ION INTO MASTER
                                                                                                 FILE NO. 18CIV02845
 14           RIPPLE LABS INC.                et a1.


 15                                 Defendants,                                                  Dept: Hon. Richard H. DuBois
                                                                                                        Dept. 16
 16

 17                     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                        The Master           File.   consolidated class action cases, 18CIV02845, were previously designated as
 18

 19           complex and         single assigned to         Department            16,   Honorable Richard DuBois.
                                                                                                                                           ‘     k




20                      On    October 25, 2018, Defendant Ripple Labs Inc. in 18CIV03461, a putative class action, ﬁled a

21            Notice. of Related Case, indicating that the action is related t0 In re Ripple                       Labs Inc Litigation, Master ﬁle
                                                                                                                             '




22            No. 18CIV02845.

23                      Accordingly, IT IS             HEREBY ORDERED AS 'FOLLOWS:
24                      1.              Notice of Related Case having been ﬁled and‘served, and no opposition or objegtion ﬁled

25            and served, the case of Greenwald                       vs.   Ripple Labs Inc 18C1V03461      is   deemed   “related” to the pending


26            consolidated class actions entitled In re Ripple Labs Inc Litigation, Master ﬁle No. 18CIV02845.

27                      2.               Pursuant to the order in Master File No. 18CIV02845 consolidating related class actions,

 28           and having been pfeviously assigned for                        all   purposes to Department 16, the case of Greenwald vs. Ripple


                       Case No. 18         CIV 03461
                              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 269 of 450




                Labs Inc 18CIV03461                   is   ordered   CONSOLIDATED as part of Master File No.          18CIV02845.

                              3.          Accordingly, any       Complex        Status Conference or Case    Management Conference previously

                set for       18CIV03461         is   VACATED. The Case Management Conference in the Master ﬁle set for Noxémber
     hm

                16,   2018         at   10:30   am.   in   Department 16       shall   remain on calendar.




     KOOOQO‘x
                Dated:
                                        ‘ﬁﬁ‘téﬁh   m3          By=
                                                                     J
                                                                         ﬂj/
                                                                         Richard H. DuBois
                                                                         JUDGE OF THE SUPERIOR COURT


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                              Case No. 18 CIV 03461                                          2
                              CASE MANAGEIMENT ORDER NO.                   1
                         Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 270 of 450
                                          SUPERIOR COURT 0F SAN MATEO COUNTY
                                                       Civil Department

                                           400 County Center, Redwood City, CA 94063
                                                             (650) 261-5100                                       F E E4 E.'
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                                                     www.sanmateocourt.org                                  SAN MATEO

                                                    AFFIDAVIT OF MAILING

Date: 11/1/2018


ln   the Matter     of:    AVNER GREE.NWALD   vs.   RlPPLE LABS, lNC., a Delaware Corporation, et                 al

Case No.2 18—ClV-03461



boxat Redwéod City, a true copy of the attached document(s) ORDER DEEMING CASE RELATED AND
CONSOLIDATING ACTION INTO MASTER FILE NO. 18ClV02845, enclosed in an envelope, with proper and nec
postage thereon, and addressed to the following:


Executed on: 11/1/2018




                                                       By:



Cogies Mailed To:


       BRIAN   J.   ROBBINS
       STEPHEN       J.   ODDO
       600 B STREET, SUITE 1900
       SAN DIEGO, CA 92101

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       SAN FRANCISCO, CA 94104

       BRIAN O'MARA
       ROBBINS, GELLER,          RUDMAN & DOWD      LLP
       655   WEST BROADWAY,          SUITE 1900                                              .
                                                                                                 m_cw—uam                      v




       SAN DIEGO, CA 92101                                                                       AF!“
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                                                                                                 1468990
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                                                                                                                               '




       PETER   B.    MORRISON                                                        {




       SKADDEN, ARPs, SLATE, MEAGHER & FLOM LLP                                      I




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       LOS ANGELES, CA 90071


       JOHN NEUKOM
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       PALO ALTO, CA 94301




                                                                                                                          Rev. Jun. 2016
             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 271 of 450

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    JOHN T. JASNOCH
‘

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    THOMAS   L.LAUGHLIN,   |V

    RHIANA L. SWAR'IZ
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    NEW YORK, NY 10169




                                                                              Rev. Jun.   2016
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 272 of 450




           EXHIBIT H
                                                   Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 273 of 450
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               600 B Street; SuiIIi 1900                                                                                                                                                                                                                                                                     5E
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              Oooner v; RIppie Labs 1110., et                                                         a1                                                                                                                                                                                                                                                 5




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                  .3                         Fraud (16)                                                                                                                                                              3:.
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                                                                                                                           5:-
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                                                                                                                                                                                                                                           Miscellaneous Civil Petition                                                    »

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                  Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 274 of 450




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                   Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 275 of 450




            ROBBINS ARROYO LLP
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            BRIAN J ROBBINS (190264)
          :9;
          2 STEPHEN} ODDO(174828)
            ERICM CARR1NO(310765)
          35 GOOBStreet, 3111:9190                     i
             ‘
               San Diggp; CA 92101
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         ‘49 Telephonéy: "(619) 525-3990
"
         33,3 Facsimile: (619) 5253-3991
          5     E-mall brobbmsCmbbmsarroyo com?
                               soddo@robbmsarroyo c‘om
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             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 281 of 450




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                       See Jay Clayton, Statement on Cryptocurrencres and InitiaI Com Qﬁermgs SEC (Dec                                               ll, 2017)

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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 300 of 450




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                 COMPLAINT FQR VIOLATIONS OF CALIFORNIA LAW
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 301 of 450




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    "fact=¢omrn§n.tdzthetﬂlassfarc‘3:




                                               FIRST CAUSE OF ACTION

                     :‘AEor: Violation     of §§25110 and 25503 of the Corporatlons
                                                                       “““
                                                                                    Code}:
                                                 Agamst All Defendants




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    unlawful for any person to offer or sell m this state any secunty in an Issuer transacuon           unless sucl;



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                              COMPLAINT FOR VIOLATIONS OF CALIFORNIA LAW
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 302 of 450




                                     SECOND CAUSE OF ACTION

                        For2V101atlon      of §25504 of the Corporatlons Code
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                         COMPLAINT FOR VIOLATIONS OF CALIFORNIA LAW
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 303 of 450




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    proper

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                                        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 304 of 450




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                                                                   NOTICE OF CASE MANAGEMENT




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                        hereby given notice of your Case Management Conference.

                    In accordance with applicable California Rules



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                                  .Ssrye.
                                  the complaint
                                  Serve
                                  action.
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                                                                                  The date, time and department

                                                                   ofthe Court and local Rules 2.3(d)1-4 and




                                                copy of this notice, Case Management Statement and


                                  File and serve a completed Case Management
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                                                                                                                                         2018



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                                                                                                             2.3(m), you are hereby ordered

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                                                                                                                                                                 Date:

                                                                                                                                                     Time 9:00 a.m,




                                                                                                                                 named parties in this
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                   ‘wer,
                                                                                Statement at least 15-days before the
                                                                                                                      Case Management
                                  Conference [CRC 212(gl]. Failure to do so may result in
                                                                                          monetary sanctions.                                                                                                     .
                                                                                                                                                                                                  ,
_-_                                                   person or by telephone-to consider each
                                                             _in
                                                                                              ofthe issues identified in CRC 212(f)
                                  30-days before the date set for the Case Management                                               no later than
                                                                                      Conference.
              if
      “   * "to‘Show
          2.           you fail to follow the orders above, you are ordered to show
                              Cause hearing Will be at the same time as the
                                                                                           cau se whvvou_should-no.t
                                                                                 Case Mana gement Conference
                                                                                                                      be-sanctioned. The Order
                    include monetary, evidentiary or issue sanctions as well                                      hearing.    Sanctions may
                                                                                   as strikin g pleadings and/or
          3.        Continuances of Case Management Conferences are                                              dismissal.
                                                                              highly disfavo red unless good cause is
                                                                '                                                     shown.
          4.        Parties may proceed to an appropriaterdispute resolution
                                                                                   process (”ADR”) by filing a Stipulation
                    Order (see attached form). if plaintiff files a Stipulation to                                          to ADR and Proposed
                                                                                   ADR and Proposed Order electing
                                                                                                                       to proceed to judicial
                    arbitration, the Case Management Conference will be taken
                                                                                      off the court calendar and the case will
                    Arbitration Administrator. lf plaintiffs and defendants ﬁle a                                                 be referred to the
                                                                                     completed stipulation to another ADR
                    mediation) 10—days prior to the first scheduled Case Management                                             process (e.g.,
                                                                                              Conference, the Case Management
                    continued fo'r 90—days to allow parties time to complete’their                                                    Conference will be
                                                                                       ADR session. The court will
                                                                                                                    notify parties of their new Case
                    Management Conference date.                            '
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      5.            lfyou have filed a default or a judgment has been entered,
                                                                                    your case is not a utomatically taken off
                    Conference Calendar. lf”Does”, ” Roes,” etc. are named                                                       Case Management
                                                                                 in your complaint, they must
                                                     _
                                                                                                                be dismissed in order to
                    case. lfany party is in bankruptcy, the case is                                                                           close the
                                                                     stayed only as to that named party.
      6.            You are further ordered to appear in person*
                                                                     (orthrough your attorney of record) at the
                                                                                                                    Case Management
                    noticed above. You must be thoroughly familiar with                                                                     Conference
                                                                              the case and fully authorized to
                                                                                                                proceed.
      7.            The Case Managementju dge will issue orders at the
                                                                             conclusion of the conference that
                                                                                                                 may include:
                        a)   Referring parties to voluntary ADR and setting an ADR                                                             ' '      ' '7
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                        b) Dismissmg or severing clai ms or parties,   .
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                        c)   Setting a trial date.                                                                       Notice of case Managemem Conference
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      8.           The Case Managementjudge may be the trial judge in
                                                                      this case.

      For further            information regarding case management policies and
                                                                                procedures, see the court's website at: \
                                                                                                                          «Imlw.sanmateoECJ_u_rt.of
      'Telephanic appearances at case management conferences are
                                                                    available b y contacting CourtCa/I,                                             LLC, an
      to the scheduled conference (see                                                                                                                        independent vendor, or leastﬂve
                                      attached CaurtCal/ information).                                                                                                                        business days prior
                    Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 305 of 450

                                          "ERIOR COURT OF SAN MATEO COUNTY
                                                                                                                     ___#__#_
                                                                                                  13:8ivIa—éi-
                                                     Civil Department                             wccsc
                                                                                                  Notice of Complex Case Status Conference
                                       400 County Center, Redwood City, CA 94063                  1233022
                                                   (550) 261-5100
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               DAVID OCONER                                   Notice of Complex Case Status Conference
                    Plaintiff   (5)
                                                       Case No.: 18-ClV-03332              Date:        8/29/2018
                        vs.
                                                                                           Time:        9:00 AM
              RIPPLE LABS, INC.                                                            Dept p]
                Defendant (s)

 Title: DAVID OCONER VS. RIPPLE LABS, INC.,        ET AL


You are hereby given notice of your Complex Case Status Conference. The date, time and department have been
written above. At this conference, the Presiding Judge will decide whether this action is a complex case within the
meaning of California Rules Court (”CRC”), Rule 3.400, subdivision (a) and whether it should be assigned to a single
judge for all purposes.

1.   In accordance  with applicable San Mateo CountyLocal Rule 2.30, you are hereby ordered to:
     a.   Serve copies of this notice, your Civil Case Cover Sheet, and your Certificate Re: Complex Case Designation
          on all named parties in this action no later than service of your first appearance pleadings.
     b.   Give reason notice of the Complex Case Status Conference to all named parties in this action, even if they
          have not yet made a first appearance or been formally served with the documents listed in subdivision (a).
          Such notice shall be given in the same manner as required for an ex parte application pursuant to CRC
          3.1203.

2.   If you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The
     Order to Show Cause hearing will be at the same time as the Complex Cause Status Conference. Sanctions
     may include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal.

3.   An action is provisionally a complex case   if it involves one or more of the following types of claims: (1) antitrust
     or trade regulation claims; (2) construction defect claims involving many parties or structures; (3) securities
     claims or investment losses involving many parties; (4) environmental or toxic tort claims involving many
     parties; (5) claims involving massive torts; (6) claims involving class actions; or (7) insurance coverage claims
     arising out of any of the claims listed in subdivisions (1) through (6). The Court shall treat a provisionally
     complex action as a complex case until the Presiding Judge has the opportunities to decide whether the action
     meets the definition in CRC 3.400(a).


4.   Any party who files either a Civil Case Cover Sheet (pursuant to CRC 3.401) or counter orjoinder Civil Case Cover
     Sheet (pursuant to CRC 3.402, subdivision (b) or (C)), designating an action as a complex case in Items 1,2 and/or
     5, must also file an accompanying Certificate Re: Complex Case Designation in the form prescribed by the Court.
     The certificate must include supporting information showing a reasonable basis for the complex case
     designation being sought. Such supporting information may include, without limitation, a brief description of
     the following factors as they pertain to the particular action: (1) management of a large number of separately
     represented parties; (2) complexity of anticipated factual and/or legal issues’ (3) numerous pretrial motions that
     will be time-consuming to resolve; (4) management ofa large number of witnesses or a substantial amount of
     documentary evidence; (5) coordination with related actions pending in one or more courts in other counties,
     states or countries or in a federal court; (6) whether or not certification of a putative class action will in fact be
     pursued; and (7) substantial post-judgmentjudicial supervision.


                                                                                                                         Rev. Jun. 2016
                  Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 306 of 450

For further information regarding   cz        nanagement policies and procedures, se          a   court website at
                                          '
www.5anmateocourt.org

* Telephone appearances at Complex Case Status Conference are available by contacting CourtCall, LLC, and
independent vendor, at least 5 business days prior to the scheduled conference.

                                          CLERK'S CERTIFICATE OF MAILING
 hereby certify that am the clerk of this court, not a party of this cause; that served a copy of this notice on the below
 I                    I                                                             I


date, by placing a copy thereof in separate sealed envelopes addressed to the address shown by the records of this court
as set forth above, and. by then sealing said envelopes and depositing same, with postage fully pre-paid thereon, in the
United States Mall at Red wood City, California.



 Date: 6/27/2018                                               Rodina M. Catalano,



                                                         By:
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                                                               Mirna‘Biv
                                                                               '
                                                               Deputy Clerk

 Copies mailed to:




     BRIAN   J   ROBBINS
     500   B STREET
     SUITE 1900
     SAN DIEGO CA 92101




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                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 307 of 450




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              COUNTY OF SAN MATEO       ‘
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                 43400;   COUNTY CENTER;                                                      Complex




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                                  Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 309 of 450

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                                                                                                   summons
                        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 310 of 450
                                                                                                                                                    POS-015
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                    FOR COURT USE ONLY

   Stephen J. Oddo (SBN 174828)
— Robbins Arroyo LLP
   600 B Street, Suite 1900
   San Diego, CA 92101
                                                                  FAX NO. (Optional):
            TELEPHONE NO.: (619) 525-3990                                               (619) 525-3991
   E-MAIL ADDRESS (Optional):
                              soddo@robbinsarroyo.com
      ATTORNEY FOR (Name):
                              Plaintiff David Oconer

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Mateo
            STREET ADDRESS:        400 County Center
            MAILING ADDRESS:
           CITY AND ZIP CODE:      Redwood City, CA 94063
                BRANCH NAME:       Hall of Justice and Records

        PLAINTIFF/PETITIONER: David Oconer

   DEFENDANT/RESPONDENT: Ripple Labs Inc., et al.
                                                                                                                        CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                                   18CIV03332


TO (insert name of party being served): Ripple Labs, Inc. do Peter B. Morrison, Esq.


                                                                               NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:

    June 28, 2018                                                                                      ,      . et)145111/1A...
                                      (TYPE OR PRINT NAME)                                         (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)


                                                             ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1. ✓ A copy of the summons and of the complaint.
    2. i      Other (specify):
                    Certificate Re Complex Case Designation; Civil Case Cover Sheet; Notice of CMC; Important
                    Notice re: Nonrefundable Advance Jury Fee; Case Management Statement (form); Civil Trial
                    Court Management Rules; ADR Stipulation and Evaluation Instructions; Stipulation and Order to
                    ADR (form); and Civil ADR Info Sheet
    (To be completed by recipient):

     Date this form is signed: 1-'           t.b - UV?)

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                 (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY,
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                        ON WHOSE BEHALF THIS FORM IS SIGNED)                                  ' KNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)

            ebil—      1>ver\DA10-cs
                                                                                                                                                         Page 1 of 1
Form Adopted for Mandatory Use                                                                                                               Code of Civil Procedure,
  Judicial Council of California             NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                         §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                                 www.courtinfo.ca.gov
                        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 311 of 450
                                                                                                                                                      POS-015
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                       FOR COURT USE ONLY

    Stephen J. Oddo (SBN 174828)
— Robbins Arroyo LLP
    600 B Street, Suite 1900
    San Diego, CA 92101
             TELEPHONE NO.: (619) 525-3990                            FAX NO. (Optional): (619) 525-3991
    E-MAIL ADDRESS (Optional):
                               soddo@robbinsarroyo.com
       ATTORNEY FOR (Name):
                               Plaintiff David Oconer

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF San                        Mateo
        STREET ADDRESS: 400 County Center
        MAILING ADDRESS:
       CITY AND ZIP CODE: Redwood City, CA 94063
                BRANCH NAME: Hall      of Justice and Records

          PLAINTIFF/PETITIONER: David           Oconer
    DEFENDANT/RESPONDENT: Ripple                  Labs Inc., et al.
                                                                                                                          CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                                     18CIV03332


TO (insert name of party being served): XRP II, LLC do Peter B. Morrison, Esq.

                                                                               NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.

    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:


    June 28, 2018                                                                                          ---b,
                                                                                                            -,— : ri\- ,61/5-1/1 n-e,--
                                      (TYPE OR PRINT NAME)                                           (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)

                                                             ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1. 1      A copy of the summons and of the complaint.
     2.     ✓       Other (specify):
                    Certificate Re Complex Case Designation; Civil Case Cover Sheet; Notice of CMC; Important
                    Notice re: Nonrefundable Advance Jury Fee; Case Management Statement (form); Civil Trial
                    Court Management Rules; ADR Stipulation and Evaluation Instructions; Stipulation and Order to
                    ADR (form); and Civil ADR Info Sheet
     (To be completed by recipient):

     Date this form is signed:          Z- l$ - 2otb
                                                                                                                                                 -7
     ? 0159-    .... 1,1.09-4-koi, Arian-ut-el
         (TYPE OR PRINT YOUR NAME AND NAME CIF ENTITY, IF ANY,                                  (S     AT 'E OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                          ON WHOSE BEHALF THIS FORM IS SIGNED)                               ACKNO     EDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)
                r*-0 (1-.          b'STS-11\ )Petjr5

                                                                                                                                                           Page 1of 1
Form Adopted for Mandatory Use                                                                                                                 Code of Civil Procedure,
  Judicial Council of California             NOTICE AND ACKNOWLEDGMENT OF RECEIPT —CIVIL
                                                                                   CIVIL                                                            §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                                   www.courtinfo.ca.gov
                        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 312 of 450
                                                                                                                                                   POS-015
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                   FOR COURT USE ONLY

    Stephen J. Oddo (SBN 174828)
— Robbins Arroyo LLP
    600 B Street, Suite 1900
    San Diego, CA 92101
             TELEPHONE NO.: (619) 525-3990                        FAX NO. (Optional):
                                                                                        (619) 525-3991
    E-MAIL ADDRESS (Optional):
                               soddo@robbinsarroyo.com
       ATTORNEY FOR (Name):
                               Plaintiff David Oconer

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Mateo
             STREET ADDRESS: 400   County Center
            MAILING ADDRESS:
           CITY AND ZIP CODE: Redwood City,      CA 94063
                BRANCH NAME: Hall of Justice    and Records

        PLAINTIFF/PETITIONER: David Oconer

    DEFENDANT/RESPONDENT: Ripple Labs Inc., et al.
                                                                                                                       CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                                  18CIV03332


TO (insert name of patty being served): Bradley Garlinghouse do Peter B. Morrison, Esq.


                                                                               NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:

    June 28, 2018                                                                                    _ ). .
                                                                                                   7-71-::,     Phtnin0-i
                                                                                                                 -..
                                   (TYPE OR PRINT NAME)                                           (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)


                                                          ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1. 1      A copy of the summons and of the complaint.
    2. 1 Other (specify):
                    Certificate Re Complex Case Designation; Civil Case Cover Sheet; Notice of CMC; Important
                    Notice re: Nonrefundable Advance Jury Fee; Case Management Statement (form); Civil Trial
                    Court Management Rules; ADR Stipulation and Evaluation Instructions; Stipulation and Order to
                    ADR (form); and Civil ADR Info Sheet
    (To be completed by recipient):

     Date this form is signed: 7 —111, -2 Cl(!


                                                                                                                      \---—'..
                 (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,      I                    (S NA RE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                        ON WHOSE BEHALF THIS FORM IS SIGNED)                                 ACKN1 EDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)

                 —•D'ca, -brEf-C-NYDPAQ-6
                                                                                                                                                        Page 1 of 1
Form Adopted for Mandatory Use                                                                                                              Code of Civil Procedure,
  Judicial Council of California          NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                                        417.10
POS-015 (Rev. January 1, 2005)                                                                                                                www.courtinfo.ca.gov
                 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 313 of 450


                                 SUPERIOR COURT OF SAN MATEO COUNTY                                 FOR COURT USE ONLY

                                 400 County Center, Redwood City, CA 94063
                                            www.5anmateocourt.org
                                                                                                        FILED
                                                                                                    SAN MATEO COUNTY
                                                                                                                                       ‘
                                                                                                             AUG 2 9 2018
    PLAINTIFF: DAVID OCONER                                                                                         -


                                                                                                     Clerk of th            perior Court
    DEFENDANT: RIPPLE LABS, INC.; XRP II, LLC; BRADLEY GARLINGHOUSE; DOES 1-25, [3y                                iM
                                            '
    INCLUSIVE                                                                                                 DEPUTY CLERK


             ,                                                                                      CASE NUMB
        CLERK S NOTICE OF FEES DUE COMPLEX LITIGATION DESIGNATION
                                                                                                     18—ClV-03332



PARTY INFORMATION:

     DAVID OCONER No Known Address

     RIPPLE LABS INC No   Known Address
     XRP || LLC No Known Address
                                                                                                                              '   T_—
     BRADLEY GARLINGHOUSE No Known Address                                                       Efﬁe—m
     DOES 1-25 INCLUSIVE No Known Address                                                        Clerk’s Notice at Fees Due complex Litigation,
                                                                                                 13513 05

     BRIANJ ROBBINS 600    B   STREET SUITE 1900 SAN DIEGO CA 92101

COUNSEL (FOR PRO/PER) INFORMATION:                                                             kl
       BRIANJ ROBBINS               600   B STREET SUITE   1900 SAN DIEGO CA 92101

      You are hereby notified that the court has designed your case as a complex case. Pursuant to Government Cede
section 70616 you are required to pay the following fees:
     Plaintiff(s)          A single complex case fee of $1,000 shall be paid on behalf of all plaintiffs, either ﬁling
separately orjointly to be paid at the same time as designated in Government Code section 70616(a).
      Defendant(s)         A complex case fee of $1,000 shall be paid by each defendant, intervenor, respondent, or
adverse party, whether filing separately orjointly, up to the total complex fees collected from all defendants,
intervenors, respondents, or other adverse parties appearing not to exceed $18,000. These fees are to be paid at the
time as designated in Govt.C. §70616(b). (Govt.C. §7 0616(b) and (d))
      You are required to bring this notice to the clerk’s office, Civil division, and deposit the required fee within the
statutory time period of 10 days from the date indicated on this Notice. Failure to pay the required fee will result in a
delay of your case as provided for under Government Code section 70616 and the Code of Civil Procedure section                             ,




411.20.

Please disregard this notice   if you have paid this fee prior to receipt of this Notice. If you paid this fee more than 10
days ago, please contact the Clerk’s Office at (650) 261-5100.

You are required to bring this worksheet to the clerk’s office as directed, and deposit the required fees and you are to
present your receipt to the courtroom clerk as proof of payment. Failure to pay the required fess could result in a
delay of your case.
Date: 8/29/2018                                                Rodina M. Catalano, Court Executive Officer/Clerk



             .                                  CLERK’S CERTIFICATE OF MAILING                                          .




Ihereby certify that am the clerk of this Court, not a party to this cause; that served a copy of this notice on the below date, by
                    I                                                          1




placing a copy thereof in separate sealed envelopes addressed to the address shown by the records of this Court and by then

                                                                                                                                  Rev. Oct. 2014
                 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 314 of 450

sealing said envelopes and depositing same, with postage fully rep—paid thereon, in the United States Mail at Redwood City
California.


Date: 8/29/2018                                              By:               %
                                                                    Ivy Jomoc, Coti‘r’trfom Clerk




                                                                                                                     Rev. Oct. 2014
                        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 315 of 450
                                                                                                               FILED
                                                                                                         SAN MATEO COUNTY
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                                                                                                                  AUG 2                     2018-
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                                                                                                         Clerk o/tt‘tersi'penor Court
                                 '.                                                                 By                  in
                             ‘
                                                    .
                                                                                                                    DEPUIIY CLEFIK
                                      ,
                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                   IN AND FOR THE COUNTY OF SAN MATEO



                                                                                                                        ’

           DAVID QCONER, Individually and on Behalf Of All )                      .
                                                                                      '



           Others Similarly Situated,                                         Case NO- 18CIV03332
                                                                          3                                                     '

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           Plamtlfﬂ
                    .
                                          ’                               )
                                                                          )   ORDER DESIGNATING CASE
                                                                          )   COMPLEX AND ASSIGNING CASE
 1o
           v.                                                             )   FOR ALL PURPOSES
                                                                              ’


 11
                                                                          )                                ,




           RIPPLELABS, INC.,
                                                                          3
 12             H LLC’
                                                                          )                18—ClV—03332
           BRADLEY GARLINGHOUSE, and                                      )                up
 13‘
           and DOES 1-25, inclusive,                                                       255;”,                                               :



                                                                          3
 14
           Defendants.
 15
                                                                          3               lllII/Il/II/IIl/llllllIIl/IIIIIII/Ill

 16

 17                     Pursuant to Judge Etezadi’s order on August 29, 2018, this matter is provisionally deemed and

 18
           designated COMPLEX, and is assigned to Judge Marie S. Weiner, Department 2, for all purposes. The
 19
       1



           parties are directed to contact Judge Weiner’s Department at       650—261—5          102 to set a date                  for future status
20
           conference or other hearing.
21

22

'23        Dated: August 29, 2018                       .
                                                                    £6“... céu-                                             “Z
                                                                              SUSAN IRENE E EZADI
                                                                              '


24                                                                             PRESIDING JUDGE
 25_

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                   Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 316 of 450

                                                                                                                         FILED
                                     SUPERIOR COURT OF SAN MATEO                      COL" .     .'
                                                 Civil Department
                                     400 County Center, Redwood City, CA 94063                                   SAN MATEO COUNTY
                                                  (650) 261-5100                                                                             ’

                                             www.sanmateocourt.org                                                            AUG 2 9 2018
                                                  ‘
                                                                                                                   Clerk of th'    uperior Court
                                               AFFIDAVIT OF MAILING
                                                                                                            By
                                                                                                                              DEPUTtLERK
Date: 8/29/2018

In   the Matter of: DAVID OCONER   VS.   RIPPLE LABS, |NC.,   et al
Case No.1 18-CIV—O3332


     declare under penalty of perjury that on the following date deposited in the United States Post Office mail
      I                                                               |


box at Redwood City, a true copy of the attached document(s) ORDER DESIGNATING CASE COMPLEX AND
ASSIGNING CASE FOR ALL PURPOSES, enclosed in an envelope, with proper and necessary postage thereon, and
addressed to the following:

Executed on: 8/29/2018
                                                       Rodina M. Catalano, Court Executive Officer/Clerk




                                                       ivy Jomoc, Deputy Clerk
Copies Mailed To:                                                                                              1


          BRIAN] ROBBINS
          6OOBSTREET                                                              __ -_ _.,-
                                                                                  .
                                                                                                           ’ ‘~~
          SUITE 1900                                                          ( lﬁﬁc'v‘wm
          SAN DIEGO CA   92101                                                :
                                                                                  Affidavit ofMailing
                                                                                  1351309


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                                                                                                                                     Rev. Jun. 2016
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 317 of 450
     August 29, 2018 Presiding Judge Law and Motion Calendar    PAGE 2
           Judge: HONORABLE SUSAN IRENE ETEZADI, Department 18
 ________________________________________________________________________

 9:00
 LINE: 2
 18-CIV-03332       DAVID OCONER VS. RIPPLE LABS, INC., ET AL.



 DAVID OCONER                                           BRIAN J. ROBBINS
 RIPPLE LABS, INC.

 COMPLEX CASE STATUS CONFERENCE
 TENTATIVE RULING:

 This matter   is provisionally deemed and designated as COMPLEX, and is
 assigned to   Judge Marie S. Weiner, Department 2, for all purposes. The
 parties are   directed to contact Judge Weiner’s Department at 650-261-
 5102 to set   a date for future status conferences or other hearings.

 If the tentative ruling is uncontested, it shall become the order of
 the Court, pursuant to Rule 3.1308(a)(1), adopted by Local Rule 3.10,
 effective immediately, and no formal order pursuant to Rule 3.1312 or
 any other notice is required as the tentative ruling affords
 sufficient notice to the parties.




POSTED:   3:00 PM
Fl                            Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 318 of 450
                                                          \4            18—OlV—03332
                                                                        0RD
                                                                        Order
                                                                        1358868




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           )—A

                                       ROBBINS ARROYO LLP
                                       :BRIAN J. ROBBINS (190264)
          DJ
                                       STEPHEN J. ODDO (174828)
                                        ERIC M. CARRINO (310765)
          LA)
                                       600 B Street, Suite 1900
                                       San Diego, CA 92101
                                                                                                                                         FILED
                                                                                                                                      SAN MATEO COUNW
                                                                                                                                                               '                ’
          4D;
                                       Telephone: (619) 525-3990
                                       Facsimile: (619) 525-3991
          L11
                                       E—mail: brobbins@robbinsarroyo.com                                                                          AUG 3 0 20 t
                                               soddo@robbinsarroyo.com                                                                                                                          _.




          CI\
                                               ecarrino@robbinsarroyo.com
                                                                                                                                                                                        311:!
          ‘~J
                                       Attorneys for Plaintiffs
                                       Vladi Zakinov and David Oconer
          C33
                                                                                                                                                                                        AB
          \CD                          [Additional counsel appear on signature page]
                                                                                                                                                                                        we
     H
          <23                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                         COUNTY OF SAN MATEO



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     #4

                               I
                                       VLADI ZAKINOV, Individually and on                                                      Case NO. 18-CIV-02845
                                       Behalf of All Others Similarly Situated,
                               :




     pa




                                                                     Plaintiff,
     #4
                                                                                                                               STIPULATION AND [PROPOSED]
                                               v.,'                                                                            ORDER CONSOLIDATING RELATED
     ha
                                                                                                                               ACTIONS AND RELATED MATTERS
                                       RIPPLE LABS INC., XRP II, LLC,
     ha
                               .       BRADLEY GARLINGHOUSE, and DOES
          WNHOOOGQONUI-tI-I


                                       1-25, Inclusive,                                                                        Iudge: Richard H. DuBois
     ha
                                                                                                                               Dept: 16
                                                                     Defendants.                                               Date Action Filed: June 5, 2018
     pd




                                                                                                 VVVVVVVVVVVVVVVVVVVVVVVVVVV




                              “3                                                    ‘
     >4
                                       DAVID OCONER, Individually and on                                                       Case No. 18~CIV-03332
                                       Behalf of All Others Similarly Situated,
     DJ


                                                                     Plaintiff,                                                                    cm 02845
     b9                                                                                                                                      13%

                                                                                                                                             Stipulation & Order
                                               v.                                                                                        1




     b0


                                   -
                                       RIPPLE LABS INC., XRP II, LLC,
     hJ
                                       BRADLEY GARLINGHOUSE, and DOES                                                                        lll\llllllllllllllllllllllll
                                       1-25, Inclusive,
     h) 4>                                                                                                                     JudgeIRobert D. Foilesz'i‘
                                                                     Defendants.                                               Dept: 21
                                                                                                                               Date Action Filed: Iune 27‘, 2018
                                                                                                                                                    127}: ',.°
                                                                                                                                                     pl                 5“ (v
     MN
                                                                                                                                                                   ”R

           ”Sam




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                                   '
                                        STIPULATION & [PROPOSEDIORDER CONSOLIDATING RELATED ACTIONSVR: RELATED MATTERS                                                              =
                                                      Case 4:18-cv-06753-PJH
                                                                     //&“t   Document 2-1 Filed 11/07/18
                                                                                                      /,A:\ Page 319 of 450
                                                                                                                                             r




                                                                  1.        The above-captioned actions pending in this Court (the "Related Actions") make

                                                       substantially the same allegations against defendant. Ripple Labs Inc. ("Ripp1e" or the
                                                                                                                                         .                                              r




                                                       :"Company"), XRP II, LLC, and Bradley Garlinghouse.

                                                                  2.        In an effort to assure consistent rulings and decisions and the avoidance of

                                                       unnecessary duplication              of effort, counsel for the respective parties in the                Related Actions
                          \oooxxo‘mewmw




                                                       hereby enter into this Stipulation and [Proposed] Order Consolidating Related Actions and
                                                                                                                                                                                    V




                                                       Related Matters (the "Stipulation").
                                                                                                                                                                                            _




                                                       l


                                                                  3.        Counsel for the parties to this Stipulation include Robbins Arroyo LLP

                                                       ("Robbins Arroyo") and Robbins Geller Rudman & Dowd LLP ("Robbins Geller") on behalf of

                                                       plaintiff Vladi Zakinov; Robbins Arroyo on behalf of David Oconer (collectively, "Plaintiffs");,
                                                       ?Skadden, Arps, Slate, Meagher              & Flom LLP          and Debevoise             & Plimpton LLP    on behalf   of
                                                       defendants Ripple Labs, Inc., XRP II, LLC, and Bradley Garlinghouse (collectively,
                                                                                                                                                                                            :

                                                           "Defendants").
                                                                                                                                                                                            ‘


                                                                  4.        The parties agree that             it would       be duplicative and wasteful        of   the Court’s

                                                       resources for Defendants named in the Related Actions to have to respond to the individual                                           :




                                                       complaints prior to the agreed upon consolidation and in light of the anticipated ﬁling of a:

                                                       consolidated complaint. Therefore, the parties agree that Defendants need not respond to the.

NNNNNNNNNHHNHi—‘HI—‘HHH
                                                       {individual complaints that have already been ﬁled in this Court.

                                                                  5.        On August 8, 2018, the Zakinov action was designated as complex. On August
                          ooqoxm-bwmwoxooeqoxmhwmwo




                                                           21, 2018,   it was assigned to the Honorable Richard H. DuBois, Department                     16,   for all purposes.       5.




                                                           A complex case       status conference   in the Oconer action is set for August 29, 2018.

                                                                                                         __
                                                                                                              CONSOLIDATION
                                                                  6.        The following Related Actions are hereby consolidated for all purposes,                                 ,




                                                           including pre-trial proceedings and trial (the "Consolidated Action"):

                                                                    AbbreviatedcaséName.                                        CaseNumber.             Datejiled
                                                                       Zakinov   v.   Ripple Labs Inc.                          18-CIV-02845            6/5/2018

                                                                       Oconer    v.   Ripple Labs Inc.                          18-CIV—03332            6/27/2018


                                                                                                                   0.. 1 ;_
                                                                                                                                                                                "
                                                           'sTiP'ULATION' & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS &' RELATED MATTERS
                                                     /‘\ Page 320 of 450
      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18




      ‘

                                     Every pleading ﬁled in the Consolidated Action, or in any separate action included herein, shall
      .

                             bear the following caption:

                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                          COUNTY OF SAN MATEO

                                         IN RE RIPPLE LABS INC. LITIGATION               ) Lead Case No. 18-CIV—02845
                                                                                         J:
                             .
                                                                                         ) (Consolidated with Case No. 18-CIV-03332)
                                         This Document Relates To:                       )x

                                                                                         5)   CLASS ACTION
                                                                                                   '              ,.




 OO
                                            ALL ACTIONS.
                                                                                         %




                                                7.     The ﬁles   of the Consolidated Action shall be maintained in one ﬁle under Master
103

                                         File No. lS-CIV-02845.
ll
                                                8.     Plaintiffs shall either designate a complaint      as operative   or ﬁle a Consolidated
12
          j                              Complaint ("Consolidated Complaint") within 45 days after entry       of this order, unless otherwise
13

14:
                             agreed upon by the parties.                 If   ﬁled, the Consolidated Complaint shall be the operative

     complaint and shall supersede all complaints ﬁled in any of the actions consolidated herein.
                  1......—




              m


152;
    Defendants shall respond to the operative complaint or Consolidated Complaint within 45 days
16
                                         after service, unless otherwise agreed by the parties.        In the event that Defendants ﬁle any
17"
                                         motions directed at the operative complaint or Consolidated Complaint, the opposition and
18,
                             reply briefs shall be ﬁled within 45 and 20 days, respectively, of the motions, unless otherwise
                                 I
19
                             agreed upon by the parties. Counsel agrees to confer to select a hearing date.
20,
                                                           APPOINTMENT OF A LEADERSHIP STRUCTURE
21

22'                                             9.     The Plaintiffs agree that Robbins Arroyo and Robbins Geller shall serve as Co-
                                                                                                                                                 .


                                                                                                                                                 '


                             Lead Counsel for Plaintiffs ("Co-Lead Counsel") in the Consolidated Action, and Defendants
23:
                             ”take no position on the Court's appointment                     of   Co-Lead Counsel for Plaintiffs or the         ;

24;
                                         responsibilities assumed by that Co-Lead Counsel.
25
                                                10.    Plaintiffs agree that Co-Lead Counsel shall have sole authority to speak for              .



26
                             Plaintiffs in matters regarding pre-trial procedure, trial, and settlement and shall make all work
27:
28.
          ;
                                                                                       :23,                                                  :
                                     '
                                         STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
                                                                                                                                                 E
                                      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 321 of 450




                                          assignments in such manner as to facilitate the orderly and efﬁcient prosecution                    of   the

                                          Consolidated Action and to avoid duplicative or unproductive effort.

                                                    11.       Plaintiffs agree that Co—Lead Counsel shall be responsible for coordinating all

                                          activities and appearances on behalf        of Plaintiffs. No motion,    request for discovery, or other
        \Oooﬂmm-hUJNh-n




                                          pre-trial or trial proceedings shall be initiated or ﬁled by any Plaintiff except through Co-Lead

                                          Counsel.

                                                    12.       Plaintiffs agree that Co—Lead Counsel shall be available and responsible for
                                                                                                                                                             i

                                          communications to and from this Court, including distributing orders and other directions from;

                                          the Court to counsel, and shall be responsible for communication with Defendants' counsel on:

 r—I
        0                                 matters   of case administration and scheduling.      Co—Lead Counsel shall     further be responsible for?
                                                                                                                                                         -   '-


 )—i
           H                              creating and maintaining a master service list      of all parties and their respective counsel.
 H
        [\J                                         13.       Defendants' counsel may rely upon all agreements made with Co-Lead Counsel;

 y—d
        W                                 or other duly authorized representative         of Co-Lead Counsel,      and such agreements shall       be i
 )—-‘
        -R                    .           binding on all Plaintiffs.
 p—t
        U!
                                                                                   RELATED MATTERS,
 H
        O\
                                                    14.       This Order shall apply to each case, arising out of the same or similarii
 9—-    \l                        -

                                          transactions and/or events as the Related Actions which is currently pending in, subsequently                       5




 H 00 I
                              _
                                          ﬁled in, remanded to, or transferred to this Court.
 p—A



                                                    15.       When a case which properly belongs as part          of   the In re Ripple Labs Inc.

                          E
                                          Litigation, Lead Case No. 18-CIV-02845, is hereafter or has been ﬁled in, remanded to, or                          2


NM
        D—‘O




                              T           transferred to this Court, counsel for the parties shall call such ﬁling, remand, or transfer to thef
                          .




NN                                        attention   of the clerk of this Court for purposes of moving the Court for an order consolidating
                              ‘
                                      I   such case(s) with In re Ripple Labs Inc. Litigation, Lead Case No. 18—ClV—02845. Counsel for;

                              z
                                          the parties     will further assist in assuring that counsel for the parties in such   subsequent action(s)§

NNNNN
                              .           receive notice     of this   Order.




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                                                                                               -3.
                                          STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS '&'RELATED MATTERS”
                               Case 4:18-cv-06753-PJH
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                                                      Document 2-1 Filed 11/07/18 Page 322 of 450
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                 p—L                   '
                                           IT IS SO STIPULATED.

                                   DATED;     9/22/1 ?                              ROBBINS ARROYO LLP
                                                                                    BRIAN J. ROBBINS
                                                                                    STEPHEN J. ODDO
                                                                                    ERIC M. CA VINO




               KDOONQUIAWN




                                                                                              '”
                                                                                                   'uit 31900

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                                                                                            ecarrino@robbinsarroyo.com

                                                                                    Proposed Co-Lead Counsel for Plaintiffs and
 Hb—Iv—Ar—a




                                                                                    Counsel for Plaintiffs Vladi Zakinov and
               LANF—‘O



                                                                                    David Oconer
                               7




                                   2DATED:   é/lb/ I g                         ‘
                                                                                    ROBBINS GELLER RUDMAN
                                                                                     & DOWD LLP
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                                                                                             BRIAN O. O‘MARA :(229737I
               O\
  H
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                                                                                    BRIAN E. COCHRAN (286202)
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                                                                                    Proposed Co-Lead Counsel for Plaintiffs and
                                                                                    Counsel for Plaintiff Vladi Zakinov
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                                                                                    SHAWN A. WILLIAMS (2131 13)
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                                                                                    Facsimile: (415) 288—4534
                                                                                    E-mail: shawnw@rgrdlaw.com
                                                                                                                                     ‘


                                                                                    Additional counsel for Plaintiff Vladi Zakinov



                                                                       _.,,-       4-
                                   STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RBLATBD MATTERS                    ‘_
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 323 of 450




                                                           SKADDBN, ARPS, SLATE, MEAGHER
                                                            & FLOM LLP


 AWN
                                                                     PETER B. MORRISON

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                                                          Virginia F. Milstead
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                                                            & FLOM LLP
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                                                          Facsimile: (213) 687-5600
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                                                                 Virginia.milstead@skadden.com

                                                          John Neukom
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13‘                                                       Facsimile: (650) 470—4570
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14;                                                       Mary J 0 White (pro hac vice forthcoming)
                                                          Andrew J. Ceresney (pro hac vice
151:                                                      forthcoming)
162‘                                                      DEBEVOISE & PLIMPTON LLP
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17                                                        Telephone: (212) 909~6000
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18                                                        Email: mjwhite@debevoise.com
                                                                 aceresney@debevoise.com
19:
                                                                                                         :



20'                                                       Counsel for defendants Ripple Labs Inc., XRP
                                                          II, LLC, and Bradley Garlinghouse
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                                                         Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 324 of 450




                                                                                                     W
                                h—l
                                                                    ,
                                                                                                    ORDER
                                                                The above Stipulation Consolidating Related Actions and Related Matters having been

                                                         iconsidered, and good cause appearing therefore,

                                                                IT IS SO ORDERED.



                            \OOO\]O\UI-PDJN
                                                         ‘DATED:        ”5/19 43                            .‘HONDRABLE’iﬂCHARDHZDUBOIS?
                                                                                                                                                  "        I




                                                                                                             JUDGE OF THE SUPERIOR COURT




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                                                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 325 of 450




                                H                                                                  DECLARATION OF. SEEYWE
                                                                         I, the undersigned, declare:
                                                                         1.      That declarant is and was, at all times herein mentioned, a citizen      of the United      :




                                                                  States and a resident   of the County of San Diego, over the age of 18 years,    and not a party to or     1




                                                                                                                                                                             ;


                                                                  interest in the within action; that declarant's business address is 600 B Street, Suite 1900, San
                             \OOOQGM-bmtx)




                                                          Diego, California 92101.
                                                                         2.      That on August 23, 2018,    I   served the following document(s):

                                                                         STIPULATION AND RRQPDSED] ORDER CONSOLIDATING RELATED
                                                                         ACTIONS AND RELATED MATTERS

                                                                                   By transmitting via facsimile the document(s) listed above to the fax
                                                                                   number(s) set forth on the attached Service List from fax number (619) 525-
                                                                                   3991 on this date before 5:00 pm. The facsimile transmission was reported as
                                                                                   complete and without error.

                                                                        IN         By placing the document(s) listed above in a United States mailbox at San
                                                                                   Diego, California in a sealed envelope with postage thereon fully prepaid and
                                                                                   addressed to the parties listed on the attached Service List.

                                                                                   By causing the document(s) listed above to be served by         a courier service on
                                                                                   the following parties:
NNNh—dt—lhﬂl—JHHD—‘HI—‘U—l




                                                                                   By depositing in    a box or other facility regularly maintained by UPS, an
                                                                                   express service carrier, or delivered to a courier or driver authorized by said
                               Ni-‘OKOOOQQUI-QWNHO




                                                                                   express service carrier to receive documents, in an envelope designated by the
                                                                                   said express service carrier, with delivery fees paid or provided for, addressed
                                                                                   to the parties on the attached Service List.

                                                                                   Based on a court order or an agreement of the parties to accept service by e—
                                                                                   mail or electronic transmission, I sent the documents described herein to the
                                                                                   persons at the e-mail addresses on the attached service list. I did not receive,
                                                                                   within a reasonable time aﬁer the transmission, any electronic message or
                                                                                   other indication that the transmissmn was unsuccessful.


                                                                         3.      That there is a regular communication by mail between the place         of mailing    and

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                                 DJ
                                                                  the places so addressed.

 24-.                                                                    I declare under penalty of perjury under the laws of the         State   of California that   the

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                                                              L

                                                                                                                                     KATHERINE ’B. SCHEELE
     28:

                                                                  STIPULATION '& [PROPOSEDj ORDER C‘oikiSOLIDATING REiLATED ACTibNS’a' RELATED MATTERS
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                     / '\
      Case 4:18-cv-06753-PJH   «     t
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Zakinov v. Ripple Labs Inc., et al., Case No. 18CIV02845;
0c0ner v. Ripple Labs Inc., et (11., Case No. 18CIV 03332

COUNSEL FOR PLAIN TIFFS

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Stephen J. Oddo                                  ROBBINS GELLER RUDMAN
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                                                 Brian 0. O'Mara
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                                                 Counsel for Plaintiﬁ’ Vladi Zakinov

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                                                        aceresney@debevoise.com

                                                 Counsel for defendants Ripple Labs Inc., XRP
                                                 II, LLC, and Bradley Garlinghouse



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     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 327 of 450




 1 ROBBINS ARROYO LLP
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 2 STEPHEN J. ODDO (174828)
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 6         ecarrino@robbinsarroyo.com
 7 Co-Lead Counsel for Plaintiffs

 8 [Additional counsel appear on signature page]
 9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                  COUNTY OF SAN MATEO
11 IN RE RIPPLE LABS INC. LITIGATION               )   Lead Case No. 18-CIV-02845
                                                   )
12                                                 )   (Consolidated with Case No. 18-CIV-03332)
     This Document Relates To:                     )
13                                                 )   CLASS ACTION
        ALL ACTIONS.                               )
14                                                 )   NOTICE OF ENTRY OF ORDER
                                                   )
15                                                 )   Judge: Hon. Richard H. DuBois
                                                   )   Dept: 16
16                                                 )   Date Action Filed: June 5, 2018
17

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                                    NOTICE OF ENTRY OF ORDER
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 328 of 450




 1 TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2                PLEASE TAKE NOTICE that on August 30, 2018, the Court entered the

 3 Stipulation and Order Consolidating Related Actions and Related Matters, a true and correct

 4 copy of which is attached hereto as Exhibit A.

 5 DATED: August 31, 2018                             ROBBINS ARROYO LLP
                                                      BRIAN J. ROBBINS
 6                                                    STEPHEN J. ODDO
                                                      ERIC M. CARRINO
 7

 8
                                                                  STEPHEN J. ODDO
 9
                                                      600 B Street, Suite 1900
10                                                    San Diego, CA 92101
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                                                      ROBBINS GELLER RUDMAN
14                                                      & DOWD LLP
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15                                                    BRIAN E. COCHRAN (286202)
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18                                                            bomara@rgrdlaw.com
                                                              bcochran@rgrdlaw.com
19
                                                      Co-Lead Counsel for Plaintiffs
20
                                                      SHAWN A. WILLIAMS (213113)
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22                                                    San Francisco, CA 94104
                                                      Telephone: (415) 288-4545
23                                                    Facsimile: (415) 288-4534
                                                      E-mail: shawnw@rgrdlaw.com
24
                                                      Additional counsel for Plaintiff Vladi Zakinov
25

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                                      NOTICE OF ENTRY OF ORDER
     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 329 of 450




 1                                  DECLARATION OF SERVICE

 2          I, the undersigned, declare:

 3          1.      That declarant is and was, at all times herein mentioned, a citizen of the United

 4 States and a resident of the County of San Diego, over the age of 18 years, and not a party to or

 5 interest in the within action; that declarant's business address is 600 B Street, Suite 1900, San

 6 Diego, California 92101.

 7          2.      That on August 31, 2018, I served the following document(s):

 8          NOTICE OF ENTRY OF ORDER
 9                    By transmitting via facsimile the document(s) listed above to the fax
                      number(s) set forth on the attached Service List from fax number (619) 525-
10                    3991 on this date before 5:00 p.m. The facsimile transmission was reported as
                      complete and without error.
11
           X          By placing the document(s) listed above in a United States mailbox at San
12                    Diego, California in a sealed envelope with postage thereon fully prepaid and
                      addressed to the parties listed on the attached Service List.
13
                      By causing the document(s) listed above to be served by a courier service on
14                    the following parties:
15                    By depositing in a box or other facility regularly maintained by UPS, an
                      express service carrier, or delivered to a courier or driver authorized by said
16                    express service carrier to receive documents, in an envelope designated by the
                      said express service carrier, with delivery fees paid or provided for, addressed
17                    to the parties on the attached Service List.
18                    Based on a court order or an agreement of the parties to accept service by e-
                      mail or electronic transmission, I sent the documents described herein to the
19                    persons at the e-mail addresses on the attached service list. I did not receive,
                      within a reasonable time after the transmission, any electronic message or
20                    other indication that the transmission was unsuccessful.
21
            3.      That there is a regular communication by mail between the place of mailing and
22
     the places so addressed.
23
            I declare under penalty of perjury under the laws of the State of California that the
24
     foregoing is true and correct. Executed this August 31, 2018, at San Diego, California.
25

26

27                                                                KATHERINE B. SCHEELE

28
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                                   NOTICE OF ENTRY OF ORDER
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 330 of 450
In re Ripple Labs Inc. Litigation, Lead Case No. 18CIV02845


COUNSEL FOR PLAINTIFFS

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Stephen J. Oddo                              ROBBINS GELLER RUDMAN
Eric M. Carrino                               & DOWD LLP
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         soddo@robbinsarroyo.com
         ecarrino@robbinsarroyo.com          Co-Lead Counsel for Plaintiffs


COUNSEL FOR DEFENDANTS
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Virginia F. Milstead                         SKADDEN, ARPS, SLATE, MEAGHER
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Email: peter.morrison@skadden.com
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                                             Counsel for defendants Ripple Labs Inc., XRP
                                             II, LLC, and Bradley Garlinghouse




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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 331 of 450




   EXHIBIT A
                                                                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 332 of 450




                                         b-A
                                                                              ROBBINS ARROYO LLP
                                                                              BRIAN J. ROBBINS (190264)
                                                                              STEPHEN J. ODDO (174828)
                                                                              ERIC M. CARRINO (310765)

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                                                                              600 B Street, Suite 1900
                                                                              San Diego, CA 92101
                                                                                                                                                                      FILED
                                                                                                                                                                   SAN MATEO COUNI'
                                                                              Telephone: (619) 525—3990
                                                                                                                                                                                                                    '

                                                                              Facsimile: (619) 525-3991
                                                                                                                                                                                      AUG                 201
                                                                              'E—mail: brobbins@robbinsarroyo.com                                                                                 39
                                      \OOOQONU‘I-PUJN                                  soddo@robbinsarroyo.com
                                                                                       ecarr1no@robbinsarroyo.com
                                                                                                                                                                                                                        I”!
                                                                              Attorneys for Plaintiffs                                                                                                                  3)-
                                                                              Vladi Zakinov and David Oconer
                                                                                                                                                                                                                        W
                                                                                                                                                                                                                        k:
                                                                              [Additional counsel appear on signature page]                                                                                             [w
                                                                                                                                                                                                                        n:
                                                                                                                                                                                                                        %
                                                                                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                                                COUNTY OF SAN MATEO
                                                                                        \
                                                                              VLADI ZAKINOV, Individually and on                                            Case No. l8-CIV-0284S
                                                                              Behalf of All Others Similarly Situated,
                                                                                                                                                            CLASS ACTION
                                                                                                            Plaintiff,
                                                                                                                                                            STIPULATION AND [PROPOSED]
                                                                                      v,                                                                    ORDER CONSOLIDATING RELATED
                                                                                                                                                            ACTIONS AND RELATED MATTERS
                                                                              RIPPLE LABS INC., XRP II, LLC,
                                                                              BRADLEY GARLINGHOUSE, and DOES
                                                                              1—25, Inclusive,                                                              Judge: Richard H. DuBois
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                                                                                                                                                            Dept: 16
                                                                                                            Defendants.                                     Date Action Filed: June 5, 2018
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                                                                                                                              VVVVVVVVVVVVVVVVVVVVVVVVVVV




                                                                                                                          ‘
                                                                              DAVID OCONER, Individually and on                                             Case No. 18-CIV-03332
                                                                              Behalf of All Others Similarly Situated,

                                                                                                             Plaintiff,                                                        153—
                                                                                                                                                                                      (1111—02845
                                                                                                                                                                      l

                                                                                                                                                                           Isiipulation      81   Order
                                                                                      v.                                                                                  ‘.




                                                                                        INC, XRP II, LLC,
                                                                              RIPPLE LABS
                                                                              BRADLEY GARLINGHOUSE, and DOES                                                                   \l\\\\ll\\\\\\\\\\\\\l\\\\l\\\\\\\\\
                                                                              1-25, Inclusive,                                                                                 \fa-r‘
                                                                                                                                                            Judgez:RObert D. Foiles
                                                                                                                                                                                                                ‘
                                                                                                            Defendants.                                     Dept: 21       -.

                                                                                                                                                            Date Action Filed: .Iune. 27, 20l 8:.
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                                                                               STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS'& RELATED MATTERS
 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 333 of 450




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                   Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 334 of 450




                              1.        The above-captioned actions pending in this Court (the "Related Actions") make

                       substantially the same allegations against defendant Ripple Labs Inc. ("Ripple" or the

 AWN               ;”Company"), XRP II, LLC, and Bradley Garlinghouse.
                                                                                                                                            ,




                              2.        In an effort to assure consistent rulings and decisions and the avoidance of

                       unnecessary duplication         of effort,   counsel for the respective parties in the Related Actions

                       hereby enter into this Stipulation and [Proposed] Order Consolidating Related Actions and                           1,



                       Related Matters (the "Stipulation").
 \DOOxlChL/t




                              3.        Counsel for the parties to this Stipulation include Robbins Arroyo LLP                              1




               '       ("Robbins Arroyo") and Robbins Geller Rudman & Dowd LLP ("Robbins Geller")                         On   behalf of

10                     plaintiff Vladi Zakinov; Robbins Arroyo on behalf of David Oconer (collectively, "Plaintiffs");                      .




                                                                                                                                           ‘7
11                     'Skadden, Alps, Slate, Meagher          & Flom LLP       and Debevoise      & Plimpton LLP      on behalf     of
12                     defendants Ripple Labs, Inc., XRP II, LLC, and Bradley Garlinghouse (collectively,

13
                   '
                       "Defendants").
                                                                                                                                            I


14                            4.         The parties agree that          it would     be duplicative and wasteful    of   the Court's

15                     resources for Defendants named in the Related Actions to have to respond to the individual

16                     complaints prior to the agreed upon consolidation and in light of the anticipated ﬁling of a                         _




17                     consolidated complaint. Therefore, the parties agree that Defendants need not respond to the

18                     individual complaints that have already been ﬁled in this Court.
19                            5.         On August 8, 2018, the Zakinov action was designated as complex. On August

20                     21, 2018,    it was assigned to the Honorable Richard H. DuBois, Department           16,    for all purposes.
21                     A complex case status conference in the Oconer action is set for August 29, 2018.
22                                                                  4
                                                                        CONSOLIDATION
23                            6.        The following Related Actions are hereby consolidated for all purposes,

24                     including pre-trial proceedings and trial (the "Consolidated Action"):

25                                 Abbreviated Case Name                                Case Number        Date Filed
26                                 Zakinov v. Ripple Labs Inc.                          18-CIV—02845       6/5/2018
27                                 Oconer   v.   Ripple Labs Inc.                       lS-CIV-O3332       6/27/2018

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                       STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 335 of 450




       H              Every pleading ﬁled in the Consolidated Action, or in any separate action included herein, shall

       N              bear the following caption:

       L93
                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
       4}
                                                              COUNTY OF SAN MATEO
       U1

                      IN RE RIPPLE LABS INC. LITIGATION                      T)
                                                                                    Lead Case No. 18-CIV-02845
       0\

                      {This Document Relates To:
                                                         -    —




                                                                             i      (Consolidated with Case No. 18-CIV-03332)
       ”‘1,

                                                                             g     CLASS ACTION
                                                                             “’3

       GO
                          ALL ACTIONS.
                                                                              )
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                                7.      The ﬁles   of the Consolidated Action shall be maintained in one ﬁle under Master
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                      File No. 18-ClV—02845.
H H


                                8.      Plaintiffs shall either designate   a      complaint as operative or ﬁle a Consolidated
H      N
                      Complaint ("Consolidated Complaint") within 45 days after entry              of this order, unless otherwise
)--x   b)



b—A
       4}
                      agreed upon by the parties.            If   ﬁled, the Consolidated Complaint shall be the operative

                      complaint and shall supersede all complaints ﬁled in any of the actions consolidated herein.
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       (J!


                      Defendants shall respond to the operative complaint or Consolidated Complaint within 45 days                   .


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                      after service, unless otherwise agreed by the parties.               In the event that Defendants file any
)-‘    \l

                      motions directed at the operative complaint or Consolidated Complaint, the opposition and
)-‘    00


                  3


                      Ereply   briefs shall be ﬁled within 45 and 20 days, respectively,        of the motions,   unless otherwise
i—d
       \D

                      agreed upon by the parties. Counsel agrees to confer to select a hearing date.
NO
                                            APPOINTMENT OF A LEADERSHIP STRUCTURE
NH

                                9.      The Plaintiffs agree that Robbins Arroyo and Robbins Geller shall serve as Co-
[\J N


                      Lead Counsel for Plaintiffs ("Co-Lead Counsel") in the Consolidated Action, and Defendants
N U)                                                                                                                                 i


                      take no position on the Court's appointment                   of   Co—Lead Counsel    for Plaintiffs or the
NA
                  .
                      responsibilities assumed by that Co—Lead Counsel.
[\J U!


                                10.     Plaintiffs agree that      Co—Lead Counsel shall have sole         authority to speak for    ,




N O\
                      Plaintiffs in matters regarding pro-trial procedure, trial, and settlement and shall make all work             '



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                                                                           -2-‘
                       STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
                         Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 336 of 450




                          assignments in such manner as to facilitate the orderly and efﬁcient prosecution                  of   the        .




                          Consolidated Action and to avoid duplicative or unproductive effort.
 U)
                                  11.       Plaintiffs agree that CO-Lead Counsel shall be responsible for coordinating all                 ‘




                          activities and appearances on behalf of Plaintiffs. No motion, request for discovery, or other                   i



                          pre—trial or   trial proceedings shall be initiated or ﬁled by any Plaintiff except through Co-Lead

 \OOOQO'xU‘s-P
                          Counsel.

                                  12.       Plaintiffs agree that   Co—Lead Counsel   shall be available and responsible for ‘,
                                                                                                                                                '
                          communications to and from this Court, including distributing orders and other directions from-

                          the Court to counsel, and shall be reSponsible for communication with Defendants' counsel on

10                       matters of case administration and scheduling. Co—Lead Counsel shall further be responsible for:

ll                        creating and maintaining a master service list   of all parties and their respective   counsel.

12                                13.       Defendants' counsel may rely upon all agreements made with Co—Lead Counsel,                    '3




                          or other duly authorized representative of Co—Lead Counsel, and such agreements shall be
                                                                                                                                            :


13

14                        binding on all Plaintiffs.
15'                                                             RELATED MATTERS
16                                14.       This Order shall apply to each case, arising out          of   the same or similar;
                                                                                                                                            '

17                       transactions and/or events as the Related Actions which is currently pending in, subsequently

18‘;                      ﬁled in, remanded to, or transferred to this Court.
19;                               15.       When a case which properly belongs as part         of   the In re Ripple Labs Inc.

                         Litigation, Lead Case No. 18-CIV-02845, is hereafter or has been ﬁled in, remanded to, or
21                        transferred to this Court, counsel for the parties shall call such ﬁling, remand, or transfer to the :

22: attention of the clerk of this Court for purposes of moving the Court for an order consolidating
23' such case(s) with In re Ripple Labs Inc. Litigation, Lead Case No.                              18—CIV—0284S. Counsel        for
24' the parties will further assist in assuring that counsel for the parties in such subsequent
                                                                                                action(s)

25                       receive notice    of this   Order.

26:

27.
                 '

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                     ‘
                                                                           -3-                                                         ‘
                          'STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS &RELATED MATTERS
                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 337 of 450




                         '
                             IT IS SO STIPULATBD.

                DATED:          (8/22/1 ?                           ROBBINS ARROYO LLP
                                                                    BRIAN J. ROBBINS
                                                                    STEPHEN J. QDDO
                                                                    ERIC M.. CA INO

 \lO’xUl-bUJN




                                                                ‘      '



                                                                            (’   S       'EPiIbNTODDO
                                                                                     '

                                                                    600 B Smelt\ Bite/51900
                                                                    San Diego (3"    2101
                                                                    Telephone. (619) 525- 3990
                                                                    Facsimile. (619) 525- 3991
                                                                    E-mail: brobbins@robbinsarroyo.com
                                                                            soddo@robbinsarroyo.com
                                                                            ecarrino@robbinsarroyo.com
10
                                                                    Proposed Co-Lead Counsel for Plaintiffs and
11
                                                                    Counsel for Plaintiffs Vladi Zakinov and
                                                                    David Oconer
12
                      DATED:   {9/7’3/   1   g                      ROBBINS GELLER RUDMAN
13)                                                         .




                                                                     & DOWD LLP
14

15               §
                                                                            BRIAN o, osMAgA (229737)
                 '.

16
                                                                    DAVID C. WALTON (167268)
17
                                                                    BRIAN E. COCHRAN (286202)
                                                                    655 West Broadway, Suite 1900
18'                                                                 San Diego, CA 92101
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                                                                    Facsimile: (619) 23 1-7423
19
                                                                    E—mail: davew@rgrdlaw.com
20                                                                          bomara@rgrdlaw.com
                                                                            bcochran@rgrdlaw.com
21
                                                                    Pr0posed Co—Lead Counsel for Plaintiffs and
                 '                                                  Counsel for Plaintiff Vladi Zakinov
22

23               .
                                                                    SHAWN A. WILLIAMS (2131 13)
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25
                                                                    Facsimile: (415) 288-4534
                                                                    E-mail: shawnw@rgrdlaw.com
26f
27
                                                                    Additional counsel for Plaintiff Vladi Zakinov

28
                                                           -4-
                      STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
           Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 338 of 450


           :




                   DATED:      3134/ I g                     SKADDEN, ARPS, SLATE, MEAGHER
                                                              & FLOM LLP
N


la)
                                                                         How/f ”7cm”
                                                                        PETERB MORRISON
‘A
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                                                             Virginia F. Milstead
                                                             SKADDEN, ARPS, SLATE, MEAGHER
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\ooeqmu:
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                                                             Email: petermorrison@skadden.com
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                                                             Mary Jo White (pro hac vice forthcoming)
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                                                                    aceresney@debevoise.com
                                                                                                            '


                                                             Counsel for defendants Ripple Labs Inc., XRP
                                                             II, LLC, and Bradley Garlinghouse




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                    STI'PULATION‘ & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS '& RELATED MATTERS       ,
                                                                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 339 of 450




                                                                                                                ORDER
                                      )—-l
                                                                                                                                                                   ‘




                                                                             The above Stipulation Consolidating Related Actions and Related Matters having been

                                                                      considered, and good cause appearing therefore,

                                                                             IT IS SO ORDERED.


                                  \OOOVQUI-BUJN
                                                                      DATED:         5/] 7‘ , / 3’                       HONORABLE‘RICHARD H; DUBOIS’
                                                                                                                         JUDGE OF THE SUPERIOR COURT




MMMNNNNNNHr—awr—Ap—Ir—A—t—ay—AH




                                    Wumm-P‘J-‘Nb‘OOOOQO’xUI-h-WNHO




                                                                                                                   —6-
                                                                      STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTIONS & RELATED MATTERS
               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 340 of 450




                                                            DECLARATION OF SERVICE
                                  I, the undersigned, declare:
                                                                                                                                    '




                                  1.      That declarant is and was, at   all times herein mentioned, a citizen of the United
                                                                                                                                    '


                           States and a resident   of the County of San Diego, over the age of 18   years, and not a party to or

                   interest in the within action; that declarant's business address is 600 B Street, Suite 1900, San

                   Diego, California 92101.
\OOOQO‘tUl-b

                   A




                                  2.      That on August 23, 2018, I served the following document(s):

                                  STIPULATION AND [PRUPOSED] ORDER CONSOLIDATIN G RELATED
                                  ACTIONS AND RELATED MATTERS

                                            By transmitting via facsimile the document(s) listed above to the fax
10                                          number(s) set forth on the attached Service List from fax number (619) 525-
                                            3991 on this date before 5:00 pm. The facsimile transmission was reported as
ll                                          complete and without error.
12'
                                 .lN        By placing the docurnent(s) listed above in a United States mailbox at San
                                            Diego, California In a sealed envelope with postage thereon ﬁilly prepaid and
13                                          addressed to the parties listed on the attached Service List.
14E
                                            By causing the document(s) listed above to be served by a courier service on
                                            the following parties:
15%

16
                                            By depositing in    a box or other facility regularly maintained by UPS, an
                                            express service cairier, or delivered to a courier or driver authorized by said
                                            express service carrier to receive documents, in an envelope designated by the
17
                                            said express service carrier, with delivery fees paid or provided for, addressed
                                            to the parties on the attached Service List.
18
                                            Based on a court order or an agreement of the parties to accept service by e~
191‘;
                                            mail or electronic transmission, I sent the documents described herein to the
                                            persons at the e—mail addresses on the attached service list. I did not receive,
203:
                       1
                                            within a reasonable time after the transmission, any electronic message or
                                            other indication that the transmission was unsuccessful.
21

22'
                                  3.      That there is a regular communication by mail between the place        of mailing and
23             ,
                           the places so addressed.

24             g                  I declare under penalty of perjury under the laws of the       State   of California that   the
                                                                                                                "
25:”foregoing is true and correct. Executed this August 23, 2018,
               ‘
                                                                                           at San   D13
26‘

27..                                                                                      KA THERINE B. SCHEELE
28                     ,




                                                                           -7-
                           STIPULATION & [PROPOSED] ORDER CONSOLIDATING RELATED ACTTONS & RELATED MATTERS
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 341 of 450


Zakinov v. Ripple Labs Inc., et al., Case No. 18CIV02845;
0coner v. Ripple Labs Inc., et (11., Case No. 18CIV03332

COUNSEL FOR PLAINTIFF S

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Stephen J. Oddo                                  ROBBINS GELLER RUDMAN
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                                                 Brian 0. O'Mara
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                                                         bcochran@rgrdlaw.com

                                                 Counsel for Plaintiff Vladi Zakinov

COUNSEL FOR DEFENDAN TS

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                                                        aceresney@debevoise.com

                                                 Counsel for defendants Ripple Labs Inc., XRP
                                                 II, LLC, and Bradley Garlinghouse



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Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 342 of 450




            EXHIBIT I
        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 343 of 450




_»   Attorney or Party without Attorney (Name/Address)                                                                     FOR COURT USE ONLY:
‘
     John T. Jasnoch (281605)
     SCOTT+SCQTT ATIORNEYS AT LAW LLP
     600W. Brdadw'ay.Su1’ie 3300
     San Diego, CA 92101

=


      am
     Tele hone
                   22.25::
     Attorney for: Plaintiff
                                        _




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                                                        .                            ,       ,   _   .   _,    .
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                                                                                                                            F   i ii a n
                                                                                                                           SAN MATEO COUNTY
     SUPERIOR COURT OF CALIFORNIA                                                                                      ‘




     COUNTY OF SAN MATEO.                                                                                          3




                                                                                                                                JUL 0 3   201
     400 COUNTY CENTER
     REDWOOD CITY, CA‘ 94063
 '

     Plaintiff
1

     'AVNER QRlEEN‘WALD
i

     Defendant
     RIPPLE- LABS, lNC. et a].                  y
                                                    .




                                                                                                                                                 1—
                                                                                                                           18 CTVW‘SWL 6
                                                                                                                                                      Elallii




      This certiﬁcate must be completed and ﬁled with your Civil Case Cover Sheet if                                                                   A8

          you have checked a Complex Case dCSignation‘or CountersDeSignation                                                                            XVil




         £13»,    In the attached CiVil CiaseC‘ové‘r Sheet, thiscase is being designated or‘count‘er-designated
                 ::as~acomplex caselor as not a complex case].because at least one or more of‘the following
                 boxes has beeti‘clieCKe‘dﬁ

                                      Box   1   Case type that is best described as being [or not being] provisionally
                                                    —

                           complex“
                                                civil litigation (i. e., antitrust or trade regulation claims, construction
                                      defect claims involving many parties or structures, securities claims or investment
                                      losses involvmg many parties, environmental or toxic tort claims iiivolVing many
                                      parties, claims involving mass torts, or insurance coverage claims arising out of
                                      any of the foregoing claimS).
                      ti              Box 2:.—‘ Commas [01.1101 complex] due to fadtors requiring exceptional judicial
                                      management
                      Ci              Bo‘xéw Is [‘oriis‘ net] ’21 class’ac‘tion‘suit.


         2;      This case is being so designated based upon the following supporting information
                 [including without Imitation brief description of the following factors as they pertain to
                                                                                    a

                 (2) complexity of anticipated factual and/or legal issues; (3) numerous pretrial motions
                 that will be time--consuming to resolve; (4) management of a large number of Witnesses or
                 a substantial amount of documentary evidence; (5) coordination with related actions


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                                                                                         _
                                                                                             ”""-\_       _‘   _

                                                             CRCCD
                                                             Certificate   R 6'.   c°mplex Case
                                                             1244158




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                                                                                                Designaﬁ


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       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 344 of 450




            .pending‘in one or more courts in other counties, states or countries or in a federal court;
            ‘(§):whether or‘not’ certiﬁcation of a putative classaction will infact be pursued; and (.7)
             substantial post-judgment judicial supervision]:
             (1), (2), (3), (4) and (6),   ihis'Is a securities class action under the Securities Act of 1933 that

             charges a company and certain of its ofﬁcers and directors with unregistered sale of

             securities to investors in violation ofithe Securities Act. Defendants will obtain separate


             counsel; and there WIll be a large number of WItnesses and a substantial amount of

             documentary. eIiidence. Plaintiff will seek class certiﬁcation,




                                            (attach additional pages iffzebessai'){2t


 3,,     Based on the above-stated supporting information, there?Is a reasonable basis for the complex
         case designation or counter- designatibn [or noncomplex case Counter-designation] being made
         in theiattached ,Civil Case‘Cover Sheet.



                                                          *ﬂtﬂtivlt




I, the undersigned counsel or self-represented party, hereby certify that the above              13   true and correct

Procedure ,‘Section 128. 7 and/or California Rules of Professwnal Conduct, ,Rule 5-200 (B) and San
Mateo CountySuperior‘CourtELo'cal. Rules, Local Rule 2.30.
                    :9




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CV-S9 [Rev. 1/06]                                                                        www.5anmate‘ocourterg
                                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 345 of 450



                                                                                                                                                                                              FOR COURT USE ONLY

                                                               I:
                    600 W Broadway, Suite 3300
                    San Diego, CA 92101
                            TELEPHONE Nov:      619— 233- .4565                                      FAX          No:   619- 233~ 050.8
                                                                                                                                                                                       RELIED
                                                                                                                                                                                SAN MATEO COUNTY
,        ATTORNEY FOR Warner                    Plaintiff AVIler
                                             Green'wald
        SUPERIOR COURT OF CALIFORNIA, COUNTY or: San Mateo
             STREET/(003555;. Alli)                 ..        (‘mmtv (“enter                                                                                                                  JUL 0 3 2018
                          MAILING ADDRESS,
                                                                     "                                                   ‘        '
                         ‘cITY_ ANo ZIP CODE:   Redwo                    City CA 94063
                             BRANCH NAME'       Southern                  ”no. . all of Justice)




                                                                                                                                                                                                                                                                        l
                CASE NAME:
                Grecnwald v. Ripple Labs, Inc                                                                                ,,                                                                                                                     Sheet
                                                                                                                                                                                                                                                                      Ilillilllliillilllililllilillll




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                                                                                                      .                                                 >




                         CIVIL CASE COVER SHEET


                                                                                                                                                                                                                                                                        ll
                                                                                                                  Complex Case Designation                                                                                                ._
                                                                                                                                                                                                                                                    Cover




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                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                    Case


                demanded              demanded   Is   .
                                                            Filed: with ﬁrst appearance by defendant                                                                                                                                  ,
                                                                                                                                                                                                                                          E    m
                 exceeds $25,000)... $25 000 or less) _ ..... (Cal Rules of ocuit rule3402)
                                                                                                                                                                                                                                                            1244163


                                                                                                           DEPT;  ..                                                                   7,                                      g          a;   8    Civil


                                                                                                                                                                                                                                      /
                                                                                                                                                                                                                                      |

                                                          -
                                                                                                                                                                                                                                          1-   L3
                                         Items 1— 6 below must be completed {s'é‘é instructions on page 2) I                                                                                                                                        ‘

         1:: ‘Check one box below for the case type that bést describes this casei
    "




              Auto Tort                                   Contract                                Prqvisionanv complexmvil. Litigation.
                        ("25)     Auto
                                                          ‘
                                                                 sweater contract/warranty (06) (car. Rule‘s‘of court; rule‘suoo—amoa)
                                                                                                                                                                  I:I
                                                                                                                                                                                                                                                             ERIE)
                                                                                                          '

                                  Uninsured motorist (46)                                                         Rule 3.740 collections (09)                               Antitrust/Trade regulation (03)
                    Other PIIPDIWD (Personal injury/Property
                    Dania elWrongful Death) Tort
                                                                                                  Elli]   .       Other collections (09)
                                                                                                                  insurance coverage‘(18)                         I:        Construction defect (10)
                                                                                                                                                                            Mass tort (40)                                                                        AS




                    I
                                                                                                          «



                                  Asbestos (Q4)                                                        I Other contract (37)                                      CZ]       Securities litigation (28)
                                                                                                                                                                                                                                                                      we;
                                                                                                                                                                  I:]:
                    1:]
                                  Product liability (24)
                                  Medical malpractice (‘45)                                       -,
                                                                                                  Real Property
                                                                                                       ‘
                                                                                                         Eminentdomain/lnverse
                                                                                                         condemnation (14)
                                                                                                                                                                    ,   ,
                                                                                                                                                                            Environmental/Toxic tort (30)
                                                                                                                                                                            Insurance coverage claims arising from the‘
                                                                                                                                                                            above listed provisionally complex case
                         Other PIIPDNVD (23)
                                         '

                    NOD-PI/PD/WD (Other) Tort
                                                                                 practice ((5K)
                                                                                                  E
                                                                                                  .B
                                                                                                         Wrongful eviction (33)
                                                                                                       Other realtproperty;(26)
                                                                                                                                                                            types (41>
                                                                                                                                                                  Enforcement of Judgment
                             : Business tort/unfair business
                              ;   Civil rights:(08)                                               Unlawful Detainer                                               I:I       Enforcement of judgment (20)

                              .
                                  De‘famationﬁt’i‘)                                                               Commercial (31)                                 Miscellaneous Civil Complaint
                    WEBER
                              >
                                  Fraud(16)                                                                       Resrdentral (32)                                E]: RICO (27)
                              ,
                                  Intellectual property (19)                                              5‘
                                                                                                                  Drugs (38)
                                                                             R



                              _   Professional negligence (25)                                    Judicial Review                                                 Miscellaneous Civil Petition
                    C3            Other non-Pl/PD/WD tort (35)                                           Assétforfeiture(05)                                                Partnership and coiporate 90vernancé (21)
                                                                                                                  Petition re arbitration award (11)
                    Employment
                    I:Iv Wrongftrt termination~(36)                                               D. Writ of                 mandate (02)
                                                                                                                                                                  [:1       Other petition (not spear!”ed above) (43)

                                  Other employment (15)
                                                              U                  ..........                       OJher iudicial review (39)
                     ‘




        2.. This case


                         a.
                         11-
                            -            LL]
                                           is           is not   complex under rule 3 400 of the California Rules of Court. if the case is complex mark the
                         factors requiring exceptional judicial management
                                  Large number of separately represented parties
                                  Extensive motion practice raIsrnnft‘ cult or; novel
                                                                                        d.      Large number of witnesses
                                                                                                                                       env-
                                                                                                Coordination with related actions pending in onefor more courts

                         c-       issues that will be time-consuming to resolve
                                  Substantial amount of documentary evidence            f.
                                                                                                in other counties; states or countries or in a federal court
                                                                                                                                        -_
                                                                                                Substantial postjudgment judicial supervision

                                                                                                                                                                                                                        E] punitive
                                         -
                                                                                                                                                                                                                   c.
        $.15”



                     Number of causes of action (specify). There are two: 15 U.S.C. sections 771 and 7.70
        919‘
                5    This case          is         is not     I:I
                                                           a class acfion suit.                           ‘ ‘
                                                                                                              I
                     if there are any knOvim related cases. ﬁle and serve a notice}: of related case ()50
        Date. July3, 2018
        JohnT. Jasnoch                                          .        .
                                                                                                              ’   .
                                                                                                                                               ’-   '       ”
                                                  gm'PE OR PRINT RAMS!                                                                                          js'lGNATURE QFVﬁRT‘? 0R ATTORNEY FOR PARTY)
                                                                                                             2’                       NOTICE
                .        Plaintiff must ﬁle this cover sheet. with the ﬁrst paperrﬁled In the action or proceeding (except small claims cases or cases filed
                         under the Probate code; Family Code or Welfare and institutions Code). (Cal. Rules of Court, rule 3 220.) Failure to ﬁle may result
                         in sanctions
                0        File this cover sheet'In addition to any cover sheet required by local court rule.
                0        if this case is complex- under rule 3 400 et seq. of the California Rules of Court, you must serve. a copy of this cover sheet on all
                         other parties to the action or proceeding.


        Form Adopted lcr Mandatory Use                                                                                                                                           Cal Rules oi Court rules 2 30 3 220 3 400—3 403 3 74,0
          Judicial Council of California
                                                                                                  CIVIL CASE COVERSHEET                                                                 Cal Standards of Judicial Administration std ’23 10
          CM- 010 (Rev, July1. 2007]                                                                                                                                                                                wwiv caurrinfo ca gov
                 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 346 of 450



                                                                      ~                                                                                                CM.- 010
                                 INSTRUCTIONS ON HOW TO’CQMPLETEITHE COVER SHEET
To Plaintiffs and Others Filing First Papers. lliyou are‘fiiing a-rﬂrst paper (for example, a complaint-)‘in a: civil case, you must
                                                               C‘ ‘er‘Sheet‘cont‘aine‘d on page}. This ‘informationtwill be used to compile
completeand file, along withyourﬁrst paper, the Civil Case
statistics about the types and numbers of cases ﬁled. Ydu must complete items 1 throug‘hﬁ on the‘sheet. in‘iternii, you‘must check
oneibox for the‘case type that best describesthe case,‘ If the case fits both a general sin .a more speciﬁctype' ofioase‘listed in item 1,
check the more specific one. lf‘the case has multiplezcauseszof action, check-the box that best indicates the primary
                                                                                                                            cause’of action.
To assist you in completing theshe‘et, examplesjortne casesthat b‘elongunde‘r each case‘t'ype‘ in item 1 are provided below. A cover
sheet must be ﬁledorily with yd‘ur‘i‘nitial papernﬁaiure to files cover sheet with the first paper ﬁled in a civil case may subject a party,
its counsel, or both to sanctions under rules:2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3,140t ColiectionsCéses. A "collections case" under rule, 3.740 is deﬁned as an actionfor recovery of money
owed in a sum stated to be ‘certain that is flotilib’reﬂhéri $25,000, exclusive of interest~ and attorney's fees, arising from (a transaction in
Which prOperty. services,‘ or money was acquired on credit. A collections case does not include an action seeking the following: (1)§tort
damages, (2) punitive. damages, (3;) recovery of real property, (4) recovery of personal property; or (5) a pi‘éiudginent" Writ of)
attachment. The: identiﬁcation of‘a case as a rulej»3‘.7;40fcoilections case on thisiform:
                                                                                              means'th‘at it’vvill beIexemptﬁfromﬁhe general
time-forj's‘ervice teq’uirements: and case managementrules, unless adefendant ﬁles a responsive pleading. A rule 3:740 collections
case Will be subjecttdthe requirements forése‘rvi‘ce and obtaining a‘judgr'nent in rule 3,740,;
To Parties in Complex Cases. incomplex‘cases- only, parties must also use the Civil case Cover Sheetto designate whether the
case is complex.3lf a plaintiffbelieves‘ the case‘is compiei under rule 3.400‘of the California Rules of Court, thismust be indicated by
completing the;appropriate boxes in items :{and 2. its plaintiff designates a caseaas complex; the cover sheet must be served with the
complaint‘on all parties to theaction . A defendant may fileaﬁd serve no later than the tinfie‘ of its: first appearances joinder in the
plaintiffs‘designation, a counter—designation that ‘the case is notco‘inplex, or, if the‘piaintiff has made no designation, a designation that
the case is complex.                                          CASE TYPES AND‘EXAMPLES
Auto, Tort                                       contract“                                              Provisionaily Complex Civil Litigation (Cal.
                             t
                  .
    Auto‘ (22)—Personal lnjury/Rropeny                   Bieach of contract/Warranty (06)               Rules of Court Rules 3.400954%)
         Damage/Wrongful Death
                                                             Biea‘ch‘ of Rental/Lease,                       Antitrust/,Trade Regulation (03)
      ‘
                                                                  Contrast (not qdiantfu/ defame“            construction Defect (.10).,
    Uninsured Motorist‘(4,6) (iﬁthe
                                                                      or wrongful eviction)                  Claims Inv‘élvinéiins‘sé Tart <40)
         case, int/alves an uninsured
                                                             CpntratitiWarrahty‘ Breach—Seller               Securities Litigation (28)
         motoﬁst claim ‘sdbjec‘t '9.
                                                                  Plaintiff (not fraud or negligence)        Environmentaliioxic‘fort (30)
         aljbitration, check this‘item
                                                             Negligent Breach. nicontract/                   insurance coverage ‘Ci‘aiins
        instead of Auto)
                                                                  Wai'ranty                                       (arising frat" Dior/(slowly comp/ex
other PllPDIWD (Personallnjuryl.                                                                                  case type listed a'bove)‘(41)
Property. DamageIWrongful Death)                             Other Breach of Contract/Warranty    ‘
                                                         Collections (e.g.,'m6ney~oiiiied, open          Enforcement of Judgment         ..
Tort . .. . ‘                                                                                               Enforcementof Judgment (20)
    Asbestos (04)                                            back accqunts) (09)
       Asbestos Prepsrtv Damage
                                                             Collection:Case—SelleriPiaintiff                                    ... M of
                                                                                                                ‘Abstract of iludgmenttOut
                                                                                                                            ”995“)?                   ‘f
       Asbestos Personal injury!                             OthenPr‘orﬁissory Note/Collections
                                                          .       Case           ..                                       Confession of ~Judgment (non:
            Wrongful Death“ .                            insurance Coverage (not provisionally                                domestic relations)
    Product Li ability‘m‘ot ‘a‘sbéstbs or                                             ‘

         ”toxic/environmental)(24)                           ample)       (18>                                            Sisteratatsidiidgmsm
                                ’
                                                             Auto, Subrogation                                            Administrative) Agency AWard
   Medical Malpfa‘ctice'ictfg)
                                                             Other Coverage                                                  (not unpaid taxes)           M        _

           Medical Malpractice—                                                                                                                                .




                                                         other Contraptm-                                                 Petition/Certiﬁcation of Entry of
                Physiriiahs‘ 8. Surgeons:
                                                             ContractUai‘Fraud                                              .iudgmeni on Urine? Taxes
           Other Professional Health Care                                                                                 Other Enforcement of Judgment
                 Malpractice                                 Other Coriti‘act Dispute
     .
                                                                                                                      ﬂ       Case:
   Other Pl/PDNVD (23)                           Real, Property                                                                       ‘   ‘

                                                     Eminent  Do‘riiainiinVerse                          Miscellaneous Civil Complaint
           Premises Liability (e.g:. slip               ‘
         '
                                                          condemnation (14)                                      RICO.(27)
                and fall)                                                                                        Other. Complaint (noispecified
           intentional Bodily_injirry/PD/.WD         Wrongful Eviction (35)                                          above) (42) .          ..
                 (egg. assault. vandalism)‘          Oth‘et‘Real Property (e.g.,‘quiet title) (26)                                            .

                                                                                                                     Declaratory Relief Only
           intentional inﬂiction of                          Writ of Possessionof‘R‘eal Property”
                                                                                              ‘                      injunctive Relief Only (non-
                 Emotional Distress                          Mortgage Foreclosure                                         harassment)~
           Negligent infliction of                           Quiet Title. .               .                          Mechanics Lien
                "Emotional Distress
                                                                               .  .
                                                                                  .



                                                             Other RealzProperty (not’eminent
                                                                                                  .
                                                                                                                                          “       .
                                                                                                                    ‘Other Commercial Complaint
          Other Pi/PD/WD                                     domain; landlord/tenant, or
                                                                                      '                                   Case {non-tort/non—complex)
Non-PilPD/WD (Other)‘Tort\                                   foreclosure)                                            Other CiviiComplainl .
    Business Wit/Unfair; Biiisiness              Unlawmparainer-
                                                     ‘                                                                   (ma-tatt/nbnxabmpiew
       Practice (07)                                     Commercial (31)                                  Miscellaneous Civil Petition
    Civil Rights (e.g.‘, discrimination.
                                  ‘                      ResidentialiSZ)                          _
                                                                                                                 Partnership and Corporate
        false arrest) (not‘civil                         Drugsn(38) {if the casehinvolves illegal                         Goverhanpsa (.21)
                                                                                                             .    .   .                           .    ,

           harassmentMOB)                                    drugs, Checkthis ite‘ni; otherwise,                 Other Petition ‘(not speciﬁed
    Defamation (6.9;. slander, libel)                        report as commercial 'or Residential)                   above) (43)
                                                                                                                                       ‘


           (13                                   Judicial Review                                                     Cit/“Harassment
    Fraud (16)                                      Asset Forfeiture       (95)                                     Workplace violence                     _


    Intellectual Property (1.9).:                        Petition Rel/\rbitration Award (1.1).                       Elder/Dependent Adult
    Professional Negligence (25)                         Writ‘of Mandate (02)                                             Abuse
        Legal Malpractice                                    Writ—Administrative Mandamus                            Election Contest
        Other Professional Malpractice                        Writ—Mandamus on Limited Court-                        Petition for Name Change
           (not medicaior legal)                                CasezMatter                                          Petition. for Relief From Late
     Other Non-PlIPDNVD‘To'rt (35)                          Writ—Otheriiimited Court Case                                 Claim‘
Employment                       .                              Review                                               Other Civil. Petition
    Wrongful Termination (36)                            Other Judicial ReView (39)
    Other Employment (15)                                    Review oil-lealth Officer Order
                                                             Notice of Appeal-Labor
                                                                Commissioner Appeals         .,

                                                                                                                                                                        Pagezolz
                                                         cu. CASE COVER SHEET
                                       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 347 of 450

                                                                                                                                                                                           A




                                                               NOTICE OF CASE MANAGEMENT CONFERENCE

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      livng/                       GN€nWél 0/                                   _
                                                                                      7F 1 L ETD
                                                                                      SAN MATEO oouixrrv’
                                                                                                                                                                   Case
                                                                                                                                                                             No:
                                                                                                                                                                                    18     (3       iv 03 ‘45;                     t
                                                                            g
                                                                                                                                                                     “   .NO-VMZDIS
                                                                                                                                                                          Date:
                                                                                                                                                                                                      ,
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                   Case                                                         ‘
    1244?};1‘;J           Management
                                          "lerenCe
                                                                                                '          ‘"
                                                                                                                            z;   .
                                                                                                                                          ‘
                                                                                                                                                               -                       «on Tuesday & Thursday
                                                                                                                                                  ,.

                                                                                                                                                                                      ——on     Wednesday & Friday
l/ll/ll/l/lll/l/I/llllll/lll/I/l
       You are hereby given‘
                                                           /
                                              notice-of your Case Management Conference. The date, time and department have been written above

        1.         in accordance with applicable California Rules                           ofthe Court and local                                      Rules 2.3(d)l~4 and 2.3(m), you are hereby ordered
                   tO'.

                          all.            named defendants and ﬁle
                                  Serve. all                                           proof5._9f.s.e_rvi.ce_qn                                   those defendants with the court within 60:.days of filing
                                  the complaint (CRC 201. 7).
                                  Serve   a   copy of this notice, Case Management Statement and ADR information Sheet on all named parties"in this
                                                                    ‘
                                   action.                                                                                                                                      ‘
                                                                                                                                                                                                                           3




                          c)       File and serve completed Case Management Statement at least lS—days before the Case Management
                                                           a

                                   Conference [CRC 212(g)]. Failure to do so may result in monetary sanctions.                                                                                                         .




                                   Meet endﬁcgnfer, in person or by telephone, to consider each ofthe issues identified in                                                                          CRC   212(f) no later than
                                   30-days before the date set for the Case Management Conference.
                    -If youfail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The Order
                     to Show Cause hearing Will be at the same time as the Case Management Conference hearing. Sanctions may
                     include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal.
            3.       Continuances of Case Management Conferences are highly disfavored unless good cause is shown.
                     Parties may proceed to an appropriate dispute resolution process (”ADR”) by filing a Stipulation to ADR and Proposed
                      Order (see attached form). If plaintiff files a Stipulation to ADR and Proposed Order electing to proceed to judicial
                     arbitration, the Case Management Conference will be taken off the court calendar and the case will be referred to the
                     Arbitration Administrator. If plaintiffs and defendants ﬁle a completed stipulation to another ADR process (e g,
                     mediation) 10—days prior to the first scheduled Case Management Conference, the Case Management Conference will be
                     continued for 90——days to allow parties time to complete their ADR session. The court will notify parties of their new Case
                     Management Conference date.
                     if you have filed a default or a judgment has been entered, your case is not automatically taken off Case Management
                     Conference Calendar. lf”Does", ”Roes," etc. are named'in your complaint, they must be dismissed in order to close the
                     case.        if any party
                                           bankruptcy, the case is stayed only as to that named party.
                                                   is in
                     You are further ordered to appear in person* (or through your attorney of record) at the Case Management Conference
                     noticed above. You must be thoroughly familiar with the case and fully authorized to proceed.
             7.      The Case Managementjudge will issue orders at the conclusion of the conference that may include:
                        a) Referring'parties to voluntary ADR and setting an ADR completion date;
                             b)     Dismissing or severing claims or'parties;
                             c)     Setting    a   trial date.
             8.     The Case Managementjudge may be the trial judge in this case.

             For   further information regarding               case management policies and procedures, see                                                  the court’s website at: www.5anmateocourt.org

             *Telephanic appearances at case management conferences are available by contacting CourtCa/l,                                                         LLC, an   independent vendor, atleastfive business days prior
             to the scheduled conference {see attached CaurtCal/          inform ati’on).
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                                                                                                                                                                                                           311111211111:

                                                                           survrrvrous                                                                           FOR COURT USE ONLY
                                                                                                                                                             (SOLO PARA USO DE LA CORTE)
                                                                     (CITACION JUDICIAL)
                          NOTICE TO DEFENDANT:
                          (A viso AL DEMANDADO):
                                                                                                                                                     FILED
                                                                                                                                             SAN MATEO COUNTY
                          AVNER GREENWALD, individually and on Behalf of All Others
                          Similarly Situated
                                                                                                                                                               JUL                  03            2018
                      YOU ARE BEING suep BY‘ PLAINTIFF:-
                      (L0 Es TA DEMANDANDO EL DEMANDANTE):
                          RIPPLE LABS, INC., a Delaware corporation, XRP II, LLC, a South
                          Carolina Limited Liability Company, BRADLEY GARLINGHOUSE,
                      ;
                           NOTICEI You have been sued The court may decrde against you without your being heard unless you respond within 30 dry: Read the information
                           below.
                              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to ﬁle a written response at this court and have a copy
                           sewed on the plaintiff. A letter or phone call will not protect you Your written response must be in proper legal form if you want the coUrt to hear your
                           case. There may be a court term that you can use fer your res’p'onse. You can ﬁnd these iiourt forms and more information at the California Courts
                           Online Self--Help Center (www courtinfo ca. gov/selfheip). your county law library or the courthouse nearest you If you cannot pay the tiling tee, ask
                           the court clerk for a fee‘waiver form. If you do \notrﬁle your responsie on time. you may lose the case by default, and your wages money. and property

                              There are other legal requirements You may want to call an attorney right away If you do not know an attorney, you may want to call an attorney
                          referral sen/ice. If you cannot afford an attorney, you may be eligible for free legal services from a nonproﬁt legal services program. You can locate
                          these nonproﬁt groups at the California Legal Services Web site (www Iawhelpcalifornia org) the California Courts Online Self—-Help Center
.3}                       (www: courtihfo ca gov/s‘eifhelp); .or by contacting your local court or county bar association. N:OTE The coun has a statutory lien for waived fees and
                          costs on any settlement er arbitration award of 6,10 000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
                      .   1AVISOI Lo han demandado; Si no responde denim de 30 dies. Ia corte puede decidir en su contra sin escuchar su versién Lea Ia ihfomracion a
                          continuacion.
                             Tiene 30 DIAS DE CALENDAR/O después de que la enir'éguen esta citacién y papeles legales para presenter una respuesta per escn‘to en esta
                      ‘
                          en formato legal correcto si desea que procesen su caso en la cone Es posible que haya un formu/ario que usted pueda user para su respuesta.
                          Puede enconti'a'r eslos formu/arios dé Ia coite y mas InformaciOn en el Centro de Ayuda de ‘Ias Cortes de California (www,sucorte ca.gov) en Ia
                          biblioteca de [eyes de su condado 0 en Ia cpn‘e que Ie quede mas cerca Si no puede pager Ia cuota de presentacién, pida' a! secretario de la cone
                      :   que Ie dé‘ un formr‘rlario de exencion de page dé cuotas Si no "presenta su respuesra a tieh1p0,puede perder el caso por incumpIimienIo y Ia corte Ie
                          padre quitar- su sue/do, dinero y brenes sin mas advertencia.
                            Hay olros requisites legs/es. Es recomendabie que [lame a 1m abogado inmediatamenie Si no conoce a un abogado, puede llamar a un Servicio de                                                  ‘


                          remision a abogados Si no puede pager a un abogado, es posibie que cumpla con Ios requisites para obtener seryicios IegaIes gratuitos de un


                          colegio de abogados locales: A_:VISO For Iey,~Ia corte tiene derecho a reclamarlas cuotas y Ios costos exentos porimponer un gra vamen sobre
                          cuaiquier recuperacion de $10000 6 mas de valor recibida mediante un acuerdo o urra concesion de arbitraje en un case do derecho civil. Tiene que
                      ,
                          pager eI gravamen de la corte antes .de que la 'corte pueda desechar el caso
                                                                                                                               "
                                                                                                                                   1"
                                                                                                                                        C‘ASF   11111
                                                                                                                                   '
                                                                                                                                        {Name/o de




                      "101111      T. 31115110611 600 W. BroadWav;~ Suite 3300 San Dieebi CA 92101; 619- 233-4565/

                      DATE:          IJUL         ti 3       2018.
                                                                            110131111111
                                                                                        mark. by
                                                                                            CATALANO                                                                                                      y Deputy
                      (Fecha)                                                           (Secretario)                               .
                                                                                                                                                        ~'
                                                                                                                                                                      ,
                                                                                                                                                                               .
                                                                                                                                                                                     .
                                                                                                                                                                                         A;   m          7:"(AdnI‘o)n
                      (Forproofoi‘ service of this summons, use Proof Of Service of Summons (form POS—4010) )                           V                '    ”                                    “
                                                                                                                                                                          (“18416—03461




           .
                                                                      2.
                                                                           a
                                                                       NOTICE TO THE PERSON SERVED. You are served

                                                                           i: M as the person sued under the ﬁctitious name of (specify)?
                                                                                                                                                ~”1                        SUM
                                                                                                                                                                      ’Summons Issued / Filed

                                                                                                                                                                      ‘




                                                                           I:
               ,
                                                                                                                                                                  |




                                                                      3_        on behalf of (specify):
                                                                                                                                                                  I
                                                                                                                                                                           l       ""         1111111111111
           .gxwuht.




                                                                           under:   l::l   CCP 41610::(corporation)                      .
                                                                                                                                                        CCP 416 60 (minor)
                                                                                    [:3    CCP 416.20 (defunct corporation)                      I      COP 416. 70 (conservatee)
                                                                              |:]          CCP 416 40 (association or partnership)      1:}             GOP 416 90 (authorized person)

                                                                              I:]
      .-




                                                                                          other (specify):

                                                             '
                                                                      4    E]   by
                                                                                     personal delrvery on (date):
                                                                                                ‘                                                                                                             8gp. 1   111”:
                          Form Adopted for~ Mandatory Use
                            Judicial Council of California
                                                                                                      suriirrvlous                                                                 Code of Ciuii Procedu. e §§ 4‘12 '20 465
                                                                                                                                                                                                     111W courrirrca gov
                           SUM—100    [Rev;.l.rly 1, 20093
                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 349 of 450




                                                           “             M        I,   I                       I        .       I,   .
                                                                                                                                                                           SUM-200M)?
 '
                                                                                                                                     I. CASEN
         SHORTTlTLE
'7. Greenwaid v.Ripplé Labs,IIﬁb., 6t ‘aL                                                                                                    ﬁg   G      I           V   93 4        1
                                                                                                                                                                                6
                                                                                            INSTRUCTIONS FOR USE
     +       This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons
     +       If this attachment Is used insert the foliowma statement'In the plaintiff or defendant box on the summons: "Additional Parties
                                           "
             Attachment form IS attached

         List additional parties (Ghee/«only one box, Use a separate page for each type of party):
                                                                         “
     ‘     [3       Plaintiff“                 Qefengant             .
                                                                             Cross--Complainant
                                                                                                           B            Cross- Defendant

                                                                                                      ”ED?     GORMAN ERIC VAN MILTEN'BURG SUSAN


         beféxtdantsi3




                                                       -   -----              -        -.    -.   .   ~   I-       II       I            n        I...       I   ,
                                                                                                                                                                                ,   Pagan-Ila
                                       “   "   "   "
 Fdrin Addoied for Mandatory Use                                   "‘“Kﬁ'ﬁii‘ioismi. PARTIES ATTACHMENT
         IIIIIIIICWIIII   Imam     .
SUM--202IAI‘IRev- J‘anuary 1.    20m                                          A‘t‘tadhmentito Summon's
                    Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 350 of 450

                                               ERIOR COURT OF SAN MATEO COUNTY
                                                          Civil Department
                                           400 County Center, Redwood City, CA 94063
                                                       (650) 261—5100
                                                      www.sanmateocourt.org
                                                                                                                      f        _

            AVNER GREENWALD                                       Notice of Complex Case Status Conference                         2
                    Plaintiff (s)                                                                                                  3:;

                                                           Case No.: 18—ClV-03461         Date:    9/5/2018                        ‘2              llllllllllll
                        vs.
                                                                                          Time:       9:00 AM                      g
      RIPPLE LABS, INC., A DELAWARE                                                       Dept. p J                                 E
               CORPORATION                                                                                                          E
                Defendant (s)                                                                                              g        E;             llllllllllllllllllllllllll




 Title: AVNER GREENWALD VS. RIPPLE LABS, INC., A DELAWARE CORPORATION, ET AL                                           )   (2:33:        1244350


                                                                                                                           .
                                                                                                                               8 =3
                                                                                                                                         '                                 -

You are hereby given notice         of your Complex                              time and department have been
                                                      Case Status Conference. The date,
written above. At this conference, the Presiding Judge will decide whether this action is a complex case within the
 meaning of California Rules Court (”CRC”), Rule 3.400, subdivision (a) and whether it should be assigned to a single
judge for all purposes.

1.   In accordance  with applicable San Mateo County Local Rule 2.30, you are hereby ordered to:
     a.   Serve copies of this notice, your Civil Case Cover Sheet, and your Certificate Re: Complex Case Designation
          on all named parties in this action no later than service of your first appearance pleadings.
     b.   Give reason notice of the Complex Case Status Conference to all named parties in this action, even if they
          have not yet made a first appearance or been formally served with the documents listed in subdivision (a).
          Such notice shall be given in the same manner as required for an ex parte application pursuant to CRC
          3.1203.

2.   If you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The
     Order to Show Cause hearing will be at the same time as the Complex Cause Status Conference. Sanctions
     may include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal.

     An action is provisionally a complex case if it involves one or more of the following types of claims: (1) antitrust
     or trade regulation claims; (2) construction defect claims involving many parties or structures; (3) securities
     claims or investment losses involving many parties; (4) environmental or toxic tort claims involving many
     parties; (5) claims involving massive torts; (6) claims involving class actions; or (7) insurance coverage claims
     arising out of any of the claims listed in subdivisions (1) through (6). The Court shall treat a provisionally
     complex action as a complex case until the Presiding Judge has the opportunities to decide whether the action
     meets the definition in CRC 3.400(a).



     Any party who files either a Civil Case Cover Sheet (pursuant to CRC 3.401) or counter or joinder Civil Case Cover
     Sheet (pursuant to CRC 3.402, subdivision (b) or (C)), designating an action as a complex case in Items 1,2 and/or
     5, must also file an accompanying Certificate Re: Complex Case Designation in the form prescribed by the Court.
     The certificate must include supporting information showing a reasonable basis for the complex case
     designation being sought. Such supporting information may include, without limitation, a brief description of
     the following factors as they pertain to the particular action: (1) management of a large number of separately
     represented parties; (2) complexity ofanticipated factual and/or legal issues’ (3) numerous pretrial motions that
     will be time-consuming to resolve; (4) management ofa large number of witnesses or a substantial amount of
     documentary evidence; (5) coordination with related actions pending in one or more courts in other counties,
     states or countries or in a federal court; (6) whether or not certification of a putative class action will in fact be
     pursued; and (7) substantial post-judgmentjudicial supervision.

                                                                                                                Rev. Jun. 2016
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For further information regarding case management policies and procedures, see the court website at
www.sanmateocourt.org

* Telephone appearances at Complex Case Status Conference are available by contacting CourtCalI,             LLC, and
independent vendor, at least 5 business days prior to the scheduled conference.

                                           CLERK'S CERTIFICATE OF MAILING
 Ihereby certify that am the clerk of this court, not a party of this cause; that served a copy of this notice on the below
                     I                                                          I


 date, by placing a copy thereof in separate sealed envelopes addressed to the address shown by the records of this court
 as set forth above, and by then sealing said envelopes and depositing same, with postage fully pre-paid thereon, in the
 United States Mail at Red wood City, California.



 Date: 7/5/2018                                               Rodina M. Catalano,
                                                              Court Executive Officer/Clerl?"

                                                        By:
                                                              Antonio Geronimo,
                                                                                          A/
                                                              Deputy Clerk

 Copies mailed to:


     JOHN T JASNOCH
     SCOTT+SCOTT ATTORNEYS AT LAW LLP
     600 W BROADWAY STE 3300
     SAN DIEGO CA 92101




                                                                                                                   Rev. Jun. 2016
                            Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 352 of 450

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                                                                    CORRECTED                                                         ,                                                                         Touristic
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                                                           (Clrsggnssﬁssm
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            NOTICE TO DEFENDANT:
            ”Ms" M DEMANDAPO)?‘                                                                                                   :
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                                                                                                                                                   SAN MATEO                                     coon-w
                RIPPLE LABS, INC, ‘a Delaware corporation, XRP II, LLC, a South
                Carolina Limited Liability Company, BRADLEY GARLINGHOUSE,
            YOU ARE BEING SUED BY PLAINTIFF:
            (LO ESTA DEMANDANDO EL DEMANDANTE):
                AVNER GREENWALD, Individually and on Behalf of All Others
                Similarly Situatcd
            ”
       f
              NOTICEVI You have been sued. The court may decide against you.without your being heard unless you respond within 30 days/Read the information fl
       3      below.
                 You have 30 CALENDAR DAYS after this summons and legal papers are sewed on you to file a written response at this court and have a copy
              served on the plaintiff; A letter or phone call will not protect you; Your written response must be ll_l_ proper legal form if you waiit the court to hear your                                                           .


              case ,There may be a court form that you can use for your response. You can ﬁnd these court forms and more information atthe California Courts
              Online Self--Help Center (www courtinfo. ca. gov/eelﬂwlp), your county law library, or the courthouse nearest you. If you cannot pay the ﬁling fee, ask
             the court clerk for a fée waiver" form. If you do not ﬁle your response on time, you may lose the case by default and your wages money, and property
       ‘



      “       may be taken without further warning from the com.
                 There are other legal requIrements You may Want to call an attorney right away. If you do: not know an attorney, you may want to call an attorney
              referral service if you cannot afford an attorney, you may be" eligible for; free- legal services from a nonprofit legal services program. YCLVI can locate
       .     these nonproﬁt groups at the California Legal Services Web Site wvv‘w‘la: elpcalifomia org). the California Courts VOnline Sélf--Hélp Center
                                                                                                                              VcouVrt has a Statutory lion fo'r waived fees. and
       .
              (www. courtinfo. ca.Vgov/selﬂrem). or by contacting your local court or county bar association. NOTE. The
      3       costs on any settlement or arbitration award of $10 000 or more in a civil case. The court's lien must be paid before the court will dismiss the case
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             on fonnato legal oo‘r‘recto si desea que proce‘seVn su caso en la cone.‘ Es posiblo que hays un formulario que uted pueda'usar para su respuesla.
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             remisién a abogados. Si no puede pager a un abogado, 9s poslblé que cumpla con Ios requisites para oblénor seivicios loge/9s gratuitos de un
             programa de serviclos legaies sin ﬁnes de Iucro. Puedé encontrar estos grapes sin fines de lucro en el sitio web d9 Ca'lifomia Legal Services,
             (www. lawhelpcalifomia. org), an a! Centre do A yuda do Ias Cortes de California, (www sucorte. ca. gov) o poniéndose en oonl‘aoto' con la code 0 el
             colegio d9 abog'ados locales. AVISO: Por ley, Ia cone Vtiene dereoho a reclamar [as cuoias y Ios costos axenios por imponer un gravarnen sobre
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                                             Mateo Superior Court
            (El nombre y dirVeccién de la corte es): San
            400 County Center, Redwood City, CA 94063
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            The -,name address, and telephone number of plaintiffs attorney. or plaintiff without an attorney, is:
            (El nombre, Ia direccion y el numero de teléfono do! abogado do! demandante 0 del- demandente que no tiene abogado, es):
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            John T. Jasnoch, 600 W Broadway, Suite 3300, San Diego, CA 92101, 619-233-456

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            (Feoha)            2013
                             L a6                                         (Secretano)                                                              _.
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      :(For proof of service of this summons, use Proof of Service of Summons (form PCS-010)9’
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                                                            NoIIcE TO THE PERSON SERVED:

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                                                                           as an individual defendant.
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                                                                           as the person sued under the ﬁctitious name of (specify),i
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                                                                                                                                                                                       Summons Issued
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                                                                                                                                                                 CCP 416.60 (minor)
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                                                                           :1-          GOP 416 20 (defunct corporation)                       [        1
                                                                                                                                                                 GOP 416. 70 (conserVatee)
                                                                                        CCP 416. 40 (association or partnership)               El                CCP 416. 90 (authorized person)

                                                                            [:1        other (specrly)

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              Judicial Council of California                                                                                                                                                              margins; gov
             SUM-100 [Rev,_July 1l 2009]
                        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 353 of 450




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                 SHORT TITLE:
        _Grecnwald v. Ripple Labs, Inc.                                        Ct   31

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                                                                         INSTRUCTIONS FOR USE
        ‘       +   This form may be used as an attachment to any summons if space do‘es not permit the listing of all parties on the summons.
                +   If thls attachment rs used. insert the following statement In the plaintiff or defendant box on the summons: "Addrtronal Parties
                                                   "
                    Attachnient form rs attached.                                                         if 1. ‘ N
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                ‘Llst additional parties (Check only one box.. Useiér separate



                CHRJ
                         Plaintiff

                      r, NALARSEN RON
                                                             lDéfendant

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                ATilEY ZOE CRUZ; KEN KURSON, BEN LAWSKY ANJA MANUEL aﬁd' TAKASHI OKITA

            =
                Defendants:




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sumowr) [Rem January 1. 2007]                                                               Attachment tymmpns
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            JOHN J. JASNOCH
            SCO'I'I‘+SCO’I'I‘ ATTORNEYS AT LAW LLP
            600 W. BROADWAY. SUITE 3300
            SAN DIEGO, CA 9210]
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                                                                            NOTICE
            The summons and other documents identiﬁed below are being served pursuant to section 415 30 of the Cellfcmie Code of Civil
             Procedure. Your failure to complete this form and return it within 20 days ﬁ‘om the date of mailing shown below may subject you
             (or the party on whose behall you are being served) to l‘ ability for the payment at any expenses incurred"In serving a summons
            on you in any other manner permitted bylaw.
             it you are being served on behalf at a corporation. an unincoIporeted association (including a partnership). or other entity. this
            form must be Signed by you In the name of such entity or by 6 person authorized to receive service of, process on behelfof such
    ,       entity. in all other cases. this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    '
            summons. if you return this form to the sender, service of a eummona is deemed complete on the day you sign liie
            acknowledgmentof receipt below. ‘                                                   ..
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            This acknowledges receipt of (to be completed by sender before mulling):
                      A copy of the summons and ofthe complaint.

                            Simmons, Complaint, Civil Case Cover Sheet, Complex Case Designation, Case Management
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            (To be completed by recipient):

            Date this form is signed:        03 - 05 49

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                                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 355 of 450




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                    ATTORNEY                                                                                                                                                                               ‘0’? “W" ”55 aim-

            M       JOHN J. JASNOCH                         .   3




                    SCOTT+SCOTT ATTORNEYS AT LAW LL?
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    ‘
                    600 W. BROADWAY, SUITE 3300
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                    SAN DIEGO, CA 92101
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                .     ATTORNEY FOR         my
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                    Procedure Your failure to oompiete this form end return It Within 20 days from the date of mailing shoiun below may subject you
                    (or the party on whose behalf you-are being served) to liability for the payment of any expenses incurred In eerving a summons
                    on you in any other manner permitted by law.
                    if you are being served on behalf of a corporation, an unincorporated association (including a partnership). or other entity. mls
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                    form must be Signed by You in the name of such entity or by a. person authorized to receive service of process on behalf of such                                                                                                   ‘

                    entity. in ail other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
                    summons. it you return this form to the sender, service of a summons is deemed complete on the day you sign the
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                    acknowledgment of receipt below ‘
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                    2         other (specify):
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                    {To be completed by recipient).-

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                      JOHN J. JASNOCH       . .                                                  1



                    §_SCO'IT+SCO'IT ATTORNEYS AT LAW LLP
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                      600 W. BROADWAY, SUITE 3300                                                                                                                                                                                                                                     .
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                      SAN DIEGO, CA 9210]                                                                                                                                   ~


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                        DEFENDANTIRESPONDENT: RIPPLE                                                            LABS, INC.
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                        Procedure. Your failure to complete thle form and return it within 20 days from the date of mailing shown below may subject you
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                            JOHN J‘ JASNOCH                 .                  .

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                    ”SCOTHSCO'IT ATTORNEYS AT LAW LLP
                            600 W.- BROADWAY, SUITE 3300
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                                                                                                                            NOTICE
                ;           The summons and other documents identiﬁed below are being served pursuant to section 415.30 of the California Code of Civil
                            Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
                            (or the party on whose behelf'you are being served) to'liabillty for the payment of any expenses incurred in sewing a summons
                            on you in any other manner permitted by law.
                            If you are being served on behalf of a corporation. ‘en uninoorporeted association (including a pathership). or other entity. this
                            form must be signed by you in the name .of such entity or, by a person anthori‘zed to receive service of process on behalf of such
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                         JOHN J. JASNOCH                                                                                                                                                                                                            ~




                ”'SCO’I'HSCO’I'I‘ ATTORNEYS AT LAW LLP
                         600 W BROADWAY, SUITE 3300                                                                                                                                                j‘

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                         DEFENDANT/RESPONDENT
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                         Procedure. Your failure to complete We form and return it within 20 days from the date of mailing shown below may subject you
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                    SCOTT-PSCOTT ATTORNEYS A'l‘ LAW LLP
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        To (insert name ofparty being servad):Ben.l$awéky in c/oPeter'Morrison                                                                           .




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                    on you In any other manner permitted by law.
                    If you are being served on behalf of a corporation. an unincorporated association (including a partnership). or other entity. this
                    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf oteuch
                    entity. In all other cases. this form must be signed by you personally or by a pereon euthorized by you to acknowledge receipt of
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         _SCOTT+SCO'I‘I‘ ATTORNEYS AT LAW LLP
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 l         600 W. BROADWAY, SUITE 3300
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             on you in any other manner p’ennilte‘d by law
             If you are being served on behalf of. a corporation. an unincorporated association (including a partnership). or other entity. this
             form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such                                                                                                    ‘
             entity. In all other cases this term must be signed by you personally or by a person authorized by you to acknowledge reoeiptot                                                                                                            ~




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                    JOHN J. JASNQCH                                           .


                    SCOTH’SCOJ'I ATTORNEYS AT LAW LLP
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                    600 .W. BROADWAY, SUITE 3300
                    SAN DIEGO CA 92101                                                                                                                                                                                    i

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                                   NOTICE AND ACKNOWLEDGMENT OF RECEiPT—CIVIL                                                                                                                                                                                           l§ClV03461


    TO (insert name of party being served):»Erio Van Miltenburg in do Peter Morrison
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                    The summons and other documents identified below are being sewed pursuant to section 415. 30 of the California Code of Civil
        .i          Prooedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
x                   (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred In sewing a summons
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                    on you in any other manner permitted by law.
                    if you are being served on behalf of a corporation. an unincorporated association (including a partnership). or other entity. this
                    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such                                                                                                                                                                  ‘
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                    Date ofmaiiing: July 26, 2018                                                                                                                            15‘
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                              A copy of the summons and of the complaint
                              Other (specify):
                                 Summons, Complaint, Civil Case Cover Sheet, Complex Case Designation, case Management
                                 Conference.


                    (To be completed by recipient):

                    Date this form is signed:              ~.
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                                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 362 of 450




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           JOHN J; JASNOCH..             3
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         —SCOTT+SCOTT ATTORNEYS AT LAW LLP




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 5       I 600 W. BROADWAY,‘SUI'IE‘33‘OO
 ‘       ‘
           SAN DIEGO, CA 92101         .




                       Eeyggiewss Wmtimsnogu@scow-scomcom


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                               PLAINTIFFIPETITIONER:AVNER GREENWALD                                                                                                                                                                             By‘
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                       DEFENDANT/RESPONDENT:RIPPLE
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                                                   NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                                                                                                                                          :   5
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         TO (Insert name ofperty belng served): Antoinette O'Gorrnan in                                                                                           do Peter Monison                                   .                              .




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                                                                                                                                                              NOTICE
                       The summons and other documents iﬂenliﬂed below are being served pursuant to section 41530 of the California Code of Civil
                       Procedure. Your-failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
                       (or the party on Whose behalf you are being served) to liability for: the payment of any expenses incurred in serving a summons
                       on you In any other mannerperrnltted by law.
                       if you are beingeerved on behalf of a corporation. an unincorporated essooletlon (including a partnership). or other entity. this
                       term must be signed by you in the name of'oudh entity or by a person authorized ”to receive service of process on behalf of such
                       entity. in all other cases. this form must be signed by you personally orby a person authorized by you to eoknowiedgefrecelpt of
                       summons. it you return this form to the sender, service of a summons is deemed complete on the day you sign the
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                       This acknowledges receipt of (to be completed by sandercbeforo mailing):
                       1.        A copy of the summons and of the complaint.
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                       2. CC] Other (specify):
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                                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 363 of 450



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               'JOHNJ. JASNQCH                        _
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          “SCO'I'i‘JrSCO'rT ATTORNEYS AT LAW LLP
            600 W. BROADWAY, SUITE 3300
            SAN DIEGO. CA 92101
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                       oeFENDANrrRespouoeuri RIPPLE LABS. INC.

                                            NOTICE AND ACKNOWLEDGMENT 0F RECEIPT—CIVIL
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  T0 (insert name ofperty being served): Takashi Okitn‘In 9/!) Peter Morrison

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                       The summons and other documents-identiﬁed below are being served pursuant to section 415.30 of the California Code' of Civil
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                       Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
                       (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred”rn serving a summons
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                       on you In any other manner permitted by ia'w.

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                       if you are being served on behalf of a commotion, an uninoorporated association (including a partnership), or other entity. this
                       ionn must be signed by you in the name of such Entity or by a person authorized to receive service of process on behalf of such
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                       entity. in all other cases. this form must' be signed by you personetty or by a person authorized by you to acknowiedge receipt of-
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        j       :
                     JOHN J. JASNOCH
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            g‘scornscow ATTORNEYS AT LAW LL?
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                              PLAINTIFFIPEﬁnonER: AVNER GREENWALD
                ‘
                     DEFENDANTIRESPONDENT: RIPPLE                                  LABS, INC.

                                                 NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                                                                                                                                  18CIV03461



            TO (ins’elt'namo‘ofperiybolny served; R9“                                              Will in cloxPeter Morrison                                        ,V    V_        H.       ,




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            ‘        Procedure. Your failure to complete this form and return it within 20 days from the dais ol‘maiiing shown ‘below may subject you
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            Vv       on you in any other manner permitted by law.
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                     if you are being served on behalf of a corporation, an unincorporated association (including a partnership). or other entity, this
            .        form must be signed by you In the name of such entity or by a person authorized to receive service of process on behalf of such
                     entity. in all other cases. this form mué: be signed by you personally why person authorized by you to acknowledge mom of
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                     summons. if you return (his form to {he condor. service of a summons is deemed complete on the day you sign the
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                     1.        A copy of the'summons and of the complaint
                     2.       [Z]
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                                            Conference.


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     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 365 of 450



                                                       ENDORSED FLED
1    PETER B. MORRISON (SBN 230148)                        SAN MATEO COUNTY
     peter.morrison@skadden.com                                  AUG 0 9 2018
 2   VIRGINIA. F. MILSTEAD (SBN 234578)
     virginia.milstead@skadden.com                          Clerk of the Superior Court
 3   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP              By: ANTONIO R. GERONIMO
     300 South Grand Avenue, Suite 3400                            Deputy Clerk
 4   Los Angeles, CA 90071                                   .
     Telephone: (213) 687-5000
 5   Facsimile: (213) 687-5600
 6 JOHN NEUKOM (SBN 275887) .
   john.neukom@skadden.com
 7 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
   525 University Avenue, Suite 1400
 8 Palo Alto, California 94301
   Telephone: (650) 470-4500
 9 Facsimile: (650) 470-4570
10 Attorneys for Defendants
   Ripple Labs Inc., XRP II, LLC, Bradley
11 Garlinghouse, Christian Larsen, Ron Will,
   Antoinette O'Gorman. Eric van Miltenburg,
12 Susan Athey, Zoe Cruz, Ken Kurson, Ben
   Lawsky, Anja Manuel, and Takashi Okita
13
14                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
15                                 COUNTY OF SAN MATEO
16 AVNER GREENWALD, Individually and on         )
                                                ) CASE NO.: 18-CIV-03461
                                  Situated,
17 Behalf of All Others Similarly               )
                                                ) PROOF OF SERVICE
                                 Plaintiff,     )
18
                                                )
19               v.                             )          .
                                                )
                     et al.,
20 RIPPLE LABS INC.,                            )
                                                )
                               Defendants.      )
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                                        PROOF OF SERVICE
        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 366 of 450




 1                                         PROOF OF SERVICE

 2 STATE OF CALIFORNIA, COUNTY OF SANTA CLARA

 3        I aril employed in the county of Santa Clara, State of California. I am over the age of 18
   and not a party to the within action; my business address is 525 University Ave., Palo Alto, CA
 4 94301.

 5          On August 9, 2018, I served the documents described as:

 6
   NOTICE TO ADVERSE PARTY AND CLERK OF STATE COURT OF REMOVAL OF
 7 ACTION TO FEDERAL COURT

 8

 9 on the interested parties in this action addressed as follows:

10 JOHN T. JASNOCH                                      THOMAS L. LAUGHLIN, IV
   SCOTT+SCOTT                                          RHIANA SWARTZ
11 ATTORNEYS AT LAW LLP                                 SCOTT+SCOTT
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14
   a       (BY US MAIL) I am readily familiar with the firms' practice for the collection and
15 processing of correspondence for mailing with the United States Postal Service and the fact that the
   correspondence would be deposited with the United States Postal Service that same day in the
16 ordinary course of business; on this date, the above-referenced correspondence was placed for
   deposit at Palo Alto, California and placed for collection and mailing following ordinary business
17 practices.

18          I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct.
19
            Executed on August 9, 2018, at Palo Alto, California.
20

21                    Alissa Turnipseed                                  AAJ.1k
                    Type or Print Name                                    Signature
22

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24

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                                                      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 367 of 450



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                                                    Antoinette O’Gorman, Eric van Miltenburg,
                                                    Susan Athey, Zoe Cruz, Ken Kurson, Ben
                                                    Lawsky, Anja Manuel, and Takashi Okita


                                                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                      COUNTY OF SAN MATEO

                                                    AVNER GREENWALD, Individually and on              3
                                                                                                              CASE NO.: 18-CIV-03461
                                                    Behalf of All Others Similarly Situated,
                                                                                                          '



                                                                                                      )
                                                                                                      )       NOTICE TO ADVERSE PARTY AND
                                                                                  Plaintiff,          )       CLERK OF STATE COURT OF
                                                                                                      )       REMOVAL OF ACTION TO FEDERAL
                                                                  v.                                  )       COURT
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                                                    RIPPLE LABS INC., et   a1.,                       3


                                                                                  Defendants.
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                                                     NOTICE TO ADVERSE PARTY AND STATE COURT OF REMOVAL OF ACTION TO FEDERAL COURT
                                                                                           CASE NO. 18-CIV-03461
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                                                           TO THE CLERK OF THE ABOVE-TITLED COURT, ALL PARTIES, AND THEIR
                                                                                                            ‘

                                                    ATTORNEYS OF RECORD:

                                                           PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C.            §   1446, Defendants Ripple Labs

                                                    Inc., XRP II, LLC, Bradley Garlinghouse, Christian Larsen, Ron Will, Antoinette O’Gorman, Eric

                                                    van Miltenburé, Susan Athey, Zoe Cruz, Ken Kurson, Ben Lawsky, Anja Manuel, and Takashi
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                                                    Okita removed the above-captioned matter to the United States District Court for the Northern

                                                    District of California on August 8, 2018. A true and correct copy of the Notice of Removal ﬁled in

                                                    the federal court is appended hereto as Exhibit A.



                                                    DATED: August 9, 2018




                                                                                          By:     a
                                                                                          SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP



                                                                                                                              I
                                                                                                              Peter B. Morrison
                                                                                                           Attorney for Defendants
                                                                                                                                  .




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                                                      NOTICE TO ADVERSE PARTY AND STATE COURT OF REMOVAL OF ACTION TO FEDERAL COURT
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                                                  Lawsky, Anja Manuel, and Takashi Okita
                                                                              UNITED STATES DISTRICT COURT
                                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA


                                                  AVNER GREENWALD, Individually And On        )   CASE NO.:   18—cv—4790
                                                  Behalf Of All Others Similarly Situated,    )
                                                                                              )   CLASS ACTION
                                                                               Plaintiff,     )
                                                                                              )   NOTICE OF REMOVAL
                                                                v.                            )
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                                                                                              )
                                                  RIPPLE LABS INC., et_al.,                   )
                                                                                              )
                                                                               Defendants.    )
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                                                  NOTICE OF REMOVAL                                                             Case No. 18-cv-4790
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                                                     NOTICE OF REMOVAL                                                                                                                        Case No. 18—cv-4790
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                      TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

             NORTHERN DISTRICT OF CALIFORNIA: Please take notice that Defendants Ripple Labs
 limb)
             Inc. (“Ripple”), XRP II, LLC (“XRP 11”), Bradley Garlinghouse, Christian Larsen, Ron Will,

             Antoinette O’Gorman, Eric van Miltenburg, Susan Athey, Zoe Cruz, Ken Kurson, Ben Lawsky,

             Anja Manuel, and Takashi Okita (collectively, “Defendants”), by and through their undersigned

             attorneys, hereby remove the above-captioned civil action, and all claims and causes                          of action
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             therein, from the Superior Court of the State               of California, County of          San Mateo, to the United

             States   District Court for the Northern District of California, pursuant to 28 U.S.C. §§ 1332(d) and

             1453. As required by 28 U.S.C.           §   1446(a), all process, pleadings, and orders served on Defendants

10           in the action to date are attached hereto as Exhibit A. As the requisite “short and plain statement of

11           the grounds for removal,” 28 U.S.C.           §   1446(a), Defendants state as follows:

12           I.       INTRODUCTION
13                    1.       This action arises out of Plaintiff’s alleged purchase of a virtual currency, XRP, on

14           “global, online cryptocurrency exchanges” (Compl.                   1m   14, 78-79.)    Plaintiff does not allege that
15           he lacked     information about the nature of these transactions. Nevertheless, Plaintiff claims that he

16 was somehow injured because Defendants were allegedly required to register XRP as a “security”

17           with the Securities & Exchange Commission (“SEC”) but failed to do                      so.

18                    2.       On July 3, 2018, Plaintiff ﬁled a putative class action complaint in the Superior

19           Court of California, County of San Mateo, purporting to sue on his own behalf and on behalf of

20 “all persons or entities who purchased XRP from July .3, 2015 through the present.” (Compl. ii 87.)

21           Plaintiff asserts claims under Sections           5, 12(a)(1), and 15    of the Securities Act of 1933 (“Securities
22 Act”). Plaintiff seeks, among other things, rescission                        of XRP purchases and/or damages (Compl.           at

23 21(C)(D)) and a constructive trust over the proceeds                          of Defendants’     alleged sales   of XRP (Compl.
24 at 21(G)).

25                    3.       Defendants now remove this putative class action to this Court pursuant to the Class

26 Action Fairness Act (“CAFA”), 28 U.S.C.                           §   1453.    The Court has jurisdiction over the claims

27 pursuant to 28 U.S.C.               §   1332(d).

28


                                                                                         '

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                                                  II.      REMOVAL IS PROPER UNDER THE CLASS ACTION FAIRNESS ACT
                                                           4.              This alleged nationwide securities action falls within the original jurisdiction of this

                                                  Court under CAFA. Pursuant to CAFA, a putative class action may be removed to the appropriate

                                                  federal district court            if (1)       the action purports to be a “class” action brought on behalf                  of    100 or

                                                  more members; (2) any member                         of a   class   of plaintiffs     is a citizen   of   a state   different from any
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                                                  defendant or any member                   of the    class is a member      of a foreign     state and any defendant is a citizen

                                                  of a   state; and (3) the amount in controversy exceeds $5 million. §e_e 28 U.S.C. §§ 1332(d)(2),

                                                  (2)(A), (5)(B), 1453(b). This action meets each of those requirements.
                                                            5.             Class exceeds 100 members. First, this is an alleged class action brought on behalf

                                                  of over    100 members.                  Plaintiff purports to assert claims on behalf of                   a "‘class”   consisting of

                                                  “thousands         of members.” (Compl.               1H 87, 89.)      That well exceeds the requirements of CAFA.                   E
                                                  28 U.S.C.      §       1332(d)(1)(B), (5)(B).

                                                            6.       .
                                                                           Minimal Diversity.           Second, minimal diversity           of citizenship exists (i.e.,      at least one

                                                  class member             plaintiff      has a different citizenship from any                of   the defendants), as required by

                                                  Section 1332(d)(2)(A). On the one hand, at least three                           of the Defendants          are allegedly citizens     of
                                                  California. (Compl.              1111
                                                                                          15-27.) On the other hand, there are members                 of the putative     class who are

                                                  citizens of states other than California or citizens of foreign states, including Plaintiff, who is                                     a

                                                  resident   of Israel. (Compl. ii                 14.) The Complaint purports to be brought on behalf                    of “all   persons

NNNNNNNNNHHHHHHHHHH   ooqaxmhwwucxoeoqcxm-BMNHQ   or entities who purchased XRP from July 3, 2015 through the present” without any geographic

                                                  limitation.            (Compl.     1i   87.)     The Complaint further alleges that Defendants have sold XRP to

                                                  putative class members on “global, online cryptocurrency exchanges,” which are accessible on the

                                                  internet and therefore throughout the United States and the world.                                             (Compl. W 78-79.)

                                                  Additionally, the Complaint alleges that “[b]y way of the internet, including Ripple Labs’ website,

                                                  Twitter, and the over 50 cryptocurrency exchanges that trade XRP, interstate means are used in

                                                  connection with the offer and sale                    of XRP.” (Compl.           1]   77.) Given these allegations, citizens of

                                                  states other than California or citizens                            of foreign   states, including          Plaintiff himself, have
                                                  undoubtedly purchased XRP.                         Therefore, members of the putative class are citizens of states

                                                  different from Defendants. See, e.g., Broadway Grill, Inc. v. Visa Inc., 856 F.3d 1274, 1276 (9th



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                                                    Cir. 2017) (concluding that minimal diversity was satisﬁed when class deﬁnition,                                  as pleaded,

                                                    included a nationwide class and many non—citizens of California); Rossetti                        V.   Stearn’s PrOds., Inc.,

                                                    2016 WL 3277295, at *1-2          (CD. Cal.            June 6, 2016) (action pled as a nationwide class satisﬁed

                                                    minimal diversity requirement).      .




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                                                             7.         Amount in Controversy. Third, this action meets CAFA’s amount-in—controversy
                                                    requirement of' $5 million. 28 U.S.C.                  §   1332(d)(6).     Among other things, Plaintiff seeks the

                                                    rescission       of Defendants’ alleged        sales   of XRP        to putative class members.         (Compl. at 21(C).)

                                                    Plaintiff alleges that in the ﬁrst quarter of 2018 alone, “Defendants sold                          at least $167.7    million

                                                    worth of XRP.” (Compl. ii 52.)               If all such sales were rescinded, the amount in controversy would
                                                    exceed $5 million.        While Defendants strongly deny that Plaintiff or any putative class members

                                                    are entitled      to recover any amount (or any other relief), Plaintiff plainly                       seeks to recover an

                                                    aggregate amount over $5 million.

                                                             8.         Moreover, Plaintiff seeks              a   constructive trust over the proceeds of Defendants’

                                                                       of XRP. (Compl.
                                                    alleged sales

                                                    is at least $167.7
                                                                                         at 21(G).) Based on the allegations in the Complaint, this amount

                                                                            million, in excess of the $5 million minimum. (Compl. ﬂ 52);
                                                    Noble House Hotels & Resort, Ltd., 2018 WL 539176, at                       :*4
                                                                                                                                                                  w ﬂgﬂ
                                                                                                                                      (SD. Cal. Jan. 23, 2018) (considering
                                                    amount over which plaintiff was seeking                a   constructive trust and disgorgement in assessing amount

                                                    in controversy).

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                                                             9.         Exceptions. None of the exceptions to removal set forth in CAFA applies to bar

                                                    removal here.         This action does not (i) involve a “covered security,”                   as   deﬁned by 15 U.S.C.

                                                    §   77p(f)(3); (ii) relate to the internal affairs or governance of a corporation and arise under the laws

                                                    of the    state in which such corporation was formed; or                          (iii) relate to the rights, duties,      and

                                                    obligations relating to or created by or pursuant to any security.                   E    28 U.S.C.     §   1453(d)(1)-(3).

                                                    ‘III.    SECTION 22(A) OF THE SECURITIES ACT DOES NOT BAR REMOVAL
                                                              1-0.      The fact that Plaintiff purports to bring claims under the Securities Act does not

                                                    preclude removal here. Section 22(a) of the Securities Act (“Section 22(a)”) provides, “Except                                as

                                                    provided in section 77p(c) of this title, no case arising under this subchapter and brought in any

                                                    State court       of competent jurisdiction shall              be removed to any court       of   the United States.”         15



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                                                    NOTICE OF REMOVAL                        '
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                                                U.S.C.         §    77v(a). Section 22(a) is known as a removal bar. Although the Supreme Court recently

                                                concluded that the exception to the removal bar in section 77p(c)—a reference to the Securities

                                                Litigation Uniform Standards Act (“SLUSA”)—does not permit removal of class actions alleging

                                                only Securities Act violations, Cyan, Inc. v. Beaver County Employees Retirement Fund, 138                                          S.
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                                                Ct. 1061, 1075-76 (2018), the Supreme Court has not prohibited removal                             of class actions        asserting

                                                Securities Act claims on the basis                 of CAFA, which expressly permits removal.
                                                               A.              Luther Does Not Bar Removal Here
                                                               11'.                                                                          of the United
                                                                               Defendants expressly acknowledge the decision                                    States Court        of
                                                Appeals for the Ninth Circuit in Luther v. Countrywide Home Loans Servicing LP, 533 F.3d 1031,

                                                1034 (9th Cir. 2008). In                    gm, the plaintiff asserted claims under the Securities Act.                   EQ        at

                                                1032-33.                 The court held that a class action brought in state court alleging violations of the

                                                Securities Act was not removable even though it met the requirements                            of CAFA.        I_CL   at 1034. But

                                                ILher involved                   a   removal based on minimum diversity between citizens           of the United         States.    Q
                                                1033-34.                It did not    address a situation where, as here, CAFA permitted removal based not only on

                                                minimal diversity jurisdiction, but also on alienage jurisdiction because the Securities Act-class

                                                action was brought by a citizen                   of a foreign      state on behalf    of a purportedly worldwide           class   of
                                                persons who purchased an alleged security from “global, online cryptocurrency exchanges.”

                                                (Compl.            1]   79.)
                                                      V




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                                                               12.             This distinction is substantively important.            “[T]he major purpose of alienage
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                                                jurisdiction is to promote international relations by assuring other countries that litigation involving

                                                their nationals Will be treated at the national level.” Life of the S. Ins. Co. v. Carzell, 851 F.3d

                                                1341, 1347 (11th Cir. 2017) (alteration in original) (applying alienage provisions                               of CAFA);          ﬂ
                                                alﬂ       15   Moore’s Federal Practice            —   Civil   §   102.73 (2018) (“Alienage jurisdiction was intended to

                                                provide the federal courts with a form of protective jurisdiction over matters implicating

                                                international                  relations,   in which the national           interest    is   paramount,”       including when

                                                “entanglements with other sovereigns that might ensue from failure to, treat the legal controversies

                                                of aliens on a national 1evel.”).
                                                               13.             CAFA (i) broadened the deﬁnition of diversity and alienage jurisdiction in 28

                                                                                        '                                                                  '

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                                                             U.S.C.   §   1332 as it applied to certain class actions,         & 28 U.S.C.      §   1332(d); and (ii) created a

                                                             separate statute allowing          for removal of class actions falling within that broadened deﬁnition,        E
                                                             28 U.S.C.       §   1453. In doing so, CAFA speciﬁcally expanded the federal courts’ jurisdiction “by

                                                             establishing original jurisdiction in the federal courts for certain class actions that are national or

                                                             international in scope,” subject to certain enumerated exceptions. New Jersey Carpenters Vacation
                                 \DOOQGNUl-BDJNr—d




                                                             Fund V. HarborView Mortg. Loan Trust, 581 F. Supp. 2d 581, 583 (S.D.N.Y. 2008).

                                                                      14.          A   case   like this one that seeks to apply, for the ﬁrst time, US. securities laws to

                                                             transactions that take place throughout the globe has just such a national and international scope.

                                                             Among other things, it implicates international relations                as   other countries seek to regulate

                                                             transactions in virtual currencies that take place within their own borders.             & HarborView,      581 F.

                                                             Supp. 2d at 588 (concluding that Securities          Act    case was removable under      CAFA when it involved
                                                             matters that were affecting the “international economy”).               While Defendants in no way concede

                                                             that the Securities Act applies to international transactions—it does not,              ﬂ   Morrison v. National

                                                             Australia Bank Ltd., 561 US. .247 (2010)—P1aintiff’s attempt to apply the Securities Act to such

                                                             transactions takes this case outside the purview            of LLher.
                                                                      15.          Indeed, the basis for the ILther court’s holding that Section 22(a) bars removal

                                                             notwithstanding CAFA was that Section 22(a) is “narrow, precise, and specific” and “applies only
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                                                             to claims arising under the Securities Act,” whereas CAFA has broader application.                    Lithg,   533
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                                                             F.3d at 1034. But          if Section 22(a)   were interpreted to bar removal      of Securities Act claims    even

                                                             when such claims purported to regulate transactions on an international scale, Section 22(a) would

                                                             not have the “narrow, precise, and speciﬁc” application the Luther court described. Therefore, the

                                                             reasoning in        ILher does not apply to the situation here and does not bar removal.
                                                                      ‘16.         Defendants recognize that,       if    the Court does not conclude that           ILher    is

                                                             distinguishable, the decision in ILther is binding precedent that appears to bar removal here.

                                                             However, Defendants further contend that (i) subsequent United States Supreme Court authority

                                                             has abrogated the conclusion and reasoning in Luther, and,              if not, (ii) post-Luther developments    in

                                                             the law counsel that the Ninth Circuit should reconsider Luther.

                                                                      17.          Defendants acknowledge that, to the extent the Court does not believe that Luther


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                        has been abrogated, this Court may be bound by            LLher   and compelled to remand this action. In

            N           such circumstance, Defendants would request that the Ninth Circuit review such remand order so

            M           that it may reconsider LLher. CAFA itself provides for an appeal to the Ninth Circuit from any
            43.
                        remand decision under CAFA.          E   28 U.S.C.    §   1453(c)(1)       (“[A] court of appeals may      accept an
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                        appeal from an order    of a district court granting or denying a motion to remand            a class action to the

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                        State court from which     it was removed   if application   is made to the court        of appeals not more than
            \1
                        10 days after entry   of the'order.”).
                                  B.     Luther Has Been Abrogated By the Supreme Court
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                                  18.    The Ninth Circuit has recognized that its own decisions are not binding on district

                        courts   if their “reasoning   or theory” is “clearly irreconcilable” with subsequently decided United

                        States Supreme Court authority.      Miller v. Gammie, 335 F.3d 889,              893 (9th Cir. 2003). Such is the

                        case   with Luther. In reaching its holding, Luther relied on the general rules that “removal statutes
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                        are   strictly construed against removal,” and “any doubt is resolved against removability.” LLher,
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                        533 F.3d at 1034.       However, in Dart Cherokee Basin Operating Co. v. Owens, 135                      S. Ct. 547

                        (2014), decided after   Litlﬂ, the Supreme Court declared that “no antiremoval presumption attends
                        cases    invoking CAFA, which Congress enacted to facilitate adjudication of certain class actions in
’17 federal court.”                        Q at 554.     On the contrary, CAFA’s “provisions should be read broadly, with                   a

18                      strong preference that interstate class actions should be heard in a federal court            if properly removed
19                      by any defendant.”       Q      (citation omitted).   Accordingly, ILher’s strict construction against
20 removal to resolve the perceived conﬂict between Section 22(a)’s removal bar and CAFA’s

21                      removal provisions cannot be squared with the Supreme Court’s express instructions in the more

22 recently decided Dart Cherokee “to interpret CAFA’s provisions under section 1332 broadly in

23 favor                         of removal.”    Jordan v. Nationstar Mortg. LLC, .781 F.3d 1178, 1184 (9th Cir. 2015)

24 (reversing order                         of district court, “[i]n light of      the Supreme Court’s clear statement in Dart

25 Cherokee that Congress intended for no antiremoval presumption to attend CAFA cases” and

26 rejecting Luther’s strict construction                         of CAFA against removal              because   it was inconsistent with
                                                                     l

27 Dart Cherokee l.

28                                19.    Likewise, Luther’s interpretation of CAFA                 as a   “general grant   of   the right   of

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                  removal   of high—dollar class actions” that excludes nationwide        class actions asserting claims under
                                                                                                                                     I
                  the Securities Act, Luther, 533 F.3d at 1034, cannot be squared with Dart Cherokee’s

     3            characterization   of CAFA     as a   tool to ensure federal consideration of “interstate cases of national

                  importance.”      Dart Cherokee, 135       S. Ct. at 554i   (citation omitted).   In fact, other courts have

                  concluded that application of CAFA to interstate securities class actions           of national importance    is


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                  essential to   fulﬁll the purposes of CAFA.        E HarborView,     581 F. Supp. 2d at 587—88 (concluding

                  that “CAFA overrides the Securities Act’s anti-removal provision because this case inVolves

                  exactly the type of case CAFA was concerned about—a large, non-local securities class action

                  dealing with a matter of national importance, the mortgage-backed securities crisis that is currently

    10 wreaking havoc                with the national and international economy”). The ruling in Dart Cherokee thus
'


    11            “undercut[s] the theory or reasoning underlying             [m]      in such a way that     [ILlrcr   and   Dirt
    12            Cherokee] are clearly irreconcilable.”        m,       781 F.3d at 1183 n.2       (ﬁrst alteration in original)
    13

    14
                  (citation omitted);   m          16   Moore’s Federal Practice - Civil    §   107.91[1][b] (2018) (observing

                  that “[g]iven the Supreme Court’s assertion that no antiremoval presumption applies to cases

    15 removed under                  CAFA,” the decision in Luther was likely incorrect).               Thus, Luther has been

    16            abrogated.

    17                    C.        Luther Should Be Reconsidered
    18                    20.       If the   Court does not conclude that post-Luther decisions have abrogated Luther,

    19            Defendants believe Luther should be reconsidered in light         of post-Luther developments in the law.
    20                    21.       In addition to Dart Cherokee, shortly after the Ninth Circuit decided ILher, the

    21 Seventh Circuit considered the central legal question in                   ILher—the removability of Securities Act
    22 class actions meeting the removal requirements of CAFA.                        & Katz     v. Gerardi, 552 F.3d 558 (7th

    23 Cir. 2009). The             @ court held that class actions meeting the requirements of CAFA, including
    24            those asserting claims under the Securities Act, are removable. Q at 562. In doing so, @

    25 expressly disagreed with the reasoning in                     m.
    26                    22.       In LLher, the court applied the “principle of statutory construction that           a statute

    27 dealing with a narrow, precise, and speciﬁc subject is not submerged by a later enacted statute

    28 covering a more generalized spectrum.” Luther, 533 F.3d at 1034 (citation omitted). The court


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                                                       reasoned that the Securities Act was “more specific” than CAFA because                       it “applies only to claims
                                                       arising under the Securities Act,” whereas CAFA “applies to                  a       ‘generalized spectrum’” of class

                                                       actions. Id. On the basis that the purported speciﬁc statute controls over the more general statute,

                                                       LLlrer found that Section 22(a)’s removal bar applied to bar removal of Securities Act claims
                                                       notwithstanding that CAFA expressly permitted such removal.
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                                                                23.      The   Kai court      rejected and exposed this ﬂawed reasoning.                Contrary to      L_uthe_r’s

                                                       conclusion, the     @ court explained that CAFA is not broader than the Securities Act because
                                                       CAFA applies only to “large, multi—state class actions” while the Securities Act applies to “all
                                                       securities actions—single—investor suits as well as class actions.”                   @, 552 F .3d at 561;
                                                       SEC v. Glenn W. Turner Enters., Inc., 474 F.2d 476, 481 n.5 (9th Cir. 1973) (noting “[t]he broad
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                                                       purpose     of the Securities Act of 1933”).
                                                                24.      Thus, the   @ court concluded that the language of CAFA itself, “rather than a[ny]
                                                       canon”    of statutory construction, instructs how CAFA “applies to corporate                  and securities actions.”

                                                       @,     552 F.3d at. 562.             CAFA itself contains speciﬁc, enumerated exceptions to removal

                                                       jurisdiction that address certain securities actions—none of which applies here—including actions

                                                       “concerning a covered security,” those relating to the internal affairs of a corporation, or those

                                                       relating to the rights, duties, and obligations relating to or created by or pursuant to any security.

                                                       Q    “This [list of exceptions] tells us all we need to know.”                        11.   Claims falling within the

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                                                       exceptions are not removable, and all “[o]ther securities class actions are removable                       if they meet
                                                       the requirements    of” CAFA. Id.
                                                                25.      Straightforward statutory construction        of Congress’s removal           statutes confirms that

                                                       the holding in    1% is correct and that the holding from LLher should be revisited.                        In particular,

                                                       the general removal statute, 28 U.S.C.         §   144l(a)—on which Defendants do not rely for removal

                                                       here—authorizes removal when federal courts have “original jurisdiction ,7                     “ [e]xcept   as   otherwise

                                                       expressly provided by Act       of Congress.”       28 U.S.C.   §   1441(a).         Courts have concluded that this

                                                       exception language—“[e]xcept as otherwise expressly provided by Act                          of Congress”—refers to
                                                       anti—removal statutes such as Section 22(a) and prevents removal                 of an action when     such claims are

                                                       asserted.    &    U.S. Indus., Inc. v. Gregg, 348 F. Supp. 1004, 1015 n.10 (D. Del. 1972), rev’d on


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                                                      other grounds, 540 F.2d 142 (3d Cir. 1976).

                                                              26.    However, Section 1453—the CAFA removal statute, the statute on which

                                                      Defendants do rely for removal—does not include the “[e]xcept as otherwise expressly provided

                                                      by Act of Congress” language.            &    28 U.S.C.     §   1453.   As numerous courts have found, the

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                                                      omission of this language in the CAFA removal statute demonstrates that, unlike with Section

                                                      1441(a), Congress did not intend anti—removal provisions to bar removal where the action meets

                                                      the requirements   of CAFA.     ﬁg Cal. Pub. Emps.’         Ret. Svs. v. WorldCom,Inc., 368 F.3d 86, 106

                                                      (2d Cir. 2004) (allowing removal          of Securities Act claim under 28 U.S.C.         §   1452 because that

                                                      section does not include the exception language); FDIC v. Countrywide Fin. Corp., 2012 WL

                                                      12897152, at *1    (CD. Cal. Mar. ‘20, 2012) (concluding that grant of federal jurisdiction over
                                                      claims involving FDIC made action removable under Section 1441(b), which at that time provided

                                                      for removal based on claims arising under federal law, and “trump[ed]” the removal bar in Section

                                                      22(a) because Section 1441(b) did not then contain exception language like Section 1441(a)).

                                                      Accordingly, straight forward statutory construction reveals that this action should be removable.

                                                      United States v. Providence Journal Co., 485 U.S. 693, 704-05 (1988) (citation omitted) (observing

                                                      that when two statutes included “[e]xcept_as otherwise authorized by law,” but that “by way of

                                                      vivid contrast,” the third did not, the third statute provided for no exception); Russello v. United

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                                                      States, 464 U.S. 16, 23 (1983) (alteration in original) (citation omitted) (“[W]here Congress

                                                      .includes particular language in one section       of a   statute but omits   it in another section of the   same
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                                                      Act, it is generally presumed that Congress acts intentionally and purposely in the disparate

                                                      inclusion or exclusion”). The Luther court never considered CAFA’s plain language.

                                                              27.    For these reasons, Defendants respectfully submit that Katz is the correctly reasoned

                                                      decision, and that, to the extent necessary, Luther should be reconsidered. Tellingly, the current

                                                      divide in authority led the author of the district court decision afﬁrmed by the Ninth Circuit                 in
                                                      Luther, the Hon. Mariana Pfaelzer, to observe in another case, “Defendants appear to have

                                                      nonfrivolous arguments for     a change      in the law due to post—Luther developments.” Pub. Emps.’

                                                      Ret. Svs. ofMiss. v. Morgan Stanley, 605 F. Supp. 2d 1073, 1075 n.1               (CD. Cal. 2009).    See also 2

                                                      McLaughlin on Class Actions         §   12:6 (14th ed. 2017) (collecting authorities and concluding Katz’s


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                                                          conclusion is correct).

                                                          IV.    THIS REMOVAL NOTICE IS TIMELY AND SATISFIES ALL PREREOUISITES.
                                                                 28.        Plaintiff ﬁled the above-captioned putative             class action on July 3, 2018 in the

                                                          Superior Court     of the   State   of California, County of     San Mateo, as case number 18-CIV-03461.

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                                                          The ﬁrst Defendant to be served, Ripple, was served on July 9, 2018. This Notice                of Removal    is

                                                          timely because     it has   been ﬁled within thirty days       of Plaintiff’s earliest purported service of the
                                                          Complaint.       $28 U.S.C.     §   1446.

                                                                 29.        No previous application has been made by the Defendants for this or similar relief.

                                                                     30.    Written notice of the ﬁling of this Notice of Removal vvill be given to the adverse

                                                          parties and state court as required by      §   1446(d).

                                                          DATED: August       8, 2018
                                                                                                               SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                                                                                               By:               /s/Peter B. Morrison
                                                                                                                                 Peter B. Morrison
                                                                                                                     ,
                                                                                                                              Attorney for Defendants




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                   Exhibit A
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                ~ and—
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11
               Counsel for Plaintiﬁ’
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13
                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
14
                                                                                '
                                                   COUNTY OF SAN MATEO
15
               AVNER GREENWALD, Individually and on                  Case No.
                                                                                                18Cl-‘V03461.
16             Behalf of All Others Similarly Situated,
                                                                     CLASS ACTION COMPLAINT FOR
17                                                 Plaintiff,        VIOLATIONS OF THE SECURITIES ACT
                         v.                                      '
                                                                     OF 1933
18
   RIPPLE LABS, INC., a Delaware Corporation,                        JURY TRIAL DEMANDED
19 XRP II, LLC, a South Carolina Limited Liability
   Company, BRADLEY GARLINGI-IOUSE,-
20 CHRISTIAN LARSEN, RON WILL,
   ANTOINETTE O’GORMAN, ERIC VAN
21 MILTENBURG, SUSAN ATHEY, ZOE
   CRUZ, KEN KURSON, BEN LAWSKY,
22 ANJA MANUEL, and TAKASI-II OKITA,

23                                                 Defendants.

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                                                            COMPLAINT
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                        Plaintiff Avner Greenwald (“Plaintiff”), individually and on behalf of all others similarly
                 situated, by Plaintiffs undersigned attorneys, alleges the following based upon personal knowledge as to

                 Plaintiffs own acts, and upon information and belief as to all other matters based on the investigation
                 conducted by and through           Plaintiffs attorneys, which included, among other things,                a review      of

                 Securities and Exchange Commission (“SEC”) ﬁlings and commentary, publicly available reports and

                 information, analyst and media reports, and other commentary analysis. Plaintiff’s investigation into the
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                 matters alleged herein is continuing and many relevant facts are known only to, or are exclusively within

                 the custody and control of, the Defendants.               Plaintiff believes that substantial additional evidentiary

                 support will exist for the allegations set forth herein after a reasonable opportunity for formal discovery.

10                                                   NATURE AND SUMMARY OF ACTION

11                       1.        Plaintiff brings this securities      class action under §§5, 12(a)(l), and 15         of the   Securities

12               Act of 1933 (the “securities Act”) against (1) Ripple Labs, Inc. (“Ripple Labs” or the “Company”);
13'              (2) Ripple Labs’ wholly owned subsidiary, XRP II, LLP (“XRP                    II”);   and (3) certain   of Ripple Labs’
14               controlling senior executives and directors (collectively, the “Individual Defendants”). Plaintiff alleges

15               that Defendants sold unregistered securities to investors in violation ’of the Securities Act. Defendants

16               are liable   in their capacities   as issuers,   statutory sellers, and/or direct or indirect offerors   of XRP.
17                       2.        Plaintiff brings this action on behalf of all investors who purchased Ripple tokens
18               (“XRP” or “Ripples”) on or after July 3, 2015 and were damaged thereby.

19                       3.        XRP qualify        as securities under Section        2(a)(l) of the Securities Act,            15   U.S.C.

2O               §77b(a)(1).      The purchase      of XRP    constitutes an investment contract as XRP purchasers, including
                                                                                                                                                 .




21 Plaintiff, provided consideration (in the form of ﬂat, i.e., US. dollars or other cryptocurrencies) in

22               exchange for XRP. XRP is in investment in a common enterprise and purchasers reasonably expected to

23               derive proﬁts ﬁom their ownership            of XRP. Defendants promoted this proﬁt motive                 as a reason to


24 purchase XRP.

25                       4.        No registration statements have been ﬁled with the SEC or have been in effect with

26               respect to the XRP offerings alleged herein.

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                                                                         COMPLAINT
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                      5.       All   100   billion XRP in existence were created out of thin air by Ripple            Labs.1 Twenty

             billion XRP, or 20% of all XRP in existence, were given to the individual founders of Ripple Labs,
             including Defendant Chris Larsen, and the remaining 80 billion were retained by Ripple Labs.

                      6.       Defendants have since earned massive proﬁts by selling the retained XRP to the public,
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             without complying with federal securities laws, in what is essentially an ongoing initial coin offering
             (“1C0”). Like an initial public offering (“IPO”), in an ICO, digital assets are sold to consumers in

 7           exchange for legal tender or other cryptocurrencies (most often Bitcoin and Ethereum).

                      7.       Defendants sell XRP from the retained supply and use the proceeds from the sales to fund

             Company operations.

10                    8.       In order to increase demand for XRP, and thereby increase the proﬁts derived by selling
11           m, Defendants portray XRP             as a   good investment, solicit sales, express optimistic price predictions,

12           and conﬂate Ripple Labs’ enterprise customer programs with usage and value                     of XRP. Ripple Labs
13           greatly increased these efforts to push XRP on the general public in recent years.

14                    9.       These solicitation efforts were conducted by interstate means, as were the sales            of XRP.
15                                                     JURISDICTION AND VENUE
16                    10.      The Court has subject matter jurisdiction over this action pursuant to the California

17           Constitution, Article VI, §10 and Section 22            of the   Securities Act, 15 U.S.C. §77v. The claims alleged

18           herein arise under §§5, 12(a)(1), and 15           of   the Securities Act.    See 15 U.S.C. §§77e, 771, and 770.

19           Section 22     of the Securities Act,   15 U.S.C. §77v(a), expressly states     that “[e]xcept   as   provided in section

20           77p(c)   of this title, no    case arising under this subchapter and brought        in any   State court   of competent
21           jurisdiction shall be removed to any court of the United States.” Section 77p(c) refers to “covered class

22           action[s] brought in any State court involving a covered security, as set forth in subsection (b),” and

23           subsection (b)     of   §77p in turn includes within its scope only covered class actions “based upon the

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           This is unlike other cryptocurrencies like Bitcoin and Ethereum that are “mined” by those
27 validating transactions on their networks.

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                                                                     COMPLAINT
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              statutory or common law           of any   State or subdivision thereof.” See 15 U.S.C. §77p. This is an action

      N       asserting only federal law claims. Thus, this action is not removable to federal court.

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                     11.        Venue is proper in this jurisdiction pursuant to the provisions              of California   Code    of
              Civil Procedure §395(a$ because certain Defendants reside in San Mateo County.
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                     12.        This Court has personal jurisdiction over Defendants as a result of acts               of Defendants
      ON
              occurring in and/or aimed at the state of California in connection with Defendants’ unregistered
       \1
              offer and sale of securities in violation of §§5, 12(a)(1), and         15   of the Securities Act.
       00            13.        This Court also has personal jurisdiction over Defendants because they reside in or
       \D     have their principal places        of business in California.
                            ‘

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                                                                         PARTIES

H                     14.       Lead Plaintiff Avner Greenwald is an individual and a resident                    of Israel. Plaintiff
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              bought and sold XRP in both USD and Bitcoin between December 14, 2017 and May 12, 2018, and
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              suffered losses on those investments as a result of the scheme alleged herein.
,_.
                      15.       Defendant Ripple Labs, Inc. is a Delaware corporation with its principal place of
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              business at 300 Montgomery Street, 12th Floor, San Francisco, California. Ripple Labs operates

H             RippleNet, a global payments network based on blockchain technology. Through RippleNet, banks
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              and payment providers can use XRP to process, clear, and settle financial transactions in real—time                          .




r—d
              worldwide. Ripple Labs created XRP and, at all relevant times, solicited purchases of XRP by
 )—           Plaintiff and the Class for its own beneﬁt and the beneﬁt of its executives and owners.
N                     16.       Defendant XRP II, LLC is wholly owned subsidiary                      of Ripple   Labs. XRP    II   is a

M             South Carolina limited        liability company with its principal place of business in San Francisco,
N             California. XRP       II sold XRP,     and solicited the purchases     of XRP by Plaintiff and the         Class for its

N             own beneﬁt and the beneﬁt of its parent, Ripple Labs, and its executives and owners.

N                     17.       Defendant Bradley Garlinghouse (“Garlinghouse”) is. the Chief Executive Ofﬁcer

N             (“CEO”) of Ripple Labs and has been since January 2017.                            Garlinghouse was Ripple Labs’

N             President and Chief Operating Ofﬁcer from April 2015 through December 2016. Garlinghouse is a

N             California citizen and a resident of San Mateo County. Garlinghouse exercised control over Ripple

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                                                                         COMPLAINT
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                                    Labs and directed and/ or authorized, directly or indirectly, the sale and/or solicitation of XRP to the

                                    public.

                                              18.        Defendant Christian (Chris) Larsen (“Larsen”), is Executive Chairrnan of Ripple

                                    Labs’ Board      of Directors        and has been since January 2017. Larsen is also. a co-founder        of Ripple
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                                    Labs and a former CEO            of Ripple Labs (through December 2016). Larsen exerciscd control over
                                    Ripple Labs and directed and/or authorized, directly or indirectly, the sale and/or solicitation of
                                                              '                                               '

                                    XRP to the public.                                                                    p




                                              19.”       Defendant Ron Will (“Will”) is Chief Financial Ofﬁcer        of Ripple Labs       and has been

r                                   since November 2017.’           Will     exercised control over Ripple Labs and directed and/or authorized,

                                    directly or indirectly, the sale and] or solicitation of XRP to the public.
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                                              20.        Defendant Antoinette O’Gorman (“O’Gorman”) is Chief Compliance Ofﬁcer of
    r—t
                                    Ripple Labs.          O’Gorman exercised control over Ripple Labs and directed and/or authorized,
    r—t                         \
                                    directly or indirectly, the sale and/or solicitation of XRP to the public.
     v—A
                                              21.        Defendant Eric van Miltenburg (“van Miltenburg”) is Senior Vice ]President for
      y—A
                                    Business Operations           of Ripple    Labs.   Van Nliltenburg exercised control over Ripple Labs and

      H                             directed and/or authorized, directly or indirectly, the sale and/or solicitation          of XRP to the public.
                                              22.        Defendant Susan Athey (“Athey”) is a Director of Ripple Labs. As a Director, Athey
      r-‘dy—I




                                    exercised control over Ripple Labs and directed and/or authorized, directly or indirectly, the sale
                                                                                                                  ‘

       H                            and/or solicitation      of XRP to the public.
    N                                         23.        Defendant Zoe Cruz (“Cruz”) is a Director of Ripple Labs. As a Director, Cruz
     [\J                            exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,~the sale                    .




     N                              and/or solicitation      of XRP to the public.
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     N                                        24.        Defendant Ken Kurson (“Kurson”) is a Director, of Ripple Labs.                   As a Director,

     N                              Kurson exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,

                                    the sale and/or solicitation          of XRP to the public.

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                         25.      Defendant Ben Lawsky (“Lawsky”) is a Director               of Ripple   Labs.       As a Director,

                  Lawsky exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,

                  the sale, andJor solicitation   of XRP to the public.
                         26.      Defendant Anja Manuel (“Manuel”) is a Director              of Ripple   Labs. As a Director,

                  Manuel exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,
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                  the sale and/or solicitation    of XRP to the public.
                         27.     'Defendant Takashi Okita (“Okita”), is a Director of Ripple Labs. As a Director,

                  Okita exercised control over Ripple Labs and directed and/or authorized, directly or indirectly, the

                  sale and/or   solicitation of XRP to the public.

10                        28.     The defendants referred to in 111117-27 are referred to as the “Individual Defendants.”

ll                                                       SUBSTANTIVE ALLEGATIONS

12                       A.       The Background of XRP

13                        29.     Unlike cryptocurrencies such       as   Bitcoin and Ethereurn, which are Lmined by those

14                validating transactions on their networks, all 100 billion XRP in existence were created out of thin
15‘               air by Ripple Labs in 2013. Twenty billion XRP, or 20% of the total XRP supply, were given to

16                the individual founders    of Ripple Labs,2 with the remaining 80 billion retained by' Ripple Labs.
17                        30.      As for 80 billion XRP held by Ripple Labs, the plan was to sell them and use the
18                proceeds to ﬁmd and improve Company operations, including the XRP ledger network.

19                        31.      Ripple Labs’ own wiki notes that “Ripple Labs sells XRP to fund its operations and

20 promote the network. This allows Ripple Labs to have a spectacularly                            skilled team to develop and

21                promote the Ripple protocol and network.”3                                        .           .




22                        32.      In the ﬁrst quarter of 2018, “market participants purchased $16.6 million [of XRP]
23                directly from XRP II, LLC,” XRP         II also “sold $151.1 million worth of XRP” on exchange.4
24

25.               2
                          Defendant Chris Larsen received 9.5 billion XRP.
26 3
         Ripple credits, https://wiki.ripple.corn/Ripple_credits#XRP funds                                the       development   and
27 promotion of the prrotocol and the network (last visited June 29, 2018).
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                        33.     Ripple Labs’ primary business involves the operation of an open ledger protocol,

                payment, and exchange network. The native cryptocurrency for Ripple Labs’ exchange network is

                XRP.    Thus, XRP is both an investment in the Company (as sales are used to fund Company

                operations with the expectation that such investments in the Company         will   increase the value    of
                XRP) and an investment in itself (with the expectation that the value    of XRP will increase),    as   well
                as a means    of exchange promoted by Ripple Labs.
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                        34.     Ripple Labs’ exchange network is based around the XRP Ledger. The XRP Ledger
                consists   of many   servers, called nodes, which accept and process transactions. Client applications

                sign and send transactions to nodes, which then relay these candidate transactions throughout the

10              network for processing. Transactions are then veriﬁed and become part of the XRP Ledger through

ll              a consensus process.      Every XRP transaction 'must be made through Ripple Labs’ XRP Ledger,
12              which is maintained by Defendants. In order to open an account on the XRP Ledger, users must
13              maintain a minimum account balance        of 20   XRP. In addition, each time a transaction is made in

14              XRP, there is a transaction cost to users.

15                      35.     Ripple Labs’ founders and other Company insiders have also proﬁted individually

16              from their XRP holdings. In January 2018, Ripple co—founder Defendant Larsen was named one of
17              the richest people in the United States, with an estimated net worth     of $59.9 billion, primarily    due

18              to the increase in value in XRP and his personal ownérship        of billions of XRP   and his significant

19 “stake              in the Company.5
20                      36.     Defendants have control over how many XRP are in the market.

21                      37.     No registration statement has been filed for XRP with the SEC and no registration

22.             statement is in effect for XRP.

23

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                4
25                      Q1 2018 XRP Markets Report, https://ripp1e.com/insights/ql~2018—xrp—markets—report/ (last
                visited June 29, 2018).
26              5
                      https://www. cnbc. com/201 8/0 1/04/ripple—co-founder-is-now—richer—than-thc— goo gle-founders—
27              on-paper.html (last visited on June 29, 2018).

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                               B. Defendants Splicit XRP Sales

                         38.      From 2013 to the present, Defendants and their afﬁliates have been engaged in an

                 ongoing scheme to sell XRP to the general public.

                         39.      Ripple Labs dedicates an entire section of its website to providing advice on “How to

                 Buy XRP.” This section provides links-to online exchanges and instructions on “[h]ow to buy
                 XRP” on those exchanges.6 It also has a section titled “Market Performance” which proclaims that
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                 Ripple Labs is “committed to the long term health and stability of XRP markets.”7

                         40.     ,Ripple Labs also consistently promotes the availability of XRP on exchanges. For
                 example, on May 18, 2017, its Senior Vice-President for Business Development, Patrick Grifﬁn,

10               tweeted a     link to the Kraken exchange with the caption: “Kraken Introduces New Fiat Pairs for
11               XRP Trading! USD, JPY, CAD, EUR @ Ripple.”B

12                       41.      Similarly, on or about December 21, 2017, Ripple Labs tweeted in Japanese that
13               XRP was now available on over 50 exchanges.9 That tweet linked to an article on Ripple Labs’

14               website which described XRP as “the fastest and most scalable [digital] asset on the market.”10             It
15               continued, “[t]he market is taking notice      of XRP’s   speed,   reliability and scalability   —   which has

16               strengthened the demand for XRP and where it’s listed. In fact, we’re proud to announce that XRP

17               has gone      from being listed on six exchanges earlier this year to more than 50 worldwide.” The
18               article also links to a number    of online   exchanges where XRP can be purchased, and states that

19               “XRP’s long—term value is determined by its utility          —     including its ability to help ﬁnancial
20 institutions source                 liquidity for payments into and out of emerging markets.”
21
                 6
22                       XRP Buying Guide, https://ripple.corm’xm/buy—xrp/ (last visited on June 29, 2018).
                 7
23                       Market Performance, https:.//ripple.com/xrp/market—performance/ (last visited on June 29, 2018)
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24                     @patgrifﬁn9, httpsz/ltwitter.com/patgrifﬁn9/status/865251321867231233 (last visited on June
                 29,2018).
25               9
                         @Ripple, https://twitter.com/Mpple/status/943999526783905792 (last visited on June 29, 2018).
26               10
                         XRP Now Available on 50 Exchanges Worldwide, httpsz/lripple.com/insights/xrp—now—
27               available—on—SO-exchanges—worldwide/ (last visited on June 29, 2018).

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                                   42.      Ripple Labs also hosts conferences to generate interest in XRP.                  For example,
          [\J              between October 16 and October 18, 2017,                 it   hosted a conference named “Swell” in Toronto.

                           Ripple Labs acknowledged that “[a]nticipation around the event spurred a meaningful spike in

                           XRP, pushing     it up   100 percent[.]”11

                                   43.      On the same day, CoinDesk, a subsidiary of Digital Currency Group, which has an
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                           ownership interest in Ripple Labs, published an article titled “Ripple Price Passes Historic $1

                           Milestone”,12     This was just one of many instances in which Ripple Labsi would promote price

                           movements      of XRP.
                                   44.      Ripple Labs’ promotion of XRP’s price reached new highs in December 2017. In

         10                one instance, Ripple’s XRP product manager retweeted a tweet exclaiming:                “Wow, XRP at all-time
         11                high! Forget about bitcoin, we’re all in on XRP!” (Emphasis added.)13

         12                        45.      Around that same time, on or about December 7, 2017, Ripple Labs announced that
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         13                it had placed “55 billion XRP in         a cryptographically—secured escrow account to create certainty     of
         14                XRP supply at any given time”:4           It had been previously      announced in May 2017 that this would

         15                happen along     with    a   limited distribution schedule. This was done to limit the available supply of

         16                XRP and drive price appreciation, which allowed Defendants to maximize proﬁts from XRP sales.

         17                The December 7, 2017 announcement stated:

         18                              By securing the lion’s share of XRP in escrow, people can now mathematically verify
                                         the maximum supply that can enter the market. While Ripple has proved to be a
         19                              responsible steward of XRP supply for almost ﬁve years — and has clearly
                                         demonstrated a tremendous track record of investing in and supporting the XRP
         2o

         21
                           11
         22                        14Q3 2017 XRP Markets Report, https://ripple.com/xrp/q3~2017—xrp-markets-report/ (last
                           visited on June 29, 2018).
..       23                12
                                   Ripple Price Passes Historic $1 Milestone, https://www.coindesk.com/ripple—price~passes—
         24 historic~1-milestone/ (last visited on June 29, 2018).
                           ‘3
         25                      @warpaul, httpszlltwitter.com/yoshitaka_kitao/stams/940785785925709829 (last visited on June
                           29,2018).
         26                14
                   https://ripp1e.com/insights/ripple—escrows—55—billion—xrp-for—supply—predictability (last visited on
         27 June 29, 2018).

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                                ecosystem — this lockup eliminates any concern that Ripple could ﬂood the market,
                                which we’ve pointed out before IS a scenario that would be bad for Ripple! 5
                          46.      The article contained a button to allow readers to share       it   on Twitter with the caption

                  “Game changer for $XRP! 55 billion XRP now in escrow.”16 Ripple also promoted this article through

                  its own tweet, which proclaimed: “55B $XRP is now in escrow.               Interested in what this means for

                  $XRP markets?”17 Garlinghouse was even more enthusiastic, tweeting: “Boom! 55 B $XRP now in
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                  escrow.     Good for supply predictability and trusted, healthy $XRP markets.            Glad to ﬁnally let this

                  #cryptokitty out of the bag!”18

                          47.      Ripple’s public commitment to limit the supply of XRP had its intended effect. In the

                  weeks that followed, the price       of XRP rapidly increased, from approximately $0.22 per token on
10
                  December 7, 201.7 to $3.38 per token on January 7, 2018.19
11
                          48.      Ripple Labs’ CEO, Brad Garlinghouse, has also been a vocal advocate for investing
12
                  in XRP. In a December 14, 2017 interview with Canada’s Business News Network (“BNN”), when
l3
                  asked   if he is personally     invested in XRP, the CEO stated      “I’m long XRO, I’m very, very long
14
                  XRP    as a percentage   of my personal balance sheet.” He continued, stating that he is “not long some
15
                  of the other [digital]   assets, because   it   is not clear to me what’s the real    utility, what problem    are
16
                  they really solving.” And ended by reiterating           “if you’re solving a real problem, if it’s     a scaled
17
                  problem, then     I think you have   a huge opportunity to continue to     grow that. We have been really
18
                  fortunate obviously,     I remain very, very, very long XRP, there is an expression in the industry
19
                  HODL, instead of hold, its HODL        . . .   I’m on the HODL side” (emphasis       added).
20

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                  15
23                        Id.
                  ‘6
24                        Id.
                  17
25                        https://twitter.com/Ripple/status/938933967956389889.
                  18
26                          https://twitter.com/bgarlinghouse/statlis/93 8933791 145 33 6832?]ang=en.
                  19
27                       XRP would subsequently lose nearly all its value in just over three months, falling to           a   low of
                  approximately $0. 48 per token on April 6, 2018.
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                         49.     Later that same day, Garlinghouse tweeted: “Bloomberg welcomes $XRP to

 N              @theterminal and gets     it right — #2 market cap behind $BTC at ~$8_0BB!”2°
                         50.     About   a week later, on or about December 22, 2017, Garlinghouse tweeted an article

                titled “Bitcoin Is So 2017     as   Ripple Soars at Year End,” with the caption    “I’ll let the headline speak
                for itself. $xrp.”21
                     '


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                         51.     On or about January 17, 2018, Garlinghouse tweeted a CNBC article titled “Ripple is

                sitting on close to $80 billion and could cash out hundreds of millions per month-but               it isn’t,” with
                the caption    “A good read on Why fostering a healthy $XRP ecosystem is a top priority at @Ripple.”
                         52.     However, the reality was that Ripple Labs was doing exactly that               —    cashing out.

10              Defendants sold at least $167.7 million worth          of XRP between January        1,   2018 and March 31,

11              2018.

12                       53.     Given its reliance on sales of XRP to ﬁnd its operations, it is unsurprising that
13              Ripple Labs’ aggressively markets XRP to drive demand, increase the price of XRP, and
                                                                I



14              consequently, its own proﬁts.

15                       54.     Defendants’ advertising and social media postings also conﬂate adoption and use of

16              Ripple Labs’ xCurrent and xVia enterprise solutions with adoption and use                 of XRP,    even though

17              they oﬁen have little to no correlation and do not involve the XRP Ledger. Defendants do this to

18              drive demand for 'XRP and thereby maximize proﬁts from XRP sales.

19                       55.     According to its site, “xCurrent is Ripple’s enterprise software solution that enables

20 banks to instantly settle cross—border payments                     with end-to-end tracking. Using XCurrent, banks
21              message each other     in real-time to conﬁrm payment details prior to initiating the transaction and to
22              conﬁrm delivery once it settles. ”22

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                2°
                         @bgarlinghouse, https://twitter.com/bgarlinghouse/status/94l375649549246464 (last visited on
24              June 29, 2018).

25 2’                    @bgarlinghouse, https://twitter.com/bgarlinghouse/status/944325730338357248 (last visited on
                June 29, 2018).
26
                22
                       Process Payments, xCurrent, httpszl/ripple.com/solutions/process-payments/ (last visited on June
27              29, 2018).

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                                 56.     xCurrent doesn’t 'operate on the same technology      as       XRP or even require the use of
                       XRP. In short, there is no reason to believe that adoption         of xCurrent would correlate in       any way

                       with adoption of XRP.
                                 57.     Nor does use of Ripple Labs’ xVia product require adoption of XRP. Ripple Labs
                       states that its   xVia product is “for corporates, payment providers and banks who want to                    send
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                       payments across various netwOrks using a standard interface.”23

                                 58.     Ripple Labs nevertheless conﬂates the adoption of xCurrent and xVia with the
                       adoption    of XRP.
                                 59.     Another of Ripple Labs’ enterprise solutions, xRapid, which does use XRP, is also

    10                 used to drive XRP sales (xRapid, along with xCurrent and xVia, are together referred to herein as

    11                 “Ripple Labs’ Enterprise Solutions”).

    12                           60.     Indeed, Ripple Labs regularly promotes its improvements to the XRP ecosystem,

    13                 which are intended to increase demand for XRP and thus potential returns for XRP investors. For

    14                 example, in describing the reasons behind the dramatic price appreciation              of XRP during   the fourth

    15                 quarter   of 2017, Ripple speciﬁcally cited as of “particular importance,” the Company’s various business
    16                 initiatives, including: (i) Ripple’s partnership with American Express/Santander; (ii) Ripple’s activation

    17                 of the previously discussed escrow of XRP to limit periodic offers and distributions;                  and   (iii)   a

    18                 Japanese/Korean banking consortium backed by the Company.24 In the report, Ripple stated that its

    19                 “consistent and steadfast support      of XRP   is a major advantage as the payments industry continues to

    20                 seriously consider it as an alternative liquidity solution.”25

    21                           61.     A November 2015 white paper by the Company highlighted “XRP’s Role on Ripple
    22                 and the Internet    of Value”   and how the Company’s technologies could turn a “Spark to a Wildﬁre”
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    24                 23
                                 Send Payments, xVia, https://ripp1e.com/solutions/send—payments/ (last visited on June 29,
    25                 2018)
                       24
    26                           Q4 2017 XRP Markets Report, https://ripple.com/insights/q4—2017—xrp-markets—reportl.

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                     by increasing liquidity and efficiencies for cross—border transactions for the Company’s banking
{\J                  clients.    A February   2016 white paper followed up on those purported “network effects,” claiming

                     that the use     of the Ripple network           at XRP would increase banks’ returns on investment by

                     improving the global payment infrastructure.

                                62.   'In addition, on March 20, 2017, Ripple Labs retweeted a Bloomberg article regarding

                                              Labs Enterprise Solutions, proclaiming “Ripple is the only company in this
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                     adoption     of Ripple
                     space   with real customers who are really in production.”26
                                63.    The price   of XRP      increased rapidly following this tweet and on March 24, 2017

                     Ripple Labs tweeted: “The price          of #XRP      continues to surge showing that people are looking for

10                   #bitcoin alternatives.”27

11                              64.    On April 26, 2017, Ripple Labs tweeted a link to an article on its own site,

12                   proclaiming “#Ripple welcomes            10'   additional customers to our #blockchain #paymentsnetwork.”28

13                   Neither this tweet nor the article             it linked   to informed readers that the blockchain payments

14                   network did not refer to the XRP Ledger, but rather Ripple’s xCurrent enterprise solution.

15                              65.    Just days later, on May 3, 2017, with the price           of XRP continuing to     rise, Ripple

1.6                  Labs tweeted: “#Ripple adoption is sparking interest in XRP ‘which has had an impressive rally in

17                   the last months’ via @Nasdaq.”29

18                              66.    Articles such   as   “Ripple XRP price picks up pace      as demand   for xVia API increases”
19                   have made the direct connection between the price                 of XRP   and the adoption   of   the Company’s

20

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                     26
24                              @Ripple, https://twitter.com/Ripple/status/8440097783 09357568 (last visited on June 29, 2018).
                     27
25                              @Ripple, https://twitter.com/Ripple/status/845347809830195200 (last visited June 29, 2018).
                     23
26                              @Ripple, https://twitter.com/Ripple/status/857267304618278912 (last visited June 29, 2018).
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27                              @Ripple, https://twitter.com/Ripple/status/859904105916923904 (last visited June 29, 2018).

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                    Enterprise Solutions.30 Ripple itself has made this link, for example tweeting on May 16, 2017: “The

                    appeal that Ripple has towards traditional ﬁnancial institutions is a big advantage                  it has over Bitcoin.”31
                               67.       On June 29, 2017, Ripple Labs tweeted a clip                         of   an interview its CEO Brad

                    Garlinghouse gave on CNBC with the caption: “#XRP—up 4000% this year—has shown the market

                    favors a real use case for #digitalassets           .   .   .
                                                                                    3’32    In that interview, Garlinghouse proclaims that
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                    “digital     assets are   in   a   position to be more valuable than gold,” and describes XRP                 as   “solving    a

                    real-world use case, it’s not just about speculators.”

                               68.       On September 11, 2017, Garlinghouse stated in an interview with CNBC: “People are

                    looking at the success Ripple has been having               as a company,             I
                                                                                                    and think that’s increased the value of

10 XRP.”33                           (emphasis added). He continued by stating that Ripple wants “to keep focusing on making

11                  XRP a valuable payments tool, and that value                will       increase accordingly,” and he was “voting with my

12                  . . .   pocketbook on the future increased value of cryptocurrencies.”34

13                             69.       On November 27, 2017, Garlinghouse tweeted “Ripple                        & $XRP   are giving business

14                  ‘what they want in a #blockchain,”’ along with a link to a Motley F 001 tweetss That Motley Fool

15                  tweet in turn stated that “AmEx and Banco Santader                           will   use Ripple’s blockchain network for

16                  instant intl. fund transfers. Could be a big deal for Ripple’s XRP cryptocurrency. $ASP $SAN”

17                  (emphasis added.)36

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19                  3°
                               httpszllglobalcoinreport.eom/ripple—xrp—price—picks~up—pace—as—demand-for—xvia—api-increases/.
2o                  3‘
                               @Ripple, https://twitter.com/Ripple/status/864635614020251649.
21                  32
                               @Ripple, https://twitter.com/Ripple/status/SBOS32198025121793 (last visited June 29, 2018).
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                            htpps://www.cnbc.corn/2017/09/1 1/ripple—ceo-brad—garlinghouse—on—bitcOin—and—xrp.html                           (last
23                  visited June 29, 2018).
                    3“
24                             Id.
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25                             @bgarlinghouse, https://tWitter.com/bgarlinghouse/status/935225940845711366 (last Visited on
                    June 29, 2018).
26                  36
                               @themotleyfool, https://twitter.com/themotleyfool/status/934850515640471553 (last visited on
27                  June 29, 2018).

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               70.       Similarly, on December 14, 2617, Ripple Labs tweeted: “The Japan Bank
 h.)
       Consortium launched a Ripple pilot with two large Korean Banks               * the ﬁrst time money moves
       from Japan to Korea over RippleNet.”37 On that same day, Ripple Labs tweeted“‘@garlinghouse

       [its CEO’s twitter handle] on why crypto prices        will   be driven by real   utility, the multi—trillion   $

       problem @Ripple is solving and ‘why $XRP         will come out on top.”381
               71.       Ripple Labs would later acknowledge that “neither the AlVlEX news nor the Korean

       bank initiative involved XRP.”

               72.       Nevertheless, this tweet linked to a BNN interview with Mr. Garlinghouse, in which
                                                                 /

   he says:
 \o\




           The reason why XRP has performed so well this year, we’re solving a real problem,
10         it’s a multi-trillion dollar problem around cross-border payments. There is a lot of
           friction its very slow its expensive, we’re working with the institutions to deal with
11       'that, so people have gotten excited. We now have over 100 customers we’ve
           announced publicly.
12
               He continues,
13
               [A]t the end of the day the value of digital assets will be driven by their utility. If
14             they are solving a real problem, and that problem has scale, and that problem, you
               know there is real value there, then there will be demand for the tokens and the price
15             will go up. For XRP we have seen because its required, its something that can really
               reduce the friction, and we’re talking about a multi—trillion dollar problem in how
16             cross-border payments ﬂow. And so, I think if you drive real utility, yes there’s
               going to be demand for that. XRP is up 100x this year, and I think it’s because the
17             problem we are solving people realize is a real problem, it’s a big problem.
18     (Emphasis added.)                                                                               .




19             73.       On January 4, 2018, following XRP’S rapid price increase, The New York Times

20 published an article        by Nathaniel Popper titled: “Rise of Bitcoin Competitor Ripple Creates Wealth
       to Rival Zuckerberg.”39 Mr. Popper tweeted a         link to this article with the caption: “On the rise of
                                                                                                                           ‘




21

22

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24     37
               @Ripple, httpszl/twitter.com/Ripple/status/941501026267316224 (last visited on June 29, 2018).
25     3"                  )             .



               @Ripple, https://twitter.com/Ripple/status/941352005058011137 (last visited on June 29, 2018).
26     39
               @nathanielpopper, “Rise       of Bitcoin Competitor Ripple   Creates Wealth to Rival Zuckerberg,”
27     NY TIMES  (Jan. 4, 2018.).

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                                                       COMPLAINT
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                    If this is a tulip fever, the fever has Spread to Chrysanthemums and poppies”4°. He ﬁirther
              Ripple.
 Rx.)
              commented, “I’ve asked several people close to banks if banks are indeed planning to begin using

              Ripple’s token XRP, in a serious way, which is what investors seem to assume when they buy in at

              the current XRP. prices. This is a sampling what I heard back:

                              0     Actual use of XRP by banks is not something I’ve heard about, I ﬁnd the
                                    run up absolutely blufﬁng, as do all the blockchain folks I know at large
                                    Fis.
 \Oooﬂoa-hm




                              o     XRP isn’t used for anything. The hope is that someday              it will   be by
                                    banks, but there really aren’t banks signaling that yet.
                              a     I would    be surprised   if there have been any real bank transactions done
                                    with it (outside of maybe test transactions), despite people making claims
                                    to the contrary.

10
                              0     It’s not clear to me why XRP would      be used by banks at all. XRP could
                                    potentially be adopted by consumers as a payment rail, although they
                                    don’t yet have meaningful traction in that regard.
11
                              a     I haven’t seen a sufficiently large catalyst in the ﬁmdamentals of Ripple to
12                                  justify a greater than 10x move in the price of $XRP in the last month.
13
                              0     In a few years we’re going to look back on 2017 and think WTF Were we
                                    thinking.”41
14
                        74.   Defendant Garlinghouse publicly responded to this, tweeting: “Over the last few
15
              months I’ve spoken with ACTUAL banks and payment providers. They are indeed planning to use
16
              xRapid (our XRP liquidity product) in a serious way          . . .   .” He follows up stating,     “I don’t think
17
              you want to hear about validation for XRP.                 The @NYTimes should be above spreading
1%;
              anonymous FUD.”42        FUD, which stands for fear, uncertainty, and doubt, is an expression
19
              frequently used among crypto-investors to deride or undermine criticism of an asset.
20
                        75.   On January 4, 2018, Ripple’s XRP product manager also attacked Mr. Popper,
21
              tweeting: “Do you think      I left #Bitcoin   and joined @Ripple to build bank software? Think again.
22

23 .40
                     @nathanielpopper, https://'twitter.com/bgarlinghouse/status/949129952716234752 (last visited
24            on June 29, 2018).
              41
25                   @nathanielpopper, https://'twitter.com/bgarlinghouse/stams/949129952716234752 (last visited
              on June 29, 2018).
26            42
                     @nathanielpopper, httpsz/ftwitter.com/bgarlinghouse/status/949129952716234752 (last visited
27            on June 29, 2018).

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                                                     $XRP.”43      This tweet linked to a Ripple Labs tweet stating that “3 of the top                    5   global money

                                                     transfer companies plan to use XRP in payment ﬂows in 2018. Even more in the pipeline.”

                                                             76.      In January 2018, Ripple Labs touted “a partnership with MoneyGram                        —   one   of the
                                                     world’s largest money transfer companies                —   to use xRapid and XRP for near real-time cross—border

                                \DOOQO‘xU‘I-hwlold
                                                     payments. In addition, there are a number               of other xRapid deals   at various stages   of completion in
                                                     the pipeline.”     It   also stated that    it   wanted “to build the necessary markets infrastructure for

                                                     eventual direct usage      of XRP by ﬁnancial institutions.” Defendant Garlinghouse                      commented on

                                                     this partnership, saying: “And to be clear: @MoneyGram announcement is one step in a marathon

                                                     ahead to   truly make $XRP the global liquidity solution for payment providers and banks.”44
                                                             77.      By way of the internet, including Ripple Labs’ website, Twitter, and the over                         50

                                                     cryptocurrency exchanges that trade XRP, interstate means are used in connection with the offer

                                                     and sale   of XRP.
                                                                   C. XRP Is a Security
                                                             78.      Plaintiff and the Class invested ﬁat, including US. dollars, and other digital
NNNp—tr—dv—AHi—‘v—ti—Ir—IHi—n
                                                     currencies, such as Bitcoin and Ethereum, to purchase XRP.

                                                             79.      Defendants sold XRP to the general public through global, online cryptocurrency

                                                     exchanges. XRP can be bought or sold on over 50 exchanges.

                                                             80.      Every purchase of XRP by a member of the public is an investment contract.
                                                             81.      Under Section 2(a)(1) of the Securities Act, a “security” is defined to include an
                                                     “investment contract.” 15 U.S.C.        §   77b(a)(1). An investment contract is “an investment of money
                                                     in a common enterprise with proﬁts to come solely from the efforts of others.” SE. C. v,                              W.J.

                                                     Howey Co., 328 US. 293, 301 (1946).                         Speciﬁcally, a transaction qualiﬁes     as an     investment

                                                     contract and, thus, a security      if it is:    (1) an investment; (2) in a common enterprise; (3) with a



                                                     43
                                                             @Warren. Paul Anderson, https://twitter.com/warpaul (last visited on June 29, 2018).                  ‘


                                                     44
                                                             @bgarlinghouse, https://twitter.corn/bgarlinghouse/status/951461582424358912 (last visited on
                                                     June 29, 2018).                                     .        \




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                                                                                                             COMPLAINT
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                   reasonable expectation      of proﬁts; (4) to be derived from the entrepreneurial or managerial efforts of
 N                 others.    See   United Housing Foundation, Inc. v. Forman, 421 U.S. 837, 852-53 (1975). This

                   deﬁnition embodies a “ﬂeirible rather than              a static     principle, one that is capable of adaptation to
                   meet the countless and variable schemes devised by those who seek the use                    of the money of others
                                                        7‘)
                   on the promise       of proﬁ     ,         and thereby “permits the        fulﬁllment of the statutory purpose of
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                   compelling full and fair disclosure relative to the issuance of ‘the many types               of instruments   that in

                   our commercial world fall within the ordinary concept of a security.”’ Howey, 328 U.S. at 299.

                   Accordingly, in analyzing whether something is a security, “form should be disregarded for
                   substance,” and the emphasis should be “on economic realities underlying a transaction, and not on

10                 the name appended thereto.” Forman, 421               US. at 849.
11                           82.     Plaintiff and the Class were investing in               a common enterprise    with   a reasonable

12                 expectation     of profits when they invested in XRP.
13                           83.     The profits    of Plaintiff     and the Class are intertwined with the fortunes         of Ripple
14                 Labs. Ripple Labs concedes that                it “sells XRP    to ﬁmd its operations and promote the network:

15                 This allows Ripple Labs to have a spectacularly skilled team to develop and promote the Ripple

16                 protocol and network.”"’5

17                           84.    Notably, the SEC has already concluded that virtual Currency substantially similar to
18                 XRP are “securities and therefore subject to the federal securities laws.” As stated by the SEC,

19                 “issuers   of distributed   ledger or blockchain technology-based securities must register offers and

2o                 sales   of such securities unless a valid exemption applies.”46
21                           85.    No such valid exemption from registration requirements exists for XRP.
22                           86.     The current SEC Chairman, Jay Clayton, III, recently said,              “I have yet to see an ICO
23                 that doesn’t have a sufﬁcient number             of hallmarks of a security.”47
24
                   45
                             Ripple credits, https://wiki.ripple.com/Ripple credits#XRP (last visited on June 29, 2018).
25
                   46
           Press Release. SEC Issues Investigative Report Concluding DAO Tokens, a Digital Asset, Were
26 Securities, SEC (July 25, 2017), https: //www. sec. gov/news/press—release/ZOl7— 131.
           Dave Michaels       and Paul Vigna,            “SEC Fires Warning Shot Against Coin
27 Offerings,” WALL STREET JOURNAL
                                        (Nov. 9, 2017).
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                                               CLASS ACTION ALLEGATIONS
                  87.      This suit is brought      as a class   action pursuant to Section 382 of the California Code

           of Civil Procedure, on behalf of a        Class    of all persons or entities who        purchased XRP from July 3,

           2015 through the present. Excluded from the Class are Defendants; the ofﬁcers and directors                          of the
 #0111.t
           Company and XRP         II   at all relevant times; members        of their immediate families             and their legal

           representatives, heirs, successors, or assigns; and any entity in which Defendants have or had a

           controlling interest.                                                                ‘




  00               88.     Plaintiff reserves the right to amend the Class deﬁnition
                                                                                           1
                                                                                                    if further investigation   and/or

           discovery indicate that the Class deﬁnition should be modiﬁed.

10                 89.     The members      of the   Class are so numerous that joinder        of all members      is impracticable.

ll         While the exact number of Class members is unknown to Plaintiff at this time and can only be

12         ascertained through appropriate discovery,         Plaintiff believes that there are thousands of members of the
13         proposed Class. The members        of the proposed Class may be identiﬁed from records maintained by the
14         Company and niay be notiﬁed of the pendency             of this action by mail, using customary forms of notice
15         that are commonly used in securities class actions.

16                 90.     Plaintiff‘ s claims are typical of the claims of the members of the Class             as   all members of
17         the Class are similarly affected by Defendants’ wrongful conduct.

18                 91.     Plaintiff will fairly and adequately protect the interests of the members of the                Class and

1‘9        has retained counsel competent and experienced          in class and securities litigation.

20                 92.     Common questions      of law      and fact exist as to all members       of the Class   and predominate

21         over any questions solely affecting individual members            of the   Class. Among the questions          of law   and

22         fact common to the Class are:

23                         (a)     whether XRP are securities under the Securities Act;

24                         (b)     whether the sale of XRP violates the registration requirements of the Securities

25                                 Act; and
26                         (c)     to what extent Plaintiff and members         of the Class have sustamed'damages             and the

27                                 proper measure of damages.

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                                                                COMPLAINT
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                   93.      A   class action is superior to all other available methods                for the fair and efﬁcient
    N     adjudication    of this controversy    since joinder   of all      members is impracticable.       Furthermore,   as the

    b.)
          damages suffered      by individual Class members may be relatively small, the expense and burden of
    .h    individual litigation make it impossible for members of the Class to individually redress the wrongs
    UI
          done to them. There     will be no difﬁculty in the management of this action as a class action.
    0\                                               CAUSES OF ACTION ‘
    \l
V
                                                    FIRST CAUSE OF ACTION
                                  Unregistered Offering and Sale of Securities in Violation of
                                          Sections 5 and 12(a)(1)of the Securities Act
                                                   (Against All Defendants)
10                 94.      Plaintiff, on behalf of himself and all others similarly situated, realleges and incorporates

11        herein by reference each and every allegation contained in the preceding paragraphs                  of this complaint,
12        and further alleges as follows:

13                 95.      Defendants, and each     of them, by   engaging in the conduct described above, directly or

14        indirectly, made use of means or instruments of transportation or communication in interstate commerce

15        or   of the mails, to offer to sell or to sell securities, or to carry or         cause such Securities to be carried

16        through the mails or in interest commerce for the purpose             of sale or for delivery after sale.
17                 96.      XRP are securities within the meaning of Section 2(a)(1) of the Securities Act, 15 U.S.C.

18        §77b(a)(1).

19                 97.      Plaintiff and members of the Class purchased XRP securities.
20                 98.      No registration statements have been ﬁled with the SEC or have been in effect with

21        respect to any   of the offerings   alleged herein. N0 exemption to the registration requirement applies.

22                 99.      SEC Rule 159A provides that, for purposes of Section l2(a)(2), an “issuer” in “a primary

23        offering of securities” shall be considered a statutory seller. 17 C.F.R.              §   230.159A(a). The Securities

24 Act in turn deﬁnes “issuer” to include every person who issues or proposes to issue any security. 15

25        U.S.C.   §   77b(a)(4). Ripple Labs and XRP     II are issuers of XRP.
26                 100.     The US. Supreme Court has held that statutory sellers under §12(a)(l) also include “the

27 buyer’s immediate seller” and any person who actively solicited the sale                      of the securities to plaintiff and
28
                                                                       19
                                                             COMPLAINT
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                     .did so   for ﬁnancial gain.    See   Pinter v. Dahl, 486 US. 622,         644- n.21   &    647 (1988); accord, e.g., Steed

 N                   Finance LDC v. Nomura Sec. Int ’1, Inc. No. 00 Civ. 8058, 2001 WL 1111508, at *7 (S.D.N.Y. Sept. 20,

                     2001). That is, §12(a)(1) liability extends to sellers who actively solicit the sale                       of securities with   a

                     motivation to serve their own ﬁnancial interest or those of the securities owner. Pinter v. Dahl, 486 US.

                     622, 647 (1988); Capri v. Murphy, 856 F.2d 473, 478 (2d Cir. 1988). Ripple Labs, XRP                                II, and the
 KDOO\IO\U‘I-J>~UJ




                     individual Defendants are all statutory sellers.

                               101.    By reason of the foregoing,     each    of the Defendants      have violated Sections 5(a), 5(c), and

                     12(a)   of the Securities Act,   15   U.S.C. §§77e(a), 77e(c), and 771(a).

                               102.    As a direct and proximate result of Defendants’ unregistered sale of securities, Plaintiff

10                   and the Class have suffered damages in connection with their XRP purchases.

11                                                             SECOND CAUSE OF ACTION

12                                                  Violation of Section 15 of the Securities Act
                                                (Against Ripple Labs and the Individual Defendants)
13
                               103.    Plaintiff, on behalf of himself and all others similarly situated, realleges and incorporates
14
                     herein by reference, each and every allegation contained in the preceding paragraphs                         of this Complaint,
15
                     and further alleges as follows:
16
                               104.    This Count is asserted against Defendants Ripple Labs and the Individual Defendants
17
                     (collectively, the “Control Person Defendants”) under Section 15 of the Securities Act,                       15 U.S.C. §77o.
18
                               105.    The Control Person Defendants, by virtue          of their ofﬁces, ownership, agency,            agreements
19
                     or understandings, and speciﬁc acts were, at the time of the wrongs alleged herein, and                            as set   forth
20
                     herein, controlling persons within the meaning           of Section   15    of the Securities Act/ The Control Person
21
                     Defendants, and each       of    them, had the power and inﬂuence and exercised the same to cause the
22
                     unlawful offer and sale of XRP securities        as   described herein.
23
                               106.    The Control Person Defendants, separately or together, possess, directly or indirectly, the
24
                     power to direct or cause the direction of the management and policies                      of XRP   11,   through ownership of
25
                     voting securities, by contract, subscription agreement, or otherwise.
26
                               107.    The Control Person Defendants also have the power to direct or cause the direction of the
27
                     management and policies        of Ripple Labs.
28
                                                                                 20
                                                                            COMPLAINT
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                              108.     The Control Person. Defendants, separately or together, have sufﬁcient inﬂuence to have
                                                                                                                                   '


                   caused XRP        II and/or Ripple Labs to submit a registration statement.
                              109.     The Control Person Defendants, separately or together, jointly participated in Ripple
                                                                                ’
                                                                                                                  I
                   Labs’ and/or XRP II’s failure to register XRP.

                              110.     By virtue of the conduct alleged herein, the Control Person Defendants         are liable for the

                   wrongﬁll conduct complained of herein and are liable to Plaintiff and the Class for rescission and/or
     KOOONONU‘IA




                   damages suffered.

                                                                   PRAYER FOR RELIEF
                            WHEREFORE, Plaintiff prays for judgment as follows:

    10                      A.         Declaring this action to be a prOper class action and certifying Plaintiff             as Class

    11             representative;

    12                      B.         Declaring that Defendants offered and sold unregistered securities in violation of

    13             Sections 5(a), 12(a), and     1.5   of the Securities Act;
.




    14                        C.       Awarding Plaintiff and the other members of the Class rescission of their XRP purchases;

    15                      D.         Awarding Plaintiff and the other members of the Class compensatory damages;

    16                        E.       Awarding Plaintiff and the other members of the Class pre—judgment and post—judgment

    17             interest, as well as reasonable attorneys’ fees, expert witness fees, and other costs and disbursements;

    18                      F.         Requiring an accounting of all remaining assets and funds raised by Defendants through

    19             the sale   of XRP;
    2o                        G.       Imposing a constructive trust over the assets and funds raised by Defendants through the

    21             sale   of XRP;
    22                      H.         Enj oining and restraining Defendants from violating the securities laws through the

    23             continued unregistered sale         of XRP;   and

    24

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                                                                         COMPLAINT
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                                                                      SCQTT+SCOTT ATTORNEYS AT LAW L‘LP
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                                                    Other PIIPDNVD (23)                                                           1.-. L; condemnation (14)                                                   above listed provisionally complex case
                                                                                      Ion                                                .Wrongful eviction (33)                                              IYPQS (41)
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                                               ;'   Business tort/unfair business practice (OZ)                                  [:12 'Other real.property;(26)                                   Enforcement of Judgment
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                                                    Fraud (10)
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                                                                                                                                                                                                  1:]
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                    .-:                     Wrongfiii termination (36)
                                                    Other employment                          (1. 5)           .H.      .
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                                                Large number._ of separately represented parties       6.
                                                                                                         is n'o't
                                                                               complex under rule 3. 400 .of- the. California Rules of Court. if the case. is complex Inarir; the

                                                                                                                 Large number of witnesses



                                       c.    -  Extensive motion practice raising difﬁcult or noyel
                                                issues that will be time-consuming to. resolve
                                                Substantial amount of documentary evidence
                                                                                                       e..1Q Coordination with related actions pending in oneior more codrts.

                                                                                                       f.                                                   -.
                                                                                                                 in other counties; states, or countries; or in a federal court
                                                                                                                 Substantial postjudgment judicial supervision

                                                                                                                                                                                                                                                                c.   [:1 punitive
        5.11.915”
                                       Number       causes of action (specify): There are two: 15 U. S. C. sections 771 and 77 O
                                                       01

                    .                  This case           is         is not   a class ac'ion suit
                                                                                                                                 ‘
        97.
                    .ii                  th'ere' are any k‘noWn related case's. tile and serve a notice: .of related .ca.‘se (Yo

         D:ate                               Ju1y3, 2018
    JohnT. Jasnoch                                                                              _
                                                                                                                                       -    -
                                                                                                                                                                      D'
                                                                                                                                                                           .     ..   .   —:
                                                                                                                                                                                                      .            ‘3]   3‘4.       1“    Ii. ’ "                        '
                                                                              iU-‘A'REOR               PRININAIIE)                                                                               SiGtiv‘tTUREQFT/ﬁﬂ'r‘i 0R ATTORNEYFOR PARm-
                                                                                                                                                                                          ‘-”~
                                                                                                                                                       NOTICE                                                                                                        I

                    0 Plaintiff must tile this cgver sheet: with the ﬁrst paperiﬁle'd'In the action or proceeding (except small claims cases or cases filed
                      under: the PIobate Code; Family Code. or Welfare' and institutions Code). (Cal. Rules of Court rule 3 22.0. ) Failure to ﬁle may result
                      in sanctions.
                    ° File this cover sheet In addition to any cover sheet required by local court rule.
                    0 if this case is- complex.under rule 3. 400 et seq. of the California Rules of Court. yoii must serve .a copy of this cover sheet on all
                      other parties to‘ the action or proceeding.


        Form Adapted for Mandatory Use                                                                                                                                                                            Cal Rules at Court (0133 2 so. a 220, 3. 400-3 .403. 3.740.”
          Jurﬁciai Council at caliromla
                                                                                                                                 CIVIL CASE COVERSHEET                                                                   Cal Standards 01 Jud |~181 Administration. std. ’:3 to
          CM 0101Rev,_.luly 1. .2007]                                                                                                                                                                                                                 www. cauriinfq ca gov
              Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 409 of 450
                                   Case 3:184",   4790          Document 1-1 Filed 08/08/1                      _     Page 26 of 35



                                                                             ~
                                                                                                                                                         C M :0 10
                                   INSTRUCTIONS ON HOW TO'CQMPLETE‘THE COVER SHEET
To Plaintiffs and Others Filing First Papers. if you are tiling a- ﬁrst paper (for example. a complaint) in a: civil case. you must
                                      ﬁrst paper the Civil Case C
coI1I1piIete and ﬁle, along with your.I                           Sheet contained on page 1. This information will be- used to compile
statistics about the types and numbers of cases ﬁled. You must complete items 1 throtigh IS on the sheet IIII1"I’ Iern 1. ou must check
one box for the case type that best describes the case. If the case ﬁts both a general and a more speciﬁc type of case iiIsIted'In item 1.
check the more specific one. if the case has multiple causes of action. check the box that best indicates the primary cause of action
To assist you in completing the sheet. examples of the cases that belong under each case type in item 1 are provided below A cover
                                                                                                       I"
sheet must be ﬁled only with yI‘S‘ur initial paper Fa. hire to file, a cover sheet with the tirst paperi led in a civil case may subject a paIty.
its counsel or both to sanctions under rulest2.I30 and 3 220 of the California Rules of Court.
To Parties in Rule 3.- 'iI‘4IO CollectIons Cases. A "collections case" under rule 3. 740 is deﬁned as an action for recovery of money

Which property. services or money was acquired on        credit A collectIons aseI IcIioes                t
                                                                                               include an action seeking the following: (1 ) .tort
damages (2) punitive damages, (3) recovery of real property, _(4)' recovery of personal property. or (5) a prejudgment writ Qf
attachment. The identiﬁcation of a case as a rulej~314Q collections case on this form means that it will be exempt from the generai'
tiIné-foI'I—service reqmrements and case management rules. unless a defendant fies a responsive pleading A rule 3.7.40 collections
case Will be subject to the reqUIrements for. service and obtaining a jud'gr'nent'In rule 3. 740,.
To Parties in Complex Cases. in complex cases- only. parties must also use the Civil Case Cover Sheet to designate whether the
 case is compIex. If a plaintiff believes the case is complex under rule 340.0 of the California Rules of Court this must be indicated by
 completing the appropriate boxes In items :1. a d 2. if a plaintiff designates a case as complex; the cover sheet must be served with the
 complaint on all parties to the action. A defendant InIayI file and 'see no later than the time" of its ﬁrst appearance ‘a jolnder in the
 plaintiff‘s designation a counter—designation that the case is not complex. or. if the plaintiff has made no designation. a designatIon that
 the ease is complex.                                      CASE TYPES AND EXAMPLES
AutoI'Ii'ort       I        I
                                                 contract“
      Auto (22)—PeIsonal injury/Property              Breach of Contractarrant‘y (06)
        DamageIWIOIngful Death                                     Breach of Rental/Lanes                              Antitrust/Trade Regulatic’m (03)
                                                                         Contract {not unlawful detainer               Construction Defect (III 0)
    Uninsured Motorist (_46) (If: the
                                                                            or Wrongful eviction)                      Claims involving Mass Tort (4Q)
        case, involves an uninsured
        mbton'st claim IsIubjeIISt to                              Cpntractmtarranty‘ BIeachLSelier                    Securities Litigation (28)
        arbitration, check this item                                    .Pla‘intiffIno't fraud or negligence)          Environmental/Toxic "(ch (30)
        instead of Auto)                                           Negligent Breach. etconttact/                       insurance Coverage Claims
other PllPDIWD (Personal inq'yI.                                        Warranty                                            (arising from provisionally complex
                                                                   Other Breach of Connect/Warranty                         case type listed above) (41)
Property Damage/Wrongful Death)                                                                                     Enforcement of Judgment
Tort                                                           Collections (22 9.. money owed. open
                                                                   book accounts) (09)                                 Enforcement of Judgment (20)
   Asbestos (04)
                                                                   Coiledion'. CascLSeiler Plaintiff                       ‘Abstract of Judgment (Out of
        ‘Asbestos Property Damage
                                                                   Other Pr'orhissory Note/Collections                            Count 3/)
         Asbestos Personal Iiniuiyl
                                                                         Casé                                               Confession of Judgment (non-
               Wrongful Death_ .
                                                               insurance Coverage (notprcvisiona/Iy                               domestic Irelatid'n‘s)
   Product Liability (n‘ot asbestcs or
          toxic/environmental) (24)
                                                                   complex) (I 8)                                           Sister SItate Judgment
   Medical Malpractice (‘45)                                       AiIIo Subrogation                                        Administrative Agency Aviard
          Medical Malpraqtic'é—                                    Other Coverage                                               (not unpaid taxes)       .

                                                               other Contagion-                                             PetItIonlCertIf cation "of Entry of
                Physicians 8. SuIIIgeons
         Other Professional Health Care                         ContracttIai Fraud                                             IIludgnIIenIt on Unpaid Taxes
                Malpractice                                     Other Contract Dispute                                      Olheém  Enforcement of Judgment
   Other PIIPDNVD (23)                                  Real Property
          Premises Liability (6.9:. slip                   Eminent Domain/inverse                                   Miscellaneous Civil Complaint
        ‘
                                                                Condemnation (14)                                       RICO (27)
               and fall)
                                                           Wrongful Eviction (3:?)                                      Other Complaint (not speciﬁed
          intentional Bodily injury/PD/WD                                                                                  above) (42)I
                (e. g. assault vandalism)                  Other Real Property (e.g.. quiet title) (26)                     Declaratory Relief Oniy
          intentional lniiiction of                            Writ of Possession of Real Property“                         injunctive Relief Only (non-
                Emotional Distress                              Mortgage Foreclosure                                             harassment)
          Negligent Infliction of                               Quiet Title      _
                                                                                                                            Mechanics Lien
               Emotional Distress                               Other Reai Property (no! eminent                            Other Commercial Complaint
         Other PilPD/WD                                         domain, landlord/tenant, or
Non- PIIPDIWD (other) Tort                                      foreclosure)                                                     caseI(non— tort/non-complex)
    Business Tort/Unfair Business                       Unlawful Detainer
        Practice (07)I                                         Commermal (31)                                       Miscellaneous Civil Petition
   Civil Rights (e. g.‘. discrimination.
                                  ‘                            Residential (32)                                         Partnership and Corporate
        false arrest) (not‘c‘ivil                              DIugs (38) (if the case Involves illegal                     Governance (21)
           harassmentiioai                                         drugs. check. this item; otherwise                   Other Petition‘ (not specified
      Defamation (8.9:. sIend‘e'r. libel)                                                                                                    '
                                                                   report. as Cémrheidlal'or Residential)                   above) (43)
            (13)                                        Judicial Review                                                     Civil HaIassmIenIt
      Fraud (16)                                               Asset Forfeiture (05)                                        WorIkplace Violence
      Intellectual Property (1.9);                             Petition Re: Arbitration Award (11)                          Eider/Dependent Adult
      Professional Negligence (25)                             Writ of Mandate (02)                                              Ab‘use
          Legal Malpractice                                        Writ—Administrative Mandamus                             Election Contest
          other Professional Malpractice                            Writ—Mandamus on Limited Court-                         Petition for Name Change
               (not medical or legal)                                   Case Matter                                         Petition forI Relief From Late
       Oth‘eI Non-PIIPD/WD Tort (35)                                Writ—Other Limited Cotirt Case                               Claim
Employment                                                              Review                                              Other Civil. Petition
     Wrongful Termination (36)                                 Other Judicial Review (39)
     Other Employment (15)                                          Review of_ Health Ofﬁcer Cider
                                                                    Notice of Appeal—Labor
                                                   .1      _           Commissioner Appeals. ..... .._.     -                                            -



'CM-mo iR'éVJJuly          20071                                                                                                                             Page   2012
                    .1‘.
                                                               CIv‘IL CASE COVER SHEET
                                 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 410 of 450
                                             Case         3:18—c'           .   4790            Document 1-1 Filed 08/08/1                                            ,    Page 27 of 35



                                                                                                                                                               . ..   WW...                   .   .......             .   .   ._-. SOME-'56?
                                                                    SUMMONS                                                                                                      Imaraaasrrram
                                                              (CITACION JUDICIAL)
               NOTICE TO DEFENDANT-:-
               (A viso AL DEMANDADO):
                                                                                                                                                                      SAEMETEEJ0 COUNTY
                                                                                                                                                                                                                 ED
                   AVNER GREENWALD,_Ir‘IdiVidu'ally and on BehalfofAll Others
                                                                                                                                                                                                                                                      '
                   Similarly Situated
                                                                                                                                                                                  JUL 0 3 20l8
           you ARE BEING supp BY‘ PLAINTIFF:-
           (LO ESTA DEM'ANDA‘NDO EL DEMANDAN TE):
                                                                                                                                                                                                                                                      \
                   RIPPLE LABS, l_NC., a Delaware corporation, XRP _II, LLC, a South
                   Carolina Limited Liability Company, BRADLEY GARLINGHOUSE,
                                                                    ..   r. -_..44 um.“   ..                                       .......t.t_.                                                                                       ..   v,
           =

                    NOTICE! Yo'u have been sued: The court may decide against you WIthout your being heard unless you respond within 30 dais. Read the‘ information
                    below;
                      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fie a written response at this court and have a copy
                    served on the plaintiff. A letter or phone call will not protect you‘. Your written response must be'In proper legal form if you want the coUrt to hear your
                    case. There may be a court forrii that you can use for your response. Yo‘u can ﬁnd these cou'rt forms and more information at the California Courts
       ,
                    Online Self——Help Ceriter (www. courtinfo. ea. gov/sellhelp) your county law library. or the courthouse nearest you. If you cannot pay the ﬁling fee. ask


                       There are other legal requirements You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
                   referral service. if you cannot afford an attorney. you may be' eligible for free legal services from a nonproﬁt. legal services program. You can locate
                   thé's'é nonprof t groups at the California Legal Services Web site (www. lawhelpcaliforniaorg)‘. the California Courts Online Seif- H-elp Center
. 3%                (www._courtir'rfo ca. gov/s‘elfhelp);. or by contacting your local court or county bar association. NOTE. The court has a_ statutory lieri for Waived fees and
                   costs on any settlement or" arbitration award of $10 000 or more in a civil case. The court‘s lie'h must be paid before the court will dismiss the case
               .   IAVISOI Lo han demandado; Si no responde denim de 30 dies. Ia corte pueda decidir en su contra sin escuchar su versién. Lea Ia lhfomracion a
                   confinuacion.
                      Tiene 3D DIAS DE CALENDAR/O desp'ués de que la en'Ir'eguen esIa citacion y papa/es legales para pres'eritar _una respuesta pbr escrito en e‘sta
           ‘
                   en formatb legal correclo si desea 'que procesen su case en -la cone, Es posible que ha ya un formulario que usted pueda usar para su Icspuesta.
                   Pue‘de énc’onlr'a'r esIos forirIu/arios de' la cori‘e y mas iniormécldn en el Centre de Ayuda de ‘Ias Cortes de California (www,sucorte ca.gov), en la
           ,       biblioteca de [eyes de su condado 0 en la cprie que la quede _mé_s cerca. Si. rip puede pager Ia cuota de presentacién, pida aI sec‘retariq de la cane
           .       que la dé un formiI/ario de exencion de page dé cuotas. Si no presents su respuesta a fiehipo, puede perder el caso porincumplimienio y la corte le
                   padré quiiar su sue/do, dinero y_bienes sin mas advenencia.
                     Hay otrbs requisites legales. Es recomehdable qLie llama a un abogado inmedietamenfe. Si no conoce a un abogado, pilede Ilamar a un servicio de
                   remis‘ion a abogados. Si no p‘uede pagara un abogado. es .posiole que cumpla con [95 requisitos para optener seryicios Iegales gratuifos de un                                                                                     l
                                                                                                                                                                                                                                                      l




                   colegio de abogados locales: AIVISO: For Iey, la code fierIe derecho a reclamar [as cuofas y [as costps exenios porimponer. up gra vanien sqbre
                   cualquler recuperacién de 510, 000 6 mas de valor recibida mediante [In acuerdd o una concesicin de arbitraje en un caso de derecho' civil. Tiene que

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                                                                                                                                                                case NU
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                                                                                                                                                          ’
                                                                                                                                                                {Nu/nets   da'
                                                                                                                       i   i   '
                   2190   County Center, Redwood City, CA“94063                                                                                           .     _._.        a

             exname address andtetephone numberxof l at           attorney, or piamufhwuhout an attorney. is ' ' '
           (Elnombre‘la direéoién‘ ‘I/eiznumer'o' d té‘léfonod abodado déldém claan -’       i              .

           lJohtiJ‘ J'Isnoch 600 W Broadwav Suite 3300;. Sén Dieab‘Z- CA 92101-619 233'— 4565/???


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           3:22;)
                              out         ia          2018;
                                                                         RQDINPI M CATALANO                            fslgrcigetggﬁo)
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                                                                                                                                                                                                                                -f-iISJ-‘intia
       (For proof of se'riIice' 'of this 'sumITIOIi's, use Piopf 'of Service of Summons (form PO—S 010).) V'
                                                c'itatién use 9/ formulario Proof of Service of Summons (P08- 01 ).
       .(Para prueba de entrega de esta                                                                                                                                               '
                . . .      ..               .
                                               NOTICE TO THE PERSON SERVED: You are served
         [SEAL]
                                 _
                                     .        "ill;_:[:l as- an individual defendant
                                               2.                   E]
                                                           as the person sued under the ﬁctitious name of (specify)?


                                                                    l:l
                                                                                                                                                                                  1


                                                                                                                                                                                  "

                                                               3.               on behalf of (specify):                                                                                                                                         iii
                                                                    under:         CZ] cop 11.6 Io‘icorporation)                                                 [:3        GOP 416,;60 (minor)
                                                                                 .5:           GOP 41 6. 20 (defunct corporation)                                [:1        GOP 416.70 (conservatée)
                                                                                  [:l          CCP 416 40 (association or partnership)                           1:]        GOP 416. 90 (authorized person)

                                                                                  [:1   other (specify):
                                                               4.   [:1         by personal delivery on (date):
                                                                                                                                                                                                                                      aiggrln'r‘j'i
                                                      _                                        _ ..   ~                                           _


                   Form Adopted tor Mandatory Use                                                                   SUMMONS                                                                            Code of Civil Procedu. e §§ 412.. 20, 465
                     Judicial Council of Calliornia                                                                                                                                       .                              wow._courII'II!cu:a, gov
                     SUM—100 IRev. J ﬂy 1. 2009;
                      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 411 of 450
                          Case 3:18—61 ,4790 Document 1—1 Filed 08/08/: Page 28 of 35



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                                                                 ..                                                                                  .                      .           ..       .                                                    SUM-200m)-
                                                                                                                                                                                                 -. caster:
           snow TITLEE-
Iv- Greenwaid v. Ripple t§,=1‘r‘ib._,- ét‘al..                                                                                                                                                                jg           C:
                                                                                                                                                                                                                                I           V   03     ‘4: 6       l
                                                               ”V       .. .:-.---r------   .   -..   ..   -
                                                                                                               .   »v   ..   u.            .        —.    .I   '       '-



                                                                  INSTRUCTIONS FOR USE
       +  This    form may be us‘e‘d  as  an attachment   to any summons  if spape' does not permit the listing of. all parties on the summons.
       +’ If- this attachment Is--us_ed, insert the foliowma statement'In the plaintiff or defendant box on the summons. “Additional Parties
          Attachment form'is attached."

           List additional parties (Choc/«only one box. Use a separate page for each type of part»):

       .    [:1        Plaintiff      _
                                                      Qefengant                    _-           Cross-ComplaInant
                                                                                                                                                    “I:                Cross-Defendant




           DefiaIldaﬁ’ésii




                                              m-.-      ,           -_...                       .     . .. .                      -.           ,v        ..
                                                                                                                                                                   '
                                                                                                                                                                                ...-...............~   ..   . ....w._-   ._ W       .   -           5......   .   haunt“;
. F-                                           ...
                                              I.     '..~'-»_--~--1.-_———-   '.X.I..~..—.~.~—~~~u..:-:u—..~«“WW-2"?“                       ..       w-                              ‘
            -A-d——
                     Idf   M'
                                d ‘       U                                                                                            .                                                                                                                                ’

   °§§dmfgwfgwfgaiggﬁﬁi                                                         ADDITIONAL PARTIES ATTACHMENT
SUM-409W [Rev January '1: 2007)                                                       Attachmentto Summons
      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 412 of 450
                      Case 3218-:                            4790              Document                   1—1   Filed 08/08/:            Page 29 of35




;    Attorney or Party without Attorney (Name/Address)                                                                                FOR GOUR’I‘ USE ONLY:
‘
     John T. Jasnoch (281605)
     SCOTT+SQOTT ATTORNEYS AT LAW LLP
     600W. Broadway. Siiii‘e 33b0
     San Diego, CA 92101


                                                                                                                                       FILEE
                                                                                                           i                 1'


$22210                           213:1:
     Attorney for: Plaintiff                       .         _
                                                                                          .   .   .   .         ..   .      .1
                                                                                                                                      SAN MATEO COUNTY           .   :


     SUPERIOR COURT OF CALIFORNIA                                                                                                 ,
                                                                                                                                                                     ;

’1
     COUNTY OF SAN MATEO.                                                                                                    ‘1




                                                                                                                                            JUL 0 3     201
     400 COUNTY CENTER
     REDWOOD C1TY',ICA 94063
 '
     Plaintiff
'
     AVNER QRiEENyl/ALD
     Defendant
     RlPPLE_LABS,lNC.etal,1


         :.    ..1   mm,“ ...;..1     L._         ~.:.-.-.... ..       ~.-__H:.;._a... L-HH-H
                                                                                                                                                                         311:1




      This certificate must be completed and filed with your Civil case Cover Sheet if                                                                                   1121




          you have checked. a Complex Case d‘QSignation‘or CounteraDeSignation                                                                                            KW]




         £1;              Iii the attached Cix‘l‘il case-Cover Sheet, this 'case is being designated encounter-designated
                         ::asa comolex case.;[or as not a complex oase].because at least one or more of‘the following-
                          1561263 has bbéii‘cliéékédi


         \                                  Box1 — Case type that 1's best described as being [or not being] provisiOnally
                                      "
                                         complex civil litigation (i. e., antitrust or trade regulation claims, construction
                                         defect claims involving many parties or structures, securities claiins or investment
                                        lbs'ses. mvoivmg many parties, environmental or toxic tort claims involving many
                                         parties, claims involving mass torts, or insurance coverage claims arising out of
                                         any of the foregoing claims).
                                 61      Box      ef
                                                   Compléi‘ for. hot complex] due to factors requiring exceptional judicial
                                            management
                                 Ci         d5         1—.       IS   [bfiS net] ’21 class adtiofl: suit.




                          (2)_   complexity                  of ant1cipated factual and/or legal                         issues; (3) numerous pretrial motions
                          that- will be dine-consuming to resolve; (4) management of a large number of Witnesses or
                          a SubStantial amount of documentary evidence; (5) coordination with related actions




     (EV-59 [Rev l/OB]                                                l:                                                                 www.5anmateocourt.org
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              Case 3:18-11     _    4790 Document                  1—1_              Filed 08/08/3‘                   .nPage $0 of 35




                pending in one or more courts in other counties, states or countries or in a federal court;
                (6) whether or not certiﬁcation of a putative class action will 1n fact be pursued; and (7)
                substantial post—judgment judicial supervision];
                 (1), (2). (3), (4) and (6). this"IS a securities class action under the Securities Act of 1933 that

                 charges a company and certain of its ofﬁcers and directors with unregistered sale of

                 securities to investors in violation ofithe Securities Act. Defendants will obtain separate

                 counsel. and       Will be a large number of witnesses and substantlal amount of~
                              there                                        a
                                                           r<             .--....1   _. ... ......_-......   ..—:1.   -   1'1   ...   ...-   _.-....   ..   ...‘.__
                 documentary evidence. Plaintiff will seek class certiﬁcation




                                            .(qi‘ta'éh   additional pages ifr'zeCessaiyz


 3...     Based on the above—stated supporting information, there: IS a reasonable basis for the complex
          case designation. or counter—designation [on noncomplex- case counter—designation] being made
          in the attached Civil Case Cover Sheet;



                                                                93:,   *_**,*




I, the undersigned counsel or~sei‘f+represented party, hereby certify that the above is true and correct
aiid‘th‘eit I make this certiﬁcation subject to the applicable ‘p‘i‘oVi‘sio‘ns Of California Code ofGivil
Procedure,.'Section 128.7-:and/or California Rules o'fProfesSiémal Conduct,_Rulc=S.-.200 (BD-and‘ San
Mateo County.Superior‘Gourto'cal.Rules, Local Rule 2.30.
                        "3




Dated: 07/93/18
        .1,




Jeh'n T.      Jasmch
                                   " .,
[Type QIPnintNams]




CV-59 [Rev. 1/06]                                                                                                         www.5anmate'ocourt.org
/                                      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 414 of 450
                                           Case 3:18-c’  ‘4‘796 ’Document 1-1 Filed "0"8/0‘8/: Page 31 of 35


                                                            NOTICE OF CASE MANAGEMENT CONFERENCE


”W WW                                                                              tweet)                                                                              1w-ioa'4.6a‘i:_..
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                                                                               a        SAN MATEOP‘PPNTY
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                                                                                                                                                       “                          NOV. 0 1 2038.
[ff/7ft                              L425,              fVLC-             4H?"  lifilUlg03                                       2018                          Date:
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                                                                                                                                             .             92 f              --on Tuesday &Thursday
‘
                                                        y                                                       _
                                                                                                                    _   _~




                                                                                                                                                                                                 \_——
                                                                                                                                                                             ——on   Wednesday & Friday

                      '
                                          T“\
        You are hereby given nULiLu-Of your Case
                                                                                                 _                                               .
                                                                          Management Conference. ihe date, time and department have been written above

        1.            in accordance with applicable California Rules                       ofthe Court and local                       Rules 2.3(d)1—4 and 2.3(m), you are hereby ordered
                      to:
                             3).    EerieeLriemeddefemieotsehd file ereefs__etserVIc.e_on those defendants with the court within                                                                 60=days       of filing
                                     the complaint     (CRC   201.7).
                                     Serve   a   copy of this notice, Case Management Statement and ADR information Sheet on all named parties in this‘
                                                                  '
                                     action.                                                                                                                                                           .



                             c)      File and servea completed Case Management Statement at least 15—days before the Case Management

                                     Conference [CRC 212(g)]. Failure to do so may result in monetary sanctions.
                                     Meet andcgnfer', in person or by telephone, to consider each ofthe issues identified in CRC 212(f) no later than
                                     30~days before the date set for the Case Management Conference.
                          -if you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The Order
                           to Show Cause hearing Will be at the same time as the Case Management Conference hearing. Sanctions may
                           include monetary, evid entiary or issue sanctions as well as striking pleadings and/or dismissal.
                           Continuances of Case Management Conferences are highly disfavored unless good cause is shown
                          Parties may proceed-to an appropriatedispute resolution process (”ADR”) by ﬁling     a Stipulation to ADR and Proposed

                          Order (see attached form). if plaintiff files a Stipulation to ADR and Proposed Order electing to proceed to judicial
                          arbitration, the Case Management Conference will be taken off the court calendar and the case will be referred to the
                          Arbitration Administrator. if plaintiffs and defendants ﬁle a completed stipulation to another ADR process (e g ,
                          mediation) lO—days prior to the first scheduled Case Management Conference, the Case Management Conference will be
                          continued for 90—~days to allow parties time to complete their ADR session. The court will notify parties of their new Case
                           Management Conference date.
                          if you have filed a default or a judgment has been entered, your case is not automatically taken off Case Management
                          Conference Calendar. lf”Does”, ”Roes,” etc. are named in your complaint, they must be dismissed in order to close the
                          case. lfany party is in bankruptcy, the case is stayed only as to that named party.
                          You are further ordered to appear in person* (or through your attorney of record) at the‘Case Management Conference
                           noticed above. You must be thoroughly familiar with the case and fully authorized to proceed.
                           The Case Managementjudge will issue orders at the conclusion      ofthe conference that may include:
                               a)     Referring'parties to voluntary ADR and setting an ADR completion date;
                               b)     Dismissing or severing claims or’parties;
                                                                                                                                                                                                  ‘
                                                                                                                                                                                         '
                               c)     Settingtrial date.
                                                  a                        .



             8.           The Case     Managementjudge may be the trial judge in this                               case.

             For further            information regarding case management policies and procedures, see the court’s website at: www.sanmateocourt.org

        .    'Te/ephonic appearances at case management conferences are available by contacting CourtCa/I,                                           LLC, an    independent vendor, or leasrﬁve business days prior
             to the scheduled conference {seeattached CaurtCall information).
               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 415 of 450
                   Case 3218—6 _4790 Document 1—1 Filed 08/08/:  Page 32 of35
                                            ERIOR COURT OF SAN MATEO COUNTY
                                                   Civil Department
                                       400 County Center, Redwood City, CA 94063
                                                    (650) 261—5100
                                               www.5anmateocourt.org
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                                                                                                                       / y”
                                                                                                                       1m
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                                                                                                                                          _-
                                                                                                                                               _,___


            AVNER GREENWALD                                    Notice of Complex Case Status Conference
                  Plaintiff (5)
                                                       Case No.: 18—ClV—03461               Date: 9/5/2018
                      vs.
                                                                                            Time: 9:00 AM
                      A DELAWARE
      RIPPLE LABS, lNC.,                                                                    Dept. p1
               CORPORATION
                Defendant (s)

 Title: AVNER GREENWALD VS. RIPPLE LABS, INC., A DELAWARE CORPORATION, ET AL
                                                                                                                              .A«»\
                                                                                                                              _
                                                                                                                                          .\W
You are hereby given notice  of your Complex Case Status Conference. The date, time and department have been
written above. At this conference, the Presiding Judge will decide whether this action is a complex case within the
 meaning of California Rules Court (”CRC”), Rule 3.400, subdivision (a) and whether it should be assigned to a single
judge for all purposes.

1.   In accordance  with applicable San Mateo County Local Rule 2.30, you are hereby ordered to:
     a.   Serve copies of this notice, your Civil Case Cover Sheet, and your Certificate Re: Complex Case Designation
          on all named parties in this action no later than service of your first appearance pleadings.
     b.   Give reason notice of the Complex Case Status Conference to all named parties in this action, even if they
          have not yet made a first appearance or been formally served with the documents listed in subdivision (a).
          Such notice shall be given in the same manner as required for an ex parte application pursuant to CRC
          3.1203.

2.   if you fail to follow the orders above, you
                                              are ordered to show cause why you should not be sanctioned. The                         ,




     Order to Show Cause hearing will be at the same time as the Complex Cause Status Conference. Sanctions
     may include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal.

3.   An action is provisionally   complex case if it involves one or more of the following types of claims: (1) antitrust
                                  a
     or trade regulation claims; (2) construction defect claims involving many parties or structures; (3) securities
     claims or investment losses involving many parties; (4) environmental or toxic tort claims involving many
     parties; (5) claims involving massive torts; (6) claims involving class actions; or (7) insurance coverage claims
     arising out of any of the claims listed in subdivisions (1) through (6). The Court shall treat a provisionally
     complex action as a complex case until the Presiding Judge has the opportunities to decide whether the action
     meets the definition in CRC 3.400(3).


4.   Any party who files either a Civil Case Cover Sheet (pursuant to CRC 3.401) or counter orjoinder Civil Case Cover
     Sheet (pursuant to CRC 3.402, subdivision (b) or (C)), designating an action as a complex case in Items 1,2 and/or
     5, must also file an accompanying Certificate Re: Complex Case Designation in the form prescribed by the Court.
     The certificate must include supporting information showing a reasonable basis for the complex case
     designation being sought. Such supporting information may include, without limitation, a brief description of
     the following factors as they pertain to the particular action: (1) management of a large number of separately
     represented parties; (2) complexity of anticipated factual and/or legal issues’ (3) numerous pretrial motions that
     will be time-consuming to resolve; (4) management ofa large number of witnesses or a substantial amount of
     documentary evidence; (5) coordination with related actions pending in one or more courts in other counties,
     states or countries or in a federal court; (6) whether or not certification of a putative class action will in fact be
     pursued; and (7) substantial post-judgmentjudicial supervision.

                                                                                                                 Rev. Jun. 2016
             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 416 of 450
                 Case 3:18—(y  4790 Document 1-1 Filed 08/08/1‘
                                        ,                       'Page 33 of 35



For further information regarding case management policies and procedures, see the court website at
                                                                 ’
www.5anmateocourt.org

* Telephone appearances at Complex Case Status Conference are available by contacting CourtCall, LLC,'and
independent vendor, at least 5 business days prior to the scheduled conference.

                                            CLERK’S CERTIFICATE OF MAILING
 hereby certify that‘l am the clerk of this court, not a party of this cause; that I served a copy of this notice on the below
 I

date, by placing a copy thereof in separate sealed envelopes addressed to the address shown by the records of this court
as set forth above, and by then sealing said envelopes and depositing same, with postage fully pre—paid thereon, in the
United States Mall at Red wood City, California.



 Date: 7/5/2018                                                Rodina M. Catalano,
                                                                                              '
                                                               Court Executive Officer/Cl

                                                                                            A/
                                                                                                       1'



                                                         By:
                                                               Antonio Geronimo,
                                                               Deputy Clerk

 Copies mailed to:


     JOHN TJASNOCH
     SCOTT+SCOTT ATTORNEYS AT LAW LLP
     '600 W BROADWAY STE 3300
     SAN DIEGO CA 92101




                                                                                                                     Rev. Jun. 2016
                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 417 of 450
                         Case 3:18—c-  4790 Document 1—1 Filed 08/08/:. Page 34 of 35



                                                          CORRECTED                 I                                            .,..                 ..                              sunIL-Ioo
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                                                          suuiiious                                                                         dependents.
                                                                                                                                                                                                           "


                                              (CITACION JUDICIAL)                                                                                                  .

        NOTICE TO DEFENo‘ANT:
        (AV'Iso AL DEMANpApO):
                                                                                                                                      F E El E B
                                                                                                                                SAN MATEO COUNTY
         RIPPLE LABS, ]NC., a Delaware corporation, XRP II, LLC, a South~
         Carolina Limited Liability Company, BRADLEY GARLINGHOUSE,                                                                              JUL         06         2018
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                                                Sun rior Court
         AVNER GREENWALD, Individually and on Behalf of All Others
         Silﬂilarly Situated
        ' NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 day                            ead the information   31
f                                                                                                                                                                          ‘
I     below.
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
      served on the plaintiff. A letter or phone caIl will not protect you: Your written. response must be in proper legal form if you nan the court to hear your                                      _




      case, ,There may be a court forrn that you can ‘usé for your response. You can 1' nd these court' forms and more information atthe California Courts
 -
      Online Self--Help Center (www oourtinfo.pe.gov/selﬂ1el_d), your county latii llbrary, or the couithouse nearest you. If you cannot pay the ﬁling fee. ask
  ‘
     the court clerk for a fée waiver' form. If you do       ﬁle your response on time, you may lose the case by default, =and-your wages. money, and property
“ may be taken withotit further warning from t “not rt.
                                                                                                                                                                                 '
          There are other legal requlrements -.Yq                t to {:all an attorney right eway. If you do: not know an attorney, you may wa'nt to call an attorney
      referral service :Ifyq'u cannot afford an ”attorney, yo may be eIigi .. .                   -
                                                                                                                          r
 ‘ these nonproﬁt groups at me California Legal Services Web Site (www                                   ,ory);                                                ..  _

 .
      (www. courﬂnfo. ca. g'ov/seiﬂielp). or by oontaéting your local coin} or co        y_ bar association. NOTE:
                                                                                                                      The court has a Statutoiy lien for waived féiés. and
5 costs
              on any settlement or arbitration award of $10. 000 or more in a cIyIIpasé The court's lien must be. paid before the court will dismiss the ease.-
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     {\Ilrww. lawhelpcalifomia. org). en 9/ Contra do Ayuda do Ias Cortes de California, (www. sucorte. ca. gov) o ponléndose' en contacto con la code o 91
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                                         Mateo Silperior Court
        {El nombrs y direccién de la corIe es): San                                                                   .__




        400 County Center, Redwood City, CA 94063“                                                                                    ISCNOBLIM
        The-name. address, and telephone number of plaintiff's attorney. or plaintiff without an attorney, is:
        (El hombre. la direccion y el mimero de Ieléfono deI abogado do! demandante, o deidemandente que-no tiene abogado. es)?
        John T.-Jasnoch, 600 W. Broadway, Suite 3300, San Diego, CA 92101, 619—233-456
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                                   RODINAM. CATALANO
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 (Para pnIéba de 'ehIrega“de esta
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                                  NOTICE TO THE PERSON _SERVED- You are served
                                                                as an individual defendant.
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                                                    2,:   E
                                                          7-”   as the person sued under the ﬁctitious name of (specify);


                                                    3.    l:    on behalf of (specimﬁ

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                                                          under.
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                                                                              cop 416.10 (corporation)
                                                                              CCP 416. 20 (defunct corporation)
                                                                              CCP 416. 40 (association or partnership)
                                                                                                                             _
                                                                                                                             E]:
                                                                                                                                        CCP 41660 (minor)
                                                                                                                                        CCP 41 6.70 (conservatee)
                                                                                                                                        CCP 416. 90 (authorized person)

                                                                       1:]:   other (speedy)

,,        ..   ._.    .   ..         .    .   ._.   4
                                                          E] by personal delivery on (date).                   ..       ..       ..     .   .                                           Pag’eetpii
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        Form Adopted tor Mandatory Use
                                                                                        SUMMONS                                                            CodedClVI'1 Pro sad
             'ciel Couneﬂ at California                                                                                                                                    myggﬂfgggg
         SUM-100 [ReLJuly 1. 2009]
                 Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 418 of 450
                               Case       3218—0        4790 Document                           1—1             Filed 08/08/:                      Page 35 of 35




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            SHORT TITLE:                                                                                                               ~




   _Grccnwald v. Ripple Labs, Inc., et a1
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                                                                     iIIlSTRUCTIQNS FOR USE
   _
           +   This form may be used as an attachment to any summo'ns if space do‘es not peI'mit the listing of all parties on the summons.
           +   if this atiachment'Is .used, insert Ihe following statemént lrj the plaintiff or defendant box on the summons: "Additional Parties
                                               "
               Attachment form'Is ggfa'ched.
                                                                           "1“   ‘




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           "Lls‘t additional parties (Gh'éck only one box. use:                                 E‘eiforeach typ‘é of part‘)?

       _
                    Piqintifﬂ         Hi Déifendant          E]      Cross-Compiamant                   1:] Cross-Defendant
           CHRIS FIJRN LARSEN, RON WILL, ANTOINETTE O’GORMAN, ERIC VAN MILTENBURG SUSAN
           ATHEY ZOR' CRUZ,- KEN KURSON, RRN LAWSKY ANJA' MANUEL and TAKASHI OKITA

       .
           Defendants.




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   Jummmwcamm                                           A'ISDI‘I‘IONALWI‘RTIESTATTACHME'NT‘
SUM-20am) [RI-Iv. January 1. 2007]                                Attachment igsIImmpns
                                                                                                       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 419 of 450

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                                                                                                                  SAN MATEO couNTy                                             Daren“;
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                                                                                                                                                                                                                                   States




                                                                                                                                               UNITED STATES DISTRICT COURT

                                                                                   ocoooxlmcnhoom._x
                                                                                                                                            NORTHERN DISTRICT OF CALIFORNIA


                                                                                                           AVNER GREENWALD,
                                                                                                                                                                                                        18CIV03461
                                                                                                                                                                            Case No. 18-cv-04790-PJH
                                                                                                                              Plaintiff,


                                                                                                                   V-                                                       ORDER GRANTING PLAINTIFF'S
                                                                                                                                                                            MOTION TO REMAND AND
                                                                                                           RIPPLE LABS,          |NC., et    a|.,                           VACATING HEARING
                                                                                                                              Defendants.                                   Re: Dkt. No. 15


                                Court

                                            California

                                                                                                                 Before the court           is plaintiff   Avner Greenwald's motion                     to   remand. The matter             is


                                Dlstrlct

                                            of
                                                                                                       fully   briefed   and suitable        for decision without oral              argument. Accordingly, the hearirig set

                                                                                                       for   October 24, 2018,         is   VACATED.            Having read the             parties’     papers and carefully
                                            District




                                States

                                                                                                       considered their arguments and the relevant legal authority, and good cause appearing,


                                United
                                             Northern
                                                                NNNNN-XAAAAAAAAA
                                                                                                       the court hereby          GRANTS         plaintiff’s    motion to remand, for the following reasons.
                                                                                   AwN—Xoomﬂamth—i




                                                                                                                 This    is   a putative securities class action brought by                           plaintiff   Greenwald against


                                               g                                                       defendants Ripple Labs,

                                                                                                       individual defendants.’
                                                                                                                                              Inc. (“Ripple”),


                                                                                                                                            Compl. 1m
                                                                                                                                                                   XRP
                                                                                                                                                              1-2, 11-28.
                                                                                                                                                                         II,   LLC, a subsidiary of Ripple and various

                                                                                                                                                                               Plaintiff originally filed this action in the


                                                                                                       San Mateo County Superior Court on                        July 3, 2018,         and served the defendants on July                         9,


                                                                                                       2018. Dkt.        1.
                                                                                                                                                                                                                       '




                                 lullHHIIIIHlllllllllllllﬂIll




                                                                                                                 In   summary,       plaintiff      alleges that Ripple created a digital currenc§palled XBPr—a'nd
03461



                                                                                                       “from 2013 to the present, defendants and                      the_ir affiliates.             have been engﬁa'ged        in   an
CIV—




18—     0RD
              Order
                      1450259




                                l
                                ll                              M 01                                   ongoing scheme            to sell    XRP      to the   general public." Compl. 1m 38—41, ?é—so. PIéfnxiﬁ




                                                                                                                                                                                                                                          “1“
                                                                                                           The                  defendants are Bradley Garlinghouse, Christian Larseﬁ; Ron
                                                                                                       1

                                                                NNN
                                                                                     OONO)
                                                                                                                 individual                                                                                                     Wi]_l;,

                                                                                                       Antoinette O’Gorman, Eric                 Van    Miltenburg,    Susan Athey, Zoe Cruz, Ken                          Kursoh‘,:B‘.ein
                                                                                                       Lawsky, Anja Manuel, and Takashi Okita.
          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 420 of 450


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                                                               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 421 of 450




                                                               Greenwald, a resident of                       Israel, alleges; that     he “bought and sold               XRP     in      both    USD     and

                                                               Bitcoin            between December              14, 2017,     and May       12, 2018,        and suffered losses on those

                                                               investments as a result ofthe [defendants’] scheme.” Compl.                                          11   14.


                                                                             ‘
                                                                                  Plaintiff further    alleges that‘because            XRP    qualifieéas a “security” under § 2(a)(1)

                                             OOmNOU‘l-hOON—A




                                                               of the Securities Act of                  1933     (the “Securities Act"),        14 U.S.C. § 77b(a)(1), Ripple’s past

                                                               and ongoing sales of XRP constitute the                             selling of unregistered securities in violation of


                                                               the Securities Act. Compl.                       1m   3, 6, 12.    On   behalf of “a class of             all   personé or         entities

                                                               Who purchased XRP from                          July 3, 2015, through the present,” Compl.                        ﬂ       87, plaintiff

                                                               asserts tWo causes of action:                         (1) for violation of     §§ 5 & 12(a)(1) of the Securities Act
                            A                                  against             all   defendants for the unregistered offer and sale                      of~sercurities;         and     (2) for

                                              -‘
                                                               violation            of§ 15 ofthe Securities Act              (cbntrol      person     liability)   against Ripple and the
                                                                                                                                                             r



                                                                                                                                                                                     '




                                             N                 individual defendants.
Court

           California
                                             (JO
                                                                                  On August      8,   2018, defendants timely removed the action pursuant to thé Class

District
                                             L                 Action Fairness Act,(“CAFA”), under 28 U.S.C. § 1453. Dkt.                                          1.
           of

                                             O1
                                                                                  CAFA     “relaxed" the diversity requirements for putative class actions.                                      See   Dart
States
           District




                                             O                 Cherokee Basin Operatinq                         Co..   LLC   v.   Owens.      —       U.S.   ——,         135 S.Ct. 547, 551, 190-

                        NNNNNNAAd-AAAA.A_\
                                             V                 L.Ed.2d 495 (2014). Pursuant to CAFA, a defendant                                       may remove an             action          under§ 1453
           Northern
Unlted




                                                               if      the       amount    in   controversy excee‘ds $5            million,   fhe putative class has                 more than 100
                                             (O.m



                                                               members, and the                   pai'ties    are minimally~diverse.           ld_.   at 552;    28 U.S.C. §§ 1332(d), 1453.

                                             O                                    Plaintiff's   motion   to    remand does        not contend that defendants cannot                             show    th'is'


                                               —\
                                                               action fails to              meet any     of   CAFA’s three jurisdictional reduirements.                         .Instead, plaintiff

                                             N                 argues that § 22(a) of                  th_e   Securities Act opérates as a complete bar on removing a‘ny

                                             0)
                                                               action that involves only Securities Act claims?
                                                                                                                                                                                             _



                                                                   -




                                             -h                                   Plaintiff is correct.       Plaintiff’s   only two causes of action are brought under the

                                             O1
                                                               Schrities Act. Defendants’ CAFA-based removal                                    was      therefore necessarily premised on

                        NO

                                                               2
                        NN                                      Section 22(a) states: “Except as provided in 77p(c) [§ 16(0)], no case arising under this
                                                               subchapter and brought in any State court of competent jurisdiction shall be removed to
                        Nm                                     any court             of the United States.”

                                                                                                                                       2
                                             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 422 of 450




                                   A         plaintiffs Securities          Act claims.      In that-sitUation, controlling                Ninth Circuit authority
                                                                                                                               ‘                   I     H
                        '

                                   N         requires remand,
                                                                                                                   V




                                   00                  In   Luther   v.   Countrywide       Home Loans         Servicinq LP. 533 F.3d 1031 (9th                             Cir.


                                   A         2008), the Ninth Circuit considered whethe’r an action that solely alleged Securities Act

                                   U1
                                             claims could be removed under                   CAFA.     L_uLer,    533 F.3d            at   1032;1034.          L_utjlg       reasoned
                                   O)
                                             thét   because § 22(a)           dealt“‘with a narrow, precise,             and specific subject” that                      “applie[d]

                                   V         only to claims arising under the Securities Act”                    it    was     “not   submerged by [CAFA,] a                       later


                                   m         enacted statute covering a moregeneralized spectrum of class actions.”                                            g         at 1034.

                                   (O        Thus, Luther held            that, “‘by virtue of   § 22(a) of'the Securities Act of 1933,                        [plaintiff's]        state

                            _x
                                   O     ,   court class action ‘alleging only violations of the Securities Act of                                1933 was not

                                                                Q
                                             removable.”

                                                                                                                                                                            m
                            ._x    —¥




                            _L
                                   N                   Despite this clear hdlding, defendants               make a number                   of arguments that
Court


                                   OJ
                                             does‘not require remand here. Those arguments                                          persuade.
           California
                            .~_\
                                                                                                                        fail   t9

Dlstrlct
                            _;
                                   h                   First,   defendants argue that Lutﬁg only addressed removal based on CAFA's
           of

                            _\     U1        "minimal diversity" jurisdiction, §§§ 28 U.S.C. §'1332(d)(2)(A), whereas                                        the-   present action
           District




States
                            _x     O)        was removed based on CAFA’s                     “alienage jurisdiction” because                     plaintiff   Greenwald             is   a


United
           Northern
                            _L
                                   N         citizen of Israel,      ﬁg 28 U.S.C.           § 1332(d)(2)(B).           Neitherm nor CAFA supports that
                            _L
                                   m         distinction: Nothing           in    Luther suggests that the deé’ision hinged on removal being

                            _L
                                   (O        premised on minimal diversityjurisdiction, rather than alienage                                    jurisdiction.3


                            NO                         In   addition, § 1332(d)(2)(B)          does not    limit       alienage jurisdictioﬁ to circumstances

                            N      —‘
                                             where the named              plaintiff is   a citizen of a foreign state. Instead, that subsection                              is


                            NN               implicated      whenever “any member                of [the] class of plaintiffs              is   a foreign state or a citizen                  ‘




                                             o‘r
                            N      (JO
                                                   subject of a foreign state." 28 U.S.C. 1332(d)(2)(B) (emphasis added).                                        The        court finds

                            NA               it   implausible that the L_uthﬂ action “brought on behalf of                           all   persons and         entities      who

                            N U1             acquired hundreds of                billions of dollars   worth of mortgage pass-through                        certificates,”


                            N O3

                            NN
                                             3
                                              Indeed, Luther would likely not have quoted the entirety of § 1332(d)(2) if                                           it   intended       its
                            Nm               holding to be limited to § 1332(d)(2)(A). See Luther, 533 F.3d at 1033 n.2,
                                                                                                       .




                                                                                                           3
                                                      Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 423 of 450




                                          y




                           A
                                                  -




                                                      theL          533 F.3d      at 1032,    would not have included a single                  pu'tative class        member
                                                      'satisfying     (and implicating) § 1332(d)(2)(B). The                    same would be               true for   most Securities

                                                      ACt class actibns.

                                                               Second, defendants’ alienage                  jurisdiction-related policy                  arguments 'also do not

                                                      move    the needle.            As an   initial   matter, those     arguments do not'override                   gm.
                        OtomNCDU'l-hoom




                                                      Moréover, Congreés has already                     made   clear that removal bars trump the policy

                                                      considerations unique to alienage jurisdiction. Section 1332(a)(2) gives                                       district   courts

                                                      original jurisdiction‘          over actions “between citizens of a State and citizens or subjects ofa

                                                      foreign state."         As     this court   has previously discussed              at length, the general           removal

                                                      statute, §      1441    (a),   provides that subject to          its   except cléuse, a defendant                may remove
                                                      any   civil   action from state to federal court            if   the district court would have original                        ‘




                                                      jurisdiction     over the action.4 See qenerallv Coffey                    v.   Ripple Labs           lnc.,   No. 18-CV—03286—
Court

           California


                                                      PJH,   —        F.   Supp. 3d       —, 2018 WL 3812076, at *2 (N.D. Cal. Aug. 10, 20‘18).                                 Courts

District                                              interpret “§         1441   (a)’s   broad except clause as a reference to antiremoval provisions                                    in
           of
                                                                                                                                                                                               "
                                                      other federal statutes," such as § 22(a) of the Securities Act.                                |d_.   at f8 (collecting céses).
           District




States

                                                      Accordingly, despite the alienage jurisdiction considerations defendants                                       articu‘late,



United
           Northern
                                                      § 22(a) (as well as other antirerﬁoval provisions) bars certain alienage actions from being

                                                      removed under § 1441(a). ch—er unambiguously held                                  that   in    the case of pure Securities

                                                      Act actions, § 22(a) also applies to and trumps § 1453(b).                             It    mékes no sense          that

                                                      § 22(a)’s removal bar overrides the alienage jurisdiction-related considerations                                          in       the

                                                      context of § 1441(a), but does not do so vis-é—vis § 1453(b).                                  It   makes' even less sense
                                              v




                                                      that Congre‘ss         would intend that          result without       more     explicitly     saying $0.5



                                                      4
                                                         Section 1441 (a) states “Except as otherwise expressly provided by Act of Congress,
                                                       any civil action brought in a State court of which the district courts of the United States
                                                      'have original jurisdiction, may be removed by the defendant or the defendants, to the
                                                       district court of the United States for the district and division embracing the place where
                                                       such action is pending."
                                                      5
                                                        Defendants’ argument premised on Radzanower v. Touche Ross & Co., 426 U.S. 148,
                                                      156, 96 S. Ct. 1989, 1994, 48 L. Ed. 2d 540 (1976), fails for a similar reason. In the
                                              ,       context’of § 1441(a), Congress had no difficulty with antiremoval provisions “unduly
                                                      interfering" with“ alienage jurisdiction. And Luther has already determined that § 22(a)
                                                                                                                        4
                                             Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 424 of 450




                          A                          Thi'rd,   defendants reliance on             this cpurt's   decision   in   Qo_ffe1   is   misplaced;        ln


                                             my,      plaintiff’s state    law claims satisfied the removal requirements of § 1453.                              E
                                             generally Coffey, 201 8           WL 3812076; at *2.         That allowed the entire action, including the

                                             Seburities Act claims, to be removed.                 Q   at *7 n. 6. L_qtlﬂ        was    inapplicable to that case

                                             because L_utﬂ addressed only whether Securities Act claims                             that satisfied       CAFA’s
                        OOOOVOUO'IAOON




                                             jurisdictional    requirements       (in   one manner or ahother) could be the basis                  for    removal
                                                        tor
                                         -


                                             pursuant         § 1453.   ld_.   at *4.   Lthei answered           that question     in   the negative based on

                                             § 22(a) and that     is   the exact situatiqn presented here.

                                                     Fourth, defendants argue that                CAFA’s   plain    language allows removal deSpite

                                                                   mgr was wrongly decided and should bé limited or reconsidered.
                                             § 22(a), and that

                                             Regardless of what defendants               th'ink



                                             § 22(a) bars removal of pure Securities Act claims.
                                                                                                  CAFA’s    plain   language allows,

                                                                                                                     And
                                                                                                                                                m
                                                                                                                            while defendahts are free t6
                                                                                                                                                         held that



Court

           California

                                             argue   to the Ninth Circuit that          gm was         wrongly decided, those arguments                   fail   to


District
                                             persuade    this court.
           o'f


                                                     For the foregoing reasons, the court                GRANTS       plaintiff’s   motion       and‘REMANDS
                                                                                                                                                                            _
           District




States

                                             the action to     San Matéo County           Superio-r Court.        The October       24,   2018 hearing date            is



           Northern
                                             VACATED.                              >

United




                                                     IT IS     SO ORDERED.
                                             Dated: October 15, 2018                                                                                 v




                                                                                                         PHYLLIS      J.   HAMILTON
                                                                                                         United States District Judge




                                             does not “unduly      interfere” with § 1453(b).
                                                                               ‘




       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 425 of 450Page
CAND-ECF
                                                                                                                         '




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                                                                                                                             ADRMOP,CLOSED,RELATE

                                                                                   U.S. District Court
                                                           California Northern District (Oakland)
                                         CIVIL              DOCKET FOR CASE #:                              4:18—cv-04790-PJH
                                                                                   Internal Use Only                               .




                                                                                                                                  18C‘I               V0345‘1
Greenwald v. Ripple Labs, Inc. ct a1                                                                            Date Filed: 08/08/2018
Assigned to: Judge Phyllis J. Hamilton                                                                          Date Terminated: 10/1 5/2018
Relate Case Case: 4:18-cv-03286-PJI-I                                                                .
                                                                                                                Jury   Demand:   Plaintiff

Case   in other court:                     San Mateo County Court, 18civ03491                                   Nature 0f sum 160 StOCkhOIderS SUitS
                                                                                                                JuriSdiCtioni DiVCrSity
Cause: 28: 1332 Diversity-Petition for Removal                                                              ‘




                                                                                                                                          Dates
                                     '



Hearings                                                        Dates                               Deadlines

Plaintiff

Avner Greenwald                                                                               represented by    John    T. Jasnoch
                                                                                                                Scott+Scott Attorneys at             Law LLP
                                                                                                                600 W. Broadway
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                                                                                                                Email: jjasnoch@scott-scott'.com
                                                                                                                LEAD ATTORNEY
                                                                                                                ATTORNEY T0 BE NOTICED
               '




                    I hereby certify that the annexed

                   instrument isatruc and correct copy                                                          Thomas L Laughlin IV            ,
                                         on   me m my Ofﬁce
                   22%;???                                                                                      ScottScott, Attorneys at             Law, LLP
                    “                                                      '




                             SUSAN Y. SOONG                                                                     The Helmsley Building
                             U‘S'lp-‘s.’
               ﬁfrrk’                             C‘ﬁ'l?        _.a                                             230 Park Avenue
                         ‘
                                                       -
                                                                                                                17th Floor
               By
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                        f“..—
                         16              20%”                                                                   212—223—6444
                                                                                                                Fax: 212—223-6334
                                                                                                                Email: tlaughlin@scott—scott.com
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                                              —    -       ~-   *-    --—~---
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                                   ggf'V—“W                                               i
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                                   Bankruptcy Document Received From US
                                                                        Bankr‘
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                                                                                              represented by    John M. Neukom
                                                                                                                Skadden, Arps,         Slate,       Meagher&Flom
                                                                                                                LLP                                                  ..,




                                                                                                                 525 University ‘Avenue
                                                                                                                 Suite 1400




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               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 427 of 450Page 2
        CAND—ECF                                                                                                     of 8




                                                                           Palo Alto,   CA 94301
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                                                                           Fax: 650—470—4570
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                                                                           Virginia Faye Milstead
                                                                           Skadden, Arps, Slate, Meagher      & Flom
                                                                           LLP
                                                                           300 South Grand Avenue, Suite 3400
                                                                           Los Angeles, CA 90071-3 144
                                                                           (213) 687-5592
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                                                                           Peter Bradley Morrison
                                                                           Skadden Arps Slate Meagher and Flom
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                                                                           Los Angeles, CA 90071
                                                                           213-687—5000
                                                                           Email: peter.morrison@skadden.com
                                                                           ATTORNEY TO BE NOTICED
        Defendant                                _
                                                                      x




        XRP   II,   LLC                              ‘


                                                          represented by   John M. Neukom      .




                                                                           (See above for address)
                                                                                                              '




                                                                           ATTORNEY T0 BE NOTICED

                                                                           Virginia Faye Milstead
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED

                                                                           Peter Bradley Morrison
                                                                           (See above for address)
                                                                           ATTORNEY T0 BE NOTICED
        Defendant
        Bradley Garlinghouse                              represented by   John M. Neukom
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED

                                                                           Virginia Faye Milstead
                                                                           (See above for address.)  t




                                                                           ATTORNEY T0 BE NOTICED

                                                                           Peter Bi'adley Morrison
                                                                           (See above for address)       I




                                                                           ATTORNEY T0 BE NOTICED



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Defendant
Christian Larsen                             represented by     John M. Neukom‘
                                                                (See above for address)
                                                                ATTORNEY T0 BE NOTICED

                                                                Virginia Faye Milstead
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Peter Bradley Morrison
                                                                (See above for address)
                                                                ATTORNEY T0 BE NOTICED
Defendant
Ron   Will                                   represented by     John M. Neukom
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Virginia Faye Milstead
                                                                (See above for address)
                                                                ATTORNEY T0 BE NOTICED

                                                                Peter Bradley Morrison
                                                                (See above for address)
                                                                ATTORNEY T0 BE NOTICED
Defendant
Antoinette   O'Gorman                         represen’ged   by John M. Neukom
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Virginia Faye Milstead
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Peter Bradley Morrison
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED
 Defendant
 Eric van Miltenburg                          represented by    John M. Neukom
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Virginia Faye Milstead
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Peter Bradley Morrison




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               Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 429 of 450Page 4
        CAND-ECF                                                                                                    of 8



                                                                           ‘

                                                                               (See above for~address)
                                                                               ATTORNEY T0 BE NOTICED
         Defendant
         Susan Athey                                      represented by       John M. Neukom
                                                                               (See above for address)
                                                                               ATTORNEY T0 BE NOTICED

                                                                               Virginia Faye Milstead
                                                                               (See above for a_ddress)
                                                                               ATTORNEY T0 BE NOTICED

                                                                               Peter Bradley Morrison
                                                                               (See above for address)
                                                                               ATTORNEY T0 BE NOTICED
         Defendant
         Zoe Cruz                                         represented by       John M. Neukom
                                                                               (See above for address)
                                                                               ATTORNEY T0 BE NOTICED

                                                                               Virginia Faye Milstead
                                                                               (See above for address)
                                                                               ATTORNEY T0 BE NOTICED

                                                                               Peter Bradley Morrison
                                                                               (See above for address)
                                                                               A TTORNEY T0 BE NOTICED
        Defendant
        Ken Kurson                                        represented by       John M. Neukom
                                                                               (See above for address)
                                                                               ATTORNEY T0 BE NOTICED

                                                                               Virginia Faye Milstead
                                                                               (See above for address)    V




                                                                               ATTORNEY T0 BE NOTICED

                                                                               Peter Bradley Morrison
                                                                               (See above for address)
                                                                               ATTORNEY TO BE NOTICED
        Defendant
    '




        Ben Lawsky                                        represented by       John M. Neukom
                                                                                                   ‘




                                                                               (See above for address)
                                                                               A TTORNEY T0 BE NOTICED

                                                                               Virginia Faye Milstead
                                                                               (See above for address)
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CAND—ECF                                                                                                        5 of 8




                                                                        Peter Bradley Morrison
                                                                        (See above for address)
                                                                        ATTORNEY T0 BE-NOTICED
 Defendant
 Anja Manuel                                           represented by   John M. Neukom
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Virginia Faye Milstead
                                                                        (See above for address)
                                                                        ATTORNEY T0 BE NOTICED

                                                                        Peter Bradley Morrison
                                                                        (See above for address)           '




                                                                        ATTORNEY TO BE NOTICED
 Defendant
 Takashi Okita                                      represented by      John M. Neukom
                                                              ‘



                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Virginia Faye Milstead
                                                                        (See above for address)
                                                                        ATTORNEY T0 BE NOTICED

                                                                        Peter Bradley Morrison
                                                                        (See above for address)
                                                                        ATTORNEY T0 BE NOTICED

 Date Filed                Docket Text

 08/08/2018            l   NOTICE OF REMOVAL             from San Mateo County Superior Court. Their
                           case   number   is   18-CIV—03461. (Filing fee $400 receipt number 0971-
                           12578869). Filed byRon Will, Ken Kurson, XRP II, LLC, Antoinette
                           O'Gorman, Susan Athey, Ripple Labs, Inc., Ben Lawsky, Takashi Okita,
                           Eric van Miltenburg, Bradley Garlinghouse, Zoe Cruz, Anja Manuel,
                           Christian Larsen. (Attachments: #        l Exhibit A, # 2   Civil   Cover Sheet)     -




                           (Morrison, Peter) (Filed on 8/8/201 8) (Entered: 08/08/2018)

 08/08/2018            g   Certiﬁcate of Interested Entities by Susan Athey, Zoe Cruz, Bradley
                           Garlinghouse,  Ken Kurson, Christian Larsen, Ben Lawsky, Anja Manuel,
                           Antoinette O'Gorman, Takashi Okita, Ripple Labs, Inc., Ron Will, XRP II,
                           LLC, Eric van Miltenburg identifying Other Afﬁliate SBI Holdings Inc. for
                           Ripple Labs, Inc.‘; Corporate Parent Ripple Labs, Inc. for XRP II, LLC.
                           (Morrison, Peter) (Filed on 8/8/201 8) (Entered: 08/08/2018)

 08/08/201 8           g   NOTICE of Appearance by Virginia Faye Milstead (Milstead,                Virginia)
                           (Filed   on 8/8/201 8) (Entered: 08/08/2018)




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                             ‘
                                                                                                                         6 of 8




 08/08/201 8           4         Case assigned       to Magistrate   Judge   Sallie   Kim.                   \




                                 Counsel for plaintiff or the removing party is responsible for serving the
                                 Complaint ()r Notice of Removal, Summons and the assigned judge's
                                 standing orders and all other new case documents upon the opposing
                                 parties. For information, Visit E—Fz'lz'ngA New Civil Case at
                                 http://cand.uscourts.gov/ecf/caseopening.


                                 Standing orders can be downloaded from the court's                  web page at
                                 www.cand.uscourts.gov/judges.           Upon       receipt, the   summons will 'be   issued
                                 and returned electronically. Counsel          is   required to send chambers a copy of
                                 the initiating documents pursuant to L.R. 5-1(e)(7).               A scheduling order will
                                 be sent by Notice of Electronic Filing (NEF) within two business days.
                                 Consent/Declination due by 8/22/201 8. (as, COURT STAFF) (Filed on
                                 8/8/2018) (Entered: 08/08/2018)

 08/08/2018            IUJ       NOTICE ,of Appearance by            John M.   Neukom (Neukom,           John) (Filed oh
                                 8/8/201 8) (Entered: 08/08/201 8)

 08/08/201 8           Q         STIPULATION REGARDING DEFENDANTS TIME T0 ANSWER OR
                                 OTHER WISE RESPOND PURSUANT T0 CIVIL LR. 6-1 (a) ﬁled by
                                 Susan Athey, Zoe Cruz, Bradley Garlinghouse, Ken Kurson, Christian
                                 Larsen, Ben Lawsky, Anja Manuel, Antoinette O'Gorman, Takashi Okita,
                                 Ripple Labs, Inc., Ron Will, XRP II, LLC, Eric van Miltenburg. (Morrison,
                                 Peter) (Filed      on 8/8/2018) (Entered: 08/08/2018)

 08/08/2018            |\l       CERTIFICATE OF SERVICE by Susan Athey, Zoe Cruz, Bradley
                                 Garlinghouse, Ken Kurson, Christian Larsen, Ben Lawsky, Anja Mahuel,
                                 Antoinette O'Gorrnan, Takashi Okita, Ripple Labs, Inc., Ron Will, XRP II,
                                 LLC,                       Q Notice of Appearance, Q Stipulation, l
                                        Eric van Miltenburg re
                                 Notice of Removal, Certiﬁcate of Interested Entities, Q Notice of
                                                          _2_


                                 Appearance, 4 Case Assigned by Intake,,, (Morris'on, Peter) (Filed on
                                 8/8/201 8) (Entered: 08/08/201 8)

 08/09/201 8           I00       InitialCase Management Scheduling Order with ADR Deadlines: Case
                                 Management Statement due by 11/19/2018. Initial Case Management
                                 Conference set for 11/26/2018 01:30 PM in San Francisco, Courtroom
                                 A, 15th Floor. (mer, COURT STAFF) (Filed on 8/9/2018) (Entered:
                                 08/09/2018)

 08/09/2018             9        NOTICE by     Susan Athey, Zoe Cruz, Bradley Garlinghouse, Ken Kurson,
      ‘




                                 Christian Larsen, Ben Lawsky, Anja Manuel, Antoinette O'Gorman,
                                 Takashi Okita, Ripple Labs, Inc., Ron Will, XRP II, L_LC, Eric van
                                 Miltenburg NOTICE 0F PENDENCY 0F OTHER ACTIONS 0R
                                 PROCEEDINGS PURSUANT TO CIVIL LOCAL RULE 3—13 (Morrison,
                                 Peter) (Filed on 8/9/2018) (Entered: 08/09/2018)

 08/14/2018           10         ORDER RELATING CASE. C-18-4790-SK is related to C-18-3286-
                                 PJH.‘ Signed by Judge Phyllis J. Hamilton 0n 8/14/18. Case reassigned
                                 to Judge Phyllis J. Hamilton for all further proceedings. Magistrate
                                 Judge     Sallie   Kim n0
                                                         longer assigned t0 the case. (ch,                COURT
                                 STAFF)      (Filed on 8/14/2018) (Entered: 08/14/2018)




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CAND—ECFCase 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 432 of 450Page 7
                                V.                                                                                            of 8




 08/14/201 8          11       ORDER SETTING CASE MANAGEMENT CONFERENCE. Joint
                               Case Management Statement due by 12/6/2018. Initial Case
   '




                               Management Conference set for 12/13/2018 at 02:00 PM in Oakland,
                               Courtroom     3rd Floor. Signed by Judge Phyllis J. Hamilton on
                                                 3,
                               8/14/18. (ch, COURT STAFF) (Filed on 8/14/2018) (Entered:
                               08/14/2018)

 08/16/201 8          12       RESPONSE to Standing Order re Removed Cases by      Susan Athey, Zoe
                               Cruz, Bradley Garlinghouse, Ken Kurson, Christian Larsen, Ben Lawsky,
                               Anja Manuel, Antoinette O'Gorman, Takashi Okita, Ripple Labs, Inc., Ron
                               Will, XRP II, LLC, Eric van Miltenburg. (Morrison, Peter) (Filed on
                               8/1 6/201 8) (Entered: 08/1 6/20 1 8)


 08/16/2018          IL»)      CERTIFICATE OF SERVICE by Susan Athey, Zoe Cruz, Bradley
                               Garlinghouse, Ken Kurson, Christian Larsen, Ben Lawsky, Anja Manuel,
                               Antoinette O'Gorman, Takashi Okita, Ripple Labs, Inc., Ron Will, XRP II,
                               LLC,                       2 Notice (Other), LQ Order Relating Case,,
                                         Eric van Miltenburg re
                               Case Assigned/Reassigned, L2 Response ( Non Motion ), § Initial Case
                               Management Scheduling Order With                   ADR Deadlines,     _1_1   Order,, Set
                               Deadlines/Hearings, (Morrison, Peter) (Filed on'8/16/201 8) (Entered:
                               08/ 1 6/201 8)

 08/17/2018                    Electronic ﬁling error.             REMINDER TO COUNSEL:                Counsel     is

                               instructed that        all   ﬁxture ﬁlings shall bear the initials   PJH immediately
                                            number. Re: L21 Certiﬁcate of Service, ﬁled by Ron Will,
                               after the case
                               Ripple Labs, Inc., Ben Lawsky, Antoinette O'Gorman, Anja Manuel, Ken
                               Kurson, Susan Athey, Christian Larsen, Takashi Okita, Zoe Cruz, XRP II,
                               LLC, Eric van Miltenburg, Bradley Garlinghouse (jij, COURT STAFF)
                               (Filed    on 8/17/2018) (Entered: 08/17/2018)

 08/23/201 8          l4       STIPULATION      Regarding Defendants' Time to Answer or Otherwise
                               Respond Pursuant to Civil L.R. 6-1(a) ﬁled by Susan Athey, Zoe Cruz,
                               Bradley Garlinghouse, Ken Kurson, Christian Larsen, Ben Lawsky, Anja
                               Manuel, Antoinette O'Gorman, Takashi Okita, Ripple Labs, Inc., Ron Will,
                               XRP II, LLC, Eric van Miltenburg, Avner Greenwald. (Morrison, Peter)
                               (Filed on 8/23/2018) Modiﬁed on 8/24/2018 (cle, COURT STAFF).
                               (Entered: 08/23/2018)

 _09/07/201 8         1
                          U1
                               MOTION to Remand ﬁled by Avner Greenwald. Motion Hearing set for
                               10/17/201 8 09:00            AM in Oakland, Courtroom 3, 3rd Floor before Judge
                               PhyllisJ. Hamilton. Responses due by 9/21/2018. Replies due by

                               9/28/2018. (Attachments: # l Proposed Order, # _2_ Declaration of John T.
                               Jasnoch, # 3 Exhibit A, # ﬂ Exhibit B, # i Exhibit C, # Q Exhibit D)
                               (Jasnoch, John) (Filed on 9/7/201 8) (Entered: 09/07/2018)

 '09/07/20 1 8        16       Renotice motion hearing re 1_5_ MOTION to Remand ﬁled byAvner
                               Greenwald. (Related document(s) _1_§) (Jasnoch, John) (Filed on 9/7/201 8)
                               (Entered: 09/07/201 8)

 09/07/201 8                   Set/Reset Deadlines as to              1_5_   MOTION to Remand.      Motion Hearing        set for

                               10/24/201 8 at 09:00               AM in Oakland, Courtroom 3, 3rd Floor before Judge
                               Phyllis     J.   Hamilton. (ch,         COURT STAFF)     (Filed   on 9/7/2018) (Entered:




https://ecf.cand.circ9.dcn/cgi~bin/DktRpt.pl?91               1   12398642972-L_1_0-1                          .        10/16/2018
                                                                             ‘




CAND—ECFCase 4:18-cv-06753-PJH
                       (r      Document 2-1 Filed 11/07/18x Page 433 of 450Page      t
                                                                                                    .              8 of 8




                                09/07/2018)    k




 09/21/201 8                    OPPOSITION/RESPONSE             (re   Li   MOTION to Remand) ﬁled bySusan
                                Athey, Zoe Cruz, Bradley Garlinghouse, Ken Kurson, Christian Larsen,
                                Ben Lawsky, Anja Manuel, Antoinette O'Gorman, Takashi Okita, Ripple
                                Labs, Inc. ,Ron Will, XRP II, LLC, Eric van Miltenburg. (Attachments: # 1
                                Declaration of Virginia F. Milstead and Exhibits 1 through 6, # 2 Proposed
                                Order)(Morrison, Peter) (Filed on 9/21/2018) (Entered: 09/21/2018)

 09/26/2018                     STIPULATION WITH [PROPOSED] ORDER Extending Brieﬁng
                                Schedule Re: Motion to Remand ﬁled by Avner Greenwald. (Jasnoch,
                                John) (Filed on 9/26/2018) Modiﬁed 0n 9/27/201 8 (cle, COURT STAFF).
                                (Entered: 09/26/201 8)

 09/26/2018                     STIPULATION AND ORDER EXTENDING BRIEFING
                                SCHEDULE FOR PLAINTIFF'S MOTION TO REMAND
                                PURSUANT TO LOCAL RULE 6- 1 by Judge Phyllis J. Hamilton
                                       18 Stipulation. (ch, COURT STAFF) (Filed 0n 9/26/2018)
                                granting_
                                (Entered: 09/26/2018)

 09/26/201 8                    Set/Reset Deadlines as to l;     MOTION to Remand. Reply dué by
                                10/5/2018.'   (ch,   COURT STAFF)          (Filed   on 9/26/201 8) (Entered:
                                09/26/201 8)

 10/05/2018                     REPLY (re L5 MOTION to Remand ) ﬁled byAvner Greenwald.
                                (Attachments: # _1_ Declaration, # 2 Exhibit 1, # _3_ Exhibit 2, # 4 Exhibit 3, #
                                5 Exhibit 4, # 6 Exhibit 5)(Jasnoch, John) (Filed on 10/5/2018) (Entered:
                                10/05/201 8)
                                                                                                                     '




 10/08/2018                     MOTION for leavé to appear in Pro Hac Vice Thomas L. Laughlin, IV
                                                       number 0971-12743717) ﬁled by Avner
                                (Filing fee $3 10, reCeipt
                                Greenwald. (Attachments: # l Certiﬁcate of Good Standing)(Laughlin,
                                Thomas) (Filed on 10/8/2018) Modiﬁed on 10/9/2018 (cle, COURT
                                STAFF). (Entered: 10/08/2018)                                           _




 10/09/201 8                    ORDER by Judge Phyllis J. Hamilton granting Motion for Pro Hac
                                                                                             2_1_                        t




                                Vice for Thomas L. Laughlin, IV. (ch, COURT STAFF) (Filed 0n
                                10/9/2018) (Entered: 10/09/2018)

  10/15/2018          It?       ORDER by Judge Phyllis J. Hamilton granting Q Motion t0 Remand
                                and vacating hearing. (pjhlé2, COURT STAFF) (Filed on 10/15/2018)
                            >
                                (Entered: 10/15/2018)

  10/15/2018                    (Court only) ***Civil Case Terminated. (ch,              COURT STAFF) (Filed on
                                10/15/201 8) (Entered: 10/1 5/201 8)

  10/16/2018                    CLERK'S NOTICE Remanding Case to San Mateo County Superior Court.
                                (cle, COURT STAFF) (Filed on 10/1 6/201 8) (Entered: 10/ 1 6/20 1 8)




                                                                                             '




https://ecf.cand.circ9.dcn/cgi—bin/DktRpt.p1?91        1   123 98642972-L_1_0-1                                10/1 6/201 8
Case 4:18-cv-06753-PJH
  Case  4:18-cv-04790-PJHDocument 2-129Filed
                           Document           11/07/18
                                          Filed 10/26/18Page 434
                                                          Page   of 2450
                                                               1 of
Case 4:18-cv-06753-PJH
  Case  4:18-cv-04790-PJHDocument 2-129Filed
                           Document           11/07/18
                                          Filed 10/26/18Page 435
                                                          Page   of 2450
                                                               2 of
                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 436 of 450



                                                                                                         V       I    u
                                                                                                                           v1   -‘
Attorney or Party without Attorney:                                                                                                                                    Far Cour! Use only
     John Jasnoch, Esq., Bar #281605
     Scott+Scott, Attorneys at             Law, LLP
     ‘600
     San Diego,
                West Broadway,
                          CA   92101
                                     Suite  3300

                                                                                                                                                        A
                                                                                                                                                             FILED
 Teléphane No: 51 9-233-4565                          FAXNa: 6 I 9-233-05085                                                                            JAN MATEO COUNTY
                                                                                            R9}: Na. or File          Na:
Attanieyfar:            Plamtlff
               name ofCourt, and JudictaIDismct‘and Branch Court:
                                                                                                                                                                      0CT 2 4         20-18
Insert
                                                                                                                                                                                  '




     San Mateo Countv Superior Court
Plainziﬁ":         Avner Greenwald,        et a1.

Defendant:             Ripgle Labs, Inc.                                                                                                                EN
                 PROOF OF SERVICE                                 ﬁgqfi‘rggp'afe:                      Time:                            Dept/Div:        Case Number:

                 Summons; Complaint
                                                              i


                                                                  _                                                                                          18CIV03461
I.    At the time ofservice I was at least l8 years ofage and not a pan): to                                     this action.



2.        =1   served copies of the    Summons; Class Action Complaint;                    Civil Case            Cover Sheet; Certiﬁcate re Complex Case Designation; Notice
          of Assignment;        ADR Information

3.    a.       Party served:                                                    Ripple Labs,     Inc.,       aDelaware corporation
      b.       Person served:                                                   Norman Reed, Agent for Service

4.    Address where the party was served}                                       3 15Montgomery Street, 2nd Floor
                                                                                San Francisco, CA 94104
5.    I served the party:
      b.       by substituted      service. 0n:     Mon.,       at: 4:25PM by leaving the copies with or in the presence of:
                                                            Jul. 02,    201 8
                                                                Bernardo Diaz, Assistant Manager / Authorized to Accept Service
               (1) (Business) a Person in charge at least 18 years of age apparently in charge of the ofﬁce or‘usual place of business of the
                   person served. I informed him or her of the general nature of the papers.
               (4) A declaration of mailing is attached.


6.                          Person Served" (on the Summons) was completed asfdlla‘wm
          Z'he ”Notice to the

           on behalfof: Ripple Labs, Inc., a Delaware corporation                                                                                                                                     :fg
     4-    Under CCP 416.10 (corporation)                                                                                                                                                             m
                                                                                                                                                                                                      W
                                                                                                                                                                                                      =<
7.    Person Who Served Papers:                                                                                        Recoverable Cost Per CCP 1033.5(a)(4)(e)
       a. Robert Wigersma                                                                         d.     The Feefor Service was:                                                                       ”ﬂ
       b. Class Action Research & Litigation                                                             1am: (3) registered California process server
          P O Box 740
                                                                                                  e.

                                                                                                                                (i)     Independent Contractor
                                                                                                                                                                                                       a
          Penryn, CA 95663                                                                                                      (ii)    Registration No.:             769
       p. (916) 663-2562, FAX (916) 663—4955                                                                                    (iii)    County:                      San Francisco




                                                                                I'
                                                                                     18— GIV— 03461
                                                                                ‘                            I
                                                                                     Pcssc
                                                                                                                                                    I




                                                                                     ProofofSen/ice on CORPORATION, LLc,                     etc.




                                                                                Vlmlllllllllﬂlllllll llllHI“




8.    I declare under penalty ofperjury under the laws ofthe State of California                                                th         e oregoing     is   true   and correct

          Date: Thu, Jul. 12, 2018



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                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 437 of 450

                                                                                                                  i   r

                                                                                                                          ‘

Attorney or Party withoutAttarney:                                                                                                                                        For Court Use Only
     John Jasnoch, Esq., Bar #281605
     Scott+ScotL Attorneys at Law, LLP
     600 West Broadway, Suite 3300
     S'an Diego, CA 92101

 Telephone Na; 6 1 9-233-4565                           FAXNo.‘ 6 1 9~233 -0508
                                                                                             Ref No or File Na:
Attameyfor: Plaintiﬁ
Insert name ofCaurt, andJudicial District and Branch Court:

     San Mateo County Superior Court                                 ,                   .             .....



Plaintiﬁ':       Avner Greenwald;        et a1.

Defendant:           Ripplé Labs,    Inc., ct a1.

            PROOF 0F SERVICE
                                                                                     I




                                                                Hearing Date:                          Time:                          Dept/Div:           Case Number:

                            By Mail                                                                                                                         13CN93461
I.    I    am over the age         of 18 and not a party to this action.        I   am employed in the county where the mailing occurred.

2.    I    served copies ofthe Corrected               Summons; Class Action Complaint; Civil Case Cover                                     Sheet; Certiﬁcate re           Complex Case
      Desigxation; Notice of Case                   Management Conference; ADR Information

3.    By placing a true           copy of each document        in the    United States mail, in a sealed envelop: by First Class mail with postage prepaid
      as follows:


      a.    Date ofMailing:                                                Tue., Jul. 10,        2018
      b.    Place ofMailing:                                               Penryn,       CA
                                                                                        95663
      c.    Addressed as follows:                                          Ripple Labs, Inc., a Delaware corporation
                                                                           c/o Norman Reed, Agent for Service
                                                                           3 15     Montgomery           Street,   2nd Floor
                                                                           San Francisco,          CA          94104


4.    I‘
           am readily familiar with the             business practice for collection and prgcessing of correspondence as deposited with the U.S.‘Postal
      Service on Tue.,            Jul. 10,   2018    in the ordinary course ofbusiness.


5.    Person Serving:                                                                                                                         Recoverable Cost Per        CCP    1033.5(a)(4)(B)

       a.   Janis        Dingnan                /
                                                                                                  d.     The Feefor Service was:
       b. Class          Action Research      & Litigation                                        e.     I     am: (3) registered California process server
            P O Box 740                                                                                                       (i)         Owner
            Penryn, CA 95663                                                                                                  (ii)       Registration No.:                15-009
       c.   (916) 663-2562, FAX (916) 663-4955                                                                                (iii)      County:                          Placer
                                                                                                                              (iv)       Expiration Date:                 Wed,   Jun. 05,: 2019




8.    I declare under penalty ofperjury under the laws ofthe State of California that theforegoing is true and correct.




                                                                                                                                                                  wW
      Date: Thu,Jul. 12, 2018                                                                                    /                   u        ‘


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                          Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 438 of 450



    Allorney or Party without Anomey:                                                                                                                                                 For Cour! Use Only
         John Jasnoch, Esq., Bar #28 1 605
      Scott+5cott, Attomeys at Law, LLP
      600 West Broadway, Suite 3300
      San Diego, CA 92101
                                                                                                                                                                           FI
                                                                                                                                                                    SAN MATEG CQS‘NTY                            ’



     Telephone No: 619-233-4565         FAXNa: 619-23 3-0508
                                                                                           Rej.’   No. or File       Na:
    Attoranar: Plaintiff
    Insert     name     q/‘Caurt. andJndicIaI District ‘and Branch   Com:
         San Mateo Countv Superior Court
    Plaintm':          Avner Greenwald,     et al.

    De    endanl:       Ripple Labs,   Inc., 6t al.                                                                                   .




              AFFEAVIT 0F SERVICE                                Hearing Dare:                              Time:             Depl/Dr‘v:                            Case Number:

                   Summons         & Complaint                                                                                                                          18CIV03461
    I.    At the time ofservlce I was at least 18 years ofage and not a party to                               this aclion.



    2.    Iserved copies of the Corrected                Summons; Class Action Complaint; Civil Case Cover                                Sheet; Certiﬁcate re                           Complex Case
          Designation; Notice of Case                 Management Conference; ADR Information

    3.    a.   Party served:                                                  XRP II, a South Caxolina Limited Liability Company
          b.   Person served:                                                 John-Doe, Service of Process Intake Clerk, Caucasian, Male, 38 Years Old,.Brown
                                                           '




                                                                              Hair, 5 Feet 10 Inches, 170 Pounds

'

    4.    Address where the party was served:                                 Corporation Service               Company
                                                                              80 State Street
                                                                              Albany,      NY      12207
    5.    I served the party:
          a.   by personal service.          I   personally delivered the documents listed in item 2 to the party or person authorized to receive
          ,
               process for the party (1) on: Tue., Jul. 10, 201,8 (2)            at:   2:25PM

    6.    The ’Wotice lo the Person Served” (on the Summons) was completed asfollows:                                                                                                                                  :3
              on behalfaf: XRP H, a South Carolina Limited Liability Company                                                                                                                                           Fm
              Other: Limited Liability Company
                                                                                                                                                                                                                       g&
    Z Person Who Served Papers:
        a. Mary M. Bonville                                                                            I
                                                                                                                    Feefor Service:
                                                                                                           Declare under penalty of perjury under the laws of the State of
                                                                                                                                                                                              .




                                                                                                                                                                                                                        ﬂ
              b.   Class Action Research
                   P O Box 740
                                                      & Litigation   '


                                                                                                    NEW YORK that the foregoing                                       is   hue and           correct._
                                                                                                                                                                                                                        a
              c.
                   Penryn, CA 95663
                   (916)663—2562,FAX (916) 663-4955                         9,00;          IQAOIEVMMW
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                                                                                       ﬁre)                                   \r                 U             (Signature)




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    8.    STATE OFNEW YORK, COUNTYOF “4.1                                                                                                                                                                                   L


                                                                                                   Tl!                                                                            .                                         :




          Subscribed and sworn to (or aﬁ‘irmed) before                      me on             ﬂ                                                 ,010 I              g
                                                                                    this

          proved to me on the basis afsatisfactorj! evidence to be the person who appeared b fare me.
                                                                                                           day of      I
                                                                                                                           %’?                                                   by    Mary M.       Bonville               ‘i




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                                     VERA B RAY
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                                                                                                                                                                                                                            E



                                                                                    Summons & Complaint
                                                                                                                                                                                                         .   .              g
                       Notary Public — State of New York                                                                                                                                                 JoJasJ8OI9J
                                                                                                                                                                                                                            E


                       Albany County No. 01RA61 33233
               Commission Expires on 09-12- 6103-!
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 439 of 450
Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 440 of 450
       Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 441 of 450



 1                                         PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3        I am employed in the county of Los Angeles, State of California. I am over the age of 18
   and not a party to the within action; my business address is 300 S. Grand Avenue, Los Angeles,
 4 California 90071. My email address is candice.spoon@skadden.com.

 5 On October 25, 2018 I served the documents described as:

 6                                    NOTICE OF RELATED CASE
   on the interested parties in this action addressed as follows:
 7
   BRIAN J. ROBBINS                                 David C. Walton
 8 brobbins@robbinsarroyo.com                       Brian 0. O'Mara
   STEPHEN J. ODDO                                  Brian E. Cochran
 9 soddo@robbinsarroyo.com                          ROBBINS GELLER RUDMAN
   ERIC M. CARRINO                                  & DOWD LLP
10 ecarrino@robbinsarroyo.com                       655 West Broadway, Suite 1900
   ROBBINS ARROYO LLP                               San Diego, CA 92101
11 600 B  Street, Suite 1900                        Telephone: (619) 231-1058
   San Diego, CA 92101                              Facsimile: (619) 231-7423
12 Telephone:      (619) 525-3990                   E-mail: davew@rgrdlaw.com
   Facsimile:      (619) 525-3991                   bomara@rgrdlaw.com
13                                                  bcochran@rgrdlaw.com
   Attorneys for Plaintiffs Vladi Zakinov and
14 David Oconer                                     Attorneys for Plaintiff Vladi Zakinov

15 Shawn A. Williams                               Andrew J. Ceresney
   ROBBINS GELLER RUDMAN                           aceresney@debevoise.com
16 & DOWD LLP                                      Mary Jo White
   Post Montgomery Center                          mjwhite@debevoise.com
17 One Montgomery Street, Suite 1800               DEBEVOISE & PLIMPTON LLP
   San Francisco, CA 94104                         919 Third Avenue
18 Telephone: (415) 288-4545                       New York, New York 10022
   Facsimile: (415) 288-4534                       Telephone: (212) 909-6000
19 E-mail: shawnw@rgrdlaw.com                      Facsimile: (212) 909-6836

20 Attorneys for Plaintiff Vladi Zakinov           Attorneys for Defendants
                                                   Ripple Labs Inc., XRP II, LLC, and Bradley
21                                                 Garlinghouse

22
     SCOTT+SCOTT ATTORNEYS AT LAW                  SCOTT+SCOTT ATTORNEYS AT LAW LLP
23   LLP                                           Thomas L. Laughlin, IV
     John T. Jasnoch                               Rhiana L. Swartz
24   600 W. Broadway, Suite 3300                   The Helmsley Building
     San Diego, CA 92101                           230 Park Avenue, 17th Floor
25   Telephone: 619-233-4565                       New York, NY 10169
     Facsimile: 619-233-0508                       Telephone: 212-223-6444
26   jjasnoch@scott-scott.com                      Facsimile: 212-223-6334

27 Attorneys for Plaintiff – Avner Greenwald       Attorneys for Plaintiff - Avner Greenwald

28           ☒       (BY FEDERAL EXPRESS) I am readily familiar with the firm's practice for the
     daily collection and processing of correspondence for deliveries with the Federal Express delivery
     service and the fact that the correspondence would be deposited with Federal Express that same
                                                      2
                                             PROOF OF SERVICE
        Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 442 of 450



 1 day in the ordinary course of business; on this date, the above-referenced document was placed for
   deposit at Los Angeles, California and placed for collection and delivery following ordinary
 2 business practices.

 3           I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct.
 4
     Executed on October 25, 2018 at Los Angeles, California.
 5

 6          Candice Spoon
            PRINT NAME                                                    SIGNATURE
 7

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                                              PROOF OF SERVICE
                                    Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 443 of 450




                                          f/ﬁ18 — GIV — 03461
                                             ORD
                                             Order
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                                                                                                                            SAN MATEO COUNW



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           \OOONQUIAUJNp—A




                                                       IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                    IN AND   FOR THE COUNTY OF SAN MATEO




    r—t
           O                 AVNER GREENWALD, individually and on behalf
                             Of all others   similarly situated,
I
    r—t      D-‘
                                                                                                         Case No. 18 CIV 03461
                                                Plaintiff,                                                CLASS ACTION
    y—t
           N
                                    vs.                                                                   ORDER DEEMING CA E RELATED AND
    y—I
           b.)
                                                                                                          CONSOLIDATING AC ION INTO MASTER
                                                                                                         FILE NO. 18CIV02845
    r—t
           A                 RIPPLE LABS INC.              et a1.


    r—I     U!
                                                Defendants,                                              Dept.:   Hon. Richard H. DuBois
                                                                                                                  Dept. 16
    r—I     O\




    r—A
            ﬂ                       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                          File‘   consolidated class action cases, 18CIV02845, were previously designated as
    )—-A
             w                       The Master

    H        \O              complex and single assigned to Department                  16,   Honorable Richard DuBois.

    NO                               On   October 25, 2018, Defendant Ripple Labs Inc. in 18CIV03461, a putative class action, ﬁled a

    NH                       Notice. of Related Case, indicating that the action               is   related to In re Ripple   Labs Inc Litigation, Master ﬁle
                                                                                                                                        ~




    NN                       No. 180N02845.

    NW                               Accordingly, IT IS             HEREBY ORDERED AS .FOLLOWS:
    NL                               1.            Notice of Related Case having been ﬁled and‘ served, and no opposition or objection ﬁled

    N Ul                     and served, the case of Greenwald             vs.   Ripple Labs Inc 18CIV03461            is   deemed   “related” to the pending


    N ON                     consolidated class actions entitled In re Ripple Labs Inc Litigation, Master ﬁle No. 18CIV02845.

    NQ                               2.              Pursuant to the order in Master File No. 18CIV02845 consolidating related class actions,

    N 00                     and having been previously assigned for              all   purposes to Department 16, the case of Greenwald vs. Ripple


                                    Case No. 18 CIV 03461
                                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 444 of 450




                      Labs Inc 18CIV03461                is   ordered   CONSOLIDATED as part of Master File No.          18CIV02845.

         N                       3.          Accordingly, any Complex Status Conference or Case                 Management Conference previously

                      set for   18CIV03461          is   VACATED. The Case Management Conference in the Master ﬁle set for NoVember
                      16,   2018      at   10:30   am.   in   Department 16       shall   remain on calendar.
         VONUl-PU.)




                      Dated:
                                           ‘ﬁiﬁsﬁh   m            BY              /
                                                                        w; Richard H.
                                                                                          WMDuBois
                                                                           JUDGE OF THE SUPERIOR COURT


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                                .‘Case     No. 18 CIV 03461                                     2
                                 CASE MANAGEMENT ORDER No.                    1
                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 445 of 450
                                           SUPERIOR COURT OF SAN MATEO COUNTY
                                                              Civil   Department
                                           400 County Center, Redwood                      CA 94063
                                                                                                                          F H El E
                                                                                   City,

                                                                  (650) 261—5100                                                            .1



                                                     WWW.SBnmatEOCOUI’tDrg


                                                    AFFIDAVIT OF MAILING

Date: 11/1/2018


In   the Matter     of:    AVNER GREE‘NWALD   vs.   RIPPLE LABS, |NC., a Delaware Corporation, et                        al

Case No.2 18—ClV-03461



box  Redwdod City, a true copy of the attached document(s) ORDER DEEMING CASE RELATED AND
      at
CONSOLIDATING ACTION INTO MASTER FILE NO. 18CIV02845, enclosed in an envelope, with proper and nec
postage thereon, and addressed to the following:


Executed on: 11/1/2018




                                                       By:


Copies Mailed To:


       BRIAN   J.   ROBBINS
      STEPHEN        J.   ODDO
       600 B STREET, SUITE 1900
      SAN DIEGO, CA 92101

       SHAWN        A.    WILLIAMS
                    RUDMAN & DOWD LLP
       ROBBINS, GELLER,
       POST MONTGOMERY CENTER
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                                                                                                         AFM
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                                                                                                         Afﬁdavitof Mailing

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       PETER   B.    MORRISON                                                                   I




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                                    Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 447 of 450




                                          f/ﬁ18 — GIV — 03461
                                             ORD
                                             Order
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                                                                                                                            SAN MATEO COUNW



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           \OOONQUIAUJNp—A




                                                       IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                    IN AND   FOR THE COUNTY OF SAN MATEO




    r—t
           O                 AVNER GREENWALD, individually and on behalf
                             Of all others   similarly situated,
I
    r—t      D-‘
                                                                                                         Case No. 18 CIV 03461
                                                Plaintiff,                                                CLASS ACTION
    y—t
           N
                                    vs.                                                                   ORDER DEEMING CA E RELATED AND
    y—I
           b.)
                                                                                                          CONSOLIDATING AC ION INTO MASTER
                                                                                                         FILE NO. 18CIV02845
    r—t
           A                 RIPPLE LABS INC.              et a1.


    r—I     U!
                                                Defendants,                                              Dept.:   Hon. Richard H. DuBois
                                                                                                                  Dept. 16
    r—I     O\




    r—A
            ﬂ                       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                          File‘   consolidated class action cases, 18CIV02845, were previously designated as
    )—-A
             w                       The Master

    H        \O              complex and single assigned to Department                  16,   Honorable Richard DuBois.

    NO                               On   October 25, 2018, Defendant Ripple Labs Inc. in 18CIV03461, a putative class action, ﬁled a

    NH                       Notice. of Related Case, indicating that the action               is   related to In re Ripple   Labs Inc Litigation, Master ﬁle
                                                                                                                                        ~




    NN                       No. 180N02845.

    NW                               Accordingly, IT IS             HEREBY ORDERED AS .FOLLOWS:
    NL                               1.            Notice of Related Case having been ﬁled and‘ served, and no opposition or objection ﬁled

    N Ul                     and served, the case of Greenwald             vs.   Ripple Labs Inc 18CIV03461            is   deemed   “related” to the pending


    N ON                     consolidated class actions entitled In re Ripple Labs Inc Litigation, Master ﬁle No. 18CIV02845.

    NQ                               2.              Pursuant to the order in Master File No. 18CIV02845 consolidating related class actions,

    N 00                     and having been previously assigned for              all   purposes to Department 16, the case of Greenwald vs. Ripple


                                    Case No. 18 CIV 03461
                                Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 448 of 450




                      Labs Inc 18CIV03461                is   ordered   CONSOLIDATED as part of Master File No.          18CIV02845.

         N                       3.          Accordingly, any Complex Status Conference or Case                 Management Conference previously

                      set for   18CIV03461          is   VACATED. The Case Management Conference in the Master ﬁle set for NoVember
                      16,   2018      at   10:30   am.   in   Department 16       shall   remain on calendar.
         VONUl-PU.)




                      Dated:
                                           ‘ﬁiﬁsﬁh   m            BY              /
                                                                        w; Richard H.
                                                                                          WMDuBois
                                                                           JUDGE OF THE SUPERIOR COURT


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                                .‘Case     No. 18 CIV 03461                                     2
                                 CASE MANAGEMENT ORDER No.                    1
                     Case 4:18-cv-06753-PJH Document 2-1 Filed 11/07/18 Page 449 of 450
                                           SUPERIOR COURT OF SAN MATEO COUNTY
                                                              Civil   Department
                                           400 County Center, Redwood                      CA 94063
                                                                                                                          F H El E
                                                                                   City,

                                                                  (650) 261—5100                                                            .1



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                                                    AFFIDAVIT OF MAILING

Date: 11/1/2018


In   the Matter     of:    AVNER GREE‘NWALD   vs.   RIPPLE LABS, |NC., a Delaware Corporation, et                        al

Case No.2 18—ClV-03461



box  Redwdod City, a true copy of the attached document(s) ORDER DEEMING CASE RELATED AND
      at
CONSOLIDATING ACTION INTO MASTER FILE NO. 18CIV02845, enclosed in an envelope, with proper and nec
postage thereon, and addressed to the following:


Executed on: 11/1/2018




                                                       By:


Copies Mailed To:


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      STEPHEN        J.   ODDO
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                                                                                                         AFM
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